                                           Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 1 of 245



                                  1 J. Stephen Peek (1758)
                                    Erica C. Medley (13959)
                                  2 HOLLAND & HART LLP
                                    9555 Hillwood Drive, 2nd Floor
                                  3 Las Vegas, NV 89134
                                    Tel: 702.669.4600
                                  4 Fax: 702.669.4650
                                    speek@hollandhart.com
                                  5 ecmedley@hollandhart.com
                                  6 Tariq Mundiya (pro hac vice)
                                  7 Jeffrey B. Korn (pro hac vice)
                                    WILLKIE FARR & GALLAGHER LLP
                                  8 787 Seventh Avenue
                                    New York, New York 10019
                                  9 (212) 728-8000
                                    tmundiya@willkie.com
                                 10 jkorn@willkie.com
                                 11 Michael J. Gottlieb (pro hac vice)
                                    WILLKIE FARR & GALLAGHER LLP
                                 12 1875 K Street, NW
9555 HILLWOOD DRIVE, 2ND FLOOR




                                    Washington, DC 20006
                                 13 (202) 303-1000
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                    mgottlieb@willkie.com
                                 14
                                    Attorneys for Plaintiffs
                                 15 Jysan Holding, LLC; and
                                 16 Jusan Technologies Ltd.
                                 17                          UNITED STATES DISTRICT COURT
                                                                  DISTRICT OF NEVADA
                                 18
                                    JYSAN HOLDING, LLC, a Nevada Limited          Case No.: 2:23-CV-00247-JAD-VCF
                                 19 Liability Company; JUSAN
                                    TECHNOLOGIES LTD, an England and              APPENDIX OF EXHIBITS TO
                                 20 Wales Limited Company;                        MOTION FOR SERVICE OF THE
                                                                                  SUMMONS AND COMPLAINT ON
                                 21                       Plaintiffs,             INDIVIDUALS IN A FOREIGN
                                      v.                                          COUNTRY PURSUANT TO
                                 22                                               FRCP 4(F)(2)(C)(II)
                                    REPUBLIC OF KAZAKHSTAN, a foreign
                                 23 sovereign state; THE AGENCY FOR
                                    REGULATION AND DEVELOPMENT OF
                                 24 THE FINANCIAL MARKET OF THE
                                    REPUBLIC OF KAZAKHSTAN, a
                                 25 Kazakhstan Government agency; THE ANTI-
                                 26 CORRUPTION AGENCY OF THE
                                    REPUBLIC OF KAZAKHSTAN, a
                                 27 Kazakhstan Government anti-corruption
                                    agency ; THE FINANCIAL MONITORING
                                 28 AGENCY OF THE REPUBLIC OF


                                                                              1
                                         Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 2 of 245



                                  1 KAZAKHSTAN, a Kazakhstan Government
                                    agency; THE COMMITTEE FOR
                                  2 NATIONAL SECURITY OF
                                    KAZAKHSTAN, a Kazakhstan Government
                                  3 intelligence agency; MADINA
                                    ABYLKASSYMOVA, an individual;
                                  4 OLZHAS KIZATOV, an individual; ARMAN
                                    OMARBEKOV, an individual; and
                                  5 ADILBEK DZHAKSYBEKOV, an
                                    individual,
                                  6
                                  7                       Defendants.

                                  8        In accordance with LR IA 10-3, Plaintiffs Jysan Holding, LLC (“Jysan Holding”) and
                                  9 Jusan Technologies Ltd. (“JTL”) (collectively, “Plaintiffs”) submit this Appendix of Exhibits
                                 10 to their Motion for Service of the Summons and Complaint on Individuals in a Foreign Country
                                 11 Pursuant to FRCP 4(f)(2)(C)(II).
                                 12
                                           Exhibit                             Description                             Page No.
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13          A             Complaint, Summons, and Russian Translations for            1- 81
      HOLLAND & HART LLP




                                                           Defendant Madina Abylkassymova
      LAS VEGAS, NV 89134




                                 14           B            Complaint, Summons, and Russian Translations for            82-162
                                                           Defendant Olzhas Kizatov
                                 15           C            Complaint, Summons, and Russian Translations for            163-243
                                 16                        Defendant Arman Omarbekov
                                           DATED this 8th day of March 2023.
                                 17
                                                                                      HOLLAND & HART LLP
                                 18
                                                                                       /s/ J. Stephen Peek
                                 19                                                   J. Stephen Peek
                                 20                                                   Erica C. Medley
                                                                                      9555 Hillwood Drive, 2nd Floor
                                 21                                                   Las Vegas, NV 89134

                                 22                                                   Tariq Mundiya (pro hac vice)
                                                                                      Jeffrey B. Korn (pro hac vice)
                                 23                                                   WILLKIE FARR & GALLAGHER LLP
                                                                                      787 Seventh Avenue
                                 24                                                   New York, New York 10019
                                 25                                                   Michael J. Gottlieb (pro hac vice)
                                                                                      WILLKIE FARR & GALLAGHER LLP
                                 26                                                   1875 K Street, NW
                                                                                      Washington, DC 20006
                                 27
                                                                                      Attorneys for Plaintiffs
                                 28


                                                                                  2
Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 3 of 245




  EXHIBIT A
      Complaint, Summons, and Russian
      Translations for Defendant Madina
                Abylkassymova




  EXHIBIT A
                                                              Ex. Page No. 1
                                           Case 2:23-cv-00247-JAD-VCF
                                                Case 2:23-cv-00247 Document
                                                                      Document
                                                                            1 Filed
                                                                               16 Filed
                                                                                    02/16/23
                                                                                         03/08/23
                                                                                              PagePage
                                                                                                   1 of 32
                                                                                                         4 of 245



                                  1 J. Stephen Peek
                                    (Nevada Bar No. 1758)
                                  2 Erica C. Medley
                                    (Nevada Bar No. 13959)
                                  3 HOLLAND & HART LLP
                                    9555 Hillwood Drive, 2nd Floor
                                  4 Las Vegas, NV 89134
                                    Tel: 702.669.4600
                                  5 Fax: 702.669.4650
                                    speek@hollandhart.com
                                  6
                                  7 Tariq Mundiya (pro hac vice forthcoming)
                                    Jeffrey B. Korn (pro hac vice forthcoming)
                                  8 WILLKIE FARR & GALLAGHER LLP
                                    787 Seventh Avenue
                                  9 New York, New York 10019
                                    (212) 728-8000
                                 10 tmundiya@willkie.com
                                    jkorn@willkie.com
                                 11
                                    Michael J. Gottlieb (pro hac vice forthcoming)
                                 12 WILLKIE FARR & GALLAGHER LLP
9555 HILLWOOD DRIVE, 2ND FLOOR




                                    1875 K Street, NW
                                 13 Washington, DC 20006
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                    (202) 303-1000
                                 14 mgottlieb@willkie.com
                                 15 Attorneys for Plaintiffs
                                 16 Jysan Holding, LLC; and
                                    Jusan Technologies Ltd.
                                 17
                                                               UNITED STATES DISTRICT COURT
                                 18
                                                                       DISTRICT OF NEVADA
                                 19
                                    JYSAN HOLDING, LLC, a Nevada Limited             Case No.:
                                 20 Liability Company; JUSAN
                                    TECHNOLOGIES LTD, an England and                 COMPLAINT
                                 21 Wales Limited Company;
                                                                                     JURY DEMAND
                                 22                       Plaintiff,
                                      v.
                                 23
                                    REPUBLIC OF KAZAKHSTAN, a foreign
                                 24 sovereign state; THE AGENCY FOR
                                    REGULATION AND DEVELOPMENT
                                 25 OF THE FINANCIAL MARKET OF THE
                                 26 REPUBLIC OF KAZAKHSTAN, a
                                    Kazakhstan Government agency; THE
                                 27 ANTI-CORRUPTION AGENCY OF THE
                                    REPUBLIC OF KAZAKHSTAN, a
                                 28 Kazakhstan Government anti-corruption


                                                                                 1
                                                                                                            Ex. Page No. 2
                                         Case 2:23-cv-00247-JAD-VCF
                                              Case 2:23-cv-00247 Document
                                                                    Document
                                                                          1 Filed
                                                                             16 Filed
                                                                                  02/16/23
                                                                                       03/08/23
                                                                                            PagePage
                                                                                                 2 of 32
                                                                                                       5 of 245



                                  1 agency ; THE FINANCIAL MONITORING
                                    AGENCY OF THE REPUBLIC OF
                                  2 KAZAKHSTAN, a Kazakhstan Government
                                    agency; THE COMMITTEE FOR
                                  3 NATIONAL SECURITY OF
                                    KAZAKHSTAN, a Kazakhstan Government
                                  4 intelligence agency; MADINA
                                    ABYLKASSYMOVA, an individual;
                                  5 OLZHAS KIZATOV, an individual;
                                    ARMAN OMARBEKOV, an individual;
                                  6 and ADILBEK DZHAKSYBEKOV, an
                                  7 individual,
                                  8                          Defendants.

                                  9                                        INTRODUCTION
                                 10        1.      Since early 2022, the Government of the Republic of Kazakhstan (“Government”
                                 11 or “Government of Kazakhstan”) has perpetrated an illegal campaign against Nevada
                                 12 corporations—Plaintiff Jysan Holding, LLC (“Jysan Holding”) and the New Generation
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13 Foundation, Inc. (“NGF”), and their direct and indirect subsidiaries (together, the “Jusan
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14 Group”)—in an effort to steal more than USD $1.5 billion of Plaintiffs’ assets. This corrupt
                                 15 and lawless campaign demonstrates the brazen thuggery of a nation—a satellite of the former
                                 16 Soviet Union—that has weaponized the Government’s vast powers and senior-most officials
                                 17 to reach far outside Kazakhstan to steal from, intimidate, and otherwise harm persons and
                                 18 entities in the United States. Defendants are engaged in precisely the type of racketeering and
                                 19 expropriation that federal laws are designed to prohibit. Plaintiffs bring this action to remedy
                                 20 the Defendants’ unlawful confiscatory conduct.
                                 21        2.      Although the Government of Kazakhstan has offered numerous, contradictory,
                                 22 and pretextual justifications for its conduct against the Jusan Group, the Government’s true
                                 23 aim is to seize control of the Jusan Group’s Kazakhstan-based assets for its own commercial
                                 24 benefit while delivering massive commercial benefits to the Government’s favored private
                                 25 individuals. The Government has evinced its intent to pursue this goal by any means
                                 26 necessary, including threats, intimidation, criminal and civil investigations and litigations, and
                                 27 blocking USD $387 million in dividends slated for distribution by the Jusan Group’s privately
                                 28 owned bank, First Heartland Jusan Bank (“First Heartland Bank” or the “Bank”) and the


                                                                                     2
                                                                                                                            Ex. Page No. 3
                                         Case 2:23-cv-00247-JAD-VCF
                                              Case 2:23-cv-00247 Document
                                                                    Document
                                                                          1 Filed
                                                                             16 Filed
                                                                                  02/16/23
                                                                                       03/08/23
                                                                                            PagePage
                                                                                                 3 of 32
                                                                                                       6 of 245



                                  1 Bank’s direct parent, First Heartland Securities JSC (“FHS”)—funds destined for Plaintiff
                                  2 Jusan Technologies Ltd. (“JTL”), Plaintiff Jysan Holding, and ultimately, NGF.              The
                                  3 Defendants’ scheme to use the organs of Kazakhstan’s Government to harm Nevada entities
                                  4 has been made abundantly clear. After Plaintiffs informed Defendants of their intention to
                                  5 enforce their rights in the instant action, Defendants took two plainly retaliatory acts—first,
                                  6 in November 2022, Defendants introduced legislation specifically targeting Plaintiffs and,
                                  7 second, on December 2, 2022, Kazakhstan’s Prosecutor General filed a trumped-up lawsuit
                                  8 against Plaintiffs and other members and employees of the Jusan Group in the courts of
                                  9 Kazakhstan. The legislation targeted at the Jusan Group—detailed below—directed the
                                 10 unlawful seizure of the assets under the control of a Nevada entity. Most recently, on
                                 11 February 10, 2023, the Kazakhstani Prosecutor General filed a frivolous lawsuit, predicated
                                 12 on spurious allegations, for the sole purpose of confiscating assets under JTL’s control. Even
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13 worse, Kazakhstan has leveled threats of violence and imprisonment against United States
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14 residents who have material economic interests in the Jusan Group if Kazakhstan’s commercial
                                 15 demands are not met. These acts are in line with the Government of Kazakhstan’s history of
                                 16 rampant corruption, which according to public reporting has worsened since 2022. In sum, the
                                 17 Government of Kazakhstan has resorted to the same unlawful tools—confiscation,
                                 18 expropriation, threats, and intimidation—favored by the world’s most repressive dictators and
                                 19 authoritarian regimes.
                                 20        3.     The conduct by the Government and several individuals is obstructing
                                 21 Plaintiffs—including a Nevada LLC which was formed precisely to avoid the type of illegal
                                 22 asset seizure being perpetrated now—from fulfilling their commitment to ensuring educational
                                 23 freedom and excellence to the NGF grantees by providing U.S.-style higher education and
                                 24 free-market reforms in the Republic of Kazakhstan. Indeed, prior to the illegal conduct
                                 25 described herein, through Plaintiffs’ efforts, NGF and the Jusan Group as a whole have
                                 26 provided millions of dollars in grants to Nazarbayev University—a modern, English-language
                                 27 research university located in Astana (formerly Nur-Sultan), the Republic of Kazakhstan’s
                                 28 capital—as well as Nazarbayev Intellectual Schools and their organizations.


                                                                                   3
                                                                                                                         Ex. Page No. 4
                                         Case 2:23-cv-00247-JAD-VCF
                                              Case 2:23-cv-00247 Document
                                                                    Document
                                                                          1 Filed
                                                                             16 Filed
                                                                                  02/16/23
                                                                                       03/08/23
                                                                                            PagePage
                                                                                                 4 of 32
                                                                                                       7 of 245



                                  1        4.       Absent judicial relief, Defendants’ unlawful scheme will continue to deprive
                                  2 Plaintiffs of a primary source of funding from their subsidiaries connected to the Bank and
                                  3 will accordingly leave them unable to fulfill their obligation to provide dividend funding to
                                  4 their parent organizations, including NGF. In turn, NGF is unable to transfer its own funds or
                                  5 receive lawfully issued dividends, to serve its sole mission of funding Nazarbayev University
                                  6 and Nazarbayev Intellectual Schools. Ultimately, by freezing the Jusan Group’s funds, the
                                  7 Government is depriving Nazarbayev University and Nazarbayev Intellectual Schools of
                                  8 necessary resources, and thereby harming their students, researchers, and educators by
                                  9 obstructing an education that emphasizes the values of excellence, academic rigor, evidence-
                                 10 based research, scientific temper, intellectual liberty, innovation, and academic freedom.
                                 11                                 JURISDICTION AND VENUE
                                 12        5.       This Court has subject matter jurisdiction over this action pursuant to
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13 28 U.S.C. § 1331 because this action arises under the laws of the United States, specifically
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14 18 U.S.C. § 1964(c).
                                 15        6.       This Court also has subject matter jurisdiction over this action pursuant to
                                 16 28 U.S.C. § 1330(a) because Defendant Republic of Kazakhstan and its agencies and
                                 17 instrumentalities, listed below, are foreign states as defined in 28 U.S.C. § 1603(a) and are not
                                 18 entitled to immunity under 28 U.S.C. §§ 1605–07 or any applicable international agreement.
                                 19 Defendant Republic of Kazakhstan, as well as the Defendant agencies and instrumentalities
                                 20 listed below, are not immune from the jurisdiction of this Court under 28 U.S.C. § 1605(a)(2)
                                 21 because this action is based upon acts outside the territory of the United States in connection
                                 22 with a commercial activity of Defendants elsewhere and those acts have caused a direct effect
                                 23 in the United States.
                                 24        7.       This Court has supplemental jurisdiction over Plaintiffs’ state-law claims under
                                 25 28 U.S.C. § 1367(a) because those claims are so related to the other claims in the action that
                                 26 they form part of the same case or controversy under Article III of the United States
                                 27 Constitution.
                                 28


                                                                                    4
                                                                                                                           Ex. Page No. 5
                                         Case 2:23-cv-00247-JAD-VCF
                                              Case 2:23-cv-00247 Document
                                                                    Document
                                                                          1 Filed
                                                                             16 Filed
                                                                                  02/16/23
                                                                                       03/08/23
                                                                                            PagePage
                                                                                                 5 of 32
                                                                                                       8 of 245



                                  1        8.      This Court has personal jurisdiction over Defendant Republic of Kazakhstan and
                                  2 its agencies and instrumentalities, listed below, under 28 U.S.C. § 1330(b).
                                  3        9.      This Court has personal jurisdiction over all Defendants under Nev. Rev.
                                  4 Stat. § 14.065.     This Court also has personal jurisdiction over all Defendants under
                                  5 18 U.S.C. § 1965, and Rules 4(k)(1)(C) and 4(k)(2) of the Federal Rules of Civil Procedure.
                                  6        10.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(f)(1) because a
                                  7 substantial part of the events giving rise to the claim occurred in this District. In the alternative,
                                  8 venue is proper in this District under 28 U.S.C. § 1391(b)(3) because Defendants are subject
                                  9 to personal jurisdiction in this District with respect to this action.
                                 10                                               PARTIES
                                 11        11.     Plaintiff Jysan Holding is a limited liability company incorporated under the laws
                                 12 of the State of Nevada.        Jysan Holding’s sole member is NGF, a registered 501(c)(4)
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13 organization based and incorporated in Nevada. Jysan Holding has a 96.96% direct ownership
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14 interest in JTL, which serves as the holding company for Jysan Holding’s indirect subsidiaries
                                 15 and is an indirect majority owner of other companies located in Kazakhstan. Jysan Holding
                                 16 manages businesses and other investments of NGF, for the ultimate benefit of students of the
                                 17 grantee educational institutions in the Republic of Kazakhstan.
                                 18        12.     Plaintiff JTL is a limited company organized under the laws of England and
                                 19 Wales. JTL’s direct parent is Jysan Holding (the Nevada entity identified above). JTL is a
                                 20 direct and indirect majority owner of other companies in Kazakhstan, including FHS, in which
                                 21 JTL holds a direct 99.48% ownership interest.
                                 22        13.     Defendant Republic of Kazakhstan is a foreign sovereign state within the
                                 23 meaning of 28 U.S.C. § 1603(a). Defendant Republic of Kazakhstan maintains an Embassy
                                 24 within the United States at 1401 16th St. NW, Washington, DC 20036.
                                 25        14.     Defendant Agency for Regulation and Development of the Financial Market of
                                 26 the Republic of Kazakhstan (“ARDFM”) is a Government agency tasked with supervising the
                                 27 financial market and financial organizations within Kazakhstan.
                                 28


                                                                                       5
                                                                                                                               Ex. Page No. 6
                                         Case 2:23-cv-00247-JAD-VCF
                                              Case 2:23-cv-00247 Document
                                                                    Document
                                                                          1 Filed
                                                                             16 Filed
                                                                                  02/16/23
                                                                                       03/08/23
                                                                                            PagePage
                                                                                                 6 of 32
                                                                                                       9 of 245



                                  1        15.     Defendant Anti-Corruption Agency of the Republic of Kazakhstan (“AARK”) is
                                  2 a Government anti-corruption agency.            AARK is responsible for formulating and
                                  3 implementing the anti-corruption policy of the Government of Kazakhstan, coordinating the
                                  4 anti-corruption enforcement actions, and detecting, restraining, revealing, and investigating
                                  5 corruption offenses. AARK reports directly to the President of Kazakhstan.
                                  6        16.     Defendant Financial Monitoring Agency of the Republic of Kazakhstan (“FMA”)
                                  7 is a Government agency responsible for providing guidance in countering money laundering
                                  8 and the financing of terrorism, as well as for the prevention, detection, suppression, disclosure,
                                  9 and investigation of economic and financial offenses referred to it by the legislature of the
                                 10 Republic of Kazakhstan. FMA reports directly to the President of Kazakhstan.
                                 11        17.     Defendant Committee for National Security of Kazakhstan (“KNB”) is a
                                 12 Government intelligence agency (together with ARDFM, AARK, and FMA, the
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13 “Governmental Agency Defendants”).
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14        18.     Defendant Madina Abylkassymova is the Chairperson of ARDFM. She is a
                                 15 resident and citizen of Kazakhstan.
                                 16        19.     Defendant Olzhas Kizatov is the Deputy Chairperson of ARDFM. He is a
                                 17 resident and citizen of Kazakhstan.
                                 18        20.     Defendant Arman Omarbekov is a representative of ARDFM. He is a resident
                                 19 and citizen of Kazakhstan.
                                 20        21.     Defendant Adilbek Dzhaksybekov (together with Defendants Abylkassymova,
                                 21 Kizatov, and Omarbekov, the “Individual Defendants”) is the former owner of Tsesnabank, a
                                 22 bank the Jusan Group purchased in February 2019. He is a resident and citizen of Kazakhstan.
                                 23                                              FACTS
                                 24   A. Members of the Jusan Group Assist the Government of Kazakhstan by Purchasing
                                 25   Failing Kazakhstani Banks.
                                 26        22.     In 2018, Kazakhstan’s banking sector, which had not fully recovered from the
                                 27 2007-2009 financial crisis and subsequent devaluations of the Kazakhstani tenge in 2008 and
                                 28 2015, became acutely vulnerable following a sharp drop in global energy prices that had


                                                                                     6
                                                                                                                            Ex. Page No. 7
                                        Case 2:23-cv-00247-JAD-VCF
                                              Case 2:23-cv-00247 Document
                                                                   Document
                                                                          1 Filed
                                                                            16 Filed
                                                                                  02/16/23
                                                                                      03/08/23
                                                                                            PagePage
                                                                                                 7 of 32
                                                                                                      10 of 245



                                  1 significantly devalued the tenge once again. In response, the Government of Kazakhstan
                                  2 sought various commercial solutions in an attempt to avoid a collapse of the country’s entire
                                  3 banking system.
                                  4        23.     At the time, Tsesnabank was Central Asia’s second-largest bank in terms of assets
                                  5 and was owned by Defendant Dzhaksybekov. Defendant Dzhaksybekov misused his authority
                                  6 at Tsesnabank to financially advantage himself, his family, and his friends, essentially treating
                                  7 Tsesnabank as a private equity and investment firm for his personal benefit and engaging in
                                  8 other questionable or malicious business conduct.
                                  9        24.     By 2018, Tsesnabank was on the brink of failure, with nearly 90% of its assets
                                 10 non-performing.
                                 11        25.     Despite having received capital injections as part of the Government of
                                 12 Kazakhstan’s banking sector bailout in 2017, Tsesnabank continued to face severe liquidity
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13 issues. In early September 2018, it received a short-term loan of several hundred million
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14 dollars from the National Bank of the Republic of Kazakhstan. In a last-ditch attempt to
                                 15 preserve its business, Tsesnabank sold a significant portion of its agricultural loan portfolio to
                                 16 the state. Nonetheless, by mid-September, S&P had downgraded Tsesnabank’s liquidity rating
                                 17 from “adequate” to “less than adequate.”
                                 18        26.     The Government of Kazakhstan determined that if Tsesnabank were to fail, it
                                 19 would likely take with it the entire banking sector in Kazakhstan. The Government of
                                 20 Kazakhstan was therefore adamant about brokering a commercial solution to keep Tsesnabank
                                 21 afloat. In an attempt to do so, the Government of Kazakhstan initiated a series of attempted
                                 22 bailouts for Tsesnabank between 2018 and 2019.
                                 23        27.     The Government described those measures as “enhanc[ing] the robustness of
                                 24 Tsesnabank by cardinally improving its credit portfolio.”           Contemporaneous reporting
                                 25 recognized that this was another bailout targeted at correcting Tsesnabank’s weak and
                                 26 deteriorating financial situation.
                                 27        28.     Even with this financial support, by January 2019, significant losses in
                                 28 Tsesnabank’s credit portfolio continued to threaten Tsesnabank’s viability.          Tsesnabank


                                                                                     7
                                                                                                                            Ex. Page No. 8
                                        Case 2:23-cv-00247-JAD-VCF
                                              Case 2:23-cv-00247 Document
                                                                   Document
                                                                          1 Filed
                                                                            16 Filed
                                                                                  02/16/23
                                                                                      03/08/23
                                                                                            PagePage
                                                                                                 8 of 32
                                                                                                      11 of 245



                                  1 needed an additional injection of capital to survive. The Government of Kazakhstan searched
                                  2 urgently for another bank to purchase Tsesnabank, so that the purchasing bank could provide
                                  3 Tsesnabank with new capital to prevent collapse, in addition to providing a change of
                                  4 management to strengthen Tsesnabank’s operations.
                                  5        29.    The Government of Kazakhstan identified First Heartland Bank in Kazakhstan,
                                  6 owned by the Jusan Group, as a potential solution. Under the Jusan Group’s stewardship, First
                                  7 Heartland Bank had significantly grown its cash reserves and maintained a sterling reputation
                                  8 for proper stewardship.
                                  9        30.    The Government of Kazakhstan approached the Jusan Group about a potential
                                 10 acquisition of Tsesnabank. The Jusan Group sought to answer the Government’s plea and step
                                 11 in to assist the banking sector. But the Jusan Group was clear that it could not acquire
                                 12 Tsesnabank if it had a negative balance sheet, and due to Tsesnabank’s mismanaged loan
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13 portfolio under Defendant Dzhaksybekov, Tsesnabank’s balance sheet was deeply in the red.
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14        31.    Eager to find a commercial solution, the Government of Kazakhstan led the
                                 15 negotiations of a number of contracts (culminating together in the “Tsesnabank Framework
                                 16 Agreements”), pursuant to which the Government would provide Tsesnabank with additional
                                 17 bailout funds, including through the purchase of distressed assets, and the Jusan Group would
                                 18 then purchase Tsesnabank.
                                 19        32.    In January and February 2019, the Tsesnabank Framework Agreements were
                                 20 executed. The parties to the Tsesnabank Framework Agreements included the Bank’s parent
                                 21 company, First Heartland Securities JSC (“FHS”), Defendant Dzhaksybekov, Tsesnabank, and
                                 22 the Government of the Republic of Kazakhstan represented by the Ministry of Finance of the
                                 23 Republic of Kazakhstan and the National Bank of the Republic of Kazakhstan.               The
                                 24 Tsesnabank Framework Agreements were also expressly supported and negotiated by the
                                 25 current Prime Minister of Kazakhstan, Alikhan Smailov, and the President of Kazakhstan’s
                                 26 First Deputy Chief of Staff, Timur Suleimenov.
                                 27        33.    The framework agreement executed on January 17, 2019 (“January 17
                                 28 Tsesnabank Framework Agreement”) provided for the injection of Government funds into


                                                                                  8
                                                                                                                       Ex. Page No. 9
                                        Case 2:23-cv-00247-JAD-VCF
                                              Case 2:23-cv-00247 Document
                                                                   Document
                                                                          1 Filed
                                                                            16 Filed
                                                                                  02/16/23
                                                                                      03/08/23
                                                                                            PagePage
                                                                                                 9 of 32
                                                                                                      12 of 245



                                  1 Tsesnabank Bank, which ultimately took the form of bonds with long-term maturities. Then,
                                  2 pursuant to Article 8 of the January 17 Tsesnabank Framework Agreement, FHS purchased
                                  3 Tsesnabank.
                                  4        34.    The Government of Kazakhstan not only fully consented to the deal, but was
                                  5 leading the charge in its execution.
                                  6        35.    Importantly, at no time did the Government of Kazakhstan make paying back the
                                  7 bailout funds before 2023 a condition of its support for the acquisition of Tsesnabank, nor did
                                  8 the Government of Kazakhstan otherwise restrict the Bank’s payment of dividends. In fact,
                                  9 until recently, the Bank has issued dividends without objection from the Government of
                                 10 Kazakhstan, including issuing dividends in December 2021.
                                 11        36.    Not long after brokering the acquisition of Tsesnabank, the Government again
                                 12 approached the Jusan Group about acquiring another failing bank, ATF Bank.
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13        37.    As with Tsesnabank, the Government was the primary negotiator of the deal in
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14 which the Jusan Group acquired ATF Bank (effectuated through the ATF Bank Framework
                                 15 Agreements). And as with Tsesnabank, ATF Bank had significant losses in its credit portfolio,
                                 16 which the Government agreed to bail out in connection with the acquisition.
                                 17        38.    Importantly, and as discussed above, the Government did not condition its bailout
                                 18 of ATF Bank on any obligation to repay the bailout funds before 2023 and it did not otherwise
                                 19 restrict the Bank’s payment of dividends.
                                 20        39.    Thus, with the acquisition of ATF Bank, the Jusan Group answered the
                                 21 Government of Kazakhstan’s plea for a commercial solution to the banking crisis, invested
                                 22 significant capital into the country’s banking sector, and saved it from total failure for the
                                 23 second time in two years. As recently as January 2023, Prime Minister Smailov affirmed that
                                 24 the Jusan Group’s acquisitions of Tsesnabank and ATF Bank were necessary to stabilize the
                                 25 institutions’ financial situations and to ensure the safety of Kazakhstani citizens’ and
                                 26 businesses’ deposits.
                                 27
                                 28


                                                                                   9
                                                                                                                        Ex. Page No. 10
                                        Case 2:23-cv-00247-JAD-VCF
                                             Case 2:23-cv-00247 Document
                                                                   Document
                                                                         1 Filed
                                                                            16 Filed
                                                                                 02/16/23
                                                                                      03/08/23
                                                                                           PagePage
                                                                                                10 of 13
                                                                                                      32 of 245



                                  1    B. Jusan Group Established Nevada Entities to Protect and Grow Its Holdings
                                  2    Amidst the Kazakhstani Banking Crisis.
                                  3        40.     At the same time the Jusan Group was assisting the Government in bailing out
                                  4 failing Kazakhstani banks, the Jusan Group leadership was considering how best to continue
                                  5 to protect and grow its own assets. Up until 2019, the Jusan Group was owned by the
                                  6 Nazarbayev Fund (“NF”)—a Kazakhstani corporation established to fund Nazarbayev
                                  7 University and Nazarbayev Intellectual Schools—as well as supporting organizations of
                                  8 Nazarbayev University and Nazarbayev Intellectual Schools.
                                  9        41.     Established in 2010, Nazarbayev University is Kazakhstan’s flagship academic
                                 10 institution with aspirations to become a global-level research university. Its vision is to “give
                                 11 Kazakhstan and the world the scientists, academics, managers, and entrepreneurs needed to
                                 12 prosper and develop,” and it was founded on principles of autonomy and academic freedom.
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13 Nazarbayev University has made itself an integral part of the academic research ecosystem,
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14 and is associated with more than 5,600 international publications. Nazarbayev University
                                 15 provides Western-style, English-language based education.
                                 16        42.     Founded in 2008, the Nazarbayev Intellectual Schools were envisioned as a
                                 17 modern and innovative educational platform for the development and implementation of
                                 18 modern models of educational programs from preschool through high school. Nazarbayev
                                 19 Intellectual Schools graduates have proven to be successful in gaining admission to top
                                 20 universities, including Nazarbayev University and other top undergraduate programs in
                                 21 Europe and East Asia.
                                 22        43.     After nearly a decade of having Nazarbayev University and Nazarbayev
                                 23 Intellectual Schools successfully supported by the Kazakhstan-based endowment fund, the
                                 24 Jusan Group leadership became concerned that the endowment’s growth was inherently
                                 25 limited and at risk within Kazakhstan.
                                 26        44.     The Jusan Group leadership decided to establish an endowment fund in Nevada,
                                 27 a state known for strong legal protections and corporate governance standards, strong
                                 28


                                                                                    10
                                                                                                                          Ex. Page No. 11
                                        Case 2:23-cv-00247-JAD-VCF
                                             Case 2:23-cv-00247 Document
                                                                   Document
                                                                         1 Filed
                                                                            16 Filed
                                                                                 02/16/23
                                                                                      03/08/23
                                                                                           PagePage
                                                                                                11 of 14
                                                                                                      32 of 245



                                  1 philanthropic traditions, and ample examples of successful university endowments and non-
                                  2 profit organizations.
                                  3        45.     More specifically, the Jusan Group chose to incorporate in Nevada because it is
                                  4 one of the leading jurisdictions in the United States for corporate governance standards. The
                                  5 Jusan Group also considered the fact that many major for-profit and non-profit organizations
                                  6 operate as Nevada corporations.
                                  7        46.     In 2019, NGF was established as a non-stock Nevada non-profit corporation for
                                  8 the sole benefit of Nazarbayev University and Nazarbayev Intellectual Schools. NF then
                                  9 transferred all of its ownership interest in the Jusan Group to NGF. NGF’s sole mission is to
                                 10 secure funding for the activities of Nazarbayev University and Nazarbayev Intellectual Schools
                                 11 and their organizations, and it serves as their endowment. Jysan Holding was established to
                                 12 manage NGF’s assets.
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13        47.     In 2020, JTL, a limited company incorporated under the laws of England and
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14 Wales, was established and later placed under Jysan Holding through a capital contribution.
                                 15 JTL was incorporated for the purpose of creating a common corporate holding structure for
                                 16 the Jusan Group’s financial and technology arms. JTL is a holding company invested in
                                 17 various sectors, including banking, brokerage, insurance, asset management, e-commerce,
                                 18 telecommunications, logistics, and retail. Although JTL is expanding its portfolio through
                                 19 strategic mergers and acquisitions, its indirect ownership in the Bank makes up 90% of its total
                                 20 assets.
                                 21        48.     JTL has a 99.48% ownership interest in FHS, which in turn has an approximately
                                 22 80% ownership interest in First Heartland Bank.
                                 23
                                 24
                                 25
                                 26
                                 27
                                 28


                                                                                   11
                                                                                                                         Ex. Page No. 12
                                        Case 2:23-cv-00247-JAD-VCF
                                             Case 2:23-cv-00247 Document
                                                                   Document
                                                                         1 Filed
                                                                            16 Filed
                                                                                 02/16/23
                                                                                      03/08/23
                                                                                           PagePage
                                                                                                12 of 15
                                                                                                      32 of 245



                                 1         49.     Thus, by its indirect ownership of JTL, NGF receives passive income in the form
                                 2 of dividends and distributions from the business and operations of JTL and its holdings,
                                 3 including FHS and the Bank.
                                 4
                                 5
                                 6
                                 7
                                 8
                                 9
                                 10
                                 11
                                 12
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14
                                 15
                                 16
                                 17
                                           50.     Under intercompany policies and agreements, dividend payments will be
                                 18
                                      distributed from the Bank to FHS, and, in turn, to JTL, Jysan Holding, and NGF, less the funds
                                 19
                                      necessary to support the reasonable operational expenses. Each entity has a legal right to
                                 20
                                      declare and to receive dividends from its direct subsidiary.
                                 21
                                           51.     NGF first began to provide funding to Nazarbayev University and Nazarbayev
                                 22
                                      Intellectual Schools in 2021. As noted, in two years alone, NGF and the Jusan Group have
                                 23
                                      provided millions of dollars to Nazarbayev University, Nazarbayev Intellectual Schools, and
                                 24
                                      supporting organizations. These grants have supported efforts to provide education that
                                 25
                                      emphasizes the values of intellectual liberty, innovation, and academic freedom. NGF expects
                                 26
                                      funding to increase substantially in the coming years, particularly to address a significant
                                 27
                                 28


                                                                                    12
                                                                                                                         Ex. Page No. 13
                                        Case 2:23-cv-00247-JAD-VCF
                                             Case 2:23-cv-00247 Document
                                                                   Document
                                                                         1 Filed
                                                                            16 Filed
                                                                                 02/16/23
                                                                                      03/08/23
                                                                                           PagePage
                                                                                                13 of 16
                                                                                                      32 of 245



                                  1 decrease in financial support from the Government of Kazakhstan in light of severe fiscal
                                  2 challenges to Kazakhstan’s national budget.
                                  3        52.     NGF is funded entirely by profit distributions from Jysan Holding, which receives
                                  4 its revenue solely in the form of dividend payments from the Jusan Group entities through JTL.
                                  5    C. The Jusan Group’s Financial Success Provokes the Government and
                                  6    Dzhaksybekov to Force a Takeover of First Heartland Bank.
                                  7        53.     After its acquisitions of Tsesnabank and ATF Bank—which are now part of First
                                  8 Heartland Bank—First Heartland Bank achieved rapid revenue growth.
                                  9        54.     This success and increased profitability was attributable to a disciplined and
                                 10 strategic approach to handling the impaired loans that still made up a substantial share of the
                                 11 Tsesnabank’s and ATF Bank’s portfolio after their acquisition by First Heartland Bank. As
                                 12 part of this effort, First Heartland Bank implemented a new business strategy geared toward
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13 increasing repayment of poorly performing loans. This marked a sharp departure from the
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14 corrupt banking practices engaged in by Tsesnabank’s former owner.
                                 15        55.     In addition, the Bank implemented transparent corporate governance and
                                 16 decision-making, clear mechanisms for judicial and out-of-court debt collection, systematic
                                 17 elimination of corruption in the process of debt collections, and categorical suppression of loan
                                 18 restructurings between collectors and debtors. By removing borrowers’ incentives to negotiate
                                 19 for informal payment arrangements, the Bank incentivized borrowers to pay off their debt
                                 20 rather than risk losing collateral. These and other measures had a significant positive effect on
                                 21 the Bank’s revenue and bottom line.
                                 22        56.     The Bank has also taken a forward-looking approach to its business model. As
                                 23 one example, in the past few years, the Bank has focused on digital technologies, establishing
                                 24 an e-commerce platform and moving toward an integrated model for financial services. As a
                                 25 result of these efforts and improvements in profitability, asset quality, solvency, and risk
                                 26 management, Moody’s Investors Service upgraded its outlook on the Bank’s ratings from
                                 27 stable to positive on December 14, 2022.
                                 28


                                                                                    13
                                                                                                                          Ex. Page No. 14
                                        Case 2:23-cv-00247-JAD-VCF
                                             Case 2:23-cv-00247 Document
                                                                   Document
                                                                         1 Filed
                                                                            16 Filed
                                                                                 02/16/23
                                                                                      03/08/23
                                                                                           PagePage
                                                                                                14 of 17
                                                                                                      32 of 245



                                  1        57.     Thanks in part to the success of these strategies, the Bank has been able to pay
                                  2 dividends.
                                  3        58.     Today, First Heartland Bank is the third-largest banking conglomerate in
                                  4 Kazakhstan and maintains strong relationships with foreign financial institutions.
                                  5        59.     The Bank’s ability to pay dividends to its shareholders has, in turn, enabled NGF
                                  6 to provide significant funding to Nazarbayev University and Nazarbayev Intellectual Schools.
                                  7 NGF and the Jusan Group funded these entities, and supporting organizations, with millions
                                  8 of dollars in support to provide education emphasizing excellence, academic rigor, evidence-
                                  9 based research, scientific temper, innovation, and academic freedom.
                                 10   D. Defendants Harass and Extort the Jusan Group in an Effort to Steal the Group’s
                                 11   Assets.
                                 12        60.     Beginning in 2022, Defendants, including the government and government-
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13 agency Defendants, began to operate as an enterprise associated-in-fact and to participate in
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14 and operate other enterprises through a pattern of racketeering activity. Defendants’ goal was
                                 15 to wrongfully obtain the assets of the Jusan Group for the benefit of the Individual Defendants.
                                 16 Each of the Individual Defendants are associated by virtue of operating under the color of
                                 17 authority of the Government of Kazakhstan, either directly through employment by the
                                 18 Government, or in the case of Defendant Dzhaksybekov, through close ties to the Government.
                                 19 Defendants’ association-in-fact enterprise was in existence at least since January 2022 and is
                                 20 ongoing in a manner that permits its associates to engage in a pattern of racketeering.
                                 21        61.     This pattern of racketeering includes attempts to extort the Jusan Group
                                 22 constituting a violation of the Hobbs Act, 18 U.S.C. § 1951, which provides in relevant part:
                                 23 “Whoever in any way or degree obstructs, delays, or affects commerce or the movement of
                                 24 any article or commodity in commerce, by robbery or extortion or attempts or conspires so to
                                 25 do . . . shall be fined under this title or imprisoned not more than twenty years, or both,”
                                 26 18 U.S.C. § 1951(a). As used in that section, “[t]he term ‘extortion’ means the obtaining of
                                 27 property from another, with his consent, induced by wrongful use of actual or threatened force,
                                 28 violence, or fear, or under color of official right.” 18 U.S.C. § 1951(b)(2). “Commerce”


                                                                                   14
                                                                                                                         Ex. Page No. 15
                                        Case 2:23-cv-00247-JAD-VCF
                                             Case 2:23-cv-00247 Document
                                                                   Document
                                                                         1 Filed
                                                                            16 Filed
                                                                                 02/16/23
                                                                                      03/08/23
                                                                                           PagePage
                                                                                                15 of 18
                                                                                                      32 of 245



                                  1 includes “all commerce between any point in a State, Territory, Possession, or the District of
                                  2 Columbia and any point outside thereof; all commerce between points within the same State
                                  3 through any place outside such State; and all other commerce over which the United States has
                                  4 jurisdiction.” 18 U.S.C. § 1951(b)(3).
                                  5        1. The Agency for Regulation and Development of the Financial Market of the Republic
                                  6              of Kazakhstan Begins Harassing First Heartland Bank.
                                  7        62.      Beginning in January 2022 and continuing through the date of this filing, the
                                  8 Government of Kazakhstan, including various governmental and quasi-governmental
                                  9 agencies, has ordered at least 11 unjustified and unlawful investigations, requests, or
                                 10 inspections of Jysan Holding’s indirect subsidiary, First Heartland Bank. These unlawful acts
                                 11 began as a purported effort to assist the Bank with compliance, but they quickly revealed
                                 12 themselves to be transparent—and at times breathtakingly illegal—attempts to force unlawful
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13 payments to the Government of Kazakhstan and private individuals.
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14        63.      More specifically, starting on or about January 11, 2022, representatives for the
                                 15 ARDFM assigned five agents to surveil the Bank full-time. This surveillance represents an
                                 16 unwarranted intrusion far beyond ARDFM’s historical monitoring of the Bank and ARDFM’s
                                 17 standard monitoring of other banks.
                                 18        64.      In connection with this surveillance, ARDFM representatives flooded the Bank
                                 19 with broad and harassing requests for information regarding all aspects of the Bank’s activities.
                                 20 These requests were made with unreasonably short deadlines, forcing Bank staff to prioritize
                                 21 ARDFM’s request over regular business operations.
                                 22        65.      In addition to around-the-clock surveillance, ARDFM imposed arbitrary
                                 23 restricted-transaction thresholds on all transactions of parties related to the Bank. These
                                 24 restrictions, which continue to the date of this filing, are so extreme that all transactions
                                 25 involving the Jusan Group must be approved by ARDFM and the FMA before being executed.
                                 26        66.      ARDFM has, in turn, unjustifiably denied approval for small and large
                                 27 transactions. For example, under the auspices of these transaction thresholds, ARDFM has
                                 28 blocked certain Bank staff from using their bank card to pay for daily expenses and has blocked


                                                                                    15
                                                                                                                          Ex. Page No. 16
                                        Case 2:23-cv-00247-JAD-VCF
                                             Case 2:23-cv-00247 Document
                                                                   Document
                                                                         1 Filed
                                                                            16 Filed
                                                                                 02/16/23
                                                                                      03/08/23
                                                                                           PagePage
                                                                                                16 of 19
                                                                                                      32 of 245



                                  1 the transfer of USD $4 million from NGF’s account at the Bank to NGF’s U.S.-based bank
                                  2 account.     This payment remains blocked and is ultimately needed to fund Nazarbayev
                                  3 University’s and Nazarbayev Intellectual Schools’ operating expenses. NGF has since been
                                  4 unable to transfer any funds from its account at the Bank. This includes small transfers to its
                                  5 own accounts for operations, as well as payments to vendors who have provided services to
                                  6 NGF in furtherance of its core mission. For example, NGF’s payments for legal services, web
                                  7 design, translation services, and accounting and tax services have all been blocked.
                                  8 Remarkably, NGF was not provided any formal explanation as to why its transfers have been
                                  9 blocked.
                                 10        67.     ARDFM went even further and instructed the Bank to freeze the accounts of
                                 11 certain Bank personnel and their relatives indefinitely and without justification.
                                 12        68.     ARDFM has been unwilling to leave a record of their actions. When ARDFM
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13 approves a transaction, it insists on doing so orally. When ARDFM denies a transaction, it
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14 does not provide, either in writing or orally, any explanation for why the transaction was
                                 15 denied.
                                 16        69.     These efforts have hindered the economic activities of the Bank and have caused
                                 17 the loss of many established clients. The Bank’s loss of clients and business has had a
                                 18 significant impact on Plaintiffs, which depend on dividend payments from the Bank to fund
                                 19 their operations and their obligations to NGF.
                                 20        70.     ARDFM has stated that the purpose of this surveillance was to ensure the Bank’s
                                 21 compliance with the newly updated anti-money laundering regulations. But it is clear that this
                                 22 was pretextual. In reality, no other bank received such “assistance.” ARDFM was instead
                                 23 initiating a broad campaign of intimidation, coordinated with several Government agencies
                                 24 and individuals and designed to prevent the Bank from engaging in regular business and, in
                                 25 turn, to pressure the Jusan Group into surrendering funds and control of assets to the
                                 26 Government of Kazakhstan and its affiliates.
                                 27
                                 28


                                                                                   16
                                                                                                                         Ex. Page No. 17
                                        Case 2:23-cv-00247-JAD-VCF
                                             Case 2:23-cv-00247 Document
                                                                   Document
                                                                         1 Filed
                                                                            16 Filed
                                                                                 02/16/23
                                                                                      03/08/23
                                                                                           PagePage
                                                                                                17 of 20
                                                                                                      32 of 245



                                  1        2. Financial Monitoring Agency of the Republic of Kazakhstan Launches Pretextual
                                  2              Investigation into First Heartland Bank and Seizes Documents.
                                  3        71.      In February 2022, the FMA launched a criminal investigation against former ATF
                                  4 Bank officials purportedly regarding the issuance of non-performing loans between 2013 and
                                  5 2016.
                                  6        72.      But the focus of the investigation has also proven to be pretextual. During the
                                  7 pendency of the criminal case, FMA seized documents from the Bank well beyond the scope
                                  8 of an investigation into historical loans. As examples, the FMA seized documents related to
                                  9 the purchase of ATF Bank in 2020, the Bank’s dividend information after 2020 and account
                                 10 transactions of Bank officials entirely unrelated to ATF Bank’s historical loans.
                                 11        3. Government-Owned Organizations Take Adverse Actions Against First Heartland
                                 12              Bank.
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13        73.      Between January and March 2022, a number of Government-owned
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14 organizations withdrew all funds from the Bank on the instruction of the Government of
                                 15 Kazakhstan.       This resulted in an outflow of significant capital from the Bank.         These
                                 16 Government-owned organizations include, but are not limited to: Damu, Kazakhstan’s
                                 17 Entrepreneurship       Development     Fund;    Kazakhtelecom     and    Kcell,     the    largest
                                 18 telecommunications company and main cellular communication operator in Kazakhstan; and
                                 19 Samruk-Kazyna, a Kazakhstani sovereign wealth fund with ownership interests in national rail
                                 20 and postal service as well as state-run gas and oil.
                                 21        74.      Moreover, during this time, all Government agencies, in particular the Ministry
                                 22 of Digital Development and the Tax Committee, ceased all cooperation relating to the Bank’s
                                 23 collaborative effort with the Government to develop “govtech” products.
                                 24        4. Anti-Corruption Agency of the Republic of Kazakhstan Launches a Sham Criminal
                                 25              Action and Makes Extortion Attempts.
                                 26        75.       Beginning in June 2022, AARK launched a purported criminal investigation into
                                 27 the Bank regarding its 2019 commercial purchase of Tsesnabank and subsequent earnings.
                                 28


                                                                                   17
                                                                                                                          Ex. Page No. 18
                                        Case 2:23-cv-00247-JAD-VCF
                                             Case 2:23-cv-00247 Document
                                                                   Document
                                                                         1 Filed
                                                                            16 Filed
                                                                                 02/16/23
                                                                                      03/08/23
                                                                                           PagePage
                                                                                                18 of 21
                                                                                                      32 of 245



                                  1        76.    On information and belief, the impetus of this investigation was a letter from the
                                  2 former owner of Tsesnabank, Defendant Adilbek Dzhaksybekov, in which he improperly
                                  3 leveraged his personal connections to AARK leadership to force the investigation and with the
                                  4 ultimate goal of extorting millions of dollars from the Bank.
                                  5        77.    Defendant Dzhaksybekov’s push for criminal investigations centers around
                                  6 accusations that the Bank’s commercial purchase of Tsesnabank was somehow illegal,
                                  7 notwithstanding the fact that both he and the Government of Kazakhstan participated in and/or
                                  8 led the purchase, and that the purchase was necessitated by the near collapse of Tsesnabank
                                  9 under his prior ownership.
                                 10        78.    In connection with its investigation, AARK has undertaken extreme illegal and
                                 11 arbitrary enforcement measures, including excessive interrogations of Bank employees,
                                 12 unwarranted searches of key personnel and premises of the Bank, as well as travel restrictions
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13 for Jusan Group officers and employees.          On information and belief, these extreme
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14 enforcement measures were undertaken by AARK at the request of Mr. Dzhaksybekov.
                                 15        79.    In addition, AARK directed ARDFM to block all transactions, including the
                                 16 payment of dividends of the Jusan Group.            On October 7, 2022, ARDFM received
                                 17 correspondence from AARK to “take effective and comprehensive measures to suspend all
                                 18 expense (debit) transactions on payment of dividends by the Bank, FHS JSC, Jysan
                                 19 Technologies, Jysan Holding and [NGF] to their shareholders and owners, as well as any other
                                 20 payment transactions under the specified group of companies” and to “suspend expropriation
                                 21 actions of the shares of the Bank and FHS” during the pendency of the criminal investigation.
                                 22 On October 8, 2022, First Heartland Bank received correspondence from ARDFM signed by
                                 23 Defendant Kizatov, in which he detailed AARK’s October 7, 2022 instruction to ARDFM.
                                 24        80.    On behalf of the Bank, Mr. Shigeo Katsu attended a meeting in July 2022 with
                                 25 the President of Kazakhstan, Kassym-Jomart Tokayev, seeking to end the unfounded
                                 26 investigation. Mr. Katsu is the Chairman of the Board of Directors for both the Bank and FHS.
                                 27 During the meeting, President Tokayev stated he was aware that Defendant Dzhaksybekov had
                                 28


                                                                                   18
                                                                                                                         Ex. Page No. 19
                                        Case 2:23-cv-00247-JAD-VCF
                                             Case 2:23-cv-00247 Document
                                                                   Document
                                                                         1 Filed
                                                                            16 Filed
                                                                                 02/16/23
                                                                                      03/08/23
                                                                                           PagePage
                                                                                                19 of 22
                                                                                                      32 of 245



                                  1 raised complaints about the purchase of Tsesnabank, and suggested that Mr. Katsu should
                                  2 settle with Defendant Dzhaksybekov.
                                  3        81.      Following this meeting, Defendant Dzhaksybekov attempted to extort Mr. Katsu
                                  4 and the Bank, suggesting that AARK would close its investigation if the Bank paid him.
                                  5 Defendant Dzhaksybekov touted his personal connection to AARK officials, and demanded a
                                  6 payment of 60 million tenge (approximately USD $130 million) for unspecified “damages.”
                                  7        82.      Mr. Katsu refused all attempts to extort him and the Bank, noting that such
                                  8 payment without any evidence or justification would violate various anti-corruption laws and
                                  9 that the Jusan Group has to obey all laws, including those of Kazakhstan, the United Kingdom,
                                 10 and the United States.
                                 11        5. Government of Kazakhstan Attempts to Force Repayment of Government Assistance
                                 12              and to Take Control of FHS.
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13        83.      The mounting regulatory harassment from the Government of Kazakhstan in the
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14 first quarter of 2022 forced Mr. Katsu to attend a series of additional meetings with
                                 15 Government of Kazakhstan officials to seek an end to the Government’s illegal campaign.
                                 16        84.      During those meetings, Government of Kazakhstan officials, including
                                 17 representatives of ARDFM and the Prime Minister of Kazakhstan, Alikhan Smailov, claimed
                                 18 that the Bank was forbidden from paying dividends until the Bank repaid the Government
                                 19 assistance provided to Tsesnabank and ATF Bank.
                                 20        85.      No such limitation existed under any applicable law or contract, which of course,
                                 21 the Government knows. Nor had this restriction ever been raised before, including when the
                                 22 Bank issued dividends in December 2021.
                                 23        86.      Further, the Government of Kazakhstan has allowed other financial institutions
                                 24 to declare dividends without any issues, notwithstanding prior government assistance. As
                                 25 examples, Halyk Bank, Kaspi Bank and Sberbank Kazakhstan were allowed to pay dividends
                                 26 despite receiving significant state support over multiple years without first fully repaying the
                                 27 loans.
                                 28


                                                                                    19
                                                                                                                          Ex. Page No. 20
                                        Case 2:23-cv-00247-JAD-VCF
                                             Case 2:23-cv-00247 Document
                                                                   Document
                                                                         1 Filed
                                                                            16 Filed
                                                                                 02/16/23
                                                                                      03/08/23
                                                                                           PagePage
                                                                                                20 of 23
                                                                                                      32 of 245



                                  1        87.    Nonetheless, ARDFM continues to state that it will block any dividend payments
                                  2 and has threatened to imprison any Jusan Group employee who facilitates any dividend
                                  3 payment.
                                  4        88.    In addition, Mr. Suleimenov met with Jusan Group officials in September 2022,
                                  5 to demand that ownership of the Jusan Group be taken from U.S. and U.K. entities and be
                                  6 given to Kazakhstan.       During one such meeting, Mr. Suleimenov stated that he was
                                  7 participating as a representative of, and at the direction of, President Tokayev, and threatened
                                  8 the Jusan Group with additional Government actions over the lack of Kazakhstani citizens on
                                  9 the Boards of NGF and Jysan Holding. In that meeting, Mr. Suleimenov also demanded that
                                 10 control of FHS (and by extension, of the Bank) be given to unspecified Kazakhstani citizens.
                                 11 He did not provide any legal justification for the demand, nor could he.
                                 12          6.   Government of Kazakhstan Takes Action against Jusan Group Employees.
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13        89.    Upon information and belief, in the context of the Government of Kazakhstan’s
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14 negotiations with the Jusan Group in the first quarter 2022, the Government put pressure on
                                 15 the Jusan Group’s auditors to withhold audit reports until the return of all shares and option
                                 16 agreements from Jusan Group employees. The Government also threatened to initiate a
                                 17 criminal case relating to options that were not returned.
                                 18        90.    The ongoing negotiations and the threat of criminal action caused the involuntary
                                 19 surrender of these assets held by the Jusan Group employees.
                                 20        91.    The involuntary return of options caused Jusan Group personnel significant
                                 21 personal losses in the amount of tens of millions of dollars—compounding the personal losses
                                 22 implicated by ARDFM’s instruction to the Bank to freeze accounts of certain Bank personnel
                                 23 and their relatives.
                                 24        92.    For example, one member of the Jusan Group management—now a permanent
                                 25 resident of the United States—was forced to return his option of 4.62% shares of JTL, a book
                                 26 value of over USD $73 million as of May 2022. The Government has also threatened that
                                 27 same member with trial in absentia and imprisonment should that employee take any actions
                                 28


                                                                                   20
                                                                                                                         Ex. Page No. 21
                                         Case 2:23-cv-00247-JAD-VCF
                                              Case 2:23-cv-00247 Document
                                                                    Document
                                                                          1 Filed
                                                                             16 Filed
                                                                                  02/16/23
                                                                                       03/08/23
                                                                                            PagePage
                                                                                                 21 of 24
                                                                                                       32 of 245



                                  1 to counter the Government of Kazakhstan in its efforts to seize the property of the Jusan Group
                                  2 and its employees.
                                  3        93.     Mr. Suleimenov in particular inquired as to the return of shares and options during
                                  4 subsequent negotiations in September 2022, corroborating the Government-backed nature of
                                  5 the extortion.
                                  6        7. ARDFM Illegally Interferes with FHS’s Dividend Payments.
                                  7        94.     On October 6, 2022, FHS declared dividends and requested that the Bank add the
                                  8 declaration of dividends to its extraordinary general meeting. That declaration and request
                                  9 legally obligated the Bank, under its written policies and governing documents, to make a
                                 10 dividend distribution to FHS. Significant portions of the dividends owed to FHS are the
                                 11 ultimate property of Jysan Holding, and will, in turn, be owed to Jysan Holding under
                                 12 intercompany policies and agreements.
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13        95.     On October 7, 2022, ARDFM blocked FHS and the Bank from making this and
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14 other dividend payments in the approximate total amount of USD $387 million, as well as
                                 15 from making other payment transactions of the Bank to its direct and indirect parent
                                 16 companies.
                                 17        96.     ARDFM representatives Defendants Kizatov and Omarbekov called Bank
                                 18 representatives in October 2022 regarding these blocked payments. During a call with the
                                 19 Bank’s Chief Compliance Officer, Ms. Ardak Mukasheva, Defendant Omarbekov echoed the
                                 20 assertions made in prior meetings between representatives of the Bank and the Government,
                                 21 claiming that the Bank’s funds belong to the Government of Kazakhstan and threatening that
                                 22 law enforcement was preparing to arrest and interrogate employees of the Bank and employees
                                 23 of its affiliates.
                                 24        97.     Defendant Omarbekov called the Bank again on October 8, 2022, claiming that
                                 25 ARDFM had obtained a letter from an unnamed law enforcement agency directing ARDFM
                                 26 to block all dividend payments from the Bank.
                                 27
                                 28


                                                                                    21
                                                                                                                           Ex. Page No. 22
                                        Case 2:23-cv-00247-JAD-VCF
                                             Case 2:23-cv-00247 Document
                                                                   Document
                                                                         1 Filed
                                                                            16 Filed
                                                                                 02/16/23
                                                                                      03/08/23
                                                                                           PagePage
                                                                                                22 of 25
                                                                                                      32 of 245



                                  1        8. FMA Illegally Interferes with FHS’s Dividend Payments.
                                  2        98.      On October 13, 2022, the FMA sent a letter to the Bank incorrectly asserting that
                                  3 the Bank had received 1.5 trillion tenge from the Government of Kazakhstan on preferential
                                  4 terms and somehow was in default on this “debt.” In the letter, the FMA asserted that it was
                                  5 suspending the Bank’s ability to pay dividends to its shareholders and requiring that the Bank
                                  6 notify FMA before further dividend payments are carried out.
                                  7        9. The Government’s Proffered “Justifications” are Shifting, Contradictory, and
                                  8              Baseless.
                                  9        99.      Throughout the pendency of its campaign, the Government has provided various
                                 10 “justifications” for its actions—none of which justify the Government’s illegal actions against
                                 11 the Jusan Group.
                                 12        100.     When ARDFM increased surveillance of First Heartland Bank, the “justification”
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13 was to ensure the Bank’s compliance with the newly updated anti-money laundering
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14 regulations.
                                 15        101.     When FMA launched a criminal investigation against former ATF Bank officials,
                                 16 the “justification” was to investigate the issuance of non-performing loans between 2013 and
                                 17 2016.
                                 18        102.     In the end, the Government has settled on a single justification: that AARK’s
                                 19 criminal investigation, and ARDFM and FMA’s blocking of dividend payments, are somehow
                                 20 “justified” by First Heartland Bank’s commercial purchase of Tsesnabank and ATF Bank. Of
                                 21 course, this “justification” is just as baseless as all of its predecessors, as the key members of
                                 22 the campaign to harass the Bank were also the architects of the Framework Agreements.
                                 23 Indeed, the Bank has previously issued dividends without objection from the Government of
                                 24 Kazakhstan, including as recently as December 2021.
                                 25        103.     On information and belief, the Defendants’ intent has been to stop the dividend
                                 26 funds from traveling outside of Kazakhstan—and thus outside of the Government’s control—
                                 27 for the benefit of Plaintiffs, because Defendants know the dividend funds are for the benefit
                                 28 of, and owed to, Plaintiffs JTL and Jysan Holding, and ultimately NGF.


                                                                                    22
                                                                                                                           Ex. Page No. 23
                                         Case 2:23-cv-00247-JAD-VCF
                                              Case 2:23-cv-00247 Document
                                                                    Document
                                                                          1 Filed
                                                                             16 Filed
                                                                                  02/16/23
                                                                                       03/08/23
                                                                                            PagePage
                                                                                                 23 of 26
                                                                                                       32 of 245



                                  1    E. The Government Retaliates Against the Plaintiffs After Negotiation Fails.
                                  2        10. Plaintiffs Notify Defendants of Their Intention to Enforce Their Rights and the Parties
                                  3            Engage in Unsuccessful Negotiations.
                                  4        104.    In a last-ditch effort to resolve the dispute without court intervention, Plaintiffs
                                  5 notified Defendants of their intention to bring suit in Nevada. Throughout November, the
                                  6 parties, including counsel for the parties, engaged in a series of informal negotiations. Those
                                  7 negotiations were unsuccessful and part of a delay tactic while Defendants lined up corrupt
                                  8 legislators and agencies to ready an assault on Plaintiffs.
                                  9        105.    Since then, Defendants’ campaign of harassment has only intensified in what is
                                 10 plainly retaliation for Plaintiffs’ informing Defendants of their intention to file this lawsuit.
                                 11        11. Defendants Retaliate Against Plaintiffs by Introducing Legislation Targeting the
                                 12            Jusan Group.
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13        106.    On November 22, 2022, one day after President Tokayev’s re-election, the lower
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14 house of Kazakhstan’s Parliament, the Majilis, approved a draft law with amendments to the
                                 15 Law “On Banks and Banking Activities in the Republic of Kazakhstan.” The proposed
                                 16 amendments were directed at Plaintiffs and sought to, inter alia, (1) change the definitions of
                                 17 “bank holding” and “major participant in a bank” such that non-profit organizations, like NGF,
                                 18 could not directly or indirectly own banks; (2) place restrictions on banks that have received
                                 19 Government assistance, like First Heartland Bank, to prevent them from distributing dividends,
                                 20 including by allowing ARDFM to block such dividends; and (3) require all major direct and
                                 21 indirect shareholders and controlling entities of banks to apply for and obtain approval from
                                 22 ARDFM within 30 days of the date of publication of the amendments.
                                 23        107.    The upper house of Kazakhstan’s Parliament, the Senate, subsequently approved
                                 24 the amendments allowing ARDFM to block dividends from banks that have received
                                 25 Government assistance and requiring ARDFM approval for major direct and indirect
                                 26 shareholders and controlling entities of banks, while it rejected the proposed amendment
                                 27 barring non-profit organizations from owning banks, for lack of justification.
                                 28


                                                                                     23
                                                                                                                            Ex. Page No. 24
                                        Case 2:23-cv-00247-JAD-VCF
                                             Case 2:23-cv-00247 Document
                                                                   Document
                                                                         1 Filed
                                                                            16 Filed
                                                                                 02/16/23
                                                                                      03/08/23
                                                                                           PagePage
                                                                                                24 of 27
                                                                                                      32 of 245



                                  1        108.      These amendments, which entered into force on January 1, 2023, will allow the
                                  2 Government to block the dividends to which Plaintiffs are entitled and even to prohibit
                                  3 Plaintiffs’ ownership interests in the Bank. Under the amendments, JTL, Jysan Holding, and
                                  4 NGF would each need to obtain and submit to ARDFM credit ratings, audited financial
                                  5 statements, and relevant notarizations and apostilles from multiple jurisdictions within 30
                                  6 days, which is simply not feasible. Further, if these entities remain major shareholders in the
                                  7 Bank without ARDFM approval, ARDFM may demand that they reduce their indirect
                                  8 ownership share to below 25% and suspend all transactions between them and the Bank;
                                  9 establish trust management of the Bank’s shares for up to three months; and ultimately alienate
                                 10 the Bank’s shares by selling them on a securities market. There could not be a clearer case
                                 11 of unlawful seizure of assets under the control of Nevada citizens.
                                 12        109.      At least one member of the Majilis publicly stated that these amendments are
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13 explicitly designed to target the shareholders of First Heartland Bank and block the dividends
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14 at issue here.
                                 15        110.      After delaying until one day following President Tokayev’s re-election, the
                                 16 Government has now made the objectives and intent of its campaign clear—to stop the
                                 17 dividend funds from traveling outside Kazakhstan, to coerce the Jusan Group into surrendering
                                 18 funds and control of assets to the Government of Kazakhstan and its affiliates, and to retaliate
                                 19 against the Jusan Group for seeking to enforce its rights in an American court.
                                 20        12. Defendants Retaliate Against Plaintiffs by Filing a Suit Against Them in Kazakhstan.
                                 21        111.      On December 2, 2022, Kazakhstan’s Prosecutor General filed suit against
                                 22 numerous members of the Jusan Group, including Plaintiffs, and employees of the Jusan
                                 23 Group, including Mr. Katsu and the employee previously threatened with imprisonment. The
                                 24 Prosecutor General reports directly to the President and represents the interests of the
                                 25 Government of Kazakhstan in court.
                                 26        112.      The suit sought to do through the court exactly what Defendants have attempted
                                 27 to do through their campaign of harassment—to weaken the Jusan Group and limit its access
                                 28 to its own capital.


                                                                                    24
                                                                                                                         Ex. Page No. 25
                                        Case 2:23-cv-00247-JAD-VCF
                                             Case 2:23-cv-00247 Document
                                                                   Document
                                                                         1 Filed
                                                                            16 Filed
                                                                                 02/16/23
                                                                                      03/08/23
                                                                                           PagePage
                                                                                                25 of 28
                                                                                                      32 of 245



                                  1        113.   Specifically, the lawsuit sought to invalidate an agreement between two members
                                  2 of the Jusan Group—JTL and Pioneer Capital Invest LLP (“Pioneer”). The invalidation of
                                  3 this agreement would have eliminated NGF’s ownership interests in JTL and therefore
                                  4 eliminated NGF’s access to dividends and distributions from the business and operations of
                                  5 JTL and its holdings, including FHS and the Bank. The lawsuit also sought the return of
                                  6 millions of dollars (USD) in assets and cash from JTL to Pioneer, including JTL’s shares in
                                  7 the Bank. The assets and funds at issue were properly transferred to JTL via the agreement
                                  8 the Government sought to invalidate. By seeking the movement of assets and funds from
                                  9 Plaintiff JTL to Kazakhstan-based Pioneer, the Government is interfering with Jusan Group’s
                                 10 assets and seeking to move them into Kazakhstan where the Government will be able to exert
                                 11 greater control. Finally, the lawsuit sought that all the named Jusan Group employees
                                 12 surrender their shares in the Bank.
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13        114.   A Kazakhstani court quickly dismissed the Prosecutor General’s suit based on its
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14 determination that the claims lacked evidence. This emphatic dismissal of the Prosecutor
                                 15 General’s baseless suit further demonstrates the Government’s blatant misuse of the state
                                 16 apparatus to target the Jusan Group.
                                 17        13. Kazakhstani Government Officials Threaten “War” Against Jusan Group Employees.
                                 18        115.   On December 20, 2022, Kazakhstani Prime Minister Alikhan Smailov sent a
                                 19 message to the same Jusan Group employee – a United States resident – who was previously
                                 20 threatened with imprisonment, demanding the Jusan Group’s return to Kazakhstan and
                                 21 threatening “war” if the Government’s demands are not met.
                                 22        14. Defendants Repackage Their Previously Dismissed Complaint and Refile Suit in
                                 23            Kazakhstan.
                                 24        116.   On February 10, 2023, the Kazakhstani Prosecutor General filed another suit
                                 25 against members of the Jusan group challenging the 2020 transaction between JTL and Pioneer
                                 26 and seeking to seize certain Jusan Group property. While this suit alleges slightly different
                                 27 facts and claims different causes of action, its aim is the same as the suit filed, and swiftly
                                 28


                                                                                   25
                                                                                                                        Ex. Page No. 26
                                        Case 2:23-cv-00247-JAD-VCF
                                             Case 2:23-cv-00247 Document
                                                                   Document
                                                                         1 Filed
                                                                            16 Filed
                                                                                 02/16/23
                                                                                      03/08/23
                                                                                           PagePage
                                                                                                26 of 29
                                                                                                      32 of 245



                                  1 dismissed, in December 2022—to threaten the Jusan Group into handing over its control to the
                                  2 Government.
                                  3        117.   But the Government goes even a step further in the February suit and seeks to
                                  4 seize myriad assets of not just the defendants to the action, but of the Jusan Group at large.
                                  5 The Prosecutor General seeks to seize Jusan Group shares in over a dozen entities.
                                  6        118.   Once again the Prosecutor General sought to have JTL return to Pioneer millions
                                  7 of dollars (USD) in assets and cash which were properly transferred to JTL. And once again
                                  8 the result, if the suit were successful, would be the movement of the Jusan Group’s lawfully
                                  9 controlled assets into Kazakhstan where the Government will be able to exert greater control.
                                 10   F. The Government’s Illegal Campaign Is Consistent with Historical Corruption.
                                 11        119.   Defendants’ actions are consistent with historical corrupt practices in
                                 12 Kazakhstan, as well as reports of a marked increase in corruption in Kazakhstan in recent
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13 years.
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14        120.   As one example, in 2013, an arbitration panel awarded a Moldovan company
                                 15 USD $497,685,101 in damages (plus 50% of the cost of legal representation) for the
                                 16 Government of Kazakhstan’s breach of the Energy Charter Treaty, an international agreement
                                 17 establishing cross-border cooperation in the energy industry. That matter involved strikingly
                                 18 similar tactics to those employed against the Plaintiffs. There, the tribunal found that
                                 19 Kazakhstan breached the company’s right to fair and equitable treatment under the
                                 20 Treaty. Specifically, the company alleged that Kazakhstan engaged in a campaign of
                                 21 harassment, culminating in the cancellation of its oil and gas exploration contracts and the
                                 22 seizure of its assets located in Kazakhstan. That campaign reportedly included tactics by
                                 23 Kazakhstan’s financial police and seven quasi-state entities and involved the baseless freezing
                                 24 of the company’s assets, around-the-clock surveillance and inspection by government agency
                                 25 officials which prevented employees from conducting regular business affairs, the
                                 26 unwarranted seizure of documents, the unlawful arrest and conviction of an in-country
                                 27 manager, and the reversal of prior government approvals and waivers.
                                 28


                                                                                   26
                                                                                                                         Ex. Page No. 27
                                        Case 2:23-cv-00247-JAD-VCF
                                             Case 2:23-cv-00247 Document
                                                                   Document
                                                                         1 Filed
                                                                            16 Filed
                                                                                 02/16/23
                                                                                      03/08/23
                                                                                           PagePage
                                                                                                27 of 30
                                                                                                      32 of 245



                                  1        121.    More recently, media reports have noted that corruption cases in Kazakhstan have
                                  2 increased dramatically in 2022, including by as much as 30 percent.               Transparency
                                  3 International’s Corruption Perceptions Index, the most widely used global corruption ranking
                                  4 in the world, measures Kazakhstan as a bottom performer in public sector corruption within
                                  5 Eastern Europe and Central Asia, itself the second lowest performing region worldwide. A
                                  6 recent report published by the Group of States Against Corruption, the Council of Europe’s
                                  7 anti-corruption body, has comprehensively identified the ongoing “serious problem” of
                                  8 corruption that exists in Kazakhstan. Expert assessments reveal that Kazakhstan’s progress
                                  9 toward anti-corruption measures is scattered at best.
                                 10        122.    In October 2022, U.S. Senators on the Senate Foreign Relations Committee called
                                 11 for an “international investigation into state-sanctioned violence and review of U.S. security
                                 12 assistance following nationwide protests earlier this year” in Kazakhstan, including Kazakh
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13 security forces’ violent response toward civilian protestors. As part of that investigation, the
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14 Senators have called on the U.S. Department of State to review its relationship with
                                 15 Kazakhstan in order to “prioritize protecting fundamental freedoms and strengthening the rule
                                 16 of law.”
                                 17   G. The Government’s Illegal Campaign, Particularly Blocking Dividend Payments, Is
                                 18   Causing a Concrete Harm to the Jusan Group’s Operations.
                                 19        123.    Unsurprisingly, and presumably as the Government intended, the Government’s
                                 20 campaign, including most notably the blocking of approximately USD $387 million in
                                 21 dividends, is causing significant, immediate, and concrete harm to Plaintiffs’ operations.
                                 22        124.    Plaintiffs are unable to receive dividend funding from their subsidiaries
                                 23 connected to the Bank—a primary source of funding—nor are they able to fulfill their
                                 24 obligation to provide dividend funding to their parent organizations. In turn, NGF is unable to
                                 25 transfer or use its own funds in its own bank accounts or receive lawfully issued dividends, to
                                 26 serve its sole mission: to fund Nazarbayev University and Nazarbayev Intellectual Schools.
                                 27 Ultimately, by freezing the Jusan Group’s funds, the Government is depriving Nazarbayev
                                 28 University and Nazarbayev Intellectual Schools of necessary resources, and thereby harming


                                                                                   27
                                                                                                                         Ex. Page No. 28
                                        Case 2:23-cv-00247-JAD-VCF
                                             Case 2:23-cv-00247 Document
                                                                   Document
                                                                         1 Filed
                                                                            16 Filed
                                                                                 02/16/23
                                                                                      03/08/23
                                                                                           PagePage
                                                                                                28 of 31
                                                                                                      32 of 245



                                  1 Nazarbayev University’s and Nazarbayev Intellectual Schools’ students, researchers, and
                                  2 educators.
                                  3        125.    In addition, in August 2022, Plaintiff JTL represented its intention to buy back
                                  4 USD $20 million in JTL shares from an investor. Because of the blocked dividend payments,
                                  5 JTL is unable to proceed with this buyback.
                                  6
                                                                  FIRST CAUSE OF ACTION
                                  7            (EXPROPRIATION IN VIOLATION OF INTERNATIONAL LAW)
                                  8     (against Defendant Republic of Kazakhstan and Governmental Agency Defendants)

                                  9        126.    Plaintiffs incorporate and re-allege the foregoing as if alleged herein.

                                 10        127.    As parent corporations and shareholders of First Heartland Securities and First

                                 11 Heartland Bank, Plaintiffs have direct property interests in their rights to receive declared
                                 12 dividends from those subsidiaries.
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13        128.    Through their conduct alleged above, including obstructing Plaintiffs’
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14 subsidiaries from paying lawfully declared dividends to their foreign shareholders and directly
                                 15 aiming their conduct at that result, Defendant Republic of Kazakhstan and its agencies have
                                 16 expropriated and taken Plaintiffs’ property in violation of international law.
                                 17        129.    Defendant Government of Kazakhstan and its agencies have also violated

                                 18 customary international law by expropriating and taking similar property interests belonging
                                 19 to First Heartland Securities and First Heartland Bank with the discriminatory purpose to harm
                                 20 their foreign shareholders.
                                 21                                SECOND CAUSE OF ACTION
                                                      (18 U.S.C. § 1964(c)) (against the Individual Defendants)
                                 22
                                 23        130.    Plaintiffs incorporate and re-allege the foregoing as if alleged herein.

                                 24        131.    The Individual Defendants are associated-in-fact as an enterprise engaged in and

                                 25 whose activities affect interstate commerce, and have operated and participated in the conduct
                                 26 of additional enterprises, including the Defendant Government and its agencies.
                                 27
                                 28


                                                                                    28
                                                                                                                              Ex. Page No. 29
                                         Case 2:23-cv-00247-JAD-VCF
                                              Case 2:23-cv-00247 Document
                                                                    Document
                                                                          1 Filed
                                                                             16 Filed
                                                                                  02/16/23
                                                                                       03/08/23
                                                                                            PagePage
                                                                                                 29 of 32
                                                                                                       32 of 245



                                  1        132.    The Individual Defendants agreed to and did conduct and participate in the
                                  2 conduct of the enterprise’s affairs through a pattern of racketeering activity and for the
                                  3 unlawful purpose of intentionally extorting Plaintiffs, ultimately for their own personal benefit.
                                  4        133.    The Individual Defendants agreed to and did conduct and participate in the
                                  5 conduct of the enterprise’s affairs through a pattern of racketeering activity and for the
                                  6 unlawful purpose of intentionally extorting the Jusan Group.
                                  7        134.    The Individual Defendants have directly and indirectly conducted and
                                  8 participated in the conduct of the enterprise’s affairs through the pattern of racketeering and
                                  9 activity described above, in violation of 18 U.S.C. § 1962(c).
                                 10        135.    As a direct and proximate result of the Individual Defendants’ racketeering
                                 11 activities and violations of 18 U.S.C. § 1962(c), Plaintiffs have been injured in their business
                                 12 and property.
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13                                 THIRD CAUSE OF ACTION
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                                    (Nev. Rev. Stat. § 207.470) (against all Individual Defendants)
                                 14
                                 15        136.    Plaintiffs incorporate and re-allege the foregoing as if alleged herein.
                                 16        137.    Individual Defendants have committed at least two distinct crimes related to
                                 17 racketeering as defined in Nev. Rev. Stat. § 207.360, constituting racketeering activity
                                 18 pursuant to Nev. Rev. Stat. § 207.390.
                                 19        138.    Defendants have participated directly and indirectly in the conduct of the affairs
                                 20 of an enterprise whose activities constitute racketeering activity, in violation of Nev. Rev. Stat.
                                 21 § 207.400.
                                 22        139.    Plaintiffs have been injured in their business and property by reason of
                                 23 Defendants’ violations.
                                 24                        FOURTH CAUSE OF ACTION
                                 25        (INTENTIONAL INTERFERENCE WITH CONTRACTUAL RELATIONS)
                                                              (against all Defendants)
                                 26
                                 27        140.    Plaintiffs incorporate and re-allege the foregoing as if alleged herein.

                                 28


                                                                                     29
                                                                                                                              Ex. Page No. 30
                                        Case 2:23-cv-00247-JAD-VCF
                                             Case 2:23-cv-00247 Document
                                                                   Document
                                                                         1 Filed
                                                                            16 Filed
                                                                                 02/16/23
                                                                                      03/08/23
                                                                                           PagePage
                                                                                                30 of 33
                                                                                                      32 of 245



                                  1        141.    Valid intercompany agreements exist between First Heartland Bank and First
                                  2 Heartland Securities, First Heartland Securities and JTL, JTL and Jysan Holding, and Jysan
                                  3 Holding and NGF. Each of those intercompany agreements entitles the parent company in the
                                  4 corporate relationship to dividend payments from its subsidiary. Jysan Holding and JTL are
                                  5 parties to those agreements or, with respect to the agreements to which Jysan Holding and/or
                                  6 JTL are not a party, third-party beneficiaries.
                                  7        142.    Defendants each have knowledge of the aforementioned agreements, and have
                                  8 committed intentional acts intended and designed to disrupt each relationship. Defendants’
                                  9 acts have caused actual disruption of each agreement, and caused Jysan Holding and JTL
                                 10 damages resulting from that disruption.
                                 11
                                                           FIFTH CAUSE OF ACTION
                                 12                     (INTENTIONAL INTERFERENCE
9555 HILLWOOD DRIVE, 2ND FLOOR




                                          WITH PROSPECTIVE ECONOMIC ADVANTAGE) (against all Defendants)
                                 13
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14        143.    Plaintiffs incorporate and re-allege the foregoing as if alleged herein.

                                 15        144.    Upon receipt of the blocked dividend from the Bank, FHS planned to dividend

                                 16 all or portions of the blocked dividend to JTL, and JTL then planned to dividend all or portions
                                 17 of the blocked dividend to Jysan Holding, which was to dividend all or portions to its parent,
                                 18 NGF, minus reasonable operational expenses. Defendants each have knowledge of the
                                 19 ultimate purpose of the blocked dividend, and have committed intentional acts intended and
                                 20 designed to disrupt the dividends to Plaintiffs and the dividend to NGF. Defendants’ acts have
                                 21 caused actual disruption to those prospective dividends, and caused Jysan Holding and JTL
                                 22 damages resulting from that disruption.
                                 23        145.    Defendants’ conduct was unwarranted and without justification. No agreement

                                 24 or law provides for a right of interference or dividend obstruction relating to the Government’s
                                 25 bailout payments to Tsesnabank and ATF Bank. As a direct result of Defendants’ conduct,
                                 26 Plaintiffs and their affiliates did not receive funds necessary to perform their basic functions
                                 27 and missions, including their funding of NGF, Nazarbayev Intellectual Schools, and
                                 28 Nazarbayev University.


                                                                                      30
                                                                                                                              Ex. Page No. 31
                                        Case 2:23-cv-00247-JAD-VCF
                                             Case 2:23-cv-00247 Document
                                                                   Document
                                                                         1 Filed
                                                                            16 Filed
                                                                                 02/16/23
                                                                                      03/08/23
                                                                                           PagePage
                                                                                                31 of 34
                                                                                                      32 of 245



                                  1                                SIXTH CAUSE OF ACTION
                                                           (CIVIL CONSPIRACY) (against all Defendants)
                                  2
                                  3        146.    Plaintiffs incorporate and re-allege the foregoing as if alleged herein.
                                  4        147.    Defendants have acted in concert with the intent to accomplish an unlawful
                                  5 objective for the purpose of harming the Jusan Group, including Plaintiffs.
                                  6        148.    As a result of Defendants’ acts in furtherance of that conspiracy, the Jusan Group,
                                  7 including Plaintiffs, has suffered damages.
                                  8        149.    Defendants are jointly and severally liable for the damages that Plaintiffs have
                                  9 suffered as a result of each act taken by each Defendant in furtherance of Defendants’
                                 10 conspiracy.
                                 11                            SEVENTH CAUSE OF ACTION
                                                    (CIVIL AIDING AND ABETTING) (against all Defendants)
                                 12
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13        150.    Plaintiffs incorporate and re-allege the foregoing as if alleged herein.
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14        151.    Each Defendant has substantially assisted and encouraged other Defendants’
                                 15 conduct in breaching duties owed to Plaintiffs, including tort duties and statutory duties as set
                                 16 forth above.
                                 17        152.    Defendants’ breaches have caused harm to the Jusan Group, including Plaintiffs.
                                 18        153.    Defendants are each liable under a civil aiding and abetting theory for damages
                                 19 caused by the breaches that they have substantially assisted and encouraged.
                                 20                                     PRAYER FOR RELIEF
                                 21        154.    Plaintiffs incorporate and re-allege the foregoing as if alleged herein and
                                 22 respectfully request that the Court:
                                 23            a) Declare that Defendants’ conduct has unlawfully injured Plaintiffs, and is not
                                 24            subject to any lawful privilege or justification;
                                 25            b) Award Plaintiffs compensatory and punitive damages in an amount to be
                                 26            determined at trial, including trebled damages and attorneys’ fees pursuant to
                                 27            18 U.S.C. § 1964(c);
                                 28            c) Award Plaintiffs their costs and expenses, including attorneys’ fees; and


                                                                                     31
                                                                                                                              Ex. Page No. 32
                                      Case 2:23-cv-00247-JAD-VCF
                                           Case 2:23-cv-00247 Document
                                                                 Document
                                                                       1 Filed
                                                                          16 Filed
                                                                               02/16/23
                                                                                    03/08/23
                                                                                         PagePage
                                                                                              32 of 35
                                                                                                    32 of 245



                                 1          d) Award Plaintiffs such further relief as may be just under the circumstances.
                                 2                                        JURY DEMAND
                                 3      Plaintiffs demand a jury trial on all issues so triable.
                                 4      DATED this 16th day of February 2023
                                 5                                                   HOLLAND & HART LLP
                                 6
                                                                                      /s/ J. Stephen Peek
                                 7                                                   J. Stephen Peek
                                                                                     Erica C. Medley
                                 8                                                   9555 Hillwood Drive, 2nd Floor
                                                                                     Las Vegas, NV 89134
                                 9
                                                                                     Tariq Mundiya
                                 10                                                  (pro hac vice forthcoming)
                                                                                     Jeffrey B. Korn
                                 11                                                  (pro hac vice forthcoming)
                                                                                     WILLKIE FARR & GALLAGHER LLP
                                 12                                                  787 Seventh Avenue
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13                                                  New York, New York 10019
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14                                                  Michael J. Gottlieb
                                                                                     (pro hac vice forthcoming)
                                 15                                                  WILLKIE FARR & GALLAGHER LLP
                                                                                     1875 K Street, NW
                                 16                                                  Washington, DC 20006

                                 17                                                  Attorneys for Plaintiffs
                                                                                     Jysan Holding, LLC; and
                                 18                                                  Jusan Technologies Ltd.
                                 19
                                 20
                                 21
                                 22
                                 23
                                 24
                                 25
                                 26
                                 27
                                 28


                                                                                   32
                                                                                                                      Ex. Page No. 33
JS 44 (Rev. 10/20)        Case 2:23-cv-00247-JAD-VCF
                                Case 2:23-cv-00247 Document
                                                CIVIL Document
                                                      COVER 1-1 SHEET
                                                                16Filed
                                                                     Filed
                                                                        02/16/23
                                                                           03/08/23Page
                                                                                     Page
                                                                                        1 of363 of 245
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                          DEFENDANTS
          Jysan Holding, LLC; Jusan Technologies LTD                                                       Republic of Kazakhstan et al. (see attached)
    (b)   County of Residence of First Listed Plaintiff                                                    County of Residence of First Listed Defendant              Republic of Kazakhstan
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                           NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                      THE TRACT OF LAND INVOLVED.

    (c)   Attorneys (Firm Name, Address, and Telephone Number)                                              Attorneys (If Known)

          (see attached)

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                       III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                        (For Diversity Cases Only)                                    and One Box for Defendant)
    1   U.S. Government                ✖ 3   Federal Question                                                                    PTF        DEF                                         PTF      DEF
          Plaintiff                            (U.S. Government Not a Party)                      Citizen of This State            1          1      Incorporated or Principal Place         4     4
                                                                                                                                                       of Business In This State

    2   U.S. Government                  4   Diversity                                            Citizen of Another State            2          2   Incorporated and Principal Place           5         5
          Defendant                            (Indicate Citizenship of Parties in Item III)                                                           of Business In Another State

                                                                                                  Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                    Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                     Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                                TORTS                            FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
    110 Insurance                       PERSONAL INJURY                  PERSONAL INJURY             625 Drug Related Seizure             422 Appeal 28 USC 158       375 False Claims Act
    120 Marine                          310 Airplane                    365 Personal Injury -            of Property 21 USC 881           423 Withdrawal              376 Qui Tam (31 USC
    130 Miller Act                      315 Airplane Product                Product Liability        690 Other                                28 USC 157                  3729(a))
    140 Negotiable Instrument                Liability                  367 Health Care/                                                                              400 State Reapportionment
    150 Recovery of Overpayment         320 Assault, Libel &                Pharmaceutical                                                PROPERTY RIGHTS             410 Antitrust
        & Enforcement of Judgment            Slander                        Personal Injury                                                820 Copyrights             430 Banks and Banking
    151 Medicare Act                    330 Federal Employers’              Product Liability                                              830 Patent                 450 Commerce
    152 Recovery of Defaulted                Liability                  368 Asbestos Personal                                              835 Patent - Abbreviated   460 Deportation
         Student Loans                  340 Marine                          Injury Product                                                     New Drug Application ✖ 470 Racketeer Influenced and
         (Excludes Veterans)            345 Marine Product                  Liability                                                      840 Trademark                  Corrupt Organizations
    153 Recovery of Overpayment              Liability                 PERSONAL PROPERTY                      LABOR                        880 Defend Trade Secrets   480 Consumer Credit
        of Veteran’s Benefits           350 Motor Vehicle               370 Other Fraud              710 Fair Labor Standards                  Act of 2016                (15 USC 1681 or 1692)
    160 Stockholders’ Suits             355 Motor Vehicle               371 Truth in Lending             Act                                                          485 Telephone Consumer
    190 Other Contract                      Product Liability           380 Other Personal           720 Labor/Management                  SOCIAL SECURITY                Protection Act
    195 Contract Product Liability      360 Other Personal                  Property Damage              Relations                         861 HIA (1395ff)           490 Cable/Sat TV
    196 Franchise                           Injury                      385 Property Damage          740 Railway Labor Act                 862 Black Lung (923)       850 Securities/Commodities/
                                        362 Personal Injury -               Product Liability        751 Family and Medical                863 DIWC/DIWW (405(g))         Exchange
                                            Medical Malpractice                                          Leave Act                         864 SSID Title XVI         890 Other Statutory Actions
        REAL PROPERTY                     CIVIL RIGHTS                 PRISONER PETITIONS            790 Other Labor Litigation            865 RSI (405(g))           891 Agricultural Acts
    210 Land Condemnation               440 Other Civil Rights          Habeas Corpus:               791 Employee Retirement                                          893 Environmental Matters
    220 Foreclosure                     441 Voting                      463 Alien Detainee               Income Security Act              FEDERAL TAX SUITS           895 Freedom of Information
    230 Rent Lease & Ejectment          442 Employment                  510 Motions to Vacate                                              870 Taxes (U.S. Plaintiff      Act
    240 Torts to Land                   443 Housing/                        Sentence                                                            or Defendant)         896 Arbitration
    245 Tort Product Liability              Accommodations              530 General                                                        871 IRS—Third Party        899 Administrative Procedure
    290 All Other Real Property         445 Amer. w/Disabilities -      535 Death Penalty                IMMIGRATION                            26 USC 7609               Act/Review or Appeal of
                                            Employment                  Other:                       462 Naturalization Application                                       Agency Decision
                                        446 Amer. w/Disabilities -      540 Mandamus & Other         465 Other Immigration                                            950 Constitutionality of
                                            Other                       550 Civil Rights                 Actions                                                          State Statutes
                                        448 Education                   555 Prison Condition
                                                                        560 Civil Detainee -
                                                                            Conditions of
                                                                            Confinement
V. ORIGIN (Place an “X” in One Box Only)
✖   1 Original             2 Removed from                     3      Remanded from              4 Reinstated or             5 Transferred from      6 Multidistrict                     8 Multidistrict
      Proceeding             State Court                             Appellate Court              Reopened                    Another District          Litigation -                      Litigation -
                                                                                                                              (specify)                 Transfer                          Direct File
                                         Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                         18 U.S.C. § 1964(c)
VI. CAUSE OF ACTION                      Brief description of cause:
                                         Violation of Racketeer Influenced Corrupt Organizations Act and related violations of state and international law based on expropriation of assets.
VII. REQUESTED IN                             CHECK IF THIS IS A CLASS ACTION                        DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                               UNDER RULE 23, F.R.Cv.P.                                                                           JURY DEMAND:                 ✖   Yes          No
VIII. RELATED CASE(S)
                                             (See instructions):
      IF ANY                                                          JUDGE                                                               DOCKET NUMBER
DATE                                                                    SIGNATURE OF ATTORNEY OF RECORD
02/16/2023                                                              /s/ J. Stephen Peek
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                    APPLYING IFP                                    JUDGE                           MAG. JUDGE

                                                                                                                                                                      Ex. Page No. 34
                        Case 2:23-cv-00247-JAD-VCF
JS 44 Reverse (Rev. 10/20)    Case 2:23-cv-00247 Document
                                                    Document
                                                          1-1 16Filed
                                                                   Filed
                                                                      02/16/23
                                                                         03/08/23Page
                                                                                   Page
                                                                                      2 of373 of 245
                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
         the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statue.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.




                                                                                                                                   Ex. Page No. 35
    Case 2:23-cv-00247-JAD-VCF
          Case 2:23-cv-00247 Document
                                Document
                                      1-1 16Filed
                                               Filed
                                                  02/16/23
                                                     03/08/23Page
                                                               Page
                                                                  3 of383 of 245




                               Civil Cover Sheet Attachment

Section I(a) Defendants:
       Republic of Kazakhstan;
       The Agency for Regulation and Development of the Financial Market of the Republic of
       Kazakhstan;
       The Anti-Corruption Agency of the Republic of Kazakhstan;
       The Financial Monitoring Agency of the Republic of Kazakhstan;
       The Committee for National Security of the Republic of Kazakhstan;
       The Agency for Regulation and Development of the Financial Market of the Republic of
       Kazakhstan, Chairperson, Abylkassymova, Madina;
       The Agency for Regulation and Development of the Financial Market of the Republic of
       Kazakhstan, Deputy Chairperson, Kizatov, Olzhas;
       The Agency for Regulation and Development of the Financial Market of the Republic of
       Kazakhstan, Representative, Omarbekov, Arman;
       Dzhaksybekov, Adilbek.

Section I(c) Plaintiffs’ Attorneys:
       J. Stephen Peek
       Erica C. Medley
       Holland & Hart LLP
       9555 Hillwood Drive, 2nd Floor
       Las Vegas, NV 89134
       (702) 669-4600

       Tariq Mundiya
       Jeffrey B. Korn
       Willkie Farr & Gallagher LLP
       787 Seventh Avenue
       New York, NY 10019
       (212) 728-8000

       Michael J. Gottlieb
       Willkie Farr & Gallagher
       1875 K Street, NW
       Washington, DC 20006
       (202) 303-1000




                                                                                Ex. Page No. 36
               Case
                Case2:23-cv-00247-JAD-VCF
                     2:23-cv-00247-JAD-VCF Document
                                            Document16
                                                     5 Filed 02/22/23
                                                             03/08/23 Page 11
                                                                           39 of 18
                                                                                 245

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                           District
                                                    __________      of Nevada
                                                               District of __________

     Jysan Holding, LLC; Jusan Technologies LTD                         )
                                                                        )
                                                                        )
                                                                        )
                            Plaintiff(s)                                )
                                                                        )
                                v.                                            Civil Action No. 2:23-cv-00247-JAD-VCF
                                                                        )
               Republic of Kazakhstan et al.                            )
                                                                        )
                                                                        )
                                                                        )
                           Defendant(s)                                 )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Madina Abylkassymova, Chairperson
                                           The Agency for Regulation and Development of the Financial Market of the Republic of
                                           Kazakhstan
                                           21, Koktem-3
                                           Almaty, 050040
                                           Republic of Kazakhstan


          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Stephen Peek                      Tariq Mundiya               Michael J. Gottlieb
                                           Erica C. Medley              Jeffrey B. Korn             Willkie Farr & Gallagher LLP
                                           Holland & Hart LLP           Willkie Farr & Gallagher LLP 1875 K Street, NW
                                           9555 Hillwood Dr., 2nd Fl.    787 Seventh Ave.            Washington, DC 20006
                                           Las Vegas, NV 89134          New York, NY 10019


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT
                                                                                          February 22, 2023


Date:
                                                                                           Signature of Clerk or Deputy Clerk




                                                                                                                 Ex. Page No. 37
                 Case
                  Case2:23-cv-00247-JAD-VCF
                       2:23-cv-00247-JAD-VCF Document
                                              Document16
                                                       5 Filed 02/22/23
                                                               03/08/23 Page 12
                                                                             40 of 18
                                                                                   245

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:23-cv-00247-JAD-VCF

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                       , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




                                                                                                                  Ex. Page No. 38
                                       Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 41 of 245

                                               Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 1 из 38

                                  1 Дж. Стивен Пик/ J. Stephen Peek
                                    (Лицензия № 1758 Невады)
                                  2 Эрика С. Медли/ Erica C. Medley
                                    (Лицензия № 13959 Невады)
                                  3 HOLLAND & HART LLP
                                    9555 Hillwood Drive, 2nd Floor
                                  4 Las Vegas, NV 89134
                                    Тел: 702.669.4600
                                  5 Факс: 702.669.4650
                                    speek@hollandhart.com
                                  6
                                  7 Тарик Мундия/ Tariq Mundiyа (pro hac vice будет предоставлено позднее)
                                    Джеффри Б. Корн/ Jeffrey B. Korn (pro hac vice будет предоставлено позднее)
                                  8 W ILLKIE FARR & GALLAGHER LLP
                                    787 Seventh Avenue
                                  9 New York, New York 10019
                                    (212) 728-8000
                                 10 tmundiya@willkie.com
                                    jkorn@willkie.com
                                 11
                                    Майкл Дж. Готлиб/ Michael J. Gottlieb (pro hac vice будет предоставлено позднее)
                                 12 WILLKIE FARR & GALLAGHER LLP
9555 HILLWOOD DRIVE, 2ND FLOOR




                                    1875 K Street, NW
                                 13 Washington, DC 20006
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                    (202) 303-1000
                                 14 mgottlieb@willkie.com
                                 15 Адвокаты Истцов
                                 16 Jysan Holding, LLC; и
                                    Jusan Technologies Ltd.,
                                 17
                                                         ФЕДЕРАЛЬНЫЙ ОКРУЖНОЙ СУД США
                                 18
                                                                    ОКРУГ НЕВАДА
                                 19
                                    JYSAN HOLDING, LLC, компания с         Дело №.:
                                 20 ограниченной ответственностью,
                                    зарегистрированная в штате Невада;     ИСКОВОЕ ЗАЯВЛЕНИЕ О
                                 21 JUSAN TECHNOLOGIES LTD,                РАССМОТРЕНИИ ДЕЛА СУДОМ
                                    компания с ограниченной                ПРИСЯЖНЫХ
                                 22 ответственностью, зарегистрированная в
                                    Англии и Уэльсе;
                                 23
                                                         Истец,
                                 24 против
                                 25 Иностранное суверенное государство
                                 26 РЕСПУБЛИКА КАЗАХСТАН;
                                    Правительственное учреждение
                                 27 Казахстана АГЕНТСТВО
                                    РЕСПУБЛИКИ КАЗАХСТАН ПО
                                 28 РЕГУЛИРОВАНИЮ И РАЗВИТИЮ
                                    ФИНАНСОВОГО РЫНКА;



                                                                                                               Ex. Page No. 39
                                        Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 42 of 245
                                                Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 2 из 38


                                  1   Правительственная антикоррупционная
                                      служба Казахстана АГЕНТСТВО
                                  2   РЕСПУБЛИКИ КАЗАХСТАН ПО
                                      ПРОТИВОДЕЙСТВИЮ КОРРУПЦИИ;
                                  3   Правительственное учреждение
                                      Казахстана АГЕНТСТВО
                                  4   РЕСПУБЛИКИ КАЗАХСТАН ПО
                                      ФИНАНСОВОМУ МОНИТОРИНГУ;
                                  5   Правительственное разведывательное
                                      агентство Казахстана КОМИТЕТ
                                  6   НАЦИОНАЛЬНОЙ БЕЗОПАСНОСТИ
                                      РЕСПУБЛИКИ КАЗАХСТАН;
                                  7   физическое лицо МАДИНА
                                      АБЫЛКАСЫМОВА; физическое лицо
                                  8   ОЛЖАС КИЗАТОВ; физическое лицо
                                      АРМАН ОМАРБЕКОВ; и физическое
                                  9   лицо АДИЛЬБЕК ДЖАКСЫБЕКОВ,

                                 10                       Ответчики.

                                 11
                                                                         ВВЕДЕНИЕ
                                 12
                                          1.     С начала 2022 года Правительство Республики Казахстан («Правительство»
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13
                                      или «Правительство Казахстана») проводит незаконную кампанию в отношении
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14
                                      корпораций штата Невада: Истца Jysan Holding, LLC («Jysan Holding, LLC») и New
                                 15
                                      Generation Foundation, Inc. («NGF»), а также их прямых и косвенных дочерних компаний
                                 16
                                      (вместе именуемых «Jusan Group») в целях хищения активов Истца на сумму более
                                 17
                                      1,5 млрд долларов США.        Указанная коррупционная и незаконная кампания
                                 18
                                      демонстрирует наглый бандитизм нации — бывшего государства-сателлита Советского
                                 19
                                      Союза,   —    которая   использовала     широкие   полномочия     правительства       и
                                 20
                                      высокопоставленных чиновников, чтобы, выходя далеко за пределы Казахстана, красть,
                                 21
                                      запугивать и иным образом причинять вред физическим лицам и организациям в
                                 22
                                      Соединенных Штатах. Ответчики занимаются тем самым рэкетом и экспроприацией,
                                 23
                                      которые запрещены федеральными законами. Истцы подают настоящий иск, чтобы
                                 24
                                      устранить незаконное конфискационное поведение Ответчиков.
                                 25
                                          2.     Несмотря     на   то,   что   Правительство    Казахстана    представило
                                 26
                                      многочисленные, противоречивые и предлоговые оправдания их действий против
                                 27

                                 28
                                                                               2
                                                                                                                Ex. Page No. 40
                                        Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 43 of 245
                                                Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 3 из 38


                                  1   группы Jusan Group, истинная цель Правительства состоит в том, чтобы захватить

                                  2   контроль над активами Jusan Group в Казахстане в целях собственной коммерческой

                                  3   выгоды, обеспечивая огромную коммерческую выгоду частным лицам, наделенным

                                  4   Правительством привилегиями. Правительство продемонстрировало свое намерение

                                  5   добиваться данной цели любыми возможными средствами, среди которых: угрозы,

                                  6   запугивание, уголовные и гражданские расследования и судебные процессы, а также

                                  7   блокировка 387 миллионов долларов США дивидендов, предназначенных для

                                  8   распределения частным банком в составе Jusan Group, First Heartland Jusan Bank («First

                                  9   Heartland Bank» или «Банк») и непосредственной материнской компании Банка, AO First

                                 10   Heartland Securities («FHS») — средства, предназначенные для истца Jusan Technologies

                                 11   Ltd. («JTL»), истца Jysan Holding и, в конечном счете, NGF. Схема Ответчиков по

                                 12   использованию органов Правительства Казахстана для нанесения вреда организациям
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13   из Невады стала предельно ясной. После того, как Истцы проинформировали

                                      Ответчиков о намерении защищать свои права в немедленно направленном иске,
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15   Ответчики предприняли два очевидных акта возмездия: во-первых, в ноябре 2022 г.

                                 16   Ответчики внесли изменения в законодательство, специально направленные против

                                 17   Истцов; а во-вторых, 2 декабря 2022 г. Генеральная Прокуратура Казахстана подала в

                                 18   суды Казахстана сфабрикованный иск против Истцов и иных членов и сотрудников

                                 19   Jusan Group. Законодательные меры, направленные против Jusan Group, подробно

                                 20   описанные ниже, предусматривали незаконный захват активов, находящихся под

                                 21   контролем юридического лица из Невады. Совсем недавно, 10 февраля 2023 года,

                                 22   Генеральная прокуратура Казахстана подала недобросовестно составленный иск,

                                 23   основанный на ложных обвинениях, с единственной целью конфискации активов,

                                 24   находящихся под контролем JTL. Более того, Казахстан угрожал насилием и тюремным

                                 25   заключением резидентам США, имеющим материальные экономические интересы в

                                 26   Jusan Group, если коммерческие требования Казахстана не будут выполнены. Эти

                                 27   действия соответствуют ситуации с повсеместной коррупцией в Правительстве

                                 28
                                                                                3
                                                                                                                  Ex. Page No. 41
                                        Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 44 of 245
                                                  Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 4 из 38


                                  1   Казахстана, которая, согласно публичным отчетам, ухудшилась с 2022 года. Таким

                                  2   образом, Правительство Казахстана прибегает к тем же незаконным инструментам —

                                  3   конфискации,     экспроприации,   угрозам       и   запугиванию, —    которым      отдают

                                  4   предпочтение самые репрессивные диктаторы и авторитарные режимы мира.

                                  5       3.       Действия Правительства и некоторых отдельных лиц препятствуют Истцам

                                  6   (включая КОО штата Невада, которая была создана именно для того, чтобы избежать

                                  7   такого незаконного изъятия активов, которое совершается в настоящее время) в

                                  8   исполнении обязательств по предоставлению свободного образования и передового

                                  9   опыта получателям грантов NGF, через предоставление высшего образования в

                                 10   американском стиле и проведения рыночных реформ в Республике Казахстан.

                                 11   Действительно, в период, предшествующий противоправной деятельности, указанной в

                                 12   настоящем документе, NGF и Jusan Group усилиями Истцов в целом предоставили
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13   Назарбаев     Университету   (современному          англоязычному    исследовательскому

                                      университету, расположенному в столице Республики Казахстан Астане (ранее Нур-
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15   Султан)), а также Назарбаев Интеллектуальные Школы и их организациям, гранты на

                                 16   миллионы долларов.

                                 17       4.       В отсутствие судебной защиты незаконная схема Ответчиков будет

                                 18   продолжать лишать Истцов основного источника финансирования от их дочерних

                                 19   компаний, связанных с Банком, и, соответственно, они не смогут выполнять свои

                                 20   обязательства по предоставлению дивидендного финансирования для их головных

                                 21   организаций, среди которых NGF. В свою очередь, NGF не в состоянии переводить

                                 22   собственные средства или получать законно выпущенные дивиденды для выполнения

                                 23   своей единственной миссии ― финансирования Назарбаев Университета и Назарбаев

                                 24   Интеллектуальные Школы. В конечном счете, замораживая средства Jusan Group,

                                 25   Правительство лишает Назарбаев Университет и Назарбаев Интеллектуальные Школы

                                 26   необходимых ресурсов, следовательно, наносит ущерб их студентам, исследователям и

                                 27   преподавателям, препятствуя предоставлению образования, которое ставит акцент на

                                 28
                                                                                  4
                                                                                                                      Ex. Page No. 42
                                        Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 45 of 245
                                                  Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 5 из 38


                                  1   необходимость высоких стандартов обучения, академической строгости, исследований,

                                  2   основанных на фактах, научного характера, интеллектуальной свободы, инноваций и

                                  3   академической свободы.

                                  4                      ЮРИСДИКЦИЯ И МЕСТО РАССМОТРЕНИЯ

                                  5        5.      Данный Суд обладает предметной юрисдикцией относительно данного иска

                                  6   в соответствии с 28 U.S.C. § 1331, поскольку данный иск возникает в соответствии с

                                  7   законодательством Соединенных Штатов, а именно 18 U.S.C. § 1964(c).

                                  8        6.      Данный Суд также обладает предметной юрисдикцией относительно

                                  9   данного иска в соответствии с § 1330(a) 28 U.S.C., поскольку Ответчик Республика

                                 10   Казахстан и ее нижеперечисленные учреждения и органы являются иностранными

                                 11   государствами по определению в § 1603(a) 28 U.S.C, и не имеют права на иммунитет в

                                 12   соответствии с 28 U.S.C. §§ 1605–07 или любым применимым международным
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13   соглашением. Ответчик Республика Казахстан, а также перечисленные ниже агентства

                                      и органы Ответчика не защищены иммунитетом от юрисдикции данного Суда в
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15   соответствии с 28 U.S.C. § 1605(a)(2), поскольку данный иск основан на действиях за

                                 16   пределами     территории    Соединенных        Штатов,   связанных       с     коммерческой

                                 17   деятельностью Ответчиков за пределами США, и данные действия оказали

                                 18   непосредственное воздействие в Соединенных Штатах.

                                 19        7.      Данный Суд обладает дополнительной юрисдикцией в отношении

                                 20   требований    Истцов     относительно   законодательств    штата     в       соответствии      с

                                 21   28 U.S.C. § 1367(a), поскольку эти требования настолько связаны с другими

                                 22   требованиями иска, что они являются частью того же дела или разногласия в

                                 23   соответствии со Статьей III Конституции Соединенных Штатов.

                                 24        8.      Данный Суд обладает персональной юрисдикцией в отношении Ответчика

                                 25   Республики Казахстан и ее учреждений и органов, перечисленных ниже, в соответствии

                                 26   с 28 U.S.C. § 1330(b).

                                 27

                                 28
                                                                                 5
                                                                                                                         Ex. Page No. 43
                                        Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 46 of 245
                                                Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 6 из 38


                                  1       9.     Данный Суд обладает персональной юрисдикцией в отношении всех

                                  2   Ответчиков согласно Nev. Rev. Stat. § 14.065. Данный Суд также обладает персональной

                                  3   юрисдикцией в отношении всех Ответчиков в соответствии с 18 U.S.C. § 1965 и

                                  4   правилами 4(k)(1)(C) и 4(k)(2) Федеральных правил гражданского судопроизводства.

                                  5       10.    Место рассмотрения в данном округе является надлежащим в соответствии

                                  6   с 28 U.S.C. § 1391 (f) (1), поскольку значительная часть событий, послуживших

                                  7   основанием для иска, произошла в данном округе. В качестве альтернативы, место

                                  8   рассмотрения   в   данном    округе    является   надлежащим    в   соответствии      с

                                  9   28 U.S.C. § 1391(b)(3), поскольку Ответчики подлежат персональной юрисдикции в

                                 10   данном округе в отношении данного иска.

                                 11                                         СТОРОНЫ

                                 12       11.    Истец Jysan Holding ― компания с ограниченной ответственностью,
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13   зарегистрированная в соответствии с законодательством штата Невада. Единственным

                                      членом Jysan Holding является NGF ― организация со статусом 501 (c) (4),
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15   базирующаяся и зарегистрированная в Неваде. Jysan Holding имеет 96,96 % прямого

                                 16   участия в JTL, которая выступает в качестве холдинговой компании для непрямых

                                 17   дочерних компаний Jysan Holding и является косвенным мажоритарным владельцем

                                 18   иных компаний, расположенных в Казахстане. Jysan Holding управляет бизнесом и

                                 19   иной инвестиционной деятельностью NGF в интересах студентов учебных заведений-

                                 20   грантополучателей в Республике Казахстан.

                                 21       12.    Истец JTL — компания с ограниченной ответственностью, учрежденная в

                                 22   соответствии с законодательством Англии и Уэльса. Прямой материнской компанией

                                 23   JTL является Jysan Holding (указанная выше организация из Невады). JTL является

                                 24   прямым и косвенным мажоритарным владельцем прочих компаний в Казахстане, среди

                                 25   которых FHS, в которой JTL владеет прямой долей участия в размере 99,48 %.

                                 26

                                 27

                                 28
                                                                                6
                                                                                                                Ex. Page No. 44
                                        Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 47 of 245
                                                Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 7 из 38


                                  1       13.       Ответчик Республика Казахстан ― иностранное суверенное государство в

                                  2   значении 28 U.S.C. § 1603(a). Ответчик Республика Казахстан имеет посольство в

                                  3   Соединенных Штатах по адресу 1401 16th St NW, Washington, DC 20036.

                                  4       14.       Ответчик Агентство Республики Казахстан по регулированию и развитию

                                  5   финансового рынка («АРРФР») ― правительственное учреждение, которому поручено

                                  6   осуществлять надзор за финансовым рынком и финансовыми организациями в

                                  7   Казахстане.

                                  8       15.       Ответчик Агентство Республики Казахстан по противодействию коррупции

                                  9   («Антикоррупционная         служба») —    правительственное      антикоррупционное

                                 10   учреждение.      Антикоррупционная служба отвечает за разработку и реализацию

                                 11   антикоррупционной        политики     Правительства    Казахстана,      координацию

                                 12   правоприменительных мероприятий по борьбе с коррупцией, а также выявление,
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13   пресечение,     раскрытие    и   расследование   коррупционных       правонарушений.

                                      Антикоррупционная служба подчиняется непосредственно Президенту Казахстана.
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15       16.       Ответчик Агентство Республики Казахстан по финансовому мониторингу

                                 16   («АФМ») ― государственный орган, ответственный за предоставление рекомендаций

                                 17   по противодействию отмыванию денег и финансированию терроризма, а также за

                                 18   предотвращение, обнаружение, пресечение, раскрытие и расследование экономических

                                 19   и финансовые правонарушений, направленных им законодательными органами

                                 20   Республики Казахстан. АФМ подчиняется непосредственно Президенту Казахстана.

                                 21       17.       Ответчик Комитет национальной безопасности Республики Казахстан

                                 22   («КНБ») ― правительственное разведывательное учреждение (совместно с АРРФР,

                                 23   Антикоррупционной службой и АФМ «Ответчики правительственных учреждений»).

                                 24       18.       Ответчик Мадина Абылкасымова ― председатель АРРФР. Она проживает

                                 25   в Казахстане, гражданка Казахстана.

                                 26       19.       Ответчик Олжас Кизатов ― заместитель председателя АРРФР.              Он

                                 27   проживает в Казахстане, гражданин Казахстана.

                                 28
                                                                                7
                                                                                                                 Ex. Page No. 45
                                        Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 48 of 245
                                                Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 8 из 38


                                  1       20.      Ответчик Арман Омарбеков ― представитель АРРФР. Он проживает в

                                  2   Казахстане, гражданин Казахстана.

                                  3       21.      Ответчик Адильбек Джаксыбеков (вместе с ответчиками Абылкасымовой,

                                  4   Кизатовым и Омарбековым, «Индивидуальные ответчики») ― бывший владелец

                                  5   Цеснабанка банка, который Jusan Group приобрела в феврале 2019 года. Он проживает

                                  6   в Казахстане, гражданин Казахстана.

                                  7                                         ФАКТЫ

                                  8   A. Члены Jusan Group Помогают Правительству Казахстана, Покупая

                                  9   Обанкротившиеся Казахстанские Банки.

                                 10       22.      В 2018 году банковский сектор Казахстана, не полностью оправившийся от

                                 11   финансового кризиса 2007–2009 годов и последующих девальваций казахстанского

                                 12   тенге в 2008 и 2015 годах, попал в острую уязвимую ситуацию после резкого падения
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13   мировых цен на энергоносители, что снова привело к значительной девальвации тенге.

                                      В ответ правительство Казахстана искало различные коммерческие решения, в
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15   стремлении избежать краха всей банковской системы страны.

                                 16       23.      Цеснабанк в то время был вторым самым большим банком по размеру

                                 17   активов в Центральной Азии и принадлежал ответчику Джаксыбекову.           Ответчик

                                 18   Джаксыбеков злоупотреблял своими полномочиями в Цеснабанке для получения

                                 19   финансовой выгоды в собственных целях, а также для своей семьи и друзей, фактически

                                 20   используя Цеснабанк как частную инвестиционную компанию для достижения своих

                                 21   личных интересов и участия в прочих сомнительных или злонамеренных деловых

                                 22   операциях.

                                 23       24.      К 2018 году Цеснабанк был на грани краха: почти 90 % активов банка были

                                 24   необслуживаемыми.

                                 25       25.      Серьезные проблемы с ликвидностью у Цеснабанка не прекращались,

                                 26   несмотря на получение капитальных вливаний в рамках государственной помощи

                                 27   банковскому сектору Казахстана в 2017 году. В начале сентября 2018 года банк получил

                                 28
                                                                                8
                                                                                                                Ex. Page No. 46
                                          Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 49 of 245
                                                  Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 9 из 38


                                  1   краткосрочный       займ   в   размере   нескольких     сотен    миллионов    долларов      от

                                  2   Национального Банка Республики Казахстан. В последней отчаянной попытке остаться

                                  3   в   бизнесе,     Цеснабанк     продал    государству     значительную    часть   портфеля

                                  4   сельскохозяйственных кредитов. Однако, к середине сентября S&P понизило рейтинг

                                  5   ликвидности Цеснабанка с «адекватного» на «менее чем адекватный».

                                  6         26.      Правительство Казахстана определило, что в случае краха Цеснабанка он,

                                  7   скорее всего, потопит с собой весь банковский сектор Казахстана. Таким образом,

                                  8   правительство Казахстана непреклонно искало какое-нибудь коммерческое решение,

                                  9   которое бы позволило удержать Цеснабанк на плаву. Пытаясь достичь поставленной

                                 10   цели, правительство Казахстана инициировало серию попыток спасения Цеснабанка в

                                 11   период с 2018 по 2019 год.

                                 12         27.      Правительство    охарактеризовало       данные    меры   как    «повышение
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13   устойчивости Цеснабанка за счет кардинального улучшения его кредитного портфеля».

                                      В современных отчетах признавалось, что это была очередная помощь для спасения,
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15   направленная на исправление шаткого и ухудшающегося финансового положения

                                 16   Цеснабанка.

                                 17         28.      Однако даже при такой финансовой поддержке, к январю 2019 года

                                 18   значительные потери в кредитном портфеле Цеснабанка продолжали угрожать

                                 19   жизнеспособности       Цеснабанка.       Чтобы     выжить,      Цеснабанку    нужны    были

                                 20   дополнительные вливания капитала. Правительство Казахстана срочно искало другой

                                 21   банк, который купил бы Цеснабанк и предоставил новый капитал, чтобы предотвратить

                                 22   крах Цеснабанка, а также обеспечить смену руководства для усиления операционной

                                 23   деятельности Цеснабанка.

                                 24         29.      Правительство Казахстана обнаружило, что First Heartland Bank в

                                 25   Казахстане, принадлежащий Jusan Group, ― потенциальное решение. First Heartland

                                 26   Bank значительно нарастил наличные резервы и сохранил безупречную репутацию

                                 27   благодаря надлежащему управлению под руководством Jusan Group.

                                 28
                                                                                   9
                                                                                                                       Ex. Page No. 47
                                        Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 50 of 245
                                                Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 10 из 38


                                  1       30.    Правительство Казахстана обратилось к Jusan Group насчет потенциального

                                  2   приобретения Цеснабанка.      Jusan Group постарались удовлетворить просьбу

                                  3   правительства и принять участие в оказании помощи банковскому сектору. Но для

                                  4   Jusan Group было очевидно, что они не смогут приобрести Цеснабанк, если у

                                  5   Цеснабанка отрицательный баланс, а из-за неэффективного управления кредитным

                                  6   портфелем Цеснабанка под руководством ответчика Джаксыбекова у Цеснабанка был

                                  7   очень отрицательный баланс.

                                  8       31.    В попытке найти коммерческое решение, Правительство Казахстана

                                  9   провело переговоры по ряду контрактов (кульминацией которых стали «Рамочные

                                 10   соглашения по Цеснабанку»), в соответствии с которыми Правительство предоставит

                                 11   Цеснабанку дополнительные средства на выживание, в которые входит покупка

                                 12   проблемных активов, после чего Jusan Group приобретет Цеснабанк.
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13       32.    Рамочные соглашения по Цеснабанку были заключены в январе и феврале

                                      2019 года. Сторонами Рамочных соглашений по Цеснабанку были АО First Heartland
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15   Securities («FHS»), материнская компания Банка, ответчик Джаксыбеков, Цеснабанк и

                                 16   Правительство Республики Казахстан в лице Министерства финансов Республики

                                 17   Казахстан и Национального Банка Республики Казахстан. Рамочные соглашения по

                                 18   Цеснабанку явно поддерживались и были согласованы с нынешним премьер-министром

                                 19   Казахстана Алиханом Смаиловым и первым заместителем руководителя аппарата

                                 20   Президента Казахстана Тимуром Сулейменовым.

                                 21       33.    Рамочное соглашение, подписанное 17 января 2019 года («Рамочное

                                 22   соглашение по Цеснабанку от 17 января»), предусматривало вливание государственных

                                 23   средств в Банк Цеснабанк, которые в конечном итоге приняли форму облигаций с

                                 24   длительным сроком погашения. Затем, FHS приобрела Цеснабанк, в соответствии со

                                 25   статьей 8 «Рамочного соглашения по Цеснабанку от 17 января».

                                 26       34.    Правительство Казахстана не только дало полное согласие на сделку, но и

                                 27   возглавило ее исполнение.

                                 28
                                                                             10
                                                                                                              Ex. Page No. 48
                                        Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 51 of 245
                                                Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 11 из 38


                                  1       35.    Важно отметить, что возвращение суммы спасательного капитала к

                                  2   2023 году не являлось условием Правительства Казахстана для поддержки в вопросе

                                  3   приобретения Цеснабанка, также Правительство Казахстана не ограничивало выплату

                                  4   дивидендов Банком каким-либо иным образом. Фактически до недавнего момента, в

                                  5   декабре 2021 года включительно, Банк выплачивал дивиденды без возражений со

                                  6   стороны Правительства Казахстана.

                                  7       36.    Вскоре после сделки по продаже Цеснабанка, Правительство снова

                                  8   обратилось к Jusan Group, с предложением приобрести еще один обанкротившийся

                                  9   банк, АТФ Банк.

                                 10       37.    Как и в случае с Цеснабанком, Правительство было основной стороной

                                 11   переговоров по сделке, в рамках которой Jusan Group приобрела АТФ Банк

                                 12   (осуществлялось посредством Рамочных соглашений по АТФ Банку). Как и в случае с
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13   Цеснабанком, у АТФ Банка имелись значительные убытки по кредитному портфелю,

                                      который Правительство согласилось спасти, в связи с приобретением.
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15       38.    Важно отметить, что, как указано выше, Правительство не обусловило

                                 16   оказание помощи АТФ Банку какими-либо обязательствами по возврату средств до

                                 17   2023 года и никаким иным образом не ограничивало выплату Банком дивидендов.

                                 18       39.    Таким образом, приобретая АТФ Банк, Jusan Group удовлетворила просьбу

                                 19   Правительства Казахстана о коммерческом решении банковского кризиса, вложила

                                 20   значительный капитал в банковский сектор страны и во второй раз за два года спасла

                                 21   сектор от полного краха. Еще в январе 2023 года премьер-министр Смаилов подтвердил,

                                 22   что приобретение Jusan Group Цеснабанка и АТФ Банка было необходимо, чтобы

                                 23   стабилизировать финансовое положение учреждений и обеспечить безопасность

                                 24   вкладов казахстанских граждан и юридических лиц.

                                 25

                                 26

                                 27

                                 28
                                                                              11
                                                                                                               Ex. Page No. 49
                                         Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 52 of 245
                                                 Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 12 из 38


                                  1    B. Jusan Group Создала Предприятия в Неваде для Защиты и Увеличения

                                  2    Своих Активов на Фоне Банковского Кризиса в Казахстане.

                                  3        40.     В то время, когда Jusan Group помогала Правительству в спасении

                                  4   обанкротившихся казахстанских банков, руководство Jusan Group искало наилучшие

                                  5   варианты, как и далее защищать и приумножать собственные активы. До 2019 года

                                  6   Jusan Group принадлежала фонду Nazarbayev Fund («NF») — казахстанской корпорации,

                                  7   созданной для финансирования Назарбаев Университета и Nazarbayev Intellectual

                                  8   Schools, а также организаций, поддерживающих Назарбаев Университет и Nazarbayev

                                  9   Intellectual Schools.

                                 10        41.     Назарбаев Университет, основанный в 2010 году, является флагманским

                                 11   учебным заведением Казахстана, с амбициями стать исследовательским университетом

                                 12   мирового уровня. Цель университета ― «предоставить Казахстану и миру ученых,
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13   академиков, менеджеров и предпринимателей, необходимых для процветания и

                                      развития», университет был основан на принципах автономии и академической
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15   свободы.      Назарбаев Университет стал неотъемлемой частью академической

                                 16   исследовательской экосистемы с более 5600 международных публикаций. Назарбаев

                                 17   Университет оказывает образовательные услуги западного образца на английском

                                 18   языке.

                                 19        42.     Nazarbayev Intellectual Schools были основаны в 2008 году и созданы как

                                 20   современная и инновационная образовательная платформа для разработки и внедрения

                                 21   современных моделей образовательных программ от дошкольного до старшего

                                 22   школьного возраста. Выпускники Nazarbayev Intellectual Schools успешно поступают в

                                 23   ведущие университеты, среди которых Назарбаев Университет и другие ведущие

                                 24   программы бакалавриата в Европе и Восточной Азии.

                                 25        43.     После почти десяти лет поддержки Назарбаев Университета и Nazarbayev

                                 26   Intellectual Schools от благотворительного фонда в Казахстане, руководство Jusan Group

                                 27

                                 28
                                                                               12
                                                                                                                  Ex. Page No. 50
                                        Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 53 of 245
                                                Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 13 из 38


                                  1   стало все более беспокоиться о том, что рост благотворительного фонда в Казахстане

                                  2   по сути ограничен и находится под угрозой.

                                  3       44.    Руководство Jusan Group приняло решение создать благотворительный

                                  4   фонд в Неваде ― штате, известном строгой правовой защитой и стандартами

                                  5   корпоративного    управления,   сильными     традициями   благотворительности        и

                                  6   многочисленными успешными университетскими благотворительными фондами и

                                  7   некоммерческими организациями.

                                  8       45.    В частности, Jusan Group решила зарегистрировать компанию в Неваде,

                                  9   потому что это одна из ведущих юрисдикций в США по стандартам корпоративного

                                 10   управления. Jusan Group также учла тот факт, что многие крупные коммерческие и

                                 11   некоммерческие организации ведут свою операционную деятельность как корпорации

                                 12   штата Невада.
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13       46.    NGF была создана в 2019 году в Неваде как неакционерная некоммерческая

                                      корпорация, с целью ведения деятельности исключительно в интересах Назарбаев
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15   Университета и Nazarbayev Intellectual Schools. NF затем передала NGF всю свою долю

                                 16   в Jusan Group. Единственной миссией NGF является обеспечение финансирования

                                 17   деятельности Назарбаев Университета и Nazarbayev Intellectual Schools, а также их

                                 18   организаций, это благотворительный фонд для них. Jysan Holding был создан для

                                 19   управления активами NGF.

                                 20       47.    Компания с ограниченной ответственностью JTL была зарегистрирована в

                                 21   2020 году в соответствии с законодательством Англии и Уэльса и позднее передана

                                 22   Jysan Holding за счет взноса капитала. JTL была зарегистрирована с целью создания

                                 23   общей корпоративной холдинговой структуры для финансового и технологического

                                 24   подразделений Jusan Group.      JTL — холдинговая компания, инвестирующая в

                                 25   различные сферы, среди которых банковское дело, брокерские услуги, страхование,

                                 26   управление активами, электронная коммерция, телекоммуникации, логистика и

                                 27   розничная торговля. JTL расширяет свой портфель за счет стратегических слияний и

                                 28
                                                                              13
                                                                                                               Ex. Page No. 51
                                        Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 54 of 245
                                                 Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 14 из 38


                                  1   поглощений, тем не менее, косвенное участие JTL в Банке составляет 90 % его общих

                                  2   активов.

                                  3        48.    JTL владеет 99,48 % долей в FHS, которая, в свою очередь, владеет

                                  4   примерно 80 % долей в First Heartland Bank.

                                  5        49.    Таким образом, NGF получает пассивный доход через косвенное владение

                                  6   JTL, в виде дивидендов и распределений от бизнеса и деятельности JTL и ее холдингов,

                                  7   включая FHS и Банк.

                                  8

                                  9

                                 10

                                 11

                                 12
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15

                                 16

                                 17

                                 18

                                 19

                                 20

                                 21        50.    В соответствии с внутригрупповыми положениями и соглашениями,
                                 22   выплаты дивидендов будут распределяться от Банка к FHS и, в свою очередь, к JTL,
                                 23   Jysan Holding и NGF, за вычетом средств, необходимых для покрытия адекватных
                                 24   операционных расходов.     Каждое предприятие имеет законное право объявлять и
                                 25   получать дивиденды от своей прямой дочерней компании.
                                 26        51.    NGF    впервые    начал    предоставлять   финансирование      Назарбаев
                                 27   Университету и Nazarbayev Intellectual Schools в 2021 году. Как отмечается, только за
                                 28
                                                                               14
                                                                                                                 Ex. Page No. 52
                                        Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 55 of 245
                                                 Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 15 из 38


                                  1   два года NGF и Jusan Group предоставили Назарбаев Университету, Nazarbayev

                                  2   Intellectual Schools и поддерживающим их организациям миллионы долларов.

                                  3   Вышеуказанные гранты шли на поддержку усилий по предоставлению образования, в

                                  4   котором особое внимание уделяется ценностям интеллектуальной свободы, инноваций

                                  5   и академической свободы. NGF ожидает, что финансирование значительно увеличится

                                  6   в ближайшие годы, в частности, в рамках решения проблемы существенного

                                  7   сокращения финансовой поддержки со стороны Правительства Казахстана в контексте

                                  8   серьезных финансовых проблем национального бюджета Казахстана.

                                  9       52.      NGF полностью финансируется за счет распределения прибыли от Jysan

                                 10   Holding, которая получает свой доход исключительно в виде выплат дивидендов от

                                 11   компаний Jusan Group через JTL.

                                 12   C. Финансовый        Успех   Jusan    Group     Провоцирует    Правительство        и
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13   Джаксыбекова Принудительно Захватить First Heartland Bank.

                                          53.      После приобретения Цеснабанка и АТФ Банка ― которые теперь являются
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15   частью First Heartland Bank ― First Heartland Bank добился быстрого увеличения

                                 16   выручки.

                                 17       54.      Такой   успех   и    повышение     прибыльности    были    связаны       с

                                 18   дисциплинированным и стратегическим подходом к работе с обесцененными

                                 19   кредитами, которые по-прежнему составляли значительную долю портфеля Цеснабанка

                                 20   и АТФ Банка после того, как их приобрел First Heartland Bank. В рамках вышеуказанных

                                 21   усилий First Heartland Bank реализовал новую бизнес-стратегию, направленную на

                                 22   увеличение выплат по неэффективным кредитам.            Что резко отличалось от

                                 23   коррупционной банковской практики бывшего владельца Цеснабанка.

                                 24       55.      Кроме того, Банк внедрил прозрачное корпоративное управление и

                                 25   принятие решений, четкие механизмы судебного и внесудебного взыскания долгов,

                                 26   системное устранение коррупции в процессе взыскания долгов, категорическое

                                 27   пресечение    реструктуризации    кредитов    между коллекторами   и   должниками.

                                 28
                                                                               15
                                                                                                                Ex. Page No. 53
                                        Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 56 of 245
                                                Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 16 из 38


                                  1   Ликвидировав у заемщиков стимулы к ведению переговоров по неформальным

                                  2   платежным схемам, Банк стимулировал заемщиков погасить свой долг, а не рисковать

                                  3   потерей залога. Эти и другие меры оказали значительное положительное влияние на

                                  4   размер выручки и чистой прибыли Банка.

                                  5       56.    Банк также придерживается бизнес-модели с дальновидным подходом.

                                  6   Например, за последние несколько лет Банк сосредоточился на цифровых технологиях,

                                  7   создав платформу электронной коммерции и двигаясь в сторону интегрированной

                                  8   модели финансовых услуг. В результате этих усилий и улучшения показателей

                                  9   прибыльности, качества активов, платежеспособности и управления рисками

                                 10   14 декабря 2022 года агентство Moody’s Investors Service повысило прогноз по

                                 11   рейтингам Банка со стабильного на позитивный.

                                 12       57.    Отчасти   благодаря   успеху    вышеуказанных       стратегий   Банк    смог
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13   выплачивать дивиденды.

                                          58.    Сегодня First Heartland Bank является третьим по величине банковским
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15   конгломератом в Казахстане и поддерживает прочные отношения с иностранными

                                 16   финансовыми институтами.

                                 17       59.    Способность Банка выплачивать дивиденды акционерам, в свою очередь,

                                 18   позволила NGF предоставлять значительное финансирование Назарбаев Университету

                                 19   и Nazarbayev Intellectual Schools.   NGF и Jusan Group финансировали данные

                                 20   учреждения и поддерживающие их организации, выделяя миллионы долларов на

                                 21   поддержку образования, которое ставит акцент на превосходство, академическую

                                 22   строгость, научно-обоснованные исследования, научный характер, инновации и

                                 23   академическую свободу.

                                 24   D. Ответчики Преследовали и Вымогали Деньги у Jusan Group в Попытке

                                 25   Украсть Активы Группы.

                                 26       60.    Начиная    с   2022   года     Ответчики,   среди    которых     Ответчики

                                 27   правительственных учреждений и Правительства, стали действовать как фактически

                                 28
                                                                                16
                                                                                                                  Ex. Page No. 54
                                        Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 57 of 245
                                                 Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 17 из 38


                                  1   совместное предприятие, а также участвовать в деятельности и управлении иными

                                  2   предприятиями путем рэкета. Цель Ответчиков состояла в том, чтобы неправомерно

                                  3   заполучить активы Jusan Group в интересах Индивидуальных Ответчиков. Каждый из

                                  4   Индивидуальных Ответчиков связан в силу того, что действует в контексте полномочий

                                  5   Правительства Казахстана, либо напрямую через работу на Правительство, либо, в

                                  6   случае Ответчика Джаксыбекова, через тесные связи с Правительством. Сообщная

                                  7   деятельность Ответчиков фактически имела место как минимум с января 2022 года и

                                  8   продолжается таким образом, что сообщникам позволено периодически заниматься

                                  9   рэкетом.

                                 10        61.    Рэкет включает в себя попытки вымогательства у Jusan Group,

                                 11   представляющие собой нарушение Закона Хоббса, 18 U.S.C. § 1951, которым

                                 12   предусматривается в соответствующей части: «Тот, кто любым образом, или в любой
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13   степени, препятствует, задерживает, или влияет на коммерческую деятельность или

                                      передвижение в рамках коммерческой деятельности любого товара или сырья, путем
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15   грабежа или вымогательства, или предпринимает подобные попытки, или вступает в

                                 16   сговор для совершения таких действий. . . подлежит наложению штрафа в соответствии

                                 17   с данным разделом или лишению свободы на срок до двадцати лет, или и тому и

                                 18   другому», 18 U.S.C. § 1951(a).        В соответствии с данным разделом, термин

                                 19   «вымогательство» означает получение собственности от другого лица с его согласия,

                                 20   полученного путем неправомерного применения фактической или угрожаемой силы,

                                 21   насилия     или   запугивания   или    под    прикрытием   официального      права».

                                 22   18 U.S.C. § 1951(b)(2).   «Коммерческая деятельность» включает в себя «всякую

                                 23   коммерческую деятельность между любой точкой Штата, Территории, Владения или

                                 24   Округа Колумбии и любой точкой за их пределами; всякую коммерческую деятельность

                                 25   между точками внутри одного Штата через любую точку за пределами данного Штата;

                                 26   и всякую прочую коммерческую деятельность, в отношении которой Соединенные

                                 27   Штаты имеют юрисдикцию». 18 U.S.C. § 1951(b)(3).

                                 28
                                                                               17
                                                                                                                Ex. Page No. 55
                                        Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 58 of 245
                                                Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 18 из 38


                                  1        1. Агентство Республики Казахстан по Регулированию и Развитию Финансового

                                  2             Рынка Начинает Преследование First Heartland Bank.

                                  3       62.     Начиная с января 2022 года и на момент подачи настоящего иска,

                                  4   Правительство Казахстана, различные правительственные и квазиправительственные

                                  5   учреждения включительно, распорядилось провести не менее 11 необоснованных и

                                  6   незаконных расследований, запросов или проверок по отношению к First Heartland Bank,

                                  7   косвенной дочерней компании Jysan Holding. Данные незаконные действия начались

                                  8   как завуалированные попытки помочь Банку в соблюдении нормативных требований,

                                  9   но вскоре стало понятно, что это очевидные ― а иногда и явно незаконные ― попытки

                                 10   принудить к незаконным платежам в пользу Правительства Казахстана и частных лиц.

                                 11       63.     В частности, начиная примерно с 11 января 2022 года представители

                                 12   АРРФР     назначили   пять   агентов   для    постоянного   наблюдения    за     Банком.
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13   Вышеуказанное     наблюдение    представляет     собой   необоснованное    вторжение,

                                      выходящее далеко за рамки ранее проводимого мониторинга Банка и стандартного
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15   мониторинга других банков, которые АРРФР обычно проводит.

                                 16       64.     В контексте данного наблюдения представители АРРФР завалили Банк

                                 17   обширными и назойливыми запросами информации по всем аспектам деятельности

                                 18   Банка. Запросы были с неоправданно сжатыми сроками исполнения, что вынудило

                                 19   сотрудников Банка заниматься запросом АРРФР, вместо обычных деловых операций.

                                 20       65.     В дополнение к круглосуточному наблюдению, АРРФР установило

                                 21   ограничительные пороговые показатели для всех транзакций, проводимых сторонами,

                                 22   имеющими отношение к Банку. Ограничения, которые действуют на дату подачи

                                 23   данного иска, настолько драконовские, что для проведения любой транзакции с

                                 24   участием Jusan Group требуются предварительные одобрения от АРРФР и АФМ.

                                 25       66.     АРРФР, в свою очередь, необоснованно отказывает в одобрении мелких и

                                 26   крупных сделок.       Например, в соответствии с установленными пороговыми

                                 27   показателями для транзакций, АРРФР заблокировало банковские карты некоторых

                                 28
                                                                               18
                                                                                                                     Ex. Page No. 56
                                        Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 59 of 245
                                                Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 19 из 38


                                  1   сотрудников Банка, которые использовались для оплаты ежедневных расходов, а также

                                  2   заблокировало перевод в размере 4 миллионов долларов США со счета NGF в Банке на

                                  3   счет NGF в банке, находящемся в США.            Вышеуказанный платеж остается

                                  4   заблокированным, он в конечном итоге необходим для финансирования операционных

                                  5   расходов Назарбаев Университета и Назарбаев Интеллектуальные Школы. NGF с тех

                                  6   пор не может перевести никакие средства со своего счета в Банке. Сюда входят

                                  7   небольшие переводы на оплату собственной операционной деятельности, а также

                                  8   платежи поставщикам, которые предоставляли услуги NGF для достижения целей

                                  9   основной миссии организации. Например, платежи NGF за юридические услуги, веб-

                                 10   дизайн, переводческие услуги, бухгалтерские и налоговые услуги были заблокированы.

                                 11   Примечательно, что NGF не было предоставлено никаких официальных объяснений,

                                 12   почему его переводы были заблокированы.
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13       67.    АРРФР пошло еще дальше и поручило Банку заморозить счета некоторых

                                      сотрудников Банка и их родственников на неопределенный срок и без каких-либо
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15   обоснований.

                                 16       68.    АРРФР не желает документировать свои действия в письменном виде.

                                 17   Когда Агентство Республики Казахстан по регулированию и развитию финансового

                                 18   рынка одобряет транзакцию, оно настаивает на том, чтобы одобрение было сделано в

                                 19   устной форме.   Когда АРРФР отказывает в транзакции, оно не предоставляет ни

                                 20   письменно, ни устно никаких объяснений того, почему транзакция была отклонена.

                                 21       69.    Данные действия привели к снижению экономической деятельности Банка

                                 22   и к потере многих постоянных клиентов.       Потеря Банком клиентов и бизнеса

                                 23   значительно повлияла на Истцов, чье финансирование деятельности и выполнение

                                 24   обязательств перед NGF зависят от выплат им дивидендов Банком.

                                 25       70.    АРРФР заявило, что целью наблюдения было обеспечение соблюдения

                                 26   Банком недавно обновленных правил по борьбе с отмыванием денег. Но ясно, что это

                                 27   было предлогом. На самом деле, такого «содействия» не получал ни один другой банк.

                                 28
                                                                             19
                                                                                                              Ex. Page No. 57
                                        Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 60 of 245
                                                  Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 20 из 38


                                  1   Вместо      этого   АРРФР     инициировало      широкую       кампанию      запугивания,

                                  2   скоординированную с несколькими государственными учреждениями и частными

                                  3   лицами, и направленную на то, чтобы помешать Банку вести обычную коммерческую

                                  4   деятельность и, в свою очередь, заставить Jusan Group передать средства и контроль над

                                  5   активами Правительству Казахстана и причастным с ним.

                                  6        2. Агентство по Финансовому Мониторингу Республики Казахстан Начало

                                  7              Предварительное Расследование в Отношении First Heartland Bank и Изъяло

                                  8              Документы.

                                  9        71.      В феврале 2022 года АФМ возбудило уголовное дело в отношении бывших

                                 10   должностных лиц АТФ Банка якобы в связи с выдачей необслуживаемых кредитов в

                                 11   период с 2013 по 2016 г.

                                 12        72.      Но предмет расследования также оказался ложным предлогом. АФМ в
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13   процессе рассмотрения уголовного дела изъяло у Банка документацию, масштаб

                                      которой выходил далеко за рамки расследования предыдущих кредитов. Например,
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15   АФМ изъяло документы, связанные с приобретением АТФ Банка в 2020 году,

                                 16   информацию о дивидендах Банка после 2020 года и операциях по счетам должностных

                                 17   лиц банка, которые совершенно не связаны с предыдущими кредитами АТФ Банка.

                                 18        3. Принадлежащие        Правительству     Организации     Предпринимают         Меры

                                 19              Неблагоприятного Воздействия Против First Heartland Bank.

                                 20        73.      В период с января по март 2022 года ряд организаций, принадлежащих

                                 21   Правительству, вывели все средства из Банка по директиве от Правительства

                                 22   Казахстана.      Это привело к значительному оттоку капитала из Банка.                 Ряд

                                 23   принадлежащих Правительству организаций включает, но не ограничивается: Фонд

                                 24   развития     предпринимательства   «Даму»;     Казахтелеком    и   Кселл,   крупнейшая

                                 25   телекоммуникационная компания и основной оператор сотовой связи в Казахстане; и

                                 26   Самрук-Казына, суверенный фонд благосостояния Казахстана, владеющий долями в

                                 27

                                 28
                                                                                20
                                                                                                                    Ex. Page No. 58
                                        Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 61 of 245
                                                 Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 21 из 38


                                  1   национальной железнодорожной и почтовой службе, а также в государственных

                                  2   газовых и нефтяных компаниях.

                                  3       74.     Более того, за этот период, все правительственные учреждения, в частности

                                  4   Министерство цифрового развития и Налоговый комитет, прекратили всякое

                                  5   сотрудничество,   имеющее     отношение    к   совместной    разработке    Банком       и

                                  6   Правительством продуктов «govtech».

                                  7       4. Агентство      Республики   Казахстан       по   Противодействию     Коррупции

                                  8             Возбуждает Фиктивное Уголовное Дело и Предпринимает Попытки

                                  9             Вымогательства.

                                 10       75.      В начале июня 2022 года Антикоррупционная служба начала намеренное

                                 11   уголовное расследование в отношении Банка в связи с его коммерческой покупкой

                                 12   Цеснабанка в 2019 году и последующими доходами.
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13       76.     По    имеющейся    информации      и   убеждениям,   толчком    к    этому

                                      расследованию послужило письмо бывшего владельца Цеснабанка, ответчика
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15   Адильбека Джаксыбекова, в котором он неправомерно использовал свои личные связи

                                 16   с руководством Антикоррупционной службы для принуждения к расследованию и с

                                 17   конечной целью вымогательства миллионов долларов у Банка.

                                 18       77.     Желание ответчика Джаксыбекова проводить уголовное расследование

                                 19   обусловлено обвинениями в том, что коммерческая покупка Банком Цеснабанка была

                                 20   какой-то незаконной, несмотря на тот факт, что и он, и Правительство Казахстана

                                 21   участвовали в покупке и/или руководили ею, и что покупка была вызвана близким

                                 22   крахом Цеснабанка который тогда был в его собственности.

                                 23       78.     Антикоррупционная служба, в рамках расследования предприняла крайне

                                 24   незаконные и произвольные меры принуждения, включая чрезмерные допросы

                                 25   сотрудников Банка, необоснованные обыски ключевого персонала и помещений Банка,

                                 26   а также ограничения передвижения для должностных лиц и сотрудников Jusan Group.

                                 27

                                 28
                                                                                21
                                                                                                                  Ex. Page No. 59
                                        Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 62 of 245
                                                Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 22 из 38


                                  1   По имеющейся информации и убеждениям, такие крайние меры принуждения были

                                  2   предприняты Антикоррупционной службой по просьбе г-на Джаксыбекова.

                                  3       79.    Кроме того, Антикоррупционная служба поручила АРРФР заблокировать

                                  4   все транзакции, включая выплату дивидендов Jusan Group. 7 октября 2022 года в

                                  5   АРРФР поступила корреспонденция от Антикоррупционной службы о том, чтобы

                                  6   «принять эффективные и комплексные меры по приостановке всех расходных

                                  7   (дебетовых) операций по выплате дивидендов Банком, FHS JSC, Jysan Technologies,

                                  8   Jysan Holding и [NGF] их акционерам и владельцам, а также любые другие платежные

                                  9   операции в рамках указанной группы компаний» и «приостановить действия по

                                 10   экспроприации акций Банка и FHS» на период рассмотрения уголовного дела. 8 октября

                                 11   2022 г. First Heartland Bank получил корреспонденцию от АРРФР за подписью

                                 12   Ответчика Кизатова, в которой тот подробно изложил инструкции для АРРФР от
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13   Антикоррупционной службы от 7 октября 2022 г.

                                          80.    Г-н Шигео Катсу, представляя Банк, присутствовал на встрече с
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15   Президентом Казахстана Касым-Жомартом Токаевым в июле 2022 года, в попытке

                                 16   положить конец необоснованному расследованию. Г-н Катсу ― Председатель Совета

                                 17   Директоров Банка и FHS. В ходе встречи Президент Токаев заявил, что ему известно о

                                 18   том, что Ответчик Джаксыбеков подал жалобу насчет приобретения Цеснабанка, и

                                 19   предложил г-ну Катсу заключить мировое соглашение с Ответчиком Джаксыбековым.

                                 20       81.    После этой встречи Ответчик Джаксыбеков пытался шантажировать г-на

                                 21   Катсу и Банк, намекая, что если Банк ему заплатит, то Антикоррупционная служба

                                 22   закроет расследование. Ответчик Джаксыбеков рекламировал свои личные связи с

                                 23   должностными лицами Антикоррупционной службы и требовал выплаты 60 миллионов

                                 24   тенге (приблизительно 130 миллионов долларов США) за неуказанный «ущерб».

                                 25       82.    Г-н Катсу отверг все попытки вымогательства у него и у Банка, отметив,

                                 26   что такой платеж без каких-либо доказательств или обоснования нарушит

                                 27

                                 28
                                                                             22
                                                                                                              Ex. Page No. 60
                                        Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 63 of 245
                                                 Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 23 из 38


                                  1   многочисленные законы о борьбе с коррупцией и что Jusan Group должна соблюдать все

                                  2   законы, в том числе законы Казахстана, Великобритании и Соединенных Штатов.

                                  3       5. Правительство          Казахстана     Пытается         Принудительно      Вернуть

                                  4             Государственную Помощь и Взять под Контроль FHS.

                                  5       83.      Растущие регулятивные притеснения со стороны Правительства Казахстана

                                  6   в первом квартале 2022 года вынудили г-на Катсу посетить серию дополнительных

                                  7   встреч с должностными лицами Правительства Казахстана, чтобы добиться

                                  8   прекращения незаконной кампании со стороны Правительства.

                                  9       84.      В ходе этих встреч должностные лица Правительства Казахстана, в том

                                 10   числе представители АРРФР и премьер-министр Казахстана Алихан Смаилов, заявили,

                                 11   что Банку запрещено выплачивать дивиденды до тех пор, пока Банк не возвратит

                                 12   государственную помощь, оказанную Цеснабанку и АТФ Банку.
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13       85.      Упоминаний о таких ограничениях не имелось ни в одном применимом

                                      законе или договоре, и об этом, конечно же, известно Правительству.                Такие
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15   ограничения никогда не обсуждались ранее, в том числе при выплате дивидендов

                                 16   Банком в декабре 2021 года.

                                 17       86.      Кроме того, Правительство Казахстана разрешило другим финансовым

                                 18   учреждениям     объявлять     дивиденды    без   каких-либо    проблем,   несмотря      на

                                 19   предварительную государственную помощь.          Например, Halyk Bank, Kaspi Bank и

                                 20   Сбербанку Казахстана было разрешено выплачивать дивиденды, несмотря на получение

                                 21   ими значительной государственной поддержки в течение нескольких лет без

                                 22   предварительного полного погашения кредитов.

                                 23       87.      Тем не менее, АРРФР продолжает заявлять, что будет блокировать любые

                                 24   выплаты дивидендов, и угрожает посадить в тюрьму любого сотрудника Jusan Group,

                                 25   который будет проводить выплату дивидендов.

                                 26       88.      Кроме того, г-н Сулейменов встретился с официальными лицами Jusan

                                 27   Group в сентябре 2022 года и потребовал, чтобы право собственности на Jusan Group

                                 28
                                                                                 23
                                                                                                                    Ex. Page No. 61
                                        Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 64 of 245
                                                  Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 24 из 38


                                  1   было отобрано у компаний США и Великобритании и передано Казахстану. Во время

                                  2   одной из таких встреч г-н Сулейменов заявил, что участвует в качестве представителя

                                  3   и по указанию президента Токаева, и пригрозил Jusan Group дополнительными

                                  4   действиями Правительства в связи с отсутствием граждан Казахстана в Советах

                                  5   директоров NGF и Jysan Holding. На этой встрече г-н Сулейменов также потребовал,

                                  6   чтобы контроль над FHS (и соответственно над Банком) был передан неуказанным

                                  7   казахстанским гражданам. Он не предоставил никакого юридического обоснования

                                  8   своих требований, да и не мог.

                                  9        6. Правительство Казахстана Принимает Меры в Отношении Сотрудников

                                 10              Jusan Group.

                                 11        89.      По имеющейся информации и убеждениям, в контексте переговоров между

                                 12   Правительством Казахстана и Jusan Group в первом квартале 2022 года, Правительство
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13   оказало давление на аудиторов Jusan Group, чтобы они придержали аудиторские отчеты

                                      до возврата всех акционных и опционных соглашений от сотрудников Jusan Group.
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15   Правительство также пригрозило возбудить уголовное дело по невозвращенным

                                 16   опционам.

                                 17        90.      Продолжающиеся переговоры и угроза уголовного преследования привели

                                 18   к принудительной сдаче вышеуказанных активов, которыми владели сотрудники Jusan

                                 19   Group.

                                 20        91.      Вынужденный возврат опционов привел к значительным личным потерям

                                 21   персонала Jusan Group в размере десятков миллионов долларов, что усугубило личные

                                 22   убытки, связанные с указаниями Банку заморозить счета определенных сотрудников

                                 23   Банка и их родственников от АРРФР.

                                 24        92.      Например, один член руководства Jusan Group, который на данный момент

                                 25   является постоянным резидентом США, был вынужден вернуть свой опцион на 4,62 %

                                 26   акций JTL, балансовая стоимость которых превышает 73 миллиона долларов США по

                                 27   состоянию на май 2022 года. Правительство также угрожало тому же члену заочным

                                 28
                                                                               24
                                                                                                                Ex. Page No. 62
                                        Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 65 of 245
                                                 Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 25 из 38


                                  1   судом и тюремным заключением, если сотрудник предпримет какие-либо действия,

                                  2   противодействующие правительству Казахстана в усилиях по конфискации имущества

                                  3   Jusan Group и ее сотрудников.

                                  4        93.    Г-н Сулейменов, в частности, интересовался возвратом акций и опционов в

                                  5   ходе последующих переговоров в сентябре 2022 года, подтверждая тем самым, что

                                  6   вымогательство поддерживается Правительством.

                                  7        7. АРРФР Незаконно Вмешивается в Выплату Дивидендов FHS.

                                  8        94.    6 октября 2022 года FHS объявила дивиденды и потребовала, чтобы Банк

                                  9   включил объявление дивидендов во внеочередное общее собрание. Это заявление и

                                 10   запрос юридически обязывали Банк в соответствии с его письменной политикой и

                                 11   руководящими документами выплачивать дивиденды FHS.               Значительная часть

                                 12   дивидендов, причитающихся FHS, является конечной собственностью Jysan Holding и,
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13   в свою очередь, будет причитаться Jysan Holding в соответствии с внутригрупповыми

                                      положениями и соглашениями.
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15        95.    7 октября 2022 года АРРФР заблокировало осуществление FHS и Банком

                                 16   этой и других выплат дивидендов на общую сумму около 387 миллионов долларов

                                 17   США, а также осуществление других платежных операций Банка его прямым и

                                 18   косвенным материнским компаниям.

                                 19        96.    Ответчики Кизатов и Омарбеков, представители АРРФР, звонили

                                 20   представителям Банка в октябре 2022 года по поводу данных заблокированных

                                 21   платежей. Во время разговора с Главным специалистом Банка по комплаенсу г-жой

                                 22   Ардак Мукашевой Ответчик Омарбеков повторил утверждения, сделанные на

                                 23   предыдущих встречах между представителями Банка и Правительства, заявив, что

                                 24   средства    Банка   принадлежат    Правительству    Казахстана,     пригрозив,      что

                                 25   правоохранительные органы готовятся к задержанию и допросу сотрудников Банка и

                                 26   связанных с Банком организаций.

                                 27

                                 28
                                                                              25
                                                                                                                 Ex. Page No. 63
                                        Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 66 of 245
                                                  Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 26 из 38


                                  1        97.      Ответчик Омарбеков снова позвонил в Банк 8 октября 2022 года, утверждая,

                                  2   что АРРФР получило письмо от неназванного правоохранительного органа,

                                  3   предписывающее АРРФР заблокировать все выплаты дивидендов от Банка.

                                  4        8. АФМ Незаконно Вмешивается в Выплату Дивидендов FHS.

                                  5        98.      13 октября 2022 г. АФМ направило в Банк письмо, в котором неверно

                                  6   утверждалось, что Банк получил 1,5 трлн тенге от правительства Казахстана на

                                  7   льготных условиях и каким-то образом не выполнил свои обязательства по этому

                                  8   «долгу». В письме АФМ утверждало, что приостанавливает способность Банка

                                  9   выплачивать дивиденды акционерам и требует, чтобы Банк предоставлял уведомления

                                 10   АФМ прежде, чем будет проводить дальнейшие выплаты дивидендов.

                                 11        9. Предложенные Правительством «Оправдания» Непостоянны, Противоречивы

                                 12              и Безосновательны.
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13        99.      На протяжении всей этой кампании Правительство приводило различные

                                      «оправдания» своих действий, ни одно из которых не оправдывает незаконные действия
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15   Правительства против Jusan Group.

                                 16        100.     Когда АРРФР усилило надзор за First Heartland Bank, «оправданием» было

                                 17   обеспечение соблюдения банком недавно обновленных правил по борьбе с отмыванием

                                 18   денег.

                                 19        101.     Когда АФМ возбудило уголовное дело против бывших должностных лиц

                                 20   АТФ Банка, «оправданием» было расследование выдачи проблемных кредитов в период

                                 21   с 2013 по 2016 г.

                                 22        102.     В конце концов, Правительство определилось с единым оправданием:

                                 23   уголовное расследование Антикоррупционной службой и блокирование АРРФР и АФМ

                                 24   выплат дивидендов каким-то образом «обоснованы» коммерческой покупкой

                                 25   Цеснабанка и АТФ Банка First Heartland Bank. Разумеется, это «оправдание» столь же

                                 26   беспочвенно, как и все его предшественники, поскольку ключевые участники кампании

                                 27   по травле Банка были одновременно архитекторами Рамочных соглашений.

                                 28
                                                                                 26
                                                                                                                  Ex. Page No. 64
                                        Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 67 of 245
                                                    Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 27 из 38


                                  1   Действительно, Банк ранее выплачивал дивиденды без возражений со стороны

                                  2   Правительства Казахстана, в том числе совсем недавно, в декабре 2021 года.

                                  3          103.    По имеющейся информации и убеждениям, намерение Ответчиков

                                  4   состояло в том, чтобы воспрепятствовать выводу дивидендных средств за пределы

                                  5   Казахстана — и, следовательно, за пределы контроля Правительства — в пользу Истцов,

                                  6   поскольку Ответчики знают, что дивидендные средства предназначены для блага и

                                  7   причитаются Истцам JTL, Jysan Holding и, в конечном счете, NGF.

                                  8   E. Правительство Принимает Ответные Меры Против Истцов После Провала

                                  9   Переговоров.

                                 10          10. Истцы уведомляют Ответчиков о Намерении Защищать Свои Права,и

                                 11             Стороны Ведут Безуспешные Переговоры.

                                 12          104.    В последней отчаянной попытке разрешить спор без вмешательства суда
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13   Истцы уведомили Ответчиков о своем намерении подать иск в Неваде. Весь ноябрь

                                      стороны, включая адвокатов сторон, проводили серию неофициальных переговоров.
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15   Эти переговоры не увенчались успехом и были частью тактики проволочек, которые

                                 16   Ответчики проводили, чтобы подготовить коррумпированных законодателей и агентств

                                 17   к нападению на Истцов.

                                 18          105.    С тех пор кампания преследования Ответчиков только усилилась, что было

                                 19   явной местью за то, что Истцы сообщили Ответчикам о своем намерении подать данный

                                 20   иск.

                                 21          11. Ответчики     Принимают     Ответные     Меры    Против    Истцов,      Вводя

                                 22             Законодательство, Направленное Против Jusan Group.

                                 23          106.    Через день после переизбрания Президента Токаева, 22 ноября 2022 года,

                                 24   Мажилис, нижняя палата Парламента Казахстана, одобрил законопроект с внесением

                                 25   изменений в Закон «О банках и банковской деятельности в Республике Казахстан».

                                 26   Предлагаемые поправки были направлены на Истцов и должны были, в частности, (1)

                                 27   изменить определения «банковского холдинга» и «крупного участника банка» таким

                                 28
                                                                                 27
                                                                                                                   Ex. Page No. 65
                                        Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 68 of 245
                                                 Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 28 из 38


                                  1   образом, чтобы некоммерческие организации, такие как NGF, не смогли прямо или

                                  2   косвенно владеть банками; (2) ввести ограничения для банков, получивших

                                  3   государственную помощь, таких как First Heartland Bank, чтобы не допустить

                                  4   распределения ими дивидендов, в том числе путем разрешения АРРФР блокировать

                                  5   данные дивиденды; и (3) требовать, чтобы все крупные прямые и косвенные акционеры

                                  6   и контролирующие организации банков подали заявки и получили одобрение от АРРФР

                                  7   в течение 30 дней с даты публикации поправок.

                                  8       107.    Верхняя палата парламента Казахстана, Сенат, впоследствии утвердила

                                  9   поправки, позволяющие АРРФР блокировать дивиденды от банков, получивших

                                 10   государственную помощь, и требующие одобрения АРРФР для крупных прямых и

                                 11   косвенных акционеров и контролирующих организаций банков, в то же время отклонив

                                 12   предложенную поправку, запрещающую некоммерческим организациям владеть
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13   банками, за отсутствием оснований.

                                          108.    Эти   поправки, вступившие в силу 1 января 2023 года, позволят
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15   Правительству заблокировать дивиденды, на которые Истцы имеют право, и даже

                                 16   запретить Истцам владеть долями в Банке. В соответствии с поправками JTL, Jysan

                                 17   Holding и NGF должны будут получить и представить в АРРФР кредитные рейтинги,

                                 18   аудированную финансовую отчетность, а также соответствующие нотариальные

                                 19   заверения и апостили из несколько юрисдикций в течение 30 дней, что просто

                                 20   невозможно. Кроме того, если эти организации останутся основными акционерами

                                 21   Банка без одобрения АРРФР, АРРФР может потребовать, чтобы они уменьшили свою

                                 22   косвенную долю владения до уровня ниже 25 % и приостановили все операции между

                                 23   ними и Банком; установили доверительное управление акциями Банка на срок до трех

                                 24   месяцев; и в конечном итоге обеспечили отчуждение акций Банка, продав их на рынке

                                 25   ценных бумаг. Нельзя представить более явного случая незаконного захвата

                                 26   активов, находящихся под контролем граждан Невады.

                                 27

                                 28
                                                                              28
                                                                                                               Ex. Page No. 66
                                        Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 69 of 245
                                                 Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 29 из 38


                                  1       109.     По крайней мере, один член Мажилиса публично заявил, что эти поправки

                                  2   явно нацелены на акционеров First Heartland Bank и блокируют рассматриваемые здесь

                                  3   дивиденды.

                                  4       110.     Учитывая отсрочку до следующего дня после переизбрания Президента

                                  5   Токаева, Правительство четко обозначило цели и намерения своей кампании ―

                                  6   остановить вывод средств в виде дивидендов за пределы Казахстана, принудить группу

                                  7   Jusan Group к передаче средств и контроля над активами Правительству Казахстана и

                                  8   его аффилированным лицам, а также принять ответные меры против Jusan Group за

                                  9   попытку защиты своих прав в американском суде.

                                 10       12. Ответчики Принимают Ответные Меры Против Истцов, Подав Против Них

                                 11           Иск в Казахстане.

                                 12       111.     2 декабря 2022 года Генеральная прокуратура Казахстана возбудила иск
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13   против многочисленных участников Jusan Group, включая Истцов, и сотрудников Jusan

                                      Group, среди которых г-н Катсу и сотрудник, которому ранее угрожали лишением
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15   свободы.     Генеральный прокурор подчиняется непосредственно Президенту и

                                 16   представляет интересы Правительства Казахстана в суде.

                                 17       112.     Иск был направлен на то, чтобы добиться через суд именно того, что

                                 18   Ответчики пытались добиться через их кампанию преследования — ослабить Jusan

                                 19   Group и ограничить ее доступ к собственному капиталу.

                                 20       113.     В частности, иск был направлен на признание недействительным

                                 21   соглашения между двумя членами Jusan Group — JTL и Pioneer Capital Invest LLP

                                 22   (далее — «Pioneer»). Аннулирование этого соглашения аннулировало бы долю

                                 23   собственности NGF в JTL и, следовательно, лишило бы NGF доступа к дивидендам и

                                 24   распределениям от бизнеса и операций JTL и ее холдингов, включая FHS и Банк. В иске

                                 25   также содержалось требование о возврате активов и денежных средств на миллионы

                                 26   долларов (USD) от JTL компании Pioneer, акции JTL в Банке включительно. Активы и

                                 27   средства, о которых идет речь, были должным образом переведены в JTL по

                                 28
                                                                              29
                                                                                                               Ex. Page No. 67
                                        Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 70 of 245
                                                 Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 30 из 38


                                  1   соглашению, которое Правительство пыталось аннулировать. Пытаясь перевести

                                  2   активы и средства из JTL Истца в казахстанскую компанию Pioneer, правительство

                                  3   вмешивается в активы Jusan Group и пытается перевести их в Казахстан, где

                                  4   правительство сможет осуществлять больший контроль. И последнее, иск требовал,

                                  5   чтобы все названные сотрудники Jusan Group сдали свои доли в Банке.

                                  6       114.    Казахстанский суд быстро отклонил иск Генерального прокурора на

                                  7   основании того, что требования не имеют доказательств. Это решительное отклонение

                                  8   необоснованного иска Генерального прокурора еще раз свидетельствует о вопиющем

                                  9   злоупотреблении Правительством возможностями государственного аппарата для

                                 10   преследования Jusan Group.

                                 11       13. Государственные чиновники Казахстана угрожают «войной» сотрудникам

                                 12           Jusan Group.
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13       115.    20 декабря 2022 года премьер-министр Казахстана Алихан Смаилов

                                      направил сообщение тому же сотруднику Jusan Group, резиденту США, которому ранее
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15   угрожало тюремное заключение, с требованием вернуть Jusan Group в Казахстан и

                                 16   пригрозив «войной», если требования Правительства не будут выполнены.

                                 17       14. Ответчики переделывают свой ранее отклоненный иск и повторно подают его

                                 18           в Казахстане.

                                 19       116.    10 февраля 2023 года Генеральная прокуратура Казахстана подала еще

                                 20   один иск против членов Jusan Group, оспаривая сделку 2020 года между JTL и Pioneer и

                                 21   добиваясь ареста определенного имущества группы Jusan Group. Хотя в этом иске

                                 22   приводятся несколько иные факты и иные основания иска, его цель та же, что и у иска,

                                 23   поданного и быстро отклоненного в декабре 2022 года, — пригрозить Jusan Group

                                 24   передачей контроля над ней Правительству.

                                 25       117.    Однако Правительство идет еще дальше в февральском иске и стремится

                                 26   конфисковать множество активов не только ответчиков по иску, но и Jusan Group в

                                 27

                                 28
                                                                              30
                                                                                                                Ex. Page No. 68
                                          Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 71 of 245
                                                   Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 31 из 38


                                  1   целом. Генпрокуратура добивается ареста долей Jusan Group более чем в десятке

                                  2   юридических лиц.

                                  3         118.    В очередной раз Генеральный прокурор потребовал, чтобы JTL вернула

                                  4   Pioneer миллионы долларов США в виде активов и денежных средств, которые были

                                  5   должным образом переведены в JTL. И снова результатом, если иск будет успешным,

                                  6   будет перемещение законно контролируемых активов Jusan Group в Казахстан, где

                                  7   Правительство сможет осуществлять больший контроль.

                                  8   F. Незаконная             Кампания    Правительства    Совпадает     с     Исторической

                                  9   Коррупционной Практикой

                                 10         119.    Действия Ответчиков согласуются с исторической коррупционной

                                 11   практикой в Казахстане, а также сообщениями о заметном росте коррупции в

                                 12   Казахстане в последние годы.
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13         120.    Например, в 2013 году арбитражная комиссия присудила молдавской

                                      компании возмещение убытков в размере 497 685 101 долларов США (плюс 50 %
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15   расходов на юридические услуги) за нарушение Правительством Казахстана Договора

                                 16   к   Энергетической         хартии ―   международного   соглашения,       устанавливающего

                                 17   трансграничное сотрудничество в энергетической промышленности. В этом деле

                                 18   использовалась тактика, поразительно похожая на ту, что применяется против Истцов.

                                 19   Там суд установил, что Казахстан нарушил право компании на справедливое и равное

                                 20   обращение в соответствии с Договором. В частности, компания утверждала, что

                                 21   Казахстан участвовал в кампании преследования, кульминацией которой стало

                                 22   расторжение контрактов на проведение поисково-разведывательных работ для добычи

                                 23   нефти    и     газа   и    конфискация   корпоративных   активов,    расположенных          в

                                 24   Казахстане. Сообщается, что кампания включала в себя тактику финансовой полиции

                                 25   Казахстана и семи квазигосударственных организаций и включала необоснованное

                                 26   замораживание активов компании, круглосуточное наблюдение и проверки со стороны

                                 27   должностных лиц государственных органов, которые препятствовали ведению

                                 28
                                                                                  31
                                                                                                                      Ex. Page No. 69
                                        Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 72 of 245
                                                 Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 32 из 38


                                  1   сотрудниками обычных деловых операций, необоснованное изъятие документов,

                                  2   незаконный арест и осуждение менеджера в стране, а также отмена ранее одобренных

                                  3   правительством разрешений и отказов.

                                  4       121.    Совсем недавно в СМИ отмечалось, что в 2022 году число случаев

                                  5   коррупции в Казахстане резко возросло, на целых 30 процентов. Индекс восприятия

                                  6   коррупции Transparency International ― наиболее широко используемый глобальный

                                  7   рейтинг коррупции в мире ― присвоил Казахстану худшие показатели по коррупции в

                                  8   государственном секторе в Восточной Европе и Центральной Азии, регионе со вторыми

                                  9   самыми низкими показателями в мире. Постоянная «серьезная проблема» коррупции,

                                 10   которая существует в Казахстане всесторонне описана в недавнем отчете,

                                 11   опубликованном Группой государств против коррупции, ― антикоррупционным

                                 12   органом Совета Европы. Экспертные оценки показывают, что прогресс Казахстана в
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13   антикоррупционных мерах в лучшем случае разрознен.

                                          122.    Cенаторы США в Комитете Сената по международным отношениям в
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15   октябре 2022 года призвали к «международному расследованию санкционированного

                                 16   государством насилия и пересмотру вопроса о предоставлении помощи США в области

                                 17   безопасности после общенациональных протестов в Казахстане» в начале этого года и

                                 18   жестокой реакции Казахстанских сил безопасности по отношению к гражданским

                                 19   протестующим.      В рамках расследования Сенаторы призвали Государственный

                                 20   департамент США пересмотреть свои отношения с Казахстаном, чтобы «уделить

                                 21   приоритетное внимание защите основных свобод и укреплению верховенства права».

                                 22   G. Незаконная Кампания Правительства, а именно Блокирование Выплаты

                                 23   Дивидендов, Наносит Конкретный Ущерб Деятельности Jusan Group.

                                 24       123.    Неудивительно   и,   предположительно    в   соответствии   с    планами

                                 25   Правительства, кампания Правительства, включая, прежде всего, блокирование

                                 26   примерно 387 миллионов долларов США в виде дивидендов, наносит значительный,

                                 27   непосредственный и конкретный ущерб деятельности Истцов.

                                 28
                                                                             32
                                                                                                                  Ex. Page No. 70
                                        Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 73 of 245
                                                  Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 33 из 38


                                  1        124.    Истцы не могут получить дивидендное финансирование от их дочерних

                                  2   компаний, связанных с Банком, ― основного источника финансирования, а также не

                                  3   могут выполнить обязательство по предоставлению дивидендного финансирования их

                                  4   материнским организациям.          В свою очередь, NGF не может переводить или

                                  5   использовать собственные средства на собственных банковских счетах или получать

                                  6   законно выплаченные дивиденды для выполнения своей единственной миссии:

                                  7   финансирования Назарбаев Университета и Nazarbayev Intellectual Schools. В конечном

                                  8   счете, замораживая средства Jusan Group, Правительство лишает Назарбаев

                                  9   Университет и Nazarbayev Intellectual Schools необходимых ресурсов, чем наносит

                                 10   ущерб студентам, исследователям и преподавателям Назарбаев Университета и

                                 11   Nazarbayev Intellectual Schools.

                                 12        125.    Кроме того, в августе 2022 года Истец JTL заявил о своем намерении
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13   выкупить акции JTL на сумму 20 миллионов долларов США у инвестора.                Из-за

                                      заблокированных выплат дивидендов JTL не может осуществить выкуп.
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15             ПЕРВОЕ ОСНОВАНИЕ ДЛЯ УДОВЛЕТВОРЕНИЯ ИСКА
                                           (ЭКСПРОПРИАЦИЯ В НАРУШЕНИЕ МЕЖДУНАРОДНОГО ПРАВА)
                                 16
                                        (против Ответчика Республики Казахстан и Ответчиков правительственных
                                 17                                  учреждений)

                                 18        126.    Истцы приводят и повторно утверждают вышеизложенное, как если бы

                                 19   утверждалось здесь.

                                 20        127.    Как материнские корпорации и акционеры First Heartland Securities и First

                                 21   Heartland Bank, Истцы имеют прямые имущественные интересы в своих правах на

                                 22   получение объявленных дивидендов от дочерних компаний.

                                 23        128.    Своим поведением, заявленным выше, в том числе воспрепятствованием

                                 24   дочерним компаниям Истцов в выплате законно объявленных дивидендов их

                                 25   иностранным акционерам и прямой направленностью своего поведения на достижение

                                 26   такого результата, Ответчик Республика Казахстан и его учреждения экспроприировали

                                 27   и захватили имущество Истцов в нарушение международного права.

                                 28
                                                                                33
                                                                                                                  Ex. Page No. 71
                                        Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 74 of 245
                                                  Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 34 из 38


                                  1        129.    Ответчик Правительство Казахстана и его учреждения также нарушили

                                  2   существующее международное право, экспроприировав и конфисковав аналогичные

                                  3   имущественные права, принадлежащие First Heartland Securities и First Heartland Bank,

                                  4   действуя с дискриминационной целью причинить вред иностранным акционерам

                                  5   вышеуказанных корпораций.

                                  6                 ВТОРОЕ ОСНОВАНИЕ ДЛЯ УДОВЛЕТВОРЕНИЯ ИСКА
                                                    (18 U.S.C. § 1964(c)) (против Индивидуальных Ответчиков)
                                  7
                                           130.    Истцы приводят и повторно утверждают вышеизложенное, как если бы
                                  8
                                      утверждалось здесь.
                                  9
                                           131.    Индивидуальные Ответчики фактически действуют как совместное
                                 10
                                      предприятие, участвующее в торговле между штатами, их деятельность влияет на
                                 11
                                      торговлю между штатами, а также они управляли и участвовали в управлении
                                 12
                                      дополнительными       предприятиями,   среди   них   Правительство     ответчика       и
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13
                                      правительственные учреждения.
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14
                                           132.    Индивидуальные Ответчики согласовали между собой, осуществляли
                                 15
                                      действия и участвовали в деятельности предприятия путем периодического рэкета,
                                 16
                                      осуществляя незаконные преднамеренные вымогательства у Истцов, конечной целью
                                 17
                                      которых было получение личной выгоды.
                                 18
                                           133.    Индивидуальные Ответчики согласовали между собой, осуществляли
                                 19
                                      действия и участвовали в деятельности предприятия путем периодического рэкета,
                                 20
                                      осуществляя незаконные преднамеренные вымогательства у Jusan Group.
                                 21
                                           134.    Индивидуальные Ответчики прямо и косвенно осуществляли действия и
                                 22
                                      участвовали в деятельности предприятия путем периодического рэкета и ведя
                                 23
                                      деятельность, описанную выше, в нарушение 18 U.S.C. § 1962(c).
                                 24
                                           135.    Прямым и непосредственным результатом деятельности Индивидуальных
                                 25
                                      Ответчиков по вымогательству и в нарушение 18 U.S.C. § 1962(c) стало то, что бизнесу
                                 26
                                      и имуществу Истцов был нанесен ущерб.
                                 27

                                 28
                                                                               34
                                                                                                                 Ex. Page No. 72
                                        Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 75 of 245
                                                   Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 35 из 38


                                  1               ТРЕТЬЕ ОСНОВАНИЕ ДЛЯ УДОВЛЕТВОРЕНИЯ ИСКА
                                            (Нев. Рев. Стат. § 207.470) (против всех Индивидуальных Ответчиков)
                                  2
                                           136.     Истцы приводят и повторно утверждают вышеизложенное, как если бы
                                  3
                                      утверждалось здесь.
                                  4
                                           137.     Индивидуальные Ответчики совершили как минимум два различных
                                  5
                                      преступления, связанных с рэкетом, в соответствии с определением в Nev. Rev. Stat. §
                                  6
                                      207.360, представляющий собой рэкет в соответствии с Nev. Rev. Stat. § 207.390.
                                  7
                                           138.     Ответчики принимали прямое и косвенное участие в деятельности
                                  8
                                      предприятия, действия которого представляют собой рэкет, в нарушение Нев. Рев. Стат.
                                  9
                                      § 207.400.
                                 10
                                           139.     Бизнесу и имуществу Истцов был причинен вред в связи с нарушениями
                                 11
                                      Ответчиков.
                                 12
                                              ЧЕТВЕРТОЕ ОСНОВАНИЕ ДЛЯ УДОВЛЕТВОРЕНИЯ ИСКА
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13       (НАМЕРЕННОЕ ВМЕШАТЕЛЬСТВО В ДОГОВОРНЫЕ ОТНОШЕНИЯ)
                                                           (против всех Ответчиков)
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14
                                           140.     Истцы приводят и повторно утверждают вышеизложенное, как если бы
                                 15
                                      утверждалось здесь.
                                 16
                                           141.     Между First Heartland Bank и First Heartland Securities, First Heartland
                                 17
                                      Securities и JTL, JTL и Jysan Holding, Jysan Holding и NGF существуют и действуют
                                 18
                                      межфирменные соглашения.         Каждое из межфирменных соглашений дает право
                                 19
                                      материнской компании на выплату дивидендов от ее дочерней компании. Jysan Holding
                                 20
                                      и JTL являются сторонами этих соглашений, или сторонними бенефициарами в случае
                                 21
                                      соглашений, стороной которых Jysan Holding и/или JTL не являются.
                                 22
                                           142.     Каждый из Ответчиков знает о вышеупомянутых соглашениях и совершил
                                 23
                                      преднамеренные действия, направленные на нарушение данных отношений. Действия
                                 24
                                      Ответчиков привели к фактическому нарушению каждого соглашения, результатами
                                 25
                                      данных нарушений стало причинение Jysan Holding и JTL убытков.
                                 26

                                 27

                                 28
                                                                                 35
                                                                                                                  Ex. Page No. 73
                                        Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 76 of 245
                                                 Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 36 из 38


                                  1           ПЯТОЕ ОСНОВАНИЕ ДЛЯ УДОВЛЕТВОРЕНИЯ ИСКА
                                                     (НАМЕРЕННОЕ ВМЕШАТЕЛЬСТВО
                                  2   ДЛЯ ИЗВЛЕЧЕНИЯ ЭКОНОМИЧЕСКОЙ ВЫГОДЫ) (против всех Ответчиков)
                                  3       143.    Истцы приводят и повторно утверждают вышеизложенное, как если бы
                                  4   утверждалось здесь.
                                  5       144.    После получения заблокированных дивидендов от Банка, FHS планировала
                                  6   выплатить все или часть заблокированных дивидендов компании JTL, затем JTL
                                  7   планировала выплатить все заблокированные дивиденды или их часть компании Jysan
                                  8   Holding, которая должна была выплатить все или часть заблокированных дивидендов
                                  9   своей материнской компании NGF, за вычетом разумных операционных расходов.
                                 10   Каждый из Ответчиков знает о конечной цели использования заблокированных
                                 11   дивидендов и совершил преднамеренные действия, направленные на то, чтобы сорвать
                                 12   выплату дивидендов Истцам и выплату дивидендов в пользу NGF. Действия ответчиков
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13   привели к фактическому нарушению процессов осуществления дивидендов и
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14   причинили Jysan Holding и JTL убытки, вытекающие в результате данного нарушения.
                                 15       145.    Поведение Ответчиков было неоправданным и необоснованным. Нет таких
                                 16   соглашений или законов, которые бы предусматривали права вмешательства или
                                 17   воспрепятствования выплате дивидендов в связи с выплатой Государством финансовой
                                 18   помощи Цеснабанку и АТФ Банку. В результате действий Ответчиков Истцы и их
                                 19   аффилированные лица не получили средства, необходимые для выполнения своих
                                 20   основных функций и задач, включая финансирование NGF, Nazarbayev Intellectual
                                 21   Schools и Назарбаев Университета.
                                 22               ШЕСТОЕ ОСНОВАНИЕ ДЛЯ УДОВЛЕТВОРЕНИЯ ИСКА
                                 23                (ГРАЖДАНСКИЙ ЗАГОВОР) (против всех Ответчиков)
                                          146.    Истцы приводят и повторно утверждают вышеизложенное, как если бы
                                 24
                                      утверждалось здесь.
                                 25
                                          147.    Ответчики действовали в сговоре, чтобы достичь их незаконной цели, с
                                 26
                                      намерениями причинить вред Jusan Group, Истцам включительно.
                                 27

                                 28
                                                                             36
                                                                                                               Ex. Page No. 74
                                        Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 77 of 245
                                                  Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 37 из 38


                                  1       148.     Jusan Group, Истцы включительно, понесли убытки в результате действий

                                  2   Ответчиков по достижению целей сговора.

                                  3       149.     Ответчики несут солидарную ответственность за ущерб, понесенный

                                  4   Истцами в результате каждого действия, предпринятого каждым Ответчиком в рамках

                                  5   сговора Ответчиков.

                                  6           СЕДЬМОЕ ОСНОВАНИЕ ДЛЯ УДОВЛЕТВОРЕНИЯ ИСКА
                                          (ГРАЖДАНСКАЯ ПОМОЩЬ И ПОДСТРЕКАТЕЛЬСТВО) (против всех
                                  7
                                                              Ответчиков)
                                  8       150.     Истцы приводят и повторно утверждают вышеизложенное, как если бы
                                  9   утверждалось здесь.
                                 10       151.     Каждый Ответчик существенно помогал и поощрял поведение других
                                 11   Ответчиков в нарушении обязанностей перед Истцами, включая деликтные обязанности
                                 12   и установленные законом обязанности, как указано выше.
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13       152.     Нарушения со стороны Ответчиков нанесли ущерб Jusan Group, Истцам
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14   включительно.
                                 15       153.     Каждый Ответчик несет ответственность в соответствии с теорией
                                 16   гражданского     пособничества   и   подстрекательства   за   ущерб,   причиненный
                                 17   нарушениями, которым они существенно содействовали и поощряли.
                                 18          ХОДАТАЙСТВО О ПРЕДОСТАВЛЕНИИ СУДЕБНОЙ ЗАЩИТЫ
                                 19       154.     Истцы приводят и повторно утверждают вышеизложенное, как если бы
                                 20   утверждалось здесь, и почтительно просят Суд:
                                 21          a)    Заявить, что поведение Ответчиков нанесло незаконный ущерб Истцам, и не
                                 22          подлежит каким-либо законным привилегиям или оправданиям;
                                 23          b)    Присудить Истцам компенсацию и штрафные санкции в размере, который
                                 24          будет определен на слушании, включая тройную сумму возмещения убытков и
                                 25          гонорары адвокатов в соответствии с 18 U.S.C. § 1964(c);
                                 26          c)    Присудить Истцам издержки и расходы, включая гонорары адвокатов; а
                                 27          также
                                 28
                                                                               37
                                                                                                                Ex. Page No. 75
                                      Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 78 of 245
                                                Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 38 из 38


                                  1        d)    Присудить Истцам дополнительное средство правовой защиты, оправданное

                                  2        обстоятельствами.

                                  3
                                      ИСКОВОЕ ЗАЯВЛЕНИЕ О РАССМОТРЕНИИ ДЕЛА СУДОМ ПРИСЯЖНЫХ
                                  4
                                       Истцы требуют рассмотрения дела судом присяжных по всем спорным вопросам.
                                  5

                                  6    ОТ 16 февраля 2023 г.
                                                                              HOLLAND & HART LLP
                                  7
                                                                               /подпись/ J. Stephen Peek
                                  8
                                                                              J. Stephen Peek/ Дж. Стивен Пик
                                                                              Erica C. Medley/ Эрика С. Медли
                                  9
                                                                              9555 Hillwood Drive, 2nd Floor
                                                                              Las Vegas, NV 89134
                                 10

                                 11
                                                                              Tariq Mundiya/ Тарик Мундия
                                                                              (pro hac vice будет предоставлено
                                 12
                                                                              позднее)
                                                                              Jeffrey B. Korn/ Джеффри Б. Корн
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13
                                                                              (pro hac vice будет предоставлено
                                                                              позднее)
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14
                                                                              WILLKIE FARR & GALLAGHER LLP
                                                                              787 Seventh Avenue
                                 15
                                                                              New York, New York 10019
                                 16
                                                                              Michael J. Gottlieb/ Майкл Дж. Готлиб
                                                                              (pro hac vice будет предоставлено
                                 17
                                                                              позднее)
                                                                              WILLKIE FARR & GALLAGHER LLP
                                 18
                                                                              1875 K Street, NW
                                                                              Washington, DC 20006
                                 19
                                                                              Адвокаты Истцов
                                 20
                                                                              Jysan Holding, LLC; и
                                                                              Jusan Technologies Ltd.
                                 21

                                 22

                                 23

                                 24

                                 25

                                 26

                                 27

                                 28
                                                                            38
                                                                                                                Ex. Page No. 76
                                  Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 79 of 245
                                                 Дело 2:23-cv-00247 Документ 1-1 Подано 16.02.23 Стр. 1 из 3
                                                       ТИТУЛЬНЫЙ ЛИСТ ГРАЖДАНСКОГО ДЕЛА
Титульный лист гражданского дела JS 44 и информация, содержащаяся в нем, не заменяет и не дополняет регистрацию и вручение состязательных бумаг или других документов согласно
требованиям закона, за исключением случаев, предусмотренных местными правилами суда. Эта форма, одобренная Конференцией судей Соединенных Штатов в сентябре 1974 года, должна
использоваться секретарем суда с целью возбуждения делопроизводства по гражданским делам. (СМ. ИНСТРУКЦИИ НА СЛЕДУЮЩЕЙ СТРАНИЦЕ ЭТОЙ ФОРМЫ.)
I. (a) ИСТЦЫ                                                                                                                  ОТВЕТЧИКИ
              Jysan Holding, LLC; Jusan Technologies LTD                                                                      Республика Казахстан и др. (см. приложение)
      (b)     Округ проживания первого указанного истца __________                                                            Округ проживания первого указанного ответчика                   Республика Казахстан
                                                (КРОМЕ ДЕЛ ИСТЦА ИЗ США)                                                                             (ТОЛЬКО В ДЕЛАХ ИСТЦА ИЗ США)
                                                                                                                              ПРИМЕЧАНИЕ:     В ДЕЛАХ ОБ ОТЧУЖДЕНИИ ЗЕМЛИ ИСПОЛЬЗУЙТЕ АДРЕС СПОРНОГО
                                                                                                                                     ЗЕМЕЛЬНОГО УЧАСТКА.
                                                                                                                              Адвокаты (если известні)
      (с)    Адвокаты (название фирмы, адрес и номер телефона)

              (см. приложение)
II.         ОСНОВА ЮРИСДИКЦИИ(Поставьте «X» только в одной ячейке)                                           III. ГРАЖДАНСТВО ОСНОВНЫХ СТОРОН                                                 (Поставьте «X» в одной ячейке для
                                                                                                                         (Только для дел с другим                                             истца и в одной ячейке для ответчика)
                                                                                                                         гражданством)
☐1          Истец правительство             ☒3        Федеральный вопрос                                                                                 ИСТ     ОТВ                                               ИСТ        ОТВ
              США                                       (Правительство США не является стороной)                   Гражданин этой страны                 ☐1      ☐1      Зарегистрирован или юридический           ☐4         ☐4
                                                                                                                                                                            адрес в этой стране

☐2          Ответчик правительство          ☐4        Другое гражданство                                           Гражданин другой страны               ☐2      ☐2      Зарегистрирован и юридический адрес       ☐5         ☐5
              США                                       (Укажите гражданство сторон в пункте III)                                                                           в другой стране

                                                                                                                   Гражданин или подданный               ☐3      ☐3      Иностранное государство                   ☐6         ☐6
                                                                                                                     иностранного государства
IV. ХАРАКТЕР ИСКА (Поставьте «X» только в одной ячейке)                                                                                                Нажмите здесь, чтобы: Описание характера кода иска.
              ПО ДОГОВОРУ                                         ПРАВОНАРУШЕНИЕ                                       КОНФИСКАЦИЯ/ШТРАФ                             БАНКРОТСТВО                            ДРУГИЕ ЗАКОНЫ
      110   Страхование                                    ТРАВМА                           ТРАВМА               ☐ 625 Арест имущества в связи с               422   Апелляция, 28 USC 158          375 Закон о неправомерных
☐     120   Морское право                       310   Самолеты                      365 Травма – Ответственность       наркотиками, 21 USC 881
                                                                                                                                                          ☐    423   Отзыв
                                                                                                                                                                                                ☐   376 претензиях
                                            ☐                                   ☐
☐     130   Закон Миллера                       315   Ответственность за                за качество                690 Другое                             ☐          28 USC 157                 ☐       Иск «qui tam» (31 USC 3729
      140   Оборотный документ Взыскание    ☐         качество самолета             367 Здравоохранение/фармацев ☐                                                                                  400 (а))
☐     150   переплаты и исполнение              320   Нападки, клевета и                тика Травма                                                            ИМУЩЕСТВЕННЫЕ ПРАВА              ☐   410 Повторное рассмотрение
            судебного решения Закон о                 оскорбления
                                                                                ☐       Ответственность за
☐           Medicare                        ☐   330   Федеральная                   368 качество                                                          ☐    820 Авторские права
                                                                                                                                                                                                ☐   430 Антимонопольный закон
      151                                                                                                                                                      830 Патент                           450 Банки и банковское дело
☐     152   Взыскание просроченных                    ответственность                   Асбест Травма                                                     ☐    835 Патент – Сокращенная         ☐   460 Депортация
            студенческих ссуд (за искл.     ☐   340   работодателей
                                                                                ☐       Ответственность за
                                                                                                                                                                   заявка на новый препарат
☐           ветеранов)                          345   Морское право                     качество                                                          ☐                                     ☐   470 Рэкет и коррупция
      153   Взыскание переплаты                       Ответственность за                                                                                       840 Товарный знак                        Потребительский кредит
☐           ветеранских пособий
                                            ☐   350   качество продукции для     ЛИЧНАЯ СОБСТВЕННОСТЬ                                ТРУД                      880 Закон о защите               ☐   480 (15 USC 1681 или 1692)
                                                                                                                                                                   коммерческой тайны 2016              Закон о защите прав
      160   Иски акционеров                 ☐   355   моря                      ☐ 370 Другое мошенничество
                                                                                                                   ☐ 710     Закон о справедливых         ☐        г.                           ☒   485 потребителей телефонов
                                                      Автомобили                  371 Справедливое                           трудовых стандартах
      190   Другие договоры
                                                360   Ответственность за        ☐ 380 кредитование                     720   Трудовые/управленческие      ☐                                             Кабельное/спутниковое
☐
      195   Договорная ответственность за   ☐         качество автомобилей                                                   отношения                                                          ☐   490 телевидение
      196   продукт Франшиза                                                    ☐     Другой ущерб личному         ☐                                                                                850 Ценные бумаги/товары/ биржа
                                            ☐   362   Другие травмы               385 имуществу                        740   Закон о труде на ж.д.         СОЦИАЛЬНОЕ ОБЕСПЕЧЕНИЕ
                                                                                                                                                                                                        Другие иски на законных
                                                      Травма – врачебная                                               751   транспорте                                                         ☐
☐                                                     ошибка
                                                                                      Ущерб имуществу                                                     ☐ 861 HIA (1395ff)                        890 основаниях
                                            ☐                                   ☐     Ответственность за           ☐         Закон об отпуске и              862 Антракоз (923)                     891 Законы о сельском хозяйстве
☐                                                                                     качество                               больничном                   ☐ 863 DIWC/DIWW (405(g))              ☐   893 Экологические вопросы
                                                                                                                   ☐ 790     Другие трудовые споры
☐                                           ☐                                                                        791                                  ☐ 864 SSID Глава XVI                  ☐   895 Закон о свободе информации
                                                                                                                             Закон о пенсионном              865 RSI (405(g))                           Арбитраж
☐                                                                                                                            обеспечении                  ☐                                         896 Административно-
                                                                                                                   ☐                                                                            ☐   899 процессуальный акт/Пересмотр
        НЕДВИЖИМОСТЬ                        ГРАЖДАНСКИЕ ПРАВА                           ХОДАТАЙСТВА                                                       ☐
                                                                                       ЗАКЛЮЧЕННЫХ                 ☐                                                                            ☐
                                                                                                                                                                                                        или обжалование решения
                                                                                                                                                                                                        агентства
      210   Отчуждение земли                    440 Другие гражданские              Доставка обвиняемого в суд:
☐                                           ☐       права                                                                                                  ФЕДЕРАЛЬНЫЕ НАЛОГОВЫЕ                ☐   950 Конституционность
      220   Конфискация                         441                             ☐   463 Задержание иностранца                                                                                           государственных законов
☐     230   Нарушение аренды и выселение    ☐   442 Голосование                     510 Ходатайства об отмене                                                         ИСКИ                      ☐
☐     240   Земельное правонарушение        ☐   443 Трудоустройство             ☐        приговора                                                        ☐ 870 Налоги  (истец или ответчик
                                                                                    530 Общие                                                                   из США)
      245   Нарушение ответственности за            Жилье/проживание                                                                                                                            ☐
☐     290   качество Вся прочая             ☐   445 Амер. с инвалидностью –     ☐   535 Смертный приговор                      ИММИГРАЦИЯ                   871 IRS – третья сторона
            недвижимость                            Занятость                                                                                             ☐      26 USC 7609                    ☐
☐
                                            ☐   446 Амер. с инвалидностью –     ☐
☐                                                   другое
                                                                                                                                                                                                ☐
                                                448 Обучение                        Другое:
                                                                                                                   ☐ 462     Заявка на натурализацию
                                            ☐                                   ☐   540   Приказ и пр.             ☐ 465     Другие иммиграционные
                                                                                    550   Гражданские права                  иски
                                                                                ☐   555   Содержание в тюрьме
                                            ☐
                                                                                ☐   560   Задержанный по гражд.
                                                                                          делу – Условия
                                                                                ☐         содержания под стражей

V. ВОЗНИКНОВЕНИЕ (Поставьте «X» только в одной ячейке)
☒           Первичное       ☐2       Изъято из суда                 ☐3         Изъято из апелляционного    Восстановленные
                                                                                                            ☐4                 ☐5 Переданные из               ☐ 6 Многоокружные            ☐ 8 Многоокружные
            дело                     штата                                     суда                        или вновь                   другого округа                процессы –                   процессы –
                                                                                                           открытые                    (укажите)                     передача                     прямая подача
                                                  Укажите Гражданский закон США, по которому вы подаете иск (не цитируйте юрисдикционные законы, кроме случаев иного гражданства):
                                                  18 U.S.C. § 1,964(c)
VI.          ОСНОВАНИЕ ИСКА                       Краткое описание основания иска:
                                                  Нарушение Закона об организованной преступности, связанной с рэкетом и коррупцией, и связанные с этим нарушения государственного и международного права, основанные
                                                  на экспроприации активов.
                                                  ☐       ОТМЕТЬТЕ, ЕСЛИ ЭТО ГРУППОВОЙ ИСК                                   ТРЕБОВАНИЕ $                              ОТМЕТЬТЕ «ДА», только если в жалобе требуется:
VII.         ЗАПРОС ПО                                    СОГЛАСНО ПРАВИЛУ 23 F.R.Cv.P.                                                                                ТРЕБОВАНИЕ
             ЖАЛОБЕ.                                                                                                                                                   ПРИСЯЖНЫХ:                ☒ Да             ☐ Нет
VIII. СВЯЗАННЫЕ ДЕЛА,                             (См. инструкции):
      ПРИ НАЛИЧИИ                                                              СУДЬЯ __________ НОМЕР ДЕЛА _______
ДАТА                                                                                 ПОДПИСЬ АДВОКАТА
16.02.2023                                                                           /подпись/ Дж. Стивен Пик
ДЛЯ СЛУЖЕБНОГО ПОЛЬЗОВАНИЯ

      КВИТАНЦИЯ #                    СУММА ________________                          ЗАЯВИТЕЛЬ IFP ________________                    СУДЬЯ________________                      МАГ. СУДЬЯ         _________________________
__________                                                                                                                                                                                   Ex. Page No. 77
                   Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 80 of 245
                            Дело 2:23-cv-00247 Документ 1-1 Подано 16.02.23 Стр. 2 из 3

                      ИНСТРУКЦИЯ ДЛЯ АДВОКАТОВ, ЗАПОЛНЯЮЩИХ ТИТУЛЬНЫЙ ЛИСТ
                                  ГРАЖДАНСКОГО ДЕЛА, ФОРМА JS 44.
                                     Полномочия по заполнению титульного листа гражданских дел

Титульный лист гражданского дела JS 44 и информация, содержащаяся в нем, не заменяет и не дополняет регистрацию и вручение
состязательных бумаг или других документов согласно требованиям закона, за исключением случаев, предусмотренных местными правилами
суда. Эта форма, одобренная Конференцией судей Соединенных Штатов в сентябре 1974 года, должна использоваться секретарем суда с целью
возбуждения делопроизводства по гражданским делам. Следовательно, титульный лист гражданского дела представляется Секретарю суда для
каждого поданного гражданского иска. Адвокат, подающий иск, должен заполнить форму следующим образом:

I.(a)   Истцы-ответчики. Укажите имена (фамилию, имя, отчество) истца и ответчика. Если истцом или ответчиком является государственное
        учреждение, используйте только полное название или стандартные сокращения. Если истец или ответчик является должностным лицом
        государственного учреждения, укажите сначала это учреждение, а затем должностное лицо, с указанием имени и должности.
  (b)   Округ проживания. Для каждого поданного гражданского дела, за исключением дел истца из США, укажите название округа, в котором
        проживает первый истец из списка на момент подачи дела. В делах истца из США укажите название округа, в котором проживает первый
        ответчик из списка на момент подачи заявления. (ПРИМЕЧАНИЕ. В делах об отчуждении земли округ проживания «ответчика» является
        местом нахождения рассматриваемого земельного участка).
  (c)   Адвокаты. Укажите название фирмы, адрес, номер телефона и доверенное лицо. Если адвокатов несколько, перечислите их в
        приложении, указав в этом разделе «(см. приложение)».

II.     Юрисдикция. Основа юрисдикции изложена в правиле 8(a) Федерального гражданского процессуального кодекса США (F.R.Cv.P.)
        согласно которому следует указывать юрисдикцию в состязательных бумагах. Поставьте отметку «X» в одном из полей. Если имеется
        более одного основания юрисдикции, приоритет отдается в порядке, указанном ниже.
        Истец из США. (1) Юрисдикция на основании разд. 28 Свода законов США (U.S.C.), ст. 1345 и 1348. Сюда включены иски
        государственных органов и чиновников США. Ответчик из США. (2) Если истец предъявляет иск Соединенным Штатам, их чиновникам
        или государственным органам, поставьте отметку «X» в этом поле.
        Федеральный вопрос. (3) Это относится к искам в соответствии с разд. 28 U.S.C., ст. 1331, когда юрисдикция возникает в соответствии с
        Конституцией Соединенных Штатов, поправкой к Конституции, актом Конгресса или международным договором Соединенных Штатов.
        В тех случаях, когда стороной являются США, код истца или ответчика из США имеет приоритет, и необходимо отметить графу 1 или 2.
        Разные гражданства. (4) Это относится к искам по разд. 28 USC ст. 1332, сторонами которых являются граждане разных стран. Если отметка
        стоит в поле 4, следует проверить гражданство разных сторон. (См. Раздел III ниже. ПРИМЕЧАНИЕ. Иски по федеральным вопросам
        имеют приоритет перед делами с разными гражданствами.)

III.    Резиденция (гражданство) основных сторон. Этот раздел JS 44 необходимо заполнить, если выше были указаны разные гражданства.
        Отметьте этот раздел для каждой основной стороны.

IV.     Характер иска. Поставьте отметку «X» в соответствующем поле. Если с делом связано несколько кодов исков, выберите наиболее
        подходящий код иска. Нажмите здесь, чтобы видеть подробное описание иска: Описание характера кода иска.
V.      Возникновение. Поставьте отметку «X» в одном из семи полей.
        Первичное дело. (1) Дела, возбужденные окружными судами США.
        Изъято из суда штата. (2) Разбирательство, возбужденное в государственных судах, может быть передано в окружные суды в
        соответствии с разделом 28 USC, ст. 1441. Изъято из апелляционного суда. (3) Поставьте отметку здесь для дел, переданных в окружной
        суд для дальнейшего рассмотрения. В качестве даты подачи используйте дату возврата на рассмотрение.
        Восстановленные или вновь открытые. (4) Поставьте отметку в этом поле для дел, возобновленных или вновь открытых в окружном суде.
        В качестве даты подачи используйте дату повторного открытия. Переданные из другого округа. (5) Для дел, переданных в соответствии со
        ст. 1404(a) Раздела 28 U.S.C. Не используйте эту отметку для передачи внутри округа или передачи в рамках многоокружных процессов.
        Многоокружные процессы – передача. (6) Поставьте отметку здесь, если дело, относящееся к нескольким округам, передается в округ в
        соответствии с разд. 28 U.S.C.
        ст. 1407.
        Многоокружные процессы – прямая подача. (8) Поставьте отметку здесь, если дело, относящееся к нескольким округам, подается в том
        же округе, что и основное дело по многоокружному процессу. ОБРАТИТЕ ВНИМАНИЕ, ЧТО КОД ВОЗНИНКОВЕНИЯ 7
        ОТСУТСТВУЕТ. Код возникновения 7 использовался для исторических записей и больше не актуален из-за изменений в
        законодательстве.

VI.     Основание иска. Укажите гражданский закон, непосредственно связанный с основанием для иска, и дайте краткое описание основания.
        Не цитируйте юрисдикционные законы, если только речь не идет о гражданстве другой страны. Пример: Гражданский закон
        США: разд. 47 USC 553 Краткое описание: Несанкционированный прием кабельного телевидения.

VII.    Запрос по жалобе. Групповой иск. Поставьте «X» в этом поле, если вы подаете групповой иск в соответствии с
        Правилом 23, F.R.Cv.P. «Требование». В этом поле введите фактическую сумму претензии в долларах или укажите
        другое требование, например, предварительный судебный запрет. Требование присяжных. Отметьте это поле, чтобы
        указать, требуются ли присяжные.

VIII. Связанные дела. Этот раздел JS 44 используется для ссылки на связанные незавершенные дела, если таковые имеются. Если есть
      связанные незавершенные дела, укажите номера дел и соответствующие имена судей для таких дел.

Дата и подпись адвоката. Поставьте дату и подпишите титульный лист гражданского дела.

                                                                                                                  Ex. Page No. 78
                   Дело 2:23-cv-00247 Документ
             Case 2:23-cv-00247-JAD-VCF        1-1 Подано
                                         Document         16.02.23
                                                   16 Filed        Стр.
                                                            03/08/23    3 из81
                                                                     Page    3 of 245



                            Приложение к титульному листу гражданского дела

Раздел I(а) Ответчики:
       Республика Казахстан;
       Агентство Республики Казахстан по регулированию и развитию финансового рынка;
       Агентство Республики Казахстан по противодействию коррупцией;
       Агентство Республики Казахстан по финансовому мониторингу;
       Комитет национальной безопасности Республики Казахстан;
       Агентство Республики Казахстан по регулированию и развитию финансового рынка, председатель,
       Абылкасымова Мадина;
       Агентство Республики Казахстан по регулированию и развитию финансового рынка, заместитель
       председателя, Кизатов Олжас;
       Агентство Республики Казахстан по регулированию и развитию финансового рынка, представитель,
       Омарбеков Арман;
       Джаксыбеков Адильбек.

Раздел I(c) Адвокаты истцов
       Стивен Пик (J. Stephen Peek)
       Эрика С. Медли (Erica C. Medley)
       Holland & Hart LLP
       9555 Hillwood Drive, 2nd Floor
       Las Vegas, NV 89,134 (Лас-Вегас, США)
       (702) 669-4600

      Тарик Мундия (Tariq Mundiya)
      Джеффри Б. Корн (Jeffrey B. Korn)
      Willkie Farr & Gallagher LLP 787 Seventh Avenue
      New York, NY 10019 (Нью-Йорк, США)
      (212) 728-8000

      Майкл Дж. Готтлиб (Michael J. Gottlieb)
      Willkie Farr & Gallagher
      1875 K Street, NW
      Washington, DC 20006 (Вашингтон, США)
      (202) 303-1000




                                                                                  Ex. Page No. 79
                   Дело  2:23-cv-00247-JAD-VCF Документ
                    Case2:23-cv-00247-JAD-VCF   Document  Подано
                                                        5 16       03/08/23 Стр.
                                                             Filed22/02/23   Page   изof18245
                                                                                 1182

      AO 440 (Ред. 06/12) Судебная повестка по гражданскому делу



                                                     ОКРУЖНОЙ СУД США
                                                                   Округа Невада


            Jysan Holding, LLC; Jusan Technologies LTD                   )
                                                                         )
                                                                         )
                                                                         )
                                Истец(-цы)
                                                                         )
                                                                         )
                                 против                                  )
                                                                                Гражданское дело No. 2:23-cv-00247-JAD-VCF
                     Республика Казахстан и др.                          )
                                                                         )
                                                                         )
                                                                         )
                               Ответчик(-и)                              )

                                       СУДЕБНАЯ ПОВЕСТКА ПО ГРАЖДАНСКОМУ ДЕЛУ

     Кому: (Имя и адрес ответчика)          Мадина Абылкасымова, председатель
                                            Агентство Республики Казахстан по регулированию и развитию
                                            финансового рынка
                                            21, Коктем-3
                                            Алматы, 050040
                                            Республика Казахстан

               Против вас выдвинут судебный иск.

             В течение 21 дня после вручения вам этой повестки (не считая дня, когда вы ее получили) — или 60 дней,
     если вы являетесь организацией в Соединенных Штатах, либо должностным лицом или сотрудником
     Соединенных Штатов, указанным в Федеральных правилах гражданского судопроизводства
     П. 12 (a) (2) или (3) — вы должны вручить истцу ответ на прилагаемый иск или ходатайство в соответствии с
     правилом 12 Федеральных правил гражданского судопроизводства. Ответ или ходатайство должны быть
     вручены истцу или его адвокату, чье имя и адрес указаны ниже:

              Стивен Пик (Stephen Peek)                     Тарик Мундия (Tariq Mundiya)         Майкл Дж. Готтлиб (Michael J. Gottlieb)
              Эрика С. Медли (Erica C. Medley)              Джеффри Б. Корн (Jeffrey B. Korn)    Willkie Farr & Gallagher LLP
              Holland & Hart LLP                            Willkie Farr & Gallagher LLP         1875 K Street, NW
              9555 Hillwood Dr., 2nd Fl.                    787 Seventh Ave.                     Washington, DC 20006
              Las Vegas, NV 89134                           New York, NY 10019

            Если вы не ответите, против вас будет вынесено решение по умолчанию о возмещении ущерба,
     требуемого в исковом заявлении. Вы также должны подать свой ответ или ходатайство в суд.


 ДЕБРА К. КЕМПИ                                                                                 22 февраля 2023 г.
Секретарь                                                                    ДАТА
             [подпись]


(составлено) ЗАМЕСТИТЕЛЬ
СЕКРЕТАРЯ

                                                   [Печать: ОКРУЖНОЙ СУД США ОКРУГА НЕВАДА]

                                                                                                               Ex. Page No. 80
              Дело  2:23-cv-00247-JAD-VCF Документ
               Case2:23-cv-00247-JAD-VCF   Document  Подано
                                                   5 16       03/08/23 Стр.
                                                        Filed22/02/23   Page   изof18245
                                                                            1283

AO 440 (Ред. 06/12) Судебная повестка по гражданскому делу (стр.2)

Гражданское дело No. 2:23-cv-00247-JAD-VCF


                                         РАСПИСКА О ПОЛУЧЕНИИ
 (Этот документ не нужно подавать в суд, если только этого не требует П.4(L) Фед. Прав. Судопроизводства США)

          Эта повестка (кому - имя и должность) _____________________________________________________________
была получена мною (дата)           ______________________.
          ☐ Я лично вручил(-а) повестку этому лицу в (место)         ______________________________________________
          ________________________________________________ (дата) _______________________ ;или

          ☐ Я оставил(-а) повестку по месту прописки или месту жительства лица у (имя)       ________________________
          _____________________________ , человека соответствующего возраста и вменяемости, проживающего(-ей) там,
          (дата) _________________ и отправил(-а) копию на последний известный адрес лица; или

          ☐ Я вручил(-а) повестку (кому - имя лица) ____________________________________________________ , которому
          по закону назначено вручение процессуальных документов от имени (название организации) _________________
          ___________________________________________________________ (дата)            _______________________ ; или

          ☐ Я не вручил(-а) повестку, потому что _____________________________________________ ; или
          ☐ Другое (уточнить):


          Моя оплата составляет $ ____________ за транспортные расходы и $ ____________ за услуги, что в сумме
          составляет $                                                                                               0.00    .


Я заявляю под страхом наказания за лжесвидетельство, что эта информация соответствует действительности.

Дата: _________________
                                                                            Подпись судебного исполнителя



                                                                             Печатное имя и должность




                                                                             Адрес судебного исполнителя

Дополнительная информация о попытке вручения и т.д.




                                                                                                           Ex. Page No. 81
Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 84 of 245




   EXHIBIT B
   Complaint, Summons, and Russian
Translations for Defendant Olzhas Kizatov




   EXHIBIT B
                                                              Ex. Page No. 82
                                           Case 2:23-cv-00247-JAD-VCF
                                                 Case 2:23-cv-00247 Document
                                                                      Document
                                                                             1 Filed
                                                                               16 Filed
                                                                                     02/16/23
                                                                                         03/08/23
                                                                                               PagePage
                                                                                                    1 of 32
                                                                                                         85 of 245



                                  1 J. Stephen Peek
                                    (Nevada Bar No. 1758)
                                  2 Erica C. Medley
                                    (Nevada Bar No. 13959)
                                  3 HOLLAND & HART LLP
                                    9555 Hillwood Drive, 2nd Floor
                                  4 Las Vegas, NV 89134
                                    Tel: 702.669.4600
                                  5 Fax: 702.669.4650
                                    speek@hollandhart.com
                                  6
                                  7 Tariq Mundiya (pro hac vice forthcoming)
                                    Jeffrey B. Korn (pro hac vice forthcoming)
                                  8 WILLKIE FARR & GALLAGHER LLP
                                    787 Seventh Avenue
                                  9 New York, New York 10019
                                    (212) 728-8000
                                 10 tmundiya@willkie.com
                                    jkorn@willkie.com
                                 11
                                    Michael J. Gottlieb (pro hac vice forthcoming)
                                 12 WILLKIE FARR & GALLAGHER LLP
9555 HILLWOOD DRIVE, 2ND FLOOR




                                    1875 K Street, NW
                                 13 Washington, DC 20006
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                    (202) 303-1000
                                 14 mgottlieb@willkie.com
                                 15 Attorneys for Plaintiffs
                                 16 Jysan Holding, LLC; and
                                    Jusan Technologies Ltd.
                                 17
                                                               UNITED STATES DISTRICT COURT
                                 18
                                                                       DISTRICT OF NEVADA
                                 19
                                    JYSAN HOLDING, LLC, a Nevada Limited             Case No.:
                                 20 Liability Company; JUSAN
                                    TECHNOLOGIES LTD, an England and                 COMPLAINT
                                 21 Wales Limited Company;
                                                                                     JURY DEMAND
                                 22                       Plaintiff,
                                      v.
                                 23
                                    REPUBLIC OF KAZAKHSTAN, a foreign
                                 24 sovereign state; THE AGENCY FOR
                                    REGULATION AND DEVELOPMENT
                                 25 OF THE FINANCIAL MARKET OF THE
                                 26 REPUBLIC OF KAZAKHSTAN, a
                                    Kazakhstan Government agency; THE
                                 27 ANTI-CORRUPTION AGENCY OF THE
                                    REPUBLIC OF KAZAKHSTAN, a
                                 28 Kazakhstan Government anti-corruption


                                                                                 1
                                                                                                           Ex. Page No. 83
                                        Case 2:23-cv-00247-JAD-VCF
                                              Case 2:23-cv-00247 Document
                                                                   Document
                                                                          1 Filed
                                                                            16 Filed
                                                                                  02/16/23
                                                                                      03/08/23
                                                                                            PagePage
                                                                                                 2 of 32
                                                                                                      86 of 245



                                  1 agency ; THE FINANCIAL MONITORING
                                    AGENCY OF THE REPUBLIC OF
                                  2 KAZAKHSTAN, a Kazakhstan Government
                                    agency; THE COMMITTEE FOR
                                  3 NATIONAL SECURITY OF
                                    KAZAKHSTAN, a Kazakhstan Government
                                  4 intelligence agency; MADINA
                                    ABYLKASSYMOVA, an individual;
                                  5 OLZHAS KIZATOV, an individual;
                                    ARMAN OMARBEKOV, an individual;
                                  6 and ADILBEK DZHAKSYBEKOV, an
                                  7 individual,
                                  8                          Defendants.

                                  9                                        INTRODUCTION
                                 10        1.      Since early 2022, the Government of the Republic of Kazakhstan (“Government”
                                 11 or “Government of Kazakhstan”) has perpetrated an illegal campaign against Nevada
                                 12 corporations—Plaintiff Jysan Holding, LLC (“Jysan Holding”) and the New Generation
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13 Foundation, Inc. (“NGF”), and their direct and indirect subsidiaries (together, the “Jusan
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14 Group”)—in an effort to steal more than USD $1.5 billion of Plaintiffs’ assets. This corrupt
                                 15 and lawless campaign demonstrates the brazen thuggery of a nation—a satellite of the former
                                 16 Soviet Union—that has weaponized the Government’s vast powers and senior-most officials
                                 17 to reach far outside Kazakhstan to steal from, intimidate, and otherwise harm persons and
                                 18 entities in the United States. Defendants are engaged in precisely the type of racketeering and
                                 19 expropriation that federal laws are designed to prohibit. Plaintiffs bring this action to remedy
                                 20 the Defendants’ unlawful confiscatory conduct.
                                 21        2.      Although the Government of Kazakhstan has offered numerous, contradictory,
                                 22 and pretextual justifications for its conduct against the Jusan Group, the Government’s true
                                 23 aim is to seize control of the Jusan Group’s Kazakhstan-based assets for its own commercial
                                 24 benefit while delivering massive commercial benefits to the Government’s favored private
                                 25 individuals. The Government has evinced its intent to pursue this goal by any means
                                 26 necessary, including threats, intimidation, criminal and civil investigations and litigations, and
                                 27 blocking USD $387 million in dividends slated for distribution by the Jusan Group’s privately
                                 28 owned bank, First Heartland Jusan Bank (“First Heartland Bank” or the “Bank”) and the


                                                                                     2
                                                                                                                           Ex. Page No. 84
                                        Case 2:23-cv-00247-JAD-VCF
                                              Case 2:23-cv-00247 Document
                                                                   Document
                                                                          1 Filed
                                                                            16 Filed
                                                                                  02/16/23
                                                                                      03/08/23
                                                                                            PagePage
                                                                                                 3 of 32
                                                                                                      87 of 245



                                  1 Bank’s direct parent, First Heartland Securities JSC (“FHS”)—funds destined for Plaintiff
                                  2 Jusan Technologies Ltd. (“JTL”), Plaintiff Jysan Holding, and ultimately, NGF.               The
                                  3 Defendants’ scheme to use the organs of Kazakhstan’s Government to harm Nevada entities
                                  4 has been made abundantly clear. After Plaintiffs informed Defendants of their intention to
                                  5 enforce their rights in the instant action, Defendants took two plainly retaliatory acts—first,
                                  6 in November 2022, Defendants introduced legislation specifically targeting Plaintiffs and,
                                  7 second, on December 2, 2022, Kazakhstan’s Prosecutor General filed a trumped-up lawsuit
                                  8 against Plaintiffs and other members and employees of the Jusan Group in the courts of
                                  9 Kazakhstan. The legislation targeted at the Jusan Group—detailed below—directed the
                                 10 unlawful seizure of the assets under the control of a Nevada entity. Most recently, on
                                 11 February 10, 2023, the Kazakhstani Prosecutor General filed a frivolous lawsuit, predicated
                                 12 on spurious allegations, for the sole purpose of confiscating assets under JTL’s control. Even
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13 worse, Kazakhstan has leveled threats of violence and imprisonment against United States
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14 residents who have material economic interests in the Jusan Group if Kazakhstan’s commercial
                                 15 demands are not met. These acts are in line with the Government of Kazakhstan’s history of
                                 16 rampant corruption, which according to public reporting has worsened since 2022. In sum, the
                                 17 Government of Kazakhstan has resorted to the same unlawful tools—confiscation,
                                 18 expropriation, threats, and intimidation—favored by the world’s most repressive dictators and
                                 19 authoritarian regimes.
                                 20        3.     The conduct by the Government and several individuals is obstructing
                                 21 Plaintiffs—including a Nevada LLC which was formed precisely to avoid the type of illegal
                                 22 asset seizure being perpetrated now—from fulfilling their commitment to ensuring educational
                                 23 freedom and excellence to the NGF grantees by providing U.S.-style higher education and
                                 24 free-market reforms in the Republic of Kazakhstan. Indeed, prior to the illegal conduct
                                 25 described herein, through Plaintiffs’ efforts, NGF and the Jusan Group as a whole have
                                 26 provided millions of dollars in grants to Nazarbayev University—a modern, English-language
                                 27 research university located in Astana (formerly Nur-Sultan), the Republic of Kazakhstan’s
                                 28 capital—as well as Nazarbayev Intellectual Schools and their organizations.


                                                                                   3
                                                                                                                        Ex. Page No. 85
                                        Case 2:23-cv-00247-JAD-VCF
                                              Case 2:23-cv-00247 Document
                                                                   Document
                                                                          1 Filed
                                                                            16 Filed
                                                                                  02/16/23
                                                                                      03/08/23
                                                                                            PagePage
                                                                                                 4 of 32
                                                                                                      88 of 245



                                  1        4.       Absent judicial relief, Defendants’ unlawful scheme will continue to deprive
                                  2 Plaintiffs of a primary source of funding from their subsidiaries connected to the Bank and
                                  3 will accordingly leave them unable to fulfill their obligation to provide dividend funding to
                                  4 their parent organizations, including NGF. In turn, NGF is unable to transfer its own funds or
                                  5 receive lawfully issued dividends, to serve its sole mission of funding Nazarbayev University
                                  6 and Nazarbayev Intellectual Schools. Ultimately, by freezing the Jusan Group’s funds, the
                                  7 Government is depriving Nazarbayev University and Nazarbayev Intellectual Schools of
                                  8 necessary resources, and thereby harming their students, researchers, and educators by
                                  9 obstructing an education that emphasizes the values of excellence, academic rigor, evidence-
                                 10 based research, scientific temper, intellectual liberty, innovation, and academic freedom.
                                 11                                 JURISDICTION AND VENUE
                                 12        5.       This Court has subject matter jurisdiction over this action pursuant to
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13 28 U.S.C. § 1331 because this action arises under the laws of the United States, specifically
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14 18 U.S.C. § 1964(c).
                                 15        6.       This Court also has subject matter jurisdiction over this action pursuant to
                                 16 28 U.S.C. § 1330(a) because Defendant Republic of Kazakhstan and its agencies and
                                 17 instrumentalities, listed below, are foreign states as defined in 28 U.S.C. § 1603(a) and are not
                                 18 entitled to immunity under 28 U.S.C. §§ 1605–07 or any applicable international agreement.
                                 19 Defendant Republic of Kazakhstan, as well as the Defendant agencies and instrumentalities
                                 20 listed below, are not immune from the jurisdiction of this Court under 28 U.S.C. § 1605(a)(2)
                                 21 because this action is based upon acts outside the territory of the United States in connection
                                 22 with a commercial activity of Defendants elsewhere and those acts have caused a direct effect
                                 23 in the United States.
                                 24        7.       This Court has supplemental jurisdiction over Plaintiffs’ state-law claims under
                                 25 28 U.S.C. § 1367(a) because those claims are so related to the other claims in the action that
                                 26 they form part of the same case or controversy under Article III of the United States
                                 27 Constitution.
                                 28


                                                                                    4
                                                                                                                          Ex. Page No. 86
                                         Case 2:23-cv-00247-JAD-VCF
                                               Case 2:23-cv-00247 Document
                                                                    Document
                                                                           1 Filed
                                                                             16 Filed
                                                                                   02/16/23
                                                                                       03/08/23
                                                                                             PagePage
                                                                                                  5 of 32
                                                                                                       89 of 245



                                  1        8.      This Court has personal jurisdiction over Defendant Republic of Kazakhstan and
                                  2 its agencies and instrumentalities, listed below, under 28 U.S.C. § 1330(b).
                                  3        9.      This Court has personal jurisdiction over all Defendants under Nev. Rev.
                                  4 Stat. § 14.065.     This Court also has personal jurisdiction over all Defendants under
                                  5 18 U.S.C. § 1965, and Rules 4(k)(1)(C) and 4(k)(2) of the Federal Rules of Civil Procedure.
                                  6        10.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(f)(1) because a
                                  7 substantial part of the events giving rise to the claim occurred in this District. In the alternative,
                                  8 venue is proper in this District under 28 U.S.C. § 1391(b)(3) because Defendants are subject
                                  9 to personal jurisdiction in this District with respect to this action.
                                 10                                               PARTIES
                                 11        11.     Plaintiff Jysan Holding is a limited liability company incorporated under the laws
                                 12 of the State of Nevada.        Jysan Holding’s sole member is NGF, a registered 501(c)(4)
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13 organization based and incorporated in Nevada. Jysan Holding has a 96.96% direct ownership
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14 interest in JTL, which serves as the holding company for Jysan Holding’s indirect subsidiaries
                                 15 and is an indirect majority owner of other companies located in Kazakhstan. Jysan Holding
                                 16 manages businesses and other investments of NGF, for the ultimate benefit of students of the
                                 17 grantee educational institutions in the Republic of Kazakhstan.
                                 18        12.     Plaintiff JTL is a limited company organized under the laws of England and
                                 19 Wales. JTL’s direct parent is Jysan Holding (the Nevada entity identified above). JTL is a
                                 20 direct and indirect majority owner of other companies in Kazakhstan, including FHS, in which
                                 21 JTL holds a direct 99.48% ownership interest.
                                 22        13.     Defendant Republic of Kazakhstan is a foreign sovereign state within the
                                 23 meaning of 28 U.S.C. § 1603(a). Defendant Republic of Kazakhstan maintains an Embassy
                                 24 within the United States at 1401 16th St. NW, Washington, DC 20036.
                                 25        14.     Defendant Agency for Regulation and Development of the Financial Market of
                                 26 the Republic of Kazakhstan (“ARDFM”) is a Government agency tasked with supervising the
                                 27 financial market and financial organizations within Kazakhstan.
                                 28


                                                                                       5
                                                                                                                              Ex. Page No. 87
                                        Case 2:23-cv-00247-JAD-VCF
                                              Case 2:23-cv-00247 Document
                                                                   Document
                                                                          1 Filed
                                                                            16 Filed
                                                                                  02/16/23
                                                                                      03/08/23
                                                                                            PagePage
                                                                                                 6 of 32
                                                                                                      90 of 245



                                  1        15.     Defendant Anti-Corruption Agency of the Republic of Kazakhstan (“AARK”) is
                                  2 a Government anti-corruption agency.            AARK is responsible for formulating and
                                  3 implementing the anti-corruption policy of the Government of Kazakhstan, coordinating the
                                  4 anti-corruption enforcement actions, and detecting, restraining, revealing, and investigating
                                  5 corruption offenses. AARK reports directly to the President of Kazakhstan.
                                  6        16.     Defendant Financial Monitoring Agency of the Republic of Kazakhstan (“FMA”)
                                  7 is a Government agency responsible for providing guidance in countering money laundering
                                  8 and the financing of terrorism, as well as for the prevention, detection, suppression, disclosure,
                                  9 and investigation of economic and financial offenses referred to it by the legislature of the
                                 10 Republic of Kazakhstan. FMA reports directly to the President of Kazakhstan.
                                 11        17.     Defendant Committee for National Security of Kazakhstan (“KNB”) is a
                                 12 Government intelligence agency (together with ARDFM, AARK, and FMA, the
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13 “Governmental Agency Defendants”).
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14        18.     Defendant Madina Abylkassymova is the Chairperson of ARDFM. She is a
                                 15 resident and citizen of Kazakhstan.
                                 16        19.     Defendant Olzhas Kizatov is the Deputy Chairperson of ARDFM. He is a
                                 17 resident and citizen of Kazakhstan.
                                 18        20.     Defendant Arman Omarbekov is a representative of ARDFM. He is a resident
                                 19 and citizen of Kazakhstan.
                                 20        21.     Defendant Adilbek Dzhaksybekov (together with Defendants Abylkassymova,
                                 21 Kizatov, and Omarbekov, the “Individual Defendants”) is the former owner of Tsesnabank, a
                                 22 bank the Jusan Group purchased in February 2019. He is a resident and citizen of Kazakhstan.
                                 23                                              FACTS
                                 24   A. Members of the Jusan Group Assist the Government of Kazakhstan by Purchasing
                                 25   Failing Kazakhstani Banks.
                                 26        22.     In 2018, Kazakhstan’s banking sector, which had not fully recovered from the
                                 27 2007-2009 financial crisis and subsequent devaluations of the Kazakhstani tenge in 2008 and
                                 28 2015, became acutely vulnerable following a sharp drop in global energy prices that had


                                                                                     6
                                                                                                                           Ex. Page No. 88
                                        Case 2:23-cv-00247-JAD-VCF
                                              Case 2:23-cv-00247 Document
                                                                   Document
                                                                          1 Filed
                                                                            16 Filed
                                                                                  02/16/23
                                                                                      03/08/23
                                                                                            PagePage
                                                                                                 7 of 32
                                                                                                      91 of 245



                                  1 significantly devalued the tenge once again. In response, the Government of Kazakhstan
                                  2 sought various commercial solutions in an attempt to avoid a collapse of the country’s entire
                                  3 banking system.
                                  4        23.     At the time, Tsesnabank was Central Asia’s second-largest bank in terms of assets
                                  5 and was owned by Defendant Dzhaksybekov. Defendant Dzhaksybekov misused his authority
                                  6 at Tsesnabank to financially advantage himself, his family, and his friends, essentially treating
                                  7 Tsesnabank as a private equity and investment firm for his personal benefit and engaging in
                                  8 other questionable or malicious business conduct.
                                  9        24.     By 2018, Tsesnabank was on the brink of failure, with nearly 90% of its assets
                                 10 non-performing.
                                 11        25.     Despite having received capital injections as part of the Government of
                                 12 Kazakhstan’s banking sector bailout in 2017, Tsesnabank continued to face severe liquidity
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13 issues. In early September 2018, it received a short-term loan of several hundred million
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14 dollars from the National Bank of the Republic of Kazakhstan. In a last-ditch attempt to
                                 15 preserve its business, Tsesnabank sold a significant portion of its agricultural loan portfolio to
                                 16 the state. Nonetheless, by mid-September, S&P had downgraded Tsesnabank’s liquidity rating
                                 17 from “adequate” to “less than adequate.”
                                 18        26.     The Government of Kazakhstan determined that if Tsesnabank were to fail, it
                                 19 would likely take with it the entire banking sector in Kazakhstan. The Government of
                                 20 Kazakhstan was therefore adamant about brokering a commercial solution to keep Tsesnabank
                                 21 afloat. In an attempt to do so, the Government of Kazakhstan initiated a series of attempted
                                 22 bailouts for Tsesnabank between 2018 and 2019.
                                 23        27.     The Government described those measures as “enhanc[ing] the robustness of
                                 24 Tsesnabank by cardinally improving its credit portfolio.”           Contemporaneous reporting
                                 25 recognized that this was another bailout targeted at correcting Tsesnabank’s weak and
                                 26 deteriorating financial situation.
                                 27        28.     Even with this financial support, by January 2019, significant losses in
                                 28 Tsesnabank’s credit portfolio continued to threaten Tsesnabank’s viability.          Tsesnabank


                                                                                     7
                                                                                                                           Ex. Page No. 89
                                        Case 2:23-cv-00247-JAD-VCF
                                              Case 2:23-cv-00247 Document
                                                                   Document
                                                                          1 Filed
                                                                            16 Filed
                                                                                  02/16/23
                                                                                      03/08/23
                                                                                            PagePage
                                                                                                 8 of 32
                                                                                                      92 of 245



                                  1 needed an additional injection of capital to survive. The Government of Kazakhstan searched
                                  2 urgently for another bank to purchase Tsesnabank, so that the purchasing bank could provide
                                  3 Tsesnabank with new capital to prevent collapse, in addition to providing a change of
                                  4 management to strengthen Tsesnabank’s operations.
                                  5        29.    The Government of Kazakhstan identified First Heartland Bank in Kazakhstan,
                                  6 owned by the Jusan Group, as a potential solution. Under the Jusan Group’s stewardship, First
                                  7 Heartland Bank had significantly grown its cash reserves and maintained a sterling reputation
                                  8 for proper stewardship.
                                  9        30.    The Government of Kazakhstan approached the Jusan Group about a potential
                                 10 acquisition of Tsesnabank. The Jusan Group sought to answer the Government’s plea and step
                                 11 in to assist the banking sector. But the Jusan Group was clear that it could not acquire
                                 12 Tsesnabank if it had a negative balance sheet, and due to Tsesnabank’s mismanaged loan
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13 portfolio under Defendant Dzhaksybekov, Tsesnabank’s balance sheet was deeply in the red.
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14        31.    Eager to find a commercial solution, the Government of Kazakhstan led the
                                 15 negotiations of a number of contracts (culminating together in the “Tsesnabank Framework
                                 16 Agreements”), pursuant to which the Government would provide Tsesnabank with additional
                                 17 bailout funds, including through the purchase of distressed assets, and the Jusan Group would
                                 18 then purchase Tsesnabank.
                                 19        32.    In January and February 2019, the Tsesnabank Framework Agreements were
                                 20 executed. The parties to the Tsesnabank Framework Agreements included the Bank’s parent
                                 21 company, First Heartland Securities JSC (“FHS”), Defendant Dzhaksybekov, Tsesnabank, and
                                 22 the Government of the Republic of Kazakhstan represented by the Ministry of Finance of the
                                 23 Republic of Kazakhstan and the National Bank of the Republic of Kazakhstan.                The
                                 24 Tsesnabank Framework Agreements were also expressly supported and negotiated by the
                                 25 current Prime Minister of Kazakhstan, Alikhan Smailov, and the President of Kazakhstan’s
                                 26 First Deputy Chief of Staff, Timur Suleimenov.
                                 27        33.    The framework agreement executed on January 17, 2019 (“January 17
                                 28 Tsesnabank Framework Agreement”) provided for the injection of Government funds into


                                                                                  8
                                                                                                                      Ex. Page No. 90
                                        Case 2:23-cv-00247-JAD-VCF
                                              Case 2:23-cv-00247 Document
                                                                   Document
                                                                          1 Filed
                                                                            16 Filed
                                                                                  02/16/23
                                                                                      03/08/23
                                                                                            PagePage
                                                                                                 9 of 32
                                                                                                      93 of 245



                                  1 Tsesnabank Bank, which ultimately took the form of bonds with long-term maturities. Then,
                                  2 pursuant to Article 8 of the January 17 Tsesnabank Framework Agreement, FHS purchased
                                  3 Tsesnabank.
                                  4        34.    The Government of Kazakhstan not only fully consented to the deal, but was
                                  5 leading the charge in its execution.
                                  6        35.    Importantly, at no time did the Government of Kazakhstan make paying back the
                                  7 bailout funds before 2023 a condition of its support for the acquisition of Tsesnabank, nor did
                                  8 the Government of Kazakhstan otherwise restrict the Bank’s payment of dividends. In fact,
                                  9 until recently, the Bank has issued dividends without objection from the Government of
                                 10 Kazakhstan, including issuing dividends in December 2021.
                                 11        36.    Not long after brokering the acquisition of Tsesnabank, the Government again
                                 12 approached the Jusan Group about acquiring another failing bank, ATF Bank.
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13        37.    As with Tsesnabank, the Government was the primary negotiator of the deal in
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14 which the Jusan Group acquired ATF Bank (effectuated through the ATF Bank Framework
                                 15 Agreements). And as with Tsesnabank, ATF Bank had significant losses in its credit portfolio,
                                 16 which the Government agreed to bail out in connection with the acquisition.
                                 17        38.    Importantly, and as discussed above, the Government did not condition its bailout
                                 18 of ATF Bank on any obligation to repay the bailout funds before 2023 and it did not otherwise
                                 19 restrict the Bank’s payment of dividends.
                                 20        39.    Thus, with the acquisition of ATF Bank, the Jusan Group answered the
                                 21 Government of Kazakhstan’s plea for a commercial solution to the banking crisis, invested
                                 22 significant capital into the country’s banking sector, and saved it from total failure for the
                                 23 second time in two years. As recently as January 2023, Prime Minister Smailov affirmed that
                                 24 the Jusan Group’s acquisitions of Tsesnabank and ATF Bank were necessary to stabilize the
                                 25 institutions’ financial situations and to ensure the safety of Kazakhstani citizens’ and
                                 26 businesses’ deposits.
                                 27
                                 28


                                                                                   9
                                                                                                                        Ex. Page No. 91
                                        Case 2:23-cv-00247-JAD-VCF
                                             Case 2:23-cv-00247 Document
                                                                   Document
                                                                         1 Filed
                                                                            16 Filed
                                                                                 02/16/23
                                                                                      03/08/23
                                                                                           PagePage
                                                                                                10 of 94
                                                                                                      32 of 245



                                  1    B. Jusan Group Established Nevada Entities to Protect and Grow Its Holdings
                                  2    Amidst the Kazakhstani Banking Crisis.
                                  3        40.     At the same time the Jusan Group was assisting the Government in bailing out
                                  4 failing Kazakhstani banks, the Jusan Group leadership was considering how best to continue
                                  5 to protect and grow its own assets. Up until 2019, the Jusan Group was owned by the
                                  6 Nazarbayev Fund (“NF”)—a Kazakhstani corporation established to fund Nazarbayev
                                  7 University and Nazarbayev Intellectual Schools—as well as supporting organizations of
                                  8 Nazarbayev University and Nazarbayev Intellectual Schools.
                                  9        41.     Established in 2010, Nazarbayev University is Kazakhstan’s flagship academic
                                 10 institution with aspirations to become a global-level research university. Its vision is to “give
                                 11 Kazakhstan and the world the scientists, academics, managers, and entrepreneurs needed to
                                 12 prosper and develop,” and it was founded on principles of autonomy and academic freedom.
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13 Nazarbayev University has made itself an integral part of the academic research ecosystem,
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14 and is associated with more than 5,600 international publications. Nazarbayev University
                                 15 provides Western-style, English-language based education.
                                 16        42.     Founded in 2008, the Nazarbayev Intellectual Schools were envisioned as a
                                 17 modern and innovative educational platform for the development and implementation of
                                 18 modern models of educational programs from preschool through high school. Nazarbayev
                                 19 Intellectual Schools graduates have proven to be successful in gaining admission to top
                                 20 universities, including Nazarbayev University and other top undergraduate programs in
                                 21 Europe and East Asia.
                                 22        43.     After nearly a decade of having Nazarbayev University and Nazarbayev
                                 23 Intellectual Schools successfully supported by the Kazakhstan-based endowment fund, the
                                 24 Jusan Group leadership became concerned that the endowment’s growth was inherently
                                 25 limited and at risk within Kazakhstan.
                                 26        44.     The Jusan Group leadership decided to establish an endowment fund in Nevada,
                                 27 a state known for strong legal protections and corporate governance standards, strong
                                 28


                                                                                    10
                                                                                                                          Ex. Page No. 92
                                        Case 2:23-cv-00247-JAD-VCF
                                             Case 2:23-cv-00247 Document
                                                                   Document
                                                                         1 Filed
                                                                            16 Filed
                                                                                 02/16/23
                                                                                      03/08/23
                                                                                           PagePage
                                                                                                11 of 95
                                                                                                      32 of 245



                                  1 philanthropic traditions, and ample examples of successful university endowments and non-
                                  2 profit organizations.
                                  3        45.     More specifically, the Jusan Group chose to incorporate in Nevada because it is
                                  4 one of the leading jurisdictions in the United States for corporate governance standards. The
                                  5 Jusan Group also considered the fact that many major for-profit and non-profit organizations
                                  6 operate as Nevada corporations.
                                  7        46.     In 2019, NGF was established as a non-stock Nevada non-profit corporation for
                                  8 the sole benefit of Nazarbayev University and Nazarbayev Intellectual Schools. NF then
                                  9 transferred all of its ownership interest in the Jusan Group to NGF. NGF’s sole mission is to
                                 10 secure funding for the activities of Nazarbayev University and Nazarbayev Intellectual Schools
                                 11 and their organizations, and it serves as their endowment. Jysan Holding was established to
                                 12 manage NGF’s assets.
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13        47.     In 2020, JTL, a limited company incorporated under the laws of England and
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14 Wales, was established and later placed under Jysan Holding through a capital contribution.
                                 15 JTL was incorporated for the purpose of creating a common corporate holding structure for
                                 16 the Jusan Group’s financial and technology arms. JTL is a holding company invested in
                                 17 various sectors, including banking, brokerage, insurance, asset management, e-commerce,
                                 18 telecommunications, logistics, and retail. Although JTL is expanding its portfolio through
                                 19 strategic mergers and acquisitions, its indirect ownership in the Bank makes up 90% of its total
                                 20 assets.
                                 21        48.     JTL has a 99.48% ownership interest in FHS, which in turn has an approximately
                                 22 80% ownership interest in First Heartland Bank.
                                 23
                                 24
                                 25
                                 26
                                 27
                                 28


                                                                                   11
                                                                                                                         Ex. Page No. 93
                                        Case 2:23-cv-00247-JAD-VCF
                                             Case 2:23-cv-00247 Document
                                                                   Document
                                                                         1 Filed
                                                                            16 Filed
                                                                                 02/16/23
                                                                                      03/08/23
                                                                                           PagePage
                                                                                                12 of 96
                                                                                                      32 of 245



                                 1         49.     Thus, by its indirect ownership of JTL, NGF receives passive income in the form
                                 2 of dividends and distributions from the business and operations of JTL and its holdings,
                                 3 including FHS and the Bank.
                                 4
                                 5
                                 6
                                 7
                                 8
                                 9
                                 10
                                 11
                                 12
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14
                                 15
                                 16
                                 17
                                           50.     Under intercompany policies and agreements, dividend payments will be
                                 18
                                      distributed from the Bank to FHS, and, in turn, to JTL, Jysan Holding, and NGF, less the funds
                                 19
                                      necessary to support the reasonable operational expenses. Each entity has a legal right to
                                 20
                                      declare and to receive dividends from its direct subsidiary.
                                 21
                                           51.     NGF first began to provide funding to Nazarbayev University and Nazarbayev
                                 22
                                      Intellectual Schools in 2021. As noted, in two years alone, NGF and the Jusan Group have
                                 23
                                      provided millions of dollars to Nazarbayev University, Nazarbayev Intellectual Schools, and
                                 24
                                      supporting organizations. These grants have supported efforts to provide education that
                                 25
                                      emphasizes the values of intellectual liberty, innovation, and academic freedom. NGF expects
                                 26
                                      funding to increase substantially in the coming years, particularly to address a significant
                                 27
                                 28


                                                                                    12
                                                                                                                         Ex. Page No. 94
                                        Case 2:23-cv-00247-JAD-VCF
                                             Case 2:23-cv-00247 Document
                                                                   Document
                                                                         1 Filed
                                                                            16 Filed
                                                                                 02/16/23
                                                                                      03/08/23
                                                                                           PagePage
                                                                                                13 of 97
                                                                                                      32 of 245



                                  1 decrease in financial support from the Government of Kazakhstan in light of severe fiscal
                                  2 challenges to Kazakhstan’s national budget.
                                  3        52.     NGF is funded entirely by profit distributions from Jysan Holding, which receives
                                  4 its revenue solely in the form of dividend payments from the Jusan Group entities through JTL.
                                  5    C. The Jusan Group’s Financial Success Provokes the Government and
                                  6    Dzhaksybekov to Force a Takeover of First Heartland Bank.
                                  7        53.     After its acquisitions of Tsesnabank and ATF Bank—which are now part of First
                                  8 Heartland Bank—First Heartland Bank achieved rapid revenue growth.
                                  9        54.     This success and increased profitability was attributable to a disciplined and
                                 10 strategic approach to handling the impaired loans that still made up a substantial share of the
                                 11 Tsesnabank’s and ATF Bank’s portfolio after their acquisition by First Heartland Bank. As
                                 12 part of this effort, First Heartland Bank implemented a new business strategy geared toward
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13 increasing repayment of poorly performing loans. This marked a sharp departure from the
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14 corrupt banking practices engaged in by Tsesnabank’s former owner.
                                 15        55.     In addition, the Bank implemented transparent corporate governance and
                                 16 decision-making, clear mechanisms for judicial and out-of-court debt collection, systematic
                                 17 elimination of corruption in the process of debt collections, and categorical suppression of loan
                                 18 restructurings between collectors and debtors. By removing borrowers’ incentives to negotiate
                                 19 for informal payment arrangements, the Bank incentivized borrowers to pay off their debt
                                 20 rather than risk losing collateral. These and other measures had a significant positive effect on
                                 21 the Bank’s revenue and bottom line.
                                 22        56.     The Bank has also taken a forward-looking approach to its business model. As
                                 23 one example, in the past few years, the Bank has focused on digital technologies, establishing
                                 24 an e-commerce platform and moving toward an integrated model for financial services. As a
                                 25 result of these efforts and improvements in profitability, asset quality, solvency, and risk
                                 26 management, Moody’s Investors Service upgraded its outlook on the Bank’s ratings from
                                 27 stable to positive on December 14, 2022.
                                 28


                                                                                    13
                                                                                                                          Ex. Page No. 95
                                        Case 2:23-cv-00247-JAD-VCF
                                             Case 2:23-cv-00247 Document
                                                                   Document
                                                                         1 Filed
                                                                            16 Filed
                                                                                 02/16/23
                                                                                      03/08/23
                                                                                           PagePage
                                                                                                14 of 98
                                                                                                      32 of 245



                                  1        57.     Thanks in part to the success of these strategies, the Bank has been able to pay
                                  2 dividends.
                                  3        58.     Today, First Heartland Bank is the third-largest banking conglomerate in
                                  4 Kazakhstan and maintains strong relationships with foreign financial institutions.
                                  5        59.     The Bank’s ability to pay dividends to its shareholders has, in turn, enabled NGF
                                  6 to provide significant funding to Nazarbayev University and Nazarbayev Intellectual Schools.
                                  7 NGF and the Jusan Group funded these entities, and supporting organizations, with millions
                                  8 of dollars in support to provide education emphasizing excellence, academic rigor, evidence-
                                  9 based research, scientific temper, innovation, and academic freedom.
                                 10   D. Defendants Harass and Extort the Jusan Group in an Effort to Steal the Group’s
                                 11   Assets.
                                 12        60.     Beginning in 2022, Defendants, including the government and government-
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13 agency Defendants, began to operate as an enterprise associated-in-fact and to participate in
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14 and operate other enterprises through a pattern of racketeering activity. Defendants’ goal was
                                 15 to wrongfully obtain the assets of the Jusan Group for the benefit of the Individual Defendants.
                                 16 Each of the Individual Defendants are associated by virtue of operating under the color of
                                 17 authority of the Government of Kazakhstan, either directly through employment by the
                                 18 Government, or in the case of Defendant Dzhaksybekov, through close ties to the Government.
                                 19 Defendants’ association-in-fact enterprise was in existence at least since January 2022 and is
                                 20 ongoing in a manner that permits its associates to engage in a pattern of racketeering.
                                 21        61.     This pattern of racketeering includes attempts to extort the Jusan Group
                                 22 constituting a violation of the Hobbs Act, 18 U.S.C. § 1951, which provides in relevant part:
                                 23 “Whoever in any way or degree obstructs, delays, or affects commerce or the movement of
                                 24 any article or commodity in commerce, by robbery or extortion or attempts or conspires so to
                                 25 do . . . shall be fined under this title or imprisoned not more than twenty years, or both,”
                                 26 18 U.S.C. § 1951(a). As used in that section, “[t]he term ‘extortion’ means the obtaining of
                                 27 property from another, with his consent, induced by wrongful use of actual or threatened force,
                                 28 violence, or fear, or under color of official right.” 18 U.S.C. § 1951(b)(2). “Commerce”


                                                                                   14
                                                                                                                         Ex. Page No. 96
                                        Case 2:23-cv-00247-JAD-VCF
                                             Case 2:23-cv-00247 Document
                                                                   Document
                                                                         1 Filed
                                                                            16 Filed
                                                                                 02/16/23
                                                                                      03/08/23
                                                                                           PagePage
                                                                                                15 of 99
                                                                                                      32 of 245



                                  1 includes “all commerce between any point in a State, Territory, Possession, or the District of
                                  2 Columbia and any point outside thereof; all commerce between points within the same State
                                  3 through any place outside such State; and all other commerce over which the United States has
                                  4 jurisdiction.” 18 U.S.C. § 1951(b)(3).
                                  5        1. The Agency for Regulation and Development of the Financial Market of the Republic
                                  6              of Kazakhstan Begins Harassing First Heartland Bank.
                                  7        62.      Beginning in January 2022 and continuing through the date of this filing, the
                                  8 Government of Kazakhstan, including various governmental and quasi-governmental
                                  9 agencies, has ordered at least 11 unjustified and unlawful investigations, requests, or
                                 10 inspections of Jysan Holding’s indirect subsidiary, First Heartland Bank. These unlawful acts
                                 11 began as a purported effort to assist the Bank with compliance, but they quickly revealed
                                 12 themselves to be transparent—and at times breathtakingly illegal—attempts to force unlawful
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13 payments to the Government of Kazakhstan and private individuals.
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14        63.      More specifically, starting on or about January 11, 2022, representatives for the
                                 15 ARDFM assigned five agents to surveil the Bank full-time. This surveillance represents an
                                 16 unwarranted intrusion far beyond ARDFM’s historical monitoring of the Bank and ARDFM’s
                                 17 standard monitoring of other banks.
                                 18        64.      In connection with this surveillance, ARDFM representatives flooded the Bank
                                 19 with broad and harassing requests for information regarding all aspects of the Bank’s activities.
                                 20 These requests were made with unreasonably short deadlines, forcing Bank staff to prioritize
                                 21 ARDFM’s request over regular business operations.
                                 22        65.      In addition to around-the-clock surveillance, ARDFM imposed arbitrary
                                 23 restricted-transaction thresholds on all transactions of parties related to the Bank. These
                                 24 restrictions, which continue to the date of this filing, are so extreme that all transactions
                                 25 involving the Jusan Group must be approved by ARDFM and the FMA before being executed.
                                 26        66.      ARDFM has, in turn, unjustifiably denied approval for small and large
                                 27 transactions. For example, under the auspices of these transaction thresholds, ARDFM has
                                 28 blocked certain Bank staff from using their bank card to pay for daily expenses and has blocked


                                                                                    15
                                                                                                                          Ex. Page No. 97
                                        Case 2:23-cv-00247-JAD-VCF
                                              Case 2:23-cv-00247 Document
                                                                   Document
                                                                          1 Filed
                                                                            16 Filed
                                                                                  02/16/23
                                                                                      03/08/23
                                                                                            PagePage
                                                                                                 16 of100
                                                                                                       32 of 245



                                  1 the transfer of USD $4 million from NGF’s account at the Bank to NGF’s U.S.-based bank
                                  2 account.     This payment remains blocked and is ultimately needed to fund Nazarbayev
                                  3 University’s and Nazarbayev Intellectual Schools’ operating expenses. NGF has since been
                                  4 unable to transfer any funds from its account at the Bank. This includes small transfers to its
                                  5 own accounts for operations, as well as payments to vendors who have provided services to
                                  6 NGF in furtherance of its core mission. For example, NGF’s payments for legal services, web
                                  7 design, translation services, and accounting and tax services have all been blocked.
                                  8 Remarkably, NGF was not provided any formal explanation as to why its transfers have been
                                  9 blocked.
                                 10        67.     ARDFM went even further and instructed the Bank to freeze the accounts of
                                 11 certain Bank personnel and their relatives indefinitely and without justification.
                                 12        68.     ARDFM has been unwilling to leave a record of their actions. When ARDFM
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13 approves a transaction, it insists on doing so orally. When ARDFM denies a transaction, it
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14 does not provide, either in writing or orally, any explanation for why the transaction was
                                 15 denied.
                                 16        69.     These efforts have hindered the economic activities of the Bank and have caused
                                 17 the loss of many established clients. The Bank’s loss of clients and business has had a
                                 18 significant impact on Plaintiffs, which depend on dividend payments from the Bank to fund
                                 19 their operations and their obligations to NGF.
                                 20        70.     ARDFM has stated that the purpose of this surveillance was to ensure the Bank’s
                                 21 compliance with the newly updated anti-money laundering regulations. But it is clear that this
                                 22 was pretextual. In reality, no other bank received such “assistance.” ARDFM was instead
                                 23 initiating a broad campaign of intimidation, coordinated with several Government agencies
                                 24 and individuals and designed to prevent the Bank from engaging in regular business and, in
                                 25 turn, to pressure the Jusan Group into surrendering funds and control of assets to the
                                 26 Government of Kazakhstan and its affiliates.
                                 27
                                 28


                                                                                   16
                                                                                                                         Ex. Page No. 98
                                        Case 2:23-cv-00247-JAD-VCF
                                              Case 2:23-cv-00247 Document
                                                                   Document
                                                                          1 Filed
                                                                            16 Filed
                                                                                  02/16/23
                                                                                      03/08/23
                                                                                            PagePage
                                                                                                 17 of101
                                                                                                       32 of 245



                                  1        2. Financial Monitoring Agency of the Republic of Kazakhstan Launches Pretextual
                                  2              Investigation into First Heartland Bank and Seizes Documents.
                                  3        71.      In February 2022, the FMA launched a criminal investigation against former ATF
                                  4 Bank officials purportedly regarding the issuance of non-performing loans between 2013 and
                                  5 2016.
                                  6        72.      But the focus of the investigation has also proven to be pretextual. During the
                                  7 pendency of the criminal case, FMA seized documents from the Bank well beyond the scope
                                  8 of an investigation into historical loans. As examples, the FMA seized documents related to
                                  9 the purchase of ATF Bank in 2020, the Bank’s dividend information after 2020 and account
                                 10 transactions of Bank officials entirely unrelated to ATF Bank’s historical loans.
                                 11        3. Government-Owned Organizations Take Adverse Actions Against First Heartland
                                 12              Bank.
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13        73.      Between January and March 2022, a number of Government-owned
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14 organizations withdrew all funds from the Bank on the instruction of the Government of
                                 15 Kazakhstan.       This resulted in an outflow of significant capital from the Bank.         These
                                 16 Government-owned organizations include, but are not limited to: Damu, Kazakhstan’s
                                 17 Entrepreneurship       Development     Fund;    Kazakhtelecom     and    Kcell,     the    largest
                                 18 telecommunications company and main cellular communication operator in Kazakhstan; and
                                 19 Samruk-Kazyna, a Kazakhstani sovereign wealth fund with ownership interests in national rail
                                 20 and postal service as well as state-run gas and oil.
                                 21        74.      Moreover, during this time, all Government agencies, in particular the Ministry
                                 22 of Digital Development and the Tax Committee, ceased all cooperation relating to the Bank’s
                                 23 collaborative effort with the Government to develop “govtech” products.
                                 24        4. Anti-Corruption Agency of the Republic of Kazakhstan Launches a Sham Criminal
                                 25              Action and Makes Extortion Attempts.
                                 26        75.       Beginning in June 2022, AARK launched a purported criminal investigation into
                                 27 the Bank regarding its 2019 commercial purchase of Tsesnabank and subsequent earnings.
                                 28


                                                                                   17
                                                                                                                          Ex. Page No. 99
                                       Case 2:23-cv-00247-JAD-VCF
                                             Case 2:23-cv-00247 Document
                                                                  Document
                                                                         1 Filed
                                                                           16 Filed
                                                                                 02/16/23
                                                                                     03/08/23
                                                                                           PagePage
                                                                                                18 of102
                                                                                                      32 of 245



                                  1        76.    On information and belief, the impetus of this investigation was a letter from the
                                  2 former owner of Tsesnabank, Defendant Adilbek Dzhaksybekov, in which he improperly
                                  3 leveraged his personal connections to AARK leadership to force the investigation and with the
                                  4 ultimate goal of extorting millions of dollars from the Bank.
                                  5        77.    Defendant Dzhaksybekov’s push for criminal investigations centers around
                                  6 accusations that the Bank’s commercial purchase of Tsesnabank was somehow illegal,
                                  7 notwithstanding the fact that both he and the Government of Kazakhstan participated in and/or
                                  8 led the purchase, and that the purchase was necessitated by the near collapse of Tsesnabank
                                  9 under his prior ownership.
                                 10        78.    In connection with its investigation, AARK has undertaken extreme illegal and
                                 11 arbitrary enforcement measures, including excessive interrogations of Bank employees,
                                 12 unwarranted searches of key personnel and premises of the Bank, as well as travel restrictions
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13 for Jusan Group officers and employees.          On information and belief, these extreme
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14 enforcement measures were undertaken by AARK at the request of Mr. Dzhaksybekov.
                                 15        79.    In addition, AARK directed ARDFM to block all transactions, including the
                                 16 payment of dividends of the Jusan Group.            On October 7, 2022, ARDFM received
                                 17 correspondence from AARK to “take effective and comprehensive measures to suspend all
                                 18 expense (debit) transactions on payment of dividends by the Bank, FHS JSC, Jysan
                                 19 Technologies, Jysan Holding and [NGF] to their shareholders and owners, as well as any other
                                 20 payment transactions under the specified group of companies” and to “suspend expropriation
                                 21 actions of the shares of the Bank and FHS” during the pendency of the criminal investigation.
                                 22 On October 8, 2022, First Heartland Bank received correspondence from ARDFM signed by
                                 23 Defendant Kizatov, in which he detailed AARK’s October 7, 2022 instruction to ARDFM.
                                 24        80.    On behalf of the Bank, Mr. Shigeo Katsu attended a meeting in July 2022 with
                                 25 the President of Kazakhstan, Kassym-Jomart Tokayev, seeking to end the unfounded
                                 26 investigation. Mr. Katsu is the Chairman of the Board of Directors for both the Bank and FHS.
                                 27 During the meeting, President Tokayev stated he was aware that Defendant Dzhaksybekov had
                                 28


                                                                                   18
                                                                                                                        Ex. Page No. 100
                                        Case 2:23-cv-00247-JAD-VCF
                                              Case 2:23-cv-00247 Document
                                                                   Document
                                                                          1 Filed
                                                                            16 Filed
                                                                                  02/16/23
                                                                                      03/08/23
                                                                                            PagePage
                                                                                                 19 of103
                                                                                                       32 of 245



                                  1 raised complaints about the purchase of Tsesnabank, and suggested that Mr. Katsu should
                                  2 settle with Defendant Dzhaksybekov.
                                  3        81.      Following this meeting, Defendant Dzhaksybekov attempted to extort Mr. Katsu
                                  4 and the Bank, suggesting that AARK would close its investigation if the Bank paid him.
                                  5 Defendant Dzhaksybekov touted his personal connection to AARK officials, and demanded a
                                  6 payment of 60 million tenge (approximately USD $130 million) for unspecified “damages.”
                                  7        82.      Mr. Katsu refused all attempts to extort him and the Bank, noting that such
                                  8 payment without any evidence or justification would violate various anti-corruption laws and
                                  9 that the Jusan Group has to obey all laws, including those of Kazakhstan, the United Kingdom,
                                 10 and the United States.
                                 11        5. Government of Kazakhstan Attempts to Force Repayment of Government Assistance
                                 12              and to Take Control of FHS.
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13        83.      The mounting regulatory harassment from the Government of Kazakhstan in the
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14 first quarter of 2022 forced Mr. Katsu to attend a series of additional meetings with
                                 15 Government of Kazakhstan officials to seek an end to the Government’s illegal campaign.
                                 16        84.      During those meetings, Government of Kazakhstan officials, including
                                 17 representatives of ARDFM and the Prime Minister of Kazakhstan, Alikhan Smailov, claimed
                                 18 that the Bank was forbidden from paying dividends until the Bank repaid the Government
                                 19 assistance provided to Tsesnabank and ATF Bank.
                                 20        85.      No such limitation existed under any applicable law or contract, which of course,
                                 21 the Government knows. Nor had this restriction ever been raised before, including when the
                                 22 Bank issued dividends in December 2021.
                                 23        86.      Further, the Government of Kazakhstan has allowed other financial institutions
                                 24 to declare dividends without any issues, notwithstanding prior government assistance. As
                                 25 examples, Halyk Bank, Kaspi Bank and Sberbank Kazakhstan were allowed to pay dividends
                                 26 despite receiving significant state support over multiple years without first fully repaying the
                                 27 loans.
                                 28


                                                                                    19
                                                                                                                         Ex. Page No. 101
                                        Case 2:23-cv-00247-JAD-VCF
                                              Case 2:23-cv-00247 Document
                                                                   Document
                                                                          1 Filed
                                                                            16 Filed
                                                                                  02/16/23
                                                                                      03/08/23
                                                                                            PagePage
                                                                                                 20 of104
                                                                                                       32 of 245



                                  1        87.    Nonetheless, ARDFM continues to state that it will block any dividend payments
                                  2 and has threatened to imprison any Jusan Group employee who facilitates any dividend
                                  3 payment.
                                  4        88.    In addition, Mr. Suleimenov met with Jusan Group officials in September 2022,
                                  5 to demand that ownership of the Jusan Group be taken from U.S. and U.K. entities and be
                                  6 given to Kazakhstan.       During one such meeting, Mr. Suleimenov stated that he was
                                  7 participating as a representative of, and at the direction of, President Tokayev, and threatened
                                  8 the Jusan Group with additional Government actions over the lack of Kazakhstani citizens on
                                  9 the Boards of NGF and Jysan Holding. In that meeting, Mr. Suleimenov also demanded that
                                 10 control of FHS (and by extension, of the Bank) be given to unspecified Kazakhstani citizens.
                                 11 He did not provide any legal justification for the demand, nor could he.
                                 12          6.   Government of Kazakhstan Takes Action against Jusan Group Employees.
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13        89.    Upon information and belief, in the context of the Government of Kazakhstan’s
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14 negotiations with the Jusan Group in the first quarter 2022, the Government put pressure on
                                 15 the Jusan Group’s auditors to withhold audit reports until the return of all shares and option
                                 16 agreements from Jusan Group employees. The Government also threatened to initiate a
                                 17 criminal case relating to options that were not returned.
                                 18        90.    The ongoing negotiations and the threat of criminal action caused the involuntary
                                 19 surrender of these assets held by the Jusan Group employees.
                                 20        91.    The involuntary return of options caused Jusan Group personnel significant
                                 21 personal losses in the amount of tens of millions of dollars—compounding the personal losses
                                 22 implicated by ARDFM’s instruction to the Bank to freeze accounts of certain Bank personnel
                                 23 and their relatives.
                                 24        92.    For example, one member of the Jusan Group management—now a permanent
                                 25 resident of the United States—was forced to return his option of 4.62% shares of JTL, a book
                                 26 value of over USD $73 million as of May 2022. The Government has also threatened that
                                 27 same member with trial in absentia and imprisonment should that employee take any actions
                                 28


                                                                                   20
                                                                                                                        Ex. Page No. 102
                                        Case 2:23-cv-00247-JAD-VCF
                                              Case 2:23-cv-00247 Document
                                                                   Document
                                                                          1 Filed
                                                                            16 Filed
                                                                                  02/16/23
                                                                                      03/08/23
                                                                                            PagePage
                                                                                                 21 of105
                                                                                                       32 of 245



                                  1 to counter the Government of Kazakhstan in its efforts to seize the property of the Jusan Group
                                  2 and its employees.
                                  3        93.     Mr. Suleimenov in particular inquired as to the return of shares and options during
                                  4 subsequent negotiations in September 2022, corroborating the Government-backed nature of
                                  5 the extortion.
                                  6        7. ARDFM Illegally Interferes with FHS’s Dividend Payments.
                                  7        94.     On October 6, 2022, FHS declared dividends and requested that the Bank add the
                                  8 declaration of dividends to its extraordinary general meeting. That declaration and request
                                  9 legally obligated the Bank, under its written policies and governing documents, to make a
                                 10 dividend distribution to FHS. Significant portions of the dividends owed to FHS are the
                                 11 ultimate property of Jysan Holding, and will, in turn, be owed to Jysan Holding under
                                 12 intercompany policies and agreements.
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13        95.     On October 7, 2022, ARDFM blocked FHS and the Bank from making this and
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14 other dividend payments in the approximate total amount of USD $387 million, as well as
                                 15 from making other payment transactions of the Bank to its direct and indirect parent
                                 16 companies.
                                 17        96.     ARDFM representatives Defendants Kizatov and Omarbekov called Bank
                                 18 representatives in October 2022 regarding these blocked payments. During a call with the
                                 19 Bank’s Chief Compliance Officer, Ms. Ardak Mukasheva, Defendant Omarbekov echoed the
                                 20 assertions made in prior meetings between representatives of the Bank and the Government,
                                 21 claiming that the Bank’s funds belong to the Government of Kazakhstan and threatening that
                                 22 law enforcement was preparing to arrest and interrogate employees of the Bank and employees
                                 23 of its affiliates.
                                 24        97.     Defendant Omarbekov called the Bank again on October 8, 2022, claiming that
                                 25 ARDFM had obtained a letter from an unnamed law enforcement agency directing ARDFM
                                 26 to block all dividend payments from the Bank.
                                 27
                                 28


                                                                                    21
                                                                                                                          Ex. Page No. 103
                                        Case 2:23-cv-00247-JAD-VCF
                                              Case 2:23-cv-00247 Document
                                                                   Document
                                                                          1 Filed
                                                                            16 Filed
                                                                                  02/16/23
                                                                                      03/08/23
                                                                                            PagePage
                                                                                                 22 of106
                                                                                                       32 of 245



                                  1        8. FMA Illegally Interferes with FHS’s Dividend Payments.
                                  2        98.      On October 13, 2022, the FMA sent a letter to the Bank incorrectly asserting that
                                  3 the Bank had received 1.5 trillion tenge from the Government of Kazakhstan on preferential
                                  4 terms and somehow was in default on this “debt.” In the letter, the FMA asserted that it was
                                  5 suspending the Bank’s ability to pay dividends to its shareholders and requiring that the Bank
                                  6 notify FMA before further dividend payments are carried out.
                                  7        9. The Government’s Proffered “Justifications” are Shifting, Contradictory, and
                                  8              Baseless.
                                  9        99.      Throughout the pendency of its campaign, the Government has provided various
                                 10 “justifications” for its actions—none of which justify the Government’s illegal actions against
                                 11 the Jusan Group.
                                 12        100.     When ARDFM increased surveillance of First Heartland Bank, the “justification”
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13 was to ensure the Bank’s compliance with the newly updated anti-money laundering
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14 regulations.
                                 15        101.     When FMA launched a criminal investigation against former ATF Bank officials,
                                 16 the “justification” was to investigate the issuance of non-performing loans between 2013 and
                                 17 2016.
                                 18        102.     In the end, the Government has settled on a single justification: that AARK’s
                                 19 criminal investigation, and ARDFM and FMA’s blocking of dividend payments, are somehow
                                 20 “justified” by First Heartland Bank’s commercial purchase of Tsesnabank and ATF Bank. Of
                                 21 course, this “justification” is just as baseless as all of its predecessors, as the key members of
                                 22 the campaign to harass the Bank were also the architects of the Framework Agreements.
                                 23 Indeed, the Bank has previously issued dividends without objection from the Government of
                                 24 Kazakhstan, including as recently as December 2021.
                                 25        103.     On information and belief, the Defendants’ intent has been to stop the dividend
                                 26 funds from traveling outside of Kazakhstan—and thus outside of the Government’s control—
                                 27 for the benefit of Plaintiffs, because Defendants know the dividend funds are for the benefit
                                 28 of, and owed to, Plaintiffs JTL and Jysan Holding, and ultimately NGF.


                                                                                    22
                                                                                                                          Ex. Page No. 104
                                        Case 2:23-cv-00247-JAD-VCF
                                              Case 2:23-cv-00247 Document
                                                                   Document
                                                                          1 Filed
                                                                            16 Filed
                                                                                  02/16/23
                                                                                      03/08/23
                                                                                            PagePage
                                                                                                 23 of107
                                                                                                       32 of 245



                                  1    E. The Government Retaliates Against the Plaintiffs After Negotiation Fails.
                                  2        10. Plaintiffs Notify Defendants of Their Intention to Enforce Their Rights and the Parties
                                  3            Engage in Unsuccessful Negotiations.
                                  4        104.    In a last-ditch effort to resolve the dispute without court intervention, Plaintiffs
                                  5 notified Defendants of their intention to bring suit in Nevada. Throughout November, the
                                  6 parties, including counsel for the parties, engaged in a series of informal negotiations. Those
                                  7 negotiations were unsuccessful and part of a delay tactic while Defendants lined up corrupt
                                  8 legislators and agencies to ready an assault on Plaintiffs.
                                  9        105.    Since then, Defendants’ campaign of harassment has only intensified in what is
                                 10 plainly retaliation for Plaintiffs’ informing Defendants of their intention to file this lawsuit.
                                 11        11. Defendants Retaliate Against Plaintiffs by Introducing Legislation Targeting the
                                 12            Jusan Group.
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13        106.    On November 22, 2022, one day after President Tokayev’s re-election, the lower
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14 house of Kazakhstan’s Parliament, the Majilis, approved a draft law with amendments to the
                                 15 Law “On Banks and Banking Activities in the Republic of Kazakhstan.” The proposed
                                 16 amendments were directed at Plaintiffs and sought to, inter alia, (1) change the definitions of
                                 17 “bank holding” and “major participant in a bank” such that non-profit organizations, like NGF,
                                 18 could not directly or indirectly own banks; (2) place restrictions on banks that have received
                                 19 Government assistance, like First Heartland Bank, to prevent them from distributing dividends,
                                 20 including by allowing ARDFM to block such dividends; and (3) require all major direct and
                                 21 indirect shareholders and controlling entities of banks to apply for and obtain approval from
                                 22 ARDFM within 30 days of the date of publication of the amendments.
                                 23        107.    The upper house of Kazakhstan’s Parliament, the Senate, subsequently approved
                                 24 the amendments allowing ARDFM to block dividends from banks that have received
                                 25 Government assistance and requiring ARDFM approval for major direct and indirect
                                 26 shareholders and controlling entities of banks, while it rejected the proposed amendment
                                 27 barring non-profit organizations from owning banks, for lack of justification.
                                 28


                                                                                     23
                                                                                                                           Ex. Page No. 105
                                        Case 2:23-cv-00247-JAD-VCF
                                              Case 2:23-cv-00247 Document
                                                                   Document
                                                                          1 Filed
                                                                            16 Filed
                                                                                  02/16/23
                                                                                      03/08/23
                                                                                            PagePage
                                                                                                 24 of108
                                                                                                       32 of 245



                                  1        108.      These amendments, which entered into force on January 1, 2023, will allow the
                                  2 Government to block the dividends to which Plaintiffs are entitled and even to prohibit
                                  3 Plaintiffs’ ownership interests in the Bank. Under the amendments, JTL, Jysan Holding, and
                                  4 NGF would each need to obtain and submit to ARDFM credit ratings, audited financial
                                  5 statements, and relevant notarizations and apostilles from multiple jurisdictions within 30
                                  6 days, which is simply not feasible. Further, if these entities remain major shareholders in the
                                  7 Bank without ARDFM approval, ARDFM may demand that they reduce their indirect
                                  8 ownership share to below 25% and suspend all transactions between them and the Bank;
                                  9 establish trust management of the Bank’s shares for up to three months; and ultimately alienate
                                 10 the Bank’s shares by selling them on a securities market. There could not be a clearer case
                                 11 of unlawful seizure of assets under the control of Nevada citizens.
                                 12        109.      At least one member of the Majilis publicly stated that these amendments are
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13 explicitly designed to target the shareholders of First Heartland Bank and block the dividends
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14 at issue here.
                                 15        110.      After delaying until one day following President Tokayev’s re-election, the
                                 16 Government has now made the objectives and intent of its campaign clear—to stop the
                                 17 dividend funds from traveling outside Kazakhstan, to coerce the Jusan Group into surrendering
                                 18 funds and control of assets to the Government of Kazakhstan and its affiliates, and to retaliate
                                 19 against the Jusan Group for seeking to enforce its rights in an American court.
                                 20        12. Defendants Retaliate Against Plaintiffs by Filing a Suit Against Them in Kazakhstan.
                                 21        111.      On December 2, 2022, Kazakhstan’s Prosecutor General filed suit against
                                 22 numerous members of the Jusan Group, including Plaintiffs, and employees of the Jusan
                                 23 Group, including Mr. Katsu and the employee previously threatened with imprisonment. The
                                 24 Prosecutor General reports directly to the President and represents the interests of the
                                 25 Government of Kazakhstan in court.
                                 26        112.      The suit sought to do through the court exactly what Defendants have attempted
                                 27 to do through their campaign of harassment—to weaken the Jusan Group and limit its access
                                 28 to its own capital.


                                                                                    24
                                                                                                                        Ex. Page No. 106
                                        Case 2:23-cv-00247-JAD-VCF
                                              Case 2:23-cv-00247 Document
                                                                   Document
                                                                          1 Filed
                                                                            16 Filed
                                                                                  02/16/23
                                                                                      03/08/23
                                                                                            PagePage
                                                                                                 25 of109
                                                                                                       32 of 245



                                  1        113.   Specifically, the lawsuit sought to invalidate an agreement between two members
                                  2 of the Jusan Group—JTL and Pioneer Capital Invest LLP (“Pioneer”). The invalidation of
                                  3 this agreement would have eliminated NGF’s ownership interests in JTL and therefore
                                  4 eliminated NGF’s access to dividends and distributions from the business and operations of
                                  5 JTL and its holdings, including FHS and the Bank. The lawsuit also sought the return of
                                  6 millions of dollars (USD) in assets and cash from JTL to Pioneer, including JTL’s shares in
                                  7 the Bank. The assets and funds at issue were properly transferred to JTL via the agreement
                                  8 the Government sought to invalidate. By seeking the movement of assets and funds from
                                  9 Plaintiff JTL to Kazakhstan-based Pioneer, the Government is interfering with Jusan Group’s
                                 10 assets and seeking to move them into Kazakhstan where the Government will be able to exert
                                 11 greater control. Finally, the lawsuit sought that all the named Jusan Group employees
                                 12 surrender their shares in the Bank.
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13        114.   A Kazakhstani court quickly dismissed the Prosecutor General’s suit based on its
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14 determination that the claims lacked evidence. This emphatic dismissal of the Prosecutor
                                 15 General’s baseless suit further demonstrates the Government’s blatant misuse of the state
                                 16 apparatus to target the Jusan Group.
                                 17        13. Kazakhstani Government Officials Threaten “War” Against Jusan Group Employees.
                                 18        115.   On December 20, 2022, Kazakhstani Prime Minister Alikhan Smailov sent a
                                 19 message to the same Jusan Group employee – a United States resident – who was previously
                                 20 threatened with imprisonment, demanding the Jusan Group’s return to Kazakhstan and
                                 21 threatening “war” if the Government’s demands are not met.
                                 22        14. Defendants Repackage Their Previously Dismissed Complaint and Refile Suit in
                                 23            Kazakhstan.
                                 24        116.   On February 10, 2023, the Kazakhstani Prosecutor General filed another suit
                                 25 against members of the Jusan group challenging the 2020 transaction between JTL and Pioneer
                                 26 and seeking to seize certain Jusan Group property. While this suit alleges slightly different
                                 27 facts and claims different causes of action, its aim is the same as the suit filed, and swiftly
                                 28


                                                                                   25
                                                                                                                       Ex. Page No. 107
                                        Case 2:23-cv-00247-JAD-VCF
                                              Case 2:23-cv-00247 Document
                                                                   Document
                                                                          1 Filed
                                                                            16 Filed
                                                                                  02/16/23
                                                                                      03/08/23
                                                                                            PagePage
                                                                                                 26 of110
                                                                                                       32 of 245



                                  1 dismissed, in December 2022—to threaten the Jusan Group into handing over its control to the
                                  2 Government.
                                  3        117.   But the Government goes even a step further in the February suit and seeks to
                                  4 seize myriad assets of not just the defendants to the action, but of the Jusan Group at large.
                                  5 The Prosecutor General seeks to seize Jusan Group shares in over a dozen entities.
                                  6        118.   Once again the Prosecutor General sought to have JTL return to Pioneer millions
                                  7 of dollars (USD) in assets and cash which were properly transferred to JTL. And once again
                                  8 the result, if the suit were successful, would be the movement of the Jusan Group’s lawfully
                                  9 controlled assets into Kazakhstan where the Government will be able to exert greater control.
                                 10   F. The Government’s Illegal Campaign Is Consistent with Historical Corruption.
                                 11        119.   Defendants’ actions are consistent with historical corrupt practices in
                                 12 Kazakhstan, as well as reports of a marked increase in corruption in Kazakhstan in recent
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13 years.
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14        120.   As one example, in 2013, an arbitration panel awarded a Moldovan company
                                 15 USD $497,685,101 in damages (plus 50% of the cost of legal representation) for the
                                 16 Government of Kazakhstan’s breach of the Energy Charter Treaty, an international agreement
                                 17 establishing cross-border cooperation in the energy industry. That matter involved strikingly
                                 18 similar tactics to those employed against the Plaintiffs. There, the tribunal found that
                                 19 Kazakhstan breached the company’s right to fair and equitable treatment under the
                                 20 Treaty. Specifically, the company alleged that Kazakhstan engaged in a campaign of
                                 21 harassment, culminating in the cancellation of its oil and gas exploration contracts and the
                                 22 seizure of its assets located in Kazakhstan. That campaign reportedly included tactics by
                                 23 Kazakhstan’s financial police and seven quasi-state entities and involved the baseless freezing
                                 24 of the company’s assets, around-the-clock surveillance and inspection by government agency
                                 25 officials which prevented employees from conducting regular business affairs, the
                                 26 unwarranted seizure of documents, the unlawful arrest and conviction of an in-country
                                 27 manager, and the reversal of prior government approvals and waivers.
                                 28


                                                                                   26
                                                                                                                       Ex. Page No. 108
                                        Case 2:23-cv-00247-JAD-VCF
                                              Case 2:23-cv-00247 Document
                                                                   Document
                                                                          1 Filed
                                                                            16 Filed
                                                                                  02/16/23
                                                                                      03/08/23
                                                                                            PagePage
                                                                                                 27 of111
                                                                                                       32 of 245



                                  1        121.    More recently, media reports have noted that corruption cases in Kazakhstan have
                                  2 increased dramatically in 2022, including by as much as 30 percent.               Transparency
                                  3 International’s Corruption Perceptions Index, the most widely used global corruption ranking
                                  4 in the world, measures Kazakhstan as a bottom performer in public sector corruption within
                                  5 Eastern Europe and Central Asia, itself the second lowest performing region worldwide. A
                                  6 recent report published by the Group of States Against Corruption, the Council of Europe’s
                                  7 anti-corruption body, has comprehensively identified the ongoing “serious problem” of
                                  8 corruption that exists in Kazakhstan. Expert assessments reveal that Kazakhstan’s progress
                                  9 toward anti-corruption measures is scattered at best.
                                 10        122.    In October 2022, U.S. Senators on the Senate Foreign Relations Committee called
                                 11 for an “international investigation into state-sanctioned violence and review of U.S. security
                                 12 assistance following nationwide protests earlier this year” in Kazakhstan, including Kazakh
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13 security forces’ violent response toward civilian protestors. As part of that investigation, the
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14 Senators have called on the U.S. Department of State to review its relationship with
                                 15 Kazakhstan in order to “prioritize protecting fundamental freedoms and strengthening the rule
                                 16 of law.”
                                 17   G. The Government’s Illegal Campaign, Particularly Blocking Dividend Payments, Is
                                 18   Causing a Concrete Harm to the Jusan Group’s Operations.
                                 19        123.    Unsurprisingly, and presumably as the Government intended, the Government’s
                                 20 campaign, including most notably the blocking of approximately USD $387 million in
                                 21 dividends, is causing significant, immediate, and concrete harm to Plaintiffs’ operations.
                                 22        124.    Plaintiffs are unable to receive dividend funding from their subsidiaries
                                 23 connected to the Bank—a primary source of funding—nor are they able to fulfill their
                                 24 obligation to provide dividend funding to their parent organizations. In turn, NGF is unable to
                                 25 transfer or use its own funds in its own bank accounts or receive lawfully issued dividends, to
                                 26 serve its sole mission: to fund Nazarbayev University and Nazarbayev Intellectual Schools.
                                 27 Ultimately, by freezing the Jusan Group’s funds, the Government is depriving Nazarbayev
                                 28 University and Nazarbayev Intellectual Schools of necessary resources, and thereby harming


                                                                                   27
                                                                                                                        Ex. Page No. 109
                                        Case 2:23-cv-00247-JAD-VCF
                                              Case 2:23-cv-00247 Document
                                                                   Document
                                                                          1 Filed
                                                                            16 Filed
                                                                                  02/16/23
                                                                                      03/08/23
                                                                                            PagePage
                                                                                                 28 of112
                                                                                                       32 of 245



                                  1 Nazarbayev University’s and Nazarbayev Intellectual Schools’ students, researchers, and
                                  2 educators.
                                  3        125.    In addition, in August 2022, Plaintiff JTL represented its intention to buy back
                                  4 USD $20 million in JTL shares from an investor. Because of the blocked dividend payments,
                                  5 JTL is unable to proceed with this buyback.
                                  6
                                                                  FIRST CAUSE OF ACTION
                                  7            (EXPROPRIATION IN VIOLATION OF INTERNATIONAL LAW)
                                  8     (against Defendant Republic of Kazakhstan and Governmental Agency Defendants)

                                  9        126.    Plaintiffs incorporate and re-allege the foregoing as if alleged herein.

                                 10        127.    As parent corporations and shareholders of First Heartland Securities and First

                                 11 Heartland Bank, Plaintiffs have direct property interests in their rights to receive declared
                                 12 dividends from those subsidiaries.
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13        128.    Through their conduct alleged above, including obstructing Plaintiffs’
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14 subsidiaries from paying lawfully declared dividends to their foreign shareholders and directly
                                 15 aiming their conduct at that result, Defendant Republic of Kazakhstan and its agencies have
                                 16 expropriated and taken Plaintiffs’ property in violation of international law.
                                 17        129.    Defendant Government of Kazakhstan and its agencies have also violated

                                 18 customary international law by expropriating and taking similar property interests belonging
                                 19 to First Heartland Securities and First Heartland Bank with the discriminatory purpose to harm
                                 20 their foreign shareholders.
                                 21                                SECOND CAUSE OF ACTION
                                                      (18 U.S.C. § 1964(c)) (against the Individual Defendants)
                                 22
                                 23        130.    Plaintiffs incorporate and re-allege the foregoing as if alleged herein.

                                 24        131.    The Individual Defendants are associated-in-fact as an enterprise engaged in and

                                 25 whose activities affect interstate commerce, and have operated and participated in the conduct
                                 26 of additional enterprises, including the Defendant Government and its agencies.
                                 27
                                 28


                                                                                    28
                                                                                                                              Ex. Page No. 110
                                        Case 2:23-cv-00247-JAD-VCF
                                              Case 2:23-cv-00247 Document
                                                                   Document
                                                                          1 Filed
                                                                            16 Filed
                                                                                  02/16/23
                                                                                      03/08/23
                                                                                            PagePage
                                                                                                 29 of113
                                                                                                       32 of 245



                                  1        132.    The Individual Defendants agreed to and did conduct and participate in the
                                  2 conduct of the enterprise’s affairs through a pattern of racketeering activity and for the
                                  3 unlawful purpose of intentionally extorting Plaintiffs, ultimately for their own personal benefit.
                                  4        133.    The Individual Defendants agreed to and did conduct and participate in the
                                  5 conduct of the enterprise’s affairs through a pattern of racketeering activity and for the
                                  6 unlawful purpose of intentionally extorting the Jusan Group.
                                  7        134.    The Individual Defendants have directly and indirectly conducted and
                                  8 participated in the conduct of the enterprise’s affairs through the pattern of racketeering and
                                  9 activity described above, in violation of 18 U.S.C. § 1962(c).
                                 10        135.    As a direct and proximate result of the Individual Defendants’ racketeering
                                 11 activities and violations of 18 U.S.C. § 1962(c), Plaintiffs have been injured in their business
                                 12 and property.
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13                                 THIRD CAUSE OF ACTION
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                                    (Nev. Rev. Stat. § 207.470) (against all Individual Defendants)
                                 14
                                 15        136.    Plaintiffs incorporate and re-allege the foregoing as if alleged herein.
                                 16        137.    Individual Defendants have committed at least two distinct crimes related to
                                 17 racketeering as defined in Nev. Rev. Stat. § 207.360, constituting racketeering activity
                                 18 pursuant to Nev. Rev. Stat. § 207.390.
                                 19        138.    Defendants have participated directly and indirectly in the conduct of the affairs
                                 20 of an enterprise whose activities constitute racketeering activity, in violation of Nev. Rev. Stat.
                                 21 § 207.400.
                                 22        139.    Plaintiffs have been injured in their business and property by reason of
                                 23 Defendants’ violations.
                                 24                        FOURTH CAUSE OF ACTION
                                 25        (INTENTIONAL INTERFERENCE WITH CONTRACTUAL RELATIONS)
                                                              (against all Defendants)
                                 26
                                 27        140.    Plaintiffs incorporate and re-allege the foregoing as if alleged herein.

                                 28


                                                                                     29
                                                                                                                              Ex. Page No. 111
                                        Case 2:23-cv-00247-JAD-VCF
                                              Case 2:23-cv-00247 Document
                                                                   Document
                                                                          1 Filed
                                                                            16 Filed
                                                                                  02/16/23
                                                                                      03/08/23
                                                                                            PagePage
                                                                                                 30 of114
                                                                                                       32 of 245



                                  1        141.    Valid intercompany agreements exist between First Heartland Bank and First
                                  2 Heartland Securities, First Heartland Securities and JTL, JTL and Jysan Holding, and Jysan
                                  3 Holding and NGF. Each of those intercompany agreements entitles the parent company in the
                                  4 corporate relationship to dividend payments from its subsidiary. Jysan Holding and JTL are
                                  5 parties to those agreements or, with respect to the agreements to which Jysan Holding and/or
                                  6 JTL are not a party, third-party beneficiaries.
                                  7        142.    Defendants each have knowledge of the aforementioned agreements, and have
                                  8 committed intentional acts intended and designed to disrupt each relationship. Defendants’
                                  9 acts have caused actual disruption of each agreement, and caused Jysan Holding and JTL
                                 10 damages resulting from that disruption.
                                 11
                                                           FIFTH CAUSE OF ACTION
                                 12                     (INTENTIONAL INTERFERENCE
9555 HILLWOOD DRIVE, 2ND FLOOR




                                          WITH PROSPECTIVE ECONOMIC ADVANTAGE) (against all Defendants)
                                 13
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14        143.    Plaintiffs incorporate and re-allege the foregoing as if alleged herein.

                                 15        144.    Upon receipt of the blocked dividend from the Bank, FHS planned to dividend

                                 16 all or portions of the blocked dividend to JTL, and JTL then planned to dividend all or portions
                                 17 of the blocked dividend to Jysan Holding, which was to dividend all or portions to its parent,
                                 18 NGF, minus reasonable operational expenses. Defendants each have knowledge of the
                                 19 ultimate purpose of the blocked dividend, and have committed intentional acts intended and
                                 20 designed to disrupt the dividends to Plaintiffs and the dividend to NGF. Defendants’ acts have
                                 21 caused actual disruption to those prospective dividends, and caused Jysan Holding and JTL
                                 22 damages resulting from that disruption.
                                 23        145.    Defendants’ conduct was unwarranted and without justification. No agreement

                                 24 or law provides for a right of interference or dividend obstruction relating to the Government’s
                                 25 bailout payments to Tsesnabank and ATF Bank. As a direct result of Defendants’ conduct,
                                 26 Plaintiffs and their affiliates did not receive funds necessary to perform their basic functions
                                 27 and missions, including their funding of NGF, Nazarbayev Intellectual Schools, and
                                 28 Nazarbayev University.


                                                                                      30
                                                                                                                              Ex. Page No. 112
                                        Case 2:23-cv-00247-JAD-VCF
                                              Case 2:23-cv-00247 Document
                                                                   Document
                                                                          1 Filed
                                                                            16 Filed
                                                                                  02/16/23
                                                                                      03/08/23
                                                                                            PagePage
                                                                                                 31 of115
                                                                                                       32 of 245



                                  1                                SIXTH CAUSE OF ACTION
                                                           (CIVIL CONSPIRACY) (against all Defendants)
                                  2
                                  3        146.    Plaintiffs incorporate and re-allege the foregoing as if alleged herein.
                                  4        147.    Defendants have acted in concert with the intent to accomplish an unlawful
                                  5 objective for the purpose of harming the Jusan Group, including Plaintiffs.
                                  6        148.    As a result of Defendants’ acts in furtherance of that conspiracy, the Jusan Group,
                                  7 including Plaintiffs, has suffered damages.
                                  8        149.    Defendants are jointly and severally liable for the damages that Plaintiffs have
                                  9 suffered as a result of each act taken by each Defendant in furtherance of Defendants’
                                 10 conspiracy.
                                 11                            SEVENTH CAUSE OF ACTION
                                                    (CIVIL AIDING AND ABETTING) (against all Defendants)
                                 12
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13        150.    Plaintiffs incorporate and re-allege the foregoing as if alleged herein.
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14        151.    Each Defendant has substantially assisted and encouraged other Defendants’
                                 15 conduct in breaching duties owed to Plaintiffs, including tort duties and statutory duties as set
                                 16 forth above.
                                 17        152.    Defendants’ breaches have caused harm to the Jusan Group, including Plaintiffs.
                                 18        153.    Defendants are each liable under a civil aiding and abetting theory for damages
                                 19 caused by the breaches that they have substantially assisted and encouraged.
                                 20                                     PRAYER FOR RELIEF
                                 21        154.    Plaintiffs incorporate and re-allege the foregoing as if alleged herein and
                                 22 respectfully request that the Court:
                                 23            a) Declare that Defendants’ conduct has unlawfully injured Plaintiffs, and is not
                                 24            subject to any lawful privilege or justification;
                                 25            b) Award Plaintiffs compensatory and punitive damages in an amount to be
                                 26            determined at trial, including trebled damages and attorneys’ fees pursuant to
                                 27            18 U.S.C. § 1964(c);
                                 28            c) Award Plaintiffs their costs and expenses, including attorneys’ fees; and


                                                                                     31
                                                                                                                              Ex. Page No. 113
                                      Case 2:23-cv-00247-JAD-VCF
                                            Case 2:23-cv-00247 Document
                                                                 Document
                                                                        1 Filed
                                                                          16 Filed
                                                                                02/16/23
                                                                                    03/08/23
                                                                                          PagePage
                                                                                               32 of116
                                                                                                     32 of 245



                                 1          d) Award Plaintiffs such further relief as may be just under the circumstances.
                                 2                                        JURY DEMAND
                                 3      Plaintiffs demand a jury trial on all issues so triable.
                                 4      DATED this 16th day of February 2023
                                 5                                                   HOLLAND & HART LLP
                                 6
                                                                                      /s/ J. Stephen Peek
                                 7                                                   J. Stephen Peek
                                                                                     Erica C. Medley
                                 8                                                   9555 Hillwood Drive, 2nd Floor
                                                                                     Las Vegas, NV 89134
                                 9
                                                                                     Tariq Mundiya
                                 10                                                  (pro hac vice forthcoming)
                                                                                     Jeffrey B. Korn
                                 11                                                  (pro hac vice forthcoming)
                                                                                     WILLKIE FARR & GALLAGHER LLP
                                 12                                                  787 Seventh Avenue
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13                                                  New York, New York 10019
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14                                                  Michael J. Gottlieb
                                                                                     (pro hac vice forthcoming)
                                 15                                                  WILLKIE FARR & GALLAGHER LLP
                                                                                     1875 K Street, NW
                                 16                                                  Washington, DC 20006

                                 17                                                  Attorneys for Plaintiffs
                                                                                     Jysan Holding, LLC; and
                                 18                                                  Jusan Technologies Ltd.
                                 19
                                 20
                                 21
                                 22
                                 23
                                 24
                                 25
                                 26
                                 27
                                 28


                                                                                   32
                                                                                                                      Ex. Page No. 114
JS 44 (Rev. 10/20)        Case 2:23-cv-00247-JAD-VCF
                                Case 2:23-cv-00247 Document
                                                CIVILDocument
                                                      COVER 1-116Filed
                                                               SHEETFiled
                                                                        02/16/23
                                                                          03/08/23Page
                                                                                    Page
                                                                                       1 of
                                                                                         1173 of 245
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                          DEFENDANTS
          Jysan Holding, LLC; Jusan Technologies LTD                                                       Republic of Kazakhstan et al. (see attached)
    (b)   County of Residence of First Listed Plaintiff                                                    County of Residence of First Listed Defendant              Republic of Kazakhstan
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                           NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                      THE TRACT OF LAND INVOLVED.

    (c)   Attorneys (Firm Name, Address, and Telephone Number)                                              Attorneys (If Known)

          (see attached)

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                       III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                        (For Diversity Cases Only)                                    and One Box for Defendant)
    1   U.S. Government                ✖ 3   Federal Question                                                                    PTF        DEF                                         PTF      DEF
          Plaintiff                            (U.S. Government Not a Party)                      Citizen of This State            1          1      Incorporated or Principal Place         4     4
                                                                                                                                                       of Business In This State

    2   U.S. Government                  4   Diversity                                            Citizen of Another State            2          2   Incorporated and Principal Place           5         5
          Defendant                            (Indicate Citizenship of Parties in Item III)                                                           of Business In Another State

                                                                                                  Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                    Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                     Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                                TORTS                            FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
    110 Insurance                       PERSONAL INJURY                  PERSONAL INJURY             625 Drug Related Seizure             422 Appeal 28 USC 158       375 False Claims Act
    120 Marine                          310 Airplane                    365 Personal Injury -            of Property 21 USC 881           423 Withdrawal              376 Qui Tam (31 USC
    130 Miller Act                      315 Airplane Product                Product Liability        690 Other                                28 USC 157                  3729(a))
    140 Negotiable Instrument                Liability                  367 Health Care/                                                                              400 State Reapportionment
    150 Recovery of Overpayment         320 Assault, Libel &                Pharmaceutical                                                PROPERTY RIGHTS             410 Antitrust
        & Enforcement of Judgment            Slander                        Personal Injury                                                820 Copyrights             430 Banks and Banking
    151 Medicare Act                    330 Federal Employers’              Product Liability                                              830 Patent                 450 Commerce
    152 Recovery of Defaulted                Liability                  368 Asbestos Personal                                              835 Patent - Abbreviated   460 Deportation
         Student Loans                  340 Marine                          Injury Product                                                     New Drug Application ✖ 470 Racketeer Influenced and
         (Excludes Veterans)            345 Marine Product                  Liability                                                      840 Trademark                  Corrupt Organizations
    153 Recovery of Overpayment              Liability                 PERSONAL PROPERTY                      LABOR                        880 Defend Trade Secrets   480 Consumer Credit
        of Veteran’s Benefits           350 Motor Vehicle               370 Other Fraud              710 Fair Labor Standards                  Act of 2016                (15 USC 1681 or 1692)
    160 Stockholders’ Suits             355 Motor Vehicle               371 Truth in Lending             Act                                                          485 Telephone Consumer
    190 Other Contract                      Product Liability           380 Other Personal           720 Labor/Management                  SOCIAL SECURITY                Protection Act
    195 Contract Product Liability      360 Other Personal                  Property Damage              Relations                         861 HIA (1395ff)           490 Cable/Sat TV
    196 Franchise                           Injury                      385 Property Damage          740 Railway Labor Act                 862 Black Lung (923)       850 Securities/Commodities/
                                        362 Personal Injury -               Product Liability        751 Family and Medical                863 DIWC/DIWW (405(g))         Exchange
                                            Medical Malpractice                                          Leave Act                         864 SSID Title XVI         890 Other Statutory Actions
        REAL PROPERTY                     CIVIL RIGHTS                 PRISONER PETITIONS            790 Other Labor Litigation            865 RSI (405(g))           891 Agricultural Acts
    210 Land Condemnation               440 Other Civil Rights          Habeas Corpus:               791 Employee Retirement                                          893 Environmental Matters
    220 Foreclosure                     441 Voting                      463 Alien Detainee               Income Security Act              FEDERAL TAX SUITS           895 Freedom of Information
    230 Rent Lease & Ejectment          442 Employment                  510 Motions to Vacate                                              870 Taxes (U.S. Plaintiff      Act
    240 Torts to Land                   443 Housing/                        Sentence                                                            or Defendant)         896 Arbitration
    245 Tort Product Liability              Accommodations              530 General                                                        871 IRS—Third Party        899 Administrative Procedure
    290 All Other Real Property         445 Amer. w/Disabilities -      535 Death Penalty                IMMIGRATION                            26 USC 7609               Act/Review or Appeal of
                                            Employment                  Other:                       462 Naturalization Application                                       Agency Decision
                                        446 Amer. w/Disabilities -      540 Mandamus & Other         465 Other Immigration                                            950 Constitutionality of
                                            Other                       550 Civil Rights                 Actions                                                          State Statutes
                                        448 Education                   555 Prison Condition
                                                                        560 Civil Detainee -
                                                                            Conditions of
                                                                            Confinement
V. ORIGIN (Place an “X” in One Box Only)
✖   1 Original             2 Removed from                     3      Remanded from              4 Reinstated or             5 Transferred from      6 Multidistrict                     8 Multidistrict
      Proceeding             State Court                             Appellate Court              Reopened                    Another District          Litigation -                      Litigation -
                                                                                                                              (specify)                 Transfer                          Direct File
                                         Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                         18 U.S.C. § 1964(c)
VI. CAUSE OF ACTION                      Brief description of cause:
                                         Violation of Racketeer Influenced Corrupt Organizations Act and related violations of state and international law based on expropriation of assets.
VII. REQUESTED IN                             CHECK IF THIS IS A CLASS ACTION                        DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                               UNDER RULE 23, F.R.Cv.P.                                                                           JURY DEMAND:                 ✖   Yes          No
VIII. RELATED CASE(S)
                                             (See instructions):
      IF ANY                                                          JUDGE                                                               DOCKET NUMBER
DATE                                                                    SIGNATURE OF ATTORNEY OF RECORD
02/16/2023                                                              /s/ J. Stephen Peek
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                    APPLYING IFP                                    JUDGE                           MAG. JUDGE


                                                                                                                                                                      Ex. Page No. 115
                       Case 2:23-cv-00247-JAD-VCF
JS 44 Reverse (Rev. 10/20)   Case 2:23-cv-00247 Document
                                                  Document
                                                         1-116Filed
                                                                 Filed
                                                                     02/16/23
                                                                       03/08/23Page
                                                                                 Page
                                                                                    2 of
                                                                                      1183 of 245
                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
         the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statue.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.




                                                                                                                                  Ex. Page No. 116
   Case 2:23-cv-00247-JAD-VCF
         Case 2:23-cv-00247 Document
                              Document
                                     1-116Filed
                                             Filed
                                                 02/16/23
                                                   03/08/23Page
                                                             Page
                                                                3 of
                                                                  1193 of 245




                               Civil Cover Sheet Attachment

Section I(a) Defendants:
       Republic of Kazakhstan;
       The Agency for Regulation and Development of the Financial Market of the Republic of
       Kazakhstan;
       The Anti-Corruption Agency of the Republic of Kazakhstan;
       The Financial Monitoring Agency of the Republic of Kazakhstan;
       The Committee for National Security of the Republic of Kazakhstan;
       The Agency for Regulation and Development of the Financial Market of the Republic of
       Kazakhstan, Chairperson, Abylkassymova, Madina;
       The Agency for Regulation and Development of the Financial Market of the Republic of
       Kazakhstan, Deputy Chairperson, Kizatov, Olzhas;
       The Agency for Regulation and Development of the Financial Market of the Republic of
       Kazakhstan, Representative, Omarbekov, Arman;
       Dzhaksybekov, Adilbek.

Section I(c) Plaintiffs’ Attorneys:
       J. Stephen Peek
       Erica C. Medley
       Holland & Hart LLP
       9555 Hillwood Drive, 2nd Floor
       Las Vegas, NV 89134
       (702) 669-4600

       Tariq Mundiya
       Jeffrey B. Korn
       Willkie Farr & Gallagher LLP
       787 Seventh Avenue
       New York, NY 10019
       (212) 728-8000

       Michael J. Gottlieb
       Willkie Farr & Gallagher
       1875 K Street, NW
       Washington, DC 20006
       (202) 303-1000




                                                                               Ex. Page No. 117
              Case
               Case2:23-cv-00247-JAD-VCF
                     2:23-cv-00247-JAD-VCFDocument
                                           Document165 Filed
                                                       Filed03/08/23
                                                             02/22/23 Page
                                                                      Page120
                                                                           13 of
                                                                               of18
                                                                                  245

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                           District
                                                    __________      of Nevada
                                                               District of __________

     Jysan Holding, LLC; Jusan Technologies LTD                         )
                                                                        )
                                                                        )
                                                                        )
                            Plaintiff(s)                                )
                                                                        )
                                v.                                            Civil Action No. 2:23-cv-00247-JAD-VCF
                                                                        )
               Republic of Kazakhstan et al.                            )
                                                                        )
                                                                        )
                                                                        )
                           Defendant(s)                                 )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Olzhas Kizatov, Deputy Chairperson
                                           The Agency for Regulation and Development of the Financial Market of the Republic of
                                           Kazakhstan
                                           21, Koktem-3
                                           Almaty, 050040
                                           Republic of Kazakhstan


          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Stephen Peek                      Tariq Mundiya               Michael J. Gottlieb
                                           Erica C. Medley              Jeffrey B. Korn             Willkie Farr & Gallagher LLP
                                           Holland & Hart LLP           Willkie Farr & Gallagher LLP 1875 K Street, NW
                                           9555 Hillwood Dr., 2nd Fl.    787 Seventh Ave.            Washington, DC 20006
                                           Las Vegas, NV 89134          New York, NY 10019


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT
                                                                                          February 22, 2023


Date:
                                                                                           Signature of Clerk or Deputy Clerk




                                                                                                                Ex. Page No. 118
                Case
                 Case2:23-cv-00247-JAD-VCF
                       2:23-cv-00247-JAD-VCFDocument
                                             Document165 Filed
                                                         Filed03/08/23
                                                               02/22/23 Page
                                                                        Page121
                                                                             14 of
                                                                                 of18
                                                                                    245

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:23-cv-00247-JAD-VCF

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                       , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




                                                                                                                 Ex. Page No. 119
                                       Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 122 of 245

                                               Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 1 из 38

                                  1 Дж. Стивен Пик/ J. Stephen Peek
                                    (Лицензия № 1758 Невады)
                                  2 Эрика С. Медли/ Erica C. Medley
                                    (Лицензия № 13959 Невады)
                                  3 HOLLAND & HART LLP
                                    9555 Hillwood Drive, 2nd Floor
                                  4 Las Vegas, NV 89134
                                    Тел: 702.669.4600
                                  5 Факс: 702.669.4650
                                    speek@hollandhart.com
                                  6
                                  7 Тарик Мундия/ Tariq Mundiyа (pro hac vice будет предоставлено позднее)
                                    Джеффри Б. Корн/ Jeffrey B. Korn (pro hac vice будет предоставлено позднее)
                                  8 W ILLKIE FARR & GALLAGHER LLP
                                    787 Seventh Avenue
                                  9 New York, New York 10019
                                    (212) 728-8000
                                 10 tmundiya@willkie.com
                                    jkorn@willkie.com
                                 11
                                    Майкл Дж. Готлиб/ Michael J. Gottlieb (pro hac vice будет предоставлено позднее)
                                 12 WILLKIE FARR & GALLAGHER LLP
9555 HILLWOOD DRIVE, 2ND FLOOR




                                    1875 K Street, NW
                                 13 Washington, DC 20006
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                    (202) 303-1000
                                 14 mgottlieb@willkie.com
                                 15 Адвокаты Истцов
                                 16 Jysan Holding, LLC; и
                                    Jusan Technologies Ltd.,
                                 17
                                                         ФЕДЕРАЛЬНЫЙ ОКРУЖНОЙ СУД США
                                 18
                                                                    ОКРУГ НЕВАДА
                                 19
                                    JYSAN HOLDING, LLC, компания с         Дело №.:
                                 20 ограниченной ответственностью,
                                    зарегистрированная в штате Невада;     ИСКОВОЕ ЗАЯВЛЕНИЕ О
                                 21 JUSAN TECHNOLOGIES LTD,                РАССМОТРЕНИИ ДЕЛА СУДОМ
                                    компания с ограниченной                ПРИСЯЖНЫХ
                                 22 ответственностью, зарегистрированная в
                                    Англии и Уэльсе;
                                 23
                                                         Истец,
                                 24 против
                                 25 Иностранное суверенное государство
                                 26 РЕСПУБЛИКА КАЗАХСТАН;
                                    Правительственное учреждение
                                 27 Казахстана АГЕНТСТВО
                                    РЕСПУБЛИКИ КАЗАХСТАН ПО
                                 28 РЕГУЛИРОВАНИЮ И РАЗВИТИЮ
                                    ФИНАНСОВОГО РЫНКА;



                                                                                                               Ex. Page No. 120
                                        Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 123 of 245
                                                Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 2 из 38


                                  1   Правительственная антикоррупционная
                                      служба Казахстана АГЕНТСТВО
                                  2   РЕСПУБЛИКИ КАЗАХСТАН ПО
                                      ПРОТИВОДЕЙСТВИЮ КОРРУПЦИИ;
                                  3   Правительственное учреждение
                                      Казахстана АГЕНТСТВО
                                  4   РЕСПУБЛИКИ КАЗАХСТАН ПО
                                      ФИНАНСОВОМУ МОНИТОРИНГУ;
                                  5   Правительственное разведывательное
                                      агентство Казахстана КОМИТЕТ
                                  6   НАЦИОНАЛЬНОЙ БЕЗОПАСНОСТИ
                                      РЕСПУБЛИКИ КАЗАХСТАН;
                                  7   физическое лицо МАДИНА
                                      АБЫЛКАСЫМОВА; физическое лицо
                                  8   ОЛЖАС КИЗАТОВ; физическое лицо
                                      АРМАН ОМАРБЕКОВ; и физическое
                                  9   лицо АДИЛЬБЕК ДЖАКСЫБЕКОВ,

                                 10                       Ответчики.

                                 11
                                                                         ВВЕДЕНИЕ
                                 12
                                          1.     С начала 2022 года Правительство Республики Казахстан («Правительство»
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13
                                      или «Правительство Казахстана») проводит незаконную кампанию в отношении
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14
                                      корпораций штата Невада: Истца Jysan Holding, LLC («Jysan Holding, LLC») и New
                                 15
                                      Generation Foundation, Inc. («NGF»), а также их прямых и косвенных дочерних компаний
                                 16
                                      (вместе именуемых «Jusan Group») в целях хищения активов Истца на сумму более
                                 17
                                      1,5 млрд долларов США.        Указанная коррупционная и незаконная кампания
                                 18
                                      демонстрирует наглый бандитизм нации — бывшего государства-сателлита Советского
                                 19
                                      Союза,   —    которая   использовала     широкие   полномочия     правительства       и
                                 20
                                      высокопоставленных чиновников, чтобы, выходя далеко за пределы Казахстана, красть,
                                 21
                                      запугивать и иным образом причинять вред физическим лицам и организациям в
                                 22
                                      Соединенных Штатах. Ответчики занимаются тем самым рэкетом и экспроприацией,
                                 23
                                      которые запрещены федеральными законами. Истцы подают настоящий иск, чтобы
                                 24
                                      устранить незаконное конфискационное поведение Ответчиков.
                                 25
                                          2.     Несмотря     на   то,   что   Правительство    Казахстана    представило
                                 26
                                      многочисленные, противоречивые и предлоговые оправдания их действий против
                                 27

                                 28
                                                                               2
                                                                                                               Ex. Page No. 121
                                        Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 124 of 245
                                                Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 3 из 38


                                  1   группы Jusan Group, истинная цель Правительства состоит в том, чтобы захватить

                                  2   контроль над активами Jusan Group в Казахстане в целях собственной коммерческой

                                  3   выгоды, обеспечивая огромную коммерческую выгоду частным лицам, наделенным

                                  4   Правительством привилегиями. Правительство продемонстрировало свое намерение

                                  5   добиваться данной цели любыми возможными средствами, среди которых: угрозы,

                                  6   запугивание, уголовные и гражданские расследования и судебные процессы, а также

                                  7   блокировка 387 миллионов долларов США дивидендов, предназначенных для

                                  8   распределения частным банком в составе Jusan Group, First Heartland Jusan Bank («First

                                  9   Heartland Bank» или «Банк») и непосредственной материнской компании Банка, AO First

                                 10   Heartland Securities («FHS») — средства, предназначенные для истца Jusan Technologies

                                 11   Ltd. («JTL»), истца Jysan Holding и, в конечном счете, NGF. Схема Ответчиков по

                                 12   использованию органов Правительства Казахстана для нанесения вреда организациям
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13   из Невады стала предельно ясной. После того, как Истцы проинформировали

                                      Ответчиков о намерении защищать свои права в немедленно направленном иске,
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15   Ответчики предприняли два очевидных акта возмездия: во-первых, в ноябре 2022 г.

                                 16   Ответчики внесли изменения в законодательство, специально направленные против

                                 17   Истцов; а во-вторых, 2 декабря 2022 г. Генеральная Прокуратура Казахстана подала в

                                 18   суды Казахстана сфабрикованный иск против Истцов и иных членов и сотрудников

                                 19   Jusan Group. Законодательные меры, направленные против Jusan Group, подробно

                                 20   описанные ниже, предусматривали незаконный захват активов, находящихся под

                                 21   контролем юридического лица из Невады. Совсем недавно, 10 февраля 2023 года,

                                 22   Генеральная прокуратура Казахстана подала недобросовестно составленный иск,

                                 23   основанный на ложных обвинениях, с единственной целью конфискации активов,

                                 24   находящихся под контролем JTL. Более того, Казахстан угрожал насилием и тюремным

                                 25   заключением резидентам США, имеющим материальные экономические интересы в

                                 26   Jusan Group, если коммерческие требования Казахстана не будут выполнены. Эти

                                 27   действия соответствуют ситуации с повсеместной коррупцией в Правительстве

                                 28
                                                                                3
                                                                                                                 Ex. Page No. 122
                                       Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 125 of 245
                                                  Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 4 из 38


                                  1   Казахстана, которая, согласно публичным отчетам, ухудшилась с 2022 года. Таким

                                  2   образом, Правительство Казахстана прибегает к тем же незаконным инструментам —

                                  3   конфискации,     экспроприации,   угрозам       и   запугиванию, —    которым    отдают

                                  4   предпочтение самые репрессивные диктаторы и авторитарные режимы мира.

                                  5       3.       Действия Правительства и некоторых отдельных лиц препятствуют Истцам

                                  6   (включая КОО штата Невада, которая была создана именно для того, чтобы избежать

                                  7   такого незаконного изъятия активов, которое совершается в настоящее время) в

                                  8   исполнении обязательств по предоставлению свободного образования и передового

                                  9   опыта получателям грантов NGF, через предоставление высшего образования в

                                 10   американском стиле и проведения рыночных реформ в Республике Казахстан.

                                 11   Действительно, в период, предшествующий противоправной деятельности, указанной в

                                 12   настоящем документе, NGF и Jusan Group усилиями Истцов в целом предоставили
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13   Назарбаев     Университету   (современному          англоязычному    исследовательскому

                                      университету, расположенному в столице Республики Казахстан Астане (ранее Нур-
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15   Султан)), а также Назарбаев Интеллектуальные Школы и их организациям, гранты на

                                 16   миллионы долларов.

                                 17       4.       В отсутствие судебной защиты незаконная схема Ответчиков будет

                                 18   продолжать лишать Истцов основного источника финансирования от их дочерних

                                 19   компаний, связанных с Банком, и, соответственно, они не смогут выполнять свои

                                 20   обязательства по предоставлению дивидендного финансирования для их головных

                                 21   организаций, среди которых NGF. В свою очередь, NGF не в состоянии переводить

                                 22   собственные средства или получать законно выпущенные дивиденды для выполнения

                                 23   своей единственной миссии ― финансирования Назарбаев Университета и Назарбаев

                                 24   Интеллектуальные Школы. В конечном счете, замораживая средства Jusan Group,

                                 25   Правительство лишает Назарбаев Университет и Назарбаев Интеллектуальные Школы

                                 26   необходимых ресурсов, следовательно, наносит ущерб их студентам, исследователям и

                                 27   преподавателям, препятствуя предоставлению образования, которое ставит акцент на

                                 28
                                                                                  4
                                                                                                                   Ex. Page No. 123
                                        Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 126 of 245
                                                  Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 5 из 38


                                  1   необходимость высоких стандартов обучения, академической строгости, исследований,

                                  2   основанных на фактах, научного характера, интеллектуальной свободы, инноваций и

                                  3   академической свободы.

                                  4                      ЮРИСДИКЦИЯ И МЕСТО РАССМОТРЕНИЯ

                                  5        5.      Данный Суд обладает предметной юрисдикцией относительно данного иска

                                  6   в соответствии с 28 U.S.C. § 1331, поскольку данный иск возникает в соответствии с

                                  7   законодательством Соединенных Штатов, а именно 18 U.S.C. § 1964(c).

                                  8        6.      Данный Суд также обладает предметной юрисдикцией относительно

                                  9   данного иска в соответствии с § 1330(a) 28 U.S.C., поскольку Ответчик Республика

                                 10   Казахстан и ее нижеперечисленные учреждения и органы являются иностранными

                                 11   государствами по определению в § 1603(a) 28 U.S.C, и не имеют права на иммунитет в

                                 12   соответствии с 28 U.S.C. §§ 1605–07 или любым применимым международным
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13   соглашением. Ответчик Республика Казахстан, а также перечисленные ниже агентства

                                      и органы Ответчика не защищены иммунитетом от юрисдикции данного Суда в
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15   соответствии с 28 U.S.C. § 1605(a)(2), поскольку данный иск основан на действиях за

                                 16   пределами     территории    Соединенных        Штатов,   связанных       с     коммерческой

                                 17   деятельностью Ответчиков за пределами США, и данные действия оказали

                                 18   непосредственное воздействие в Соединенных Штатах.

                                 19        7.      Данный Суд обладает дополнительной юрисдикцией в отношении

                                 20   требований    Истцов     относительно   законодательств    штата     в       соответствии      с

                                 21   28 U.S.C. § 1367(a), поскольку эти требования настолько связаны с другими

                                 22   требованиями иска, что они являются частью того же дела или разногласия в

                                 23   соответствии со Статьей III Конституции Соединенных Штатов.

                                 24        8.      Данный Суд обладает персональной юрисдикцией в отношении Ответчика

                                 25   Республики Казахстан и ее учреждений и органов, перечисленных ниже, в соответствии

                                 26   с 28 U.S.C. § 1330(b).

                                 27

                                 28
                                                                                 5
                                                                                                                        Ex. Page No. 124
                                        Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 127 of 245
                                                Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 6 из 38


                                  1       9.     Данный Суд обладает персональной юрисдикцией в отношении всех

                                  2   Ответчиков согласно Nev. Rev. Stat. § 14.065. Данный Суд также обладает персональной

                                  3   юрисдикцией в отношении всех Ответчиков в соответствии с 18 U.S.C. § 1965 и

                                  4   правилами 4(k)(1)(C) и 4(k)(2) Федеральных правил гражданского судопроизводства.

                                  5       10.    Место рассмотрения в данном округе является надлежащим в соответствии

                                  6   с 28 U.S.C. § 1391 (f) (1), поскольку значительная часть событий, послуживших

                                  7   основанием для иска, произошла в данном округе. В качестве альтернативы, место

                                  8   рассмотрения   в   данном    округе    является   надлежащим    в   соответствии      с

                                  9   28 U.S.C. § 1391(b)(3), поскольку Ответчики подлежат персональной юрисдикции в

                                 10   данном округе в отношении данного иска.

                                 11                                         СТОРОНЫ

                                 12       11.    Истец Jysan Holding ― компания с ограниченной ответственностью,
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13   зарегистрированная в соответствии с законодательством штата Невада. Единственным

                                      членом Jysan Holding является NGF ― организация со статусом 501 (c) (4),
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15   базирующаяся и зарегистрированная в Неваде. Jysan Holding имеет 96,96 % прямого

                                 16   участия в JTL, которая выступает в качестве холдинговой компании для непрямых

                                 17   дочерних компаний Jysan Holding и является косвенным мажоритарным владельцем

                                 18   иных компаний, расположенных в Казахстане. Jysan Holding управляет бизнесом и

                                 19   иной инвестиционной деятельностью NGF в интересах студентов учебных заведений-

                                 20   грантополучателей в Республике Казахстан.

                                 21       12.    Истец JTL — компания с ограниченной ответственностью, учрежденная в

                                 22   соответствии с законодательством Англии и Уэльса. Прямой материнской компанией

                                 23   JTL является Jysan Holding (указанная выше организация из Невады). JTL является

                                 24   прямым и косвенным мажоритарным владельцем прочих компаний в Казахстане, среди

                                 25   которых FHS, в которой JTL владеет прямой долей участия в размере 99,48 %.

                                 26

                                 27

                                 28
                                                                                6
                                                                                                               Ex. Page No. 125
                                       Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 128 of 245
                                                Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 7 из 38


                                  1       13.       Ответчик Республика Казахстан ― иностранное суверенное государство в

                                  2   значении 28 U.S.C. § 1603(a). Ответчик Республика Казахстан имеет посольство в

                                  3   Соединенных Штатах по адресу 1401 16th St NW, Washington, DC 20036.

                                  4       14.       Ответчик Агентство Республики Казахстан по регулированию и развитию

                                  5   финансового рынка («АРРФР») ― правительственное учреждение, которому поручено

                                  6   осуществлять надзор за финансовым рынком и финансовыми организациями в

                                  7   Казахстане.

                                  8       15.       Ответчик Агентство Республики Казахстан по противодействию коррупции

                                  9   («Антикоррупционная         служба») —    правительственное      антикоррупционное

                                 10   учреждение.      Антикоррупционная служба отвечает за разработку и реализацию

                                 11   антикоррупционной        политики     Правительства    Казахстана,      координацию

                                 12   правоприменительных мероприятий по борьбе с коррупцией, а также выявление,
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13   пресечение,     раскрытие    и   расследование   коррупционных       правонарушений.

                                      Антикоррупционная служба подчиняется непосредственно Президенту Казахстана.
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15       16.       Ответчик Агентство Республики Казахстан по финансовому мониторингу

                                 16   («АФМ») ― государственный орган, ответственный за предоставление рекомендаций

                                 17   по противодействию отмыванию денег и финансированию терроризма, а также за

                                 18   предотвращение, обнаружение, пресечение, раскрытие и расследование экономических

                                 19   и финансовые правонарушений, направленных им законодательными органами

                                 20   Республики Казахстан. АФМ подчиняется непосредственно Президенту Казахстана.

                                 21       17.       Ответчик Комитет национальной безопасности Республики Казахстан

                                 22   («КНБ») ― правительственное разведывательное учреждение (совместно с АРРФР,

                                 23   Антикоррупционной службой и АФМ «Ответчики правительственных учреждений»).

                                 24       18.       Ответчик Мадина Абылкасымова ― председатель АРРФР. Она проживает

                                 25   в Казахстане, гражданка Казахстана.

                                 26       19.       Ответчик Олжас Кизатов ― заместитель председателя АРРФР.               Он

                                 27   проживает в Казахстане, гражданин Казахстана.

                                 28
                                                                                7
                                                                                                                 Ex. Page No. 126
                                        Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 129 of 245
                                                Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 8 из 38


                                  1       20.      Ответчик Арман Омарбеков ― представитель АРРФР. Он проживает в

                                  2   Казахстане, гражданин Казахстана.

                                  3       21.      Ответчик Адильбек Джаксыбеков (вместе с ответчиками Абылкасымовой,

                                  4   Кизатовым и Омарбековым, «Индивидуальные ответчики») ― бывший владелец

                                  5   Цеснабанка банка, который Jusan Group приобрела в феврале 2019 года. Он проживает

                                  6   в Казахстане, гражданин Казахстана.

                                  7                                         ФАКТЫ

                                  8   A. Члены Jusan Group Помогают Правительству Казахстана, Покупая

                                  9   Обанкротившиеся Казахстанские Банки.

                                 10       22.      В 2018 году банковский сектор Казахстана, не полностью оправившийся от

                                 11   финансового кризиса 2007–2009 годов и последующих девальваций казахстанского

                                 12   тенге в 2008 и 2015 годах, попал в острую уязвимую ситуацию после резкого падения
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13   мировых цен на энергоносители, что снова привело к значительной девальвации тенге.

                                      В ответ правительство Казахстана искало различные коммерческие решения, в
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15   стремлении избежать краха всей банковской системы страны.

                                 16       23.      Цеснабанк в то время был вторым самым большим банком по размеру

                                 17   активов в Центральной Азии и принадлежал ответчику Джаксыбекову.           Ответчик

                                 18   Джаксыбеков злоупотреблял своими полномочиями в Цеснабанке для получения

                                 19   финансовой выгоды в собственных целях, а также для своей семьи и друзей, фактически

                                 20   используя Цеснабанк как частную инвестиционную компанию для достижения своих

                                 21   личных интересов и участия в прочих сомнительных или злонамеренных деловых

                                 22   операциях.

                                 23       24.      К 2018 году Цеснабанк был на грани краха: почти 90 % активов банка были

                                 24   необслуживаемыми.

                                 25       25.      Серьезные проблемы с ликвидностью у Цеснабанка не прекращались,

                                 26   несмотря на получение капитальных вливаний в рамках государственной помощи

                                 27   банковскому сектору Казахстана в 2017 году. В начале сентября 2018 года банк получил

                                 28
                                                                                8
                                                                                                                Ex. Page No. 127
                                          Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 130 of 245
                                                  Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 9 из 38


                                  1   краткосрочный        займ   в   размере   нескольких     сотен    миллионов    долларов       от

                                  2   Национального Банка Республики Казахстан. В последней отчаянной попытке остаться

                                  3   в    бизнесе,     Цеснабанк     продал    государству     значительную    часть    портфеля

                                  4   сельскохозяйственных кредитов. Однако, к середине сентября S&P понизило рейтинг

                                  5   ликвидности Цеснабанка с «адекватного» на «менее чем адекватный».

                                  6         26.       Правительство Казахстана определило, что в случае краха Цеснабанка он,

                                  7   скорее всего, потопит с собой весь банковский сектор Казахстана. Таким образом,

                                  8   правительство Казахстана непреклонно искало какое-нибудь коммерческое решение,

                                  9   которое бы позволило удержать Цеснабанк на плаву. Пытаясь достичь поставленной

                                 10   цели, правительство Казахстана инициировало серию попыток спасения Цеснабанка в

                                 11   период с 2018 по 2019 год.

                                 12         27.       Правительство    охарактеризовало       данные    меры   как    «повышение
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13   устойчивости Цеснабанка за счет кардинального улучшения его кредитного портфеля».

                                      В современных отчетах признавалось, что это была очередная помощь для спасения,
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15   направленная на исправление шаткого и ухудшающегося финансового положения

                                 16   Цеснабанка.

                                 17         28.       Однако даже при такой финансовой поддержке, к январю 2019 года

                                 18   значительные потери в кредитном портфеле Цеснабанка продолжали угрожать

                                 19   жизнеспособности        Цеснабанка.       Чтобы     выжить,      Цеснабанку    нужны     были

                                 20   дополнительные вливания капитала. Правительство Казахстана срочно искало другой

                                 21   банк, который купил бы Цеснабанк и предоставил новый капитал, чтобы предотвратить

                                 22   крах Цеснабанка, а также обеспечить смену руководства для усиления операционной

                                 23   деятельности Цеснабанка.

                                 24         29.       Правительство Казахстана обнаружило, что First Heartland Bank в

                                 25   Казахстане, принадлежащий Jusan Group, ― потенциальное решение. First Heartland

                                 26   Bank значительно нарастил наличные резервы и сохранил безупречную репутацию

                                 27   благодаря надлежащему управлению под руководством Jusan Group.

                                 28
                                                                                    9
                                                                                                                        Ex. Page No. 128
                                       Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 131 of 245
                                                Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 10 из 38


                                  1       30.    Правительство Казахстана обратилось к Jusan Group насчет потенциального

                                  2   приобретения Цеснабанка.      Jusan Group постарались удовлетворить просьбу

                                  3   правительства и принять участие в оказании помощи банковскому сектору. Но для

                                  4   Jusan Group было очевидно, что они не смогут приобрести Цеснабанк, если у

                                  5   Цеснабанка отрицательный баланс, а из-за неэффективного управления кредитным

                                  6   портфелем Цеснабанка под руководством ответчика Джаксыбекова у Цеснабанка был

                                  7   очень отрицательный баланс.

                                  8       31.    В попытке найти коммерческое решение, Правительство Казахстана

                                  9   провело переговоры по ряду контрактов (кульминацией которых стали «Рамочные

                                 10   соглашения по Цеснабанку»), в соответствии с которыми Правительство предоставит

                                 11   Цеснабанку дополнительные средства на выживание, в которые входит покупка

                                 12   проблемных активов, после чего Jusan Group приобретет Цеснабанк.
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13       32.    Рамочные соглашения по Цеснабанку были заключены в январе и феврале

                                      2019 года. Сторонами Рамочных соглашений по Цеснабанку были АО First Heartland
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15   Securities («FHS»), материнская компания Банка, ответчик Джаксыбеков, Цеснабанк и

                                 16   Правительство Республики Казахстан в лице Министерства финансов Республики

                                 17   Казахстан и Национального Банка Республики Казахстан. Рамочные соглашения по

                                 18   Цеснабанку явно поддерживались и были согласованы с нынешним премьер-министром

                                 19   Казахстана Алиханом Смаиловым и первым заместителем руководителя аппарата

                                 20   Президента Казахстана Тимуром Сулейменовым.

                                 21       33.    Рамочное соглашение, подписанное 17 января 2019 года («Рамочное

                                 22   соглашение по Цеснабанку от 17 января»), предусматривало вливание государственных

                                 23   средств в Банк Цеснабанк, которые в конечном итоге приняли форму облигаций с

                                 24   длительным сроком погашения. Затем, FHS приобрела Цеснабанк, в соответствии со

                                 25   статьей 8 «Рамочного соглашения по Цеснабанку от 17 января».

                                 26       34.    Правительство Казахстана не только дало полное согласие на сделку, но и

                                 27   возглавило ее исполнение.

                                 28
                                                                             10
                                                                                                              Ex. Page No. 129
                                       Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 132 of 245
                                                Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 11 из 38


                                  1       35.    Важно отметить, что возвращение суммы спасательного капитала к

                                  2   2023 году не являлось условием Правительства Казахстана для поддержки в вопросе

                                  3   приобретения Цеснабанка, также Правительство Казахстана не ограничивало выплату

                                  4   дивидендов Банком каким-либо иным образом. Фактически до недавнего момента, в

                                  5   декабре 2021 года включительно, Банк выплачивал дивиденды без возражений со

                                  6   стороны Правительства Казахстана.

                                  7       36.    Вскоре после сделки по продаже Цеснабанка, Правительство снова

                                  8   обратилось к Jusan Group, с предложением приобрести еще один обанкротившийся

                                  9   банк, АТФ Банк.

                                 10       37.    Как и в случае с Цеснабанком, Правительство было основной стороной

                                 11   переговоров по сделке, в рамках которой Jusan Group приобрела АТФ Банк

                                 12   (осуществлялось посредством Рамочных соглашений по АТФ Банку). Как и в случае с
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13   Цеснабанком, у АТФ Банка имелись значительные убытки по кредитному портфелю,

                                      который Правительство согласилось спасти, в связи с приобретением.
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15       38.    Важно отметить, что, как указано выше, Правительство не обусловило

                                 16   оказание помощи АТФ Банку какими-либо обязательствами по возврату средств до

                                 17   2023 года и никаким иным образом не ограничивало выплату Банком дивидендов.

                                 18       39.    Таким образом, приобретая АТФ Банк, Jusan Group удовлетворила просьбу

                                 19   Правительства Казахстана о коммерческом решении банковского кризиса, вложила

                                 20   значительный капитал в банковский сектор страны и во второй раз за два года спасла

                                 21   сектор от полного краха. Еще в январе 2023 года премьер-министр Смаилов подтвердил,

                                 22   что приобретение Jusan Group Цеснабанка и АТФ Банка было необходимо, чтобы

                                 23   стабилизировать финансовое положение учреждений и обеспечить безопасность

                                 24   вкладов казахстанских граждан и юридических лиц.

                                 25

                                 26

                                 27

                                 28
                                                                              11
                                                                                                               Ex. Page No. 130
                                        Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 133 of 245
                                                 Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 12 из 38


                                  1    B. Jusan Group Создала Предприятия в Неваде для Защиты и Увеличения

                                  2    Своих Активов на Фоне Банковского Кризиса в Казахстане.

                                  3        40.     В то время, когда Jusan Group помогала Правительству в спасении

                                  4   обанкротившихся казахстанских банков, руководство Jusan Group искало наилучшие

                                  5   варианты, как и далее защищать и приумножать собственные активы. До 2019 года

                                  6   Jusan Group принадлежала фонду Nazarbayev Fund («NF») — казахстанской корпорации,

                                  7   созданной для финансирования Назарбаев Университета и Nazarbayev Intellectual

                                  8   Schools, а также организаций, поддерживающих Назарбаев Университет и Nazarbayev

                                  9   Intellectual Schools.

                                 10        41.     Назарбаев Университет, основанный в 2010 году, является флагманским

                                 11   учебным заведением Казахстана, с амбициями стать исследовательским университетом

                                 12   мирового уровня. Цель университета ― «предоставить Казахстану и миру ученых,
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13   академиков, менеджеров и предпринимателей, необходимых для процветания и

                                      развития», университет был основан на принципах автономии и академической
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15   свободы.      Назарбаев Университет стал неотъемлемой частью академической

                                 16   исследовательской экосистемы с более 5600 международных публикаций. Назарбаев

                                 17   Университет оказывает образовательные услуги западного образца на английском

                                 18   языке.

                                 19        42.     Nazarbayev Intellectual Schools были основаны в 2008 году и созданы как

                                 20   современная и инновационная образовательная платформа для разработки и внедрения

                                 21   современных моделей образовательных программ от дошкольного до старшего

                                 22   школьного возраста. Выпускники Nazarbayev Intellectual Schools успешно поступают в

                                 23   ведущие университеты, среди которых Назарбаев Университет и другие ведущие

                                 24   программы бакалавриата в Европе и Восточной Азии.

                                 25        43.     После почти десяти лет поддержки Назарбаев Университета и Nazarbayev

                                 26   Intellectual Schools от благотворительного фонда в Казахстане, руководство Jusan Group

                                 27

                                 28
                                                                               12
                                                                                                                 Ex. Page No. 131
                                       Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 134 of 245
                                                Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 13 из 38


                                  1   стало все более беспокоиться о том, что рост благотворительного фонда в Казахстане

                                  2   по сути ограничен и находится под угрозой.

                                  3       44.    Руководство Jusan Group приняло решение создать благотворительный

                                  4   фонд в Неваде ― штате, известном строгой правовой защитой и стандартами

                                  5   корпоративного    управления,   сильными     традициями   благотворительности         и

                                  6   многочисленными успешными университетскими благотворительными фондами и

                                  7   некоммерческими организациями.

                                  8       45.    В частности, Jusan Group решила зарегистрировать компанию в Неваде,

                                  9   потому что это одна из ведущих юрисдикций в США по стандартам корпоративного

                                 10   управления. Jusan Group также учла тот факт, что многие крупные коммерческие и

                                 11   некоммерческие организации ведут свою операционную деятельность как корпорации

                                 12   штата Невада.
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13       46.    NGF была создана в 2019 году в Неваде как неакционерная некоммерческая

                                      корпорация, с целью ведения деятельности исключительно в интересах Назарбаев
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15   Университета и Nazarbayev Intellectual Schools. NF затем передала NGF всю свою долю

                                 16   в Jusan Group. Единственной миссией NGF является обеспечение финансирования

                                 17   деятельности Назарбаев Университета и Nazarbayev Intellectual Schools, а также их

                                 18   организаций, это благотворительный фонд для них. Jysan Holding был создан для

                                 19   управления активами NGF.

                                 20       47.    Компания с ограниченной ответственностью JTL была зарегистрирована в

                                 21   2020 году в соответствии с законодательством Англии и Уэльса и позднее передана

                                 22   Jysan Holding за счет взноса капитала. JTL была зарегистрирована с целью создания

                                 23   общей корпоративной холдинговой структуры для финансового и технологического

                                 24   подразделений Jusan Group.      JTL — холдинговая компания, инвестирующая в

                                 25   различные сферы, среди которых банковское дело, брокерские услуги, страхование,

                                 26   управление активами, электронная коммерция, телекоммуникации, логистика и

                                 27   розничная торговля. JTL расширяет свой портфель за счет стратегических слияний и

                                 28
                                                                              13
                                                                                                               Ex. Page No. 132
                                        Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 135 of 245
                                                 Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 14 из 38


                                  1   поглощений, тем не менее, косвенное участие JTL в Банке составляет 90 % его общих

                                  2   активов.

                                  3        48.    JTL владеет 99,48 % долей в FHS, которая, в свою очередь, владеет

                                  4   примерно 80 % долей в First Heartland Bank.

                                  5        49.    Таким образом, NGF получает пассивный доход через косвенное владение

                                  6   JTL, в виде дивидендов и распределений от бизнеса и деятельности JTL и ее холдингов,

                                  7   включая FHS и Банк.

                                  8

                                  9

                                 10

                                 11

                                 12
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15

                                 16

                                 17

                                 18

                                 19

                                 20

                                 21        50.    В соответствии с внутригрупповыми положениями и соглашениями,
                                 22   выплаты дивидендов будут распределяться от Банка к FHS и, в свою очередь, к JTL,
                                 23   Jysan Holding и NGF, за вычетом средств, необходимых для покрытия адекватных
                                 24   операционных расходов.     Каждое предприятие имеет законное право объявлять и
                                 25   получать дивиденды от своей прямой дочерней компании.
                                 26        51.    NGF    впервые    начал    предоставлять   финансирование      Назарбаев
                                 27   Университету и Nazarbayev Intellectual Schools в 2021 году. Как отмечается, только за
                                 28
                                                                               14
                                                                                                                Ex. Page No. 133
                                        Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 136 of 245
                                                 Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 15 из 38


                                  1   два года NGF и Jusan Group предоставили Назарбаев Университету, Nazarbayev

                                  2   Intellectual Schools и поддерживающим их организациям миллионы долларов.

                                  3   Вышеуказанные гранты шли на поддержку усилий по предоставлению образования, в

                                  4   котором особое внимание уделяется ценностям интеллектуальной свободы, инноваций

                                  5   и академической свободы. NGF ожидает, что финансирование значительно увеличится

                                  6   в ближайшие годы, в частности, в рамках решения проблемы существенного

                                  7   сокращения финансовой поддержки со стороны Правительства Казахстана в контексте

                                  8   серьезных финансовых проблем национального бюджета Казахстана.

                                  9       52.      NGF полностью финансируется за счет распределения прибыли от Jysan

                                 10   Holding, которая получает свой доход исключительно в виде выплат дивидендов от

                                 11   компаний Jusan Group через JTL.

                                 12   C. Финансовый        Успех   Jusan    Group     Провоцирует    Правительство        и
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13   Джаксыбекова Принудительно Захватить First Heartland Bank.

                                          53.      После приобретения Цеснабанка и АТФ Банка ― которые теперь являются
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15   частью First Heartland Bank ― First Heartland Bank добился быстрого увеличения

                                 16   выручки.

                                 17       54.      Такой   успех   и    повышение     прибыльности    были    связаны       с

                                 18   дисциплинированным и стратегическим подходом к работе с обесцененными

                                 19   кредитами, которые по-прежнему составляли значительную долю портфеля Цеснабанка

                                 20   и АТФ Банка после того, как их приобрел First Heartland Bank. В рамках вышеуказанных

                                 21   усилий First Heartland Bank реализовал новую бизнес-стратегию, направленную на

                                 22   увеличение выплат по неэффективным кредитам.            Что резко отличалось от

                                 23   коррупционной банковской практики бывшего владельца Цеснабанка.

                                 24       55.      Кроме того, Банк внедрил прозрачное корпоративное управление и

                                 25   принятие решений, четкие механизмы судебного и внесудебного взыскания долгов,

                                 26   системное устранение коррупции в процессе взыскания долгов, категорическое

                                 27   пресечение    реструктуризации    кредитов    между коллекторами   и   должниками.

                                 28
                                                                               15
                                                                                                               Ex. Page No. 134
                                       Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 137 of 245
                                                Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 16 из 38


                                  1   Ликвидировав у заемщиков стимулы к ведению переговоров по неформальным

                                  2   платежным схемам, Банк стимулировал заемщиков погасить свой долг, а не рисковать

                                  3   потерей залога. Эти и другие меры оказали значительное положительное влияние на

                                  4   размер выручки и чистой прибыли Банка.

                                  5       56.    Банк также придерживается бизнес-модели с дальновидным подходом.

                                  6   Например, за последние несколько лет Банк сосредоточился на цифровых технологиях,

                                  7   создав платформу электронной коммерции и двигаясь в сторону интегрированной

                                  8   модели финансовых услуг. В результате этих усилий и улучшения показателей

                                  9   прибыльности, качества активов, платежеспособности и управления рисками

                                 10   14 декабря 2022 года агентство Moody’s Investors Service повысило прогноз по

                                 11   рейтингам Банка со стабильного на позитивный.

                                 12       57.    Отчасти   благодаря   успеху    вышеуказанных       стратегий   Банк     смог
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13   выплачивать дивиденды.

                                          58.    Сегодня First Heartland Bank является третьим по величине банковским
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15   конгломератом в Казахстане и поддерживает прочные отношения с иностранными

                                 16   финансовыми институтами.

                                 17       59.    Способность Банка выплачивать дивиденды акционерам, в свою очередь,

                                 18   позволила NGF предоставлять значительное финансирование Назарбаев Университету

                                 19   и Nazarbayev Intellectual Schools.   NGF и Jusan Group финансировали данные

                                 20   учреждения и поддерживающие их организации, выделяя миллионы долларов на

                                 21   поддержку образования, которое ставит акцент на превосходство, академическую

                                 22   строгость, научно-обоснованные исследования, научный характер, инновации и

                                 23   академическую свободу.

                                 24   D. Ответчики Преследовали и Вымогали Деньги у Jusan Group в Попытке

                                 25   Украсть Активы Группы.

                                 26       60.    Начиная    с   2022   года     Ответчики,   среди    которых     Ответчики

                                 27   правительственных учреждений и Правительства, стали действовать как фактически

                                 28
                                                                                16
                                                                                                                  Ex. Page No. 135
                                        Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 138 of 245
                                                 Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 17 из 38


                                  1   совместное предприятие, а также участвовать в деятельности и управлении иными

                                  2   предприятиями путем рэкета. Цель Ответчиков состояла в том, чтобы неправомерно

                                  3   заполучить активы Jusan Group в интересах Индивидуальных Ответчиков. Каждый из

                                  4   Индивидуальных Ответчиков связан в силу того, что действует в контексте полномочий

                                  5   Правительства Казахстана, либо напрямую через работу на Правительство, либо, в

                                  6   случае Ответчика Джаксыбекова, через тесные связи с Правительством. Сообщная

                                  7   деятельность Ответчиков фактически имела место как минимум с января 2022 года и

                                  8   продолжается таким образом, что сообщникам позволено периодически заниматься

                                  9   рэкетом.

                                 10        61.    Рэкет включает в себя попытки вымогательства у Jusan Group,

                                 11   представляющие собой нарушение Закона Хоббса, 18 U.S.C. § 1951, которым

                                 12   предусматривается в соответствующей части: «Тот, кто любым образом, или в любой
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13   степени, препятствует, задерживает, или влияет на коммерческую деятельность или

                                      передвижение в рамках коммерческой деятельности любого товара или сырья, путем
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15   грабежа или вымогательства, или предпринимает подобные попытки, или вступает в

                                 16   сговор для совершения таких действий. . . подлежит наложению штрафа в соответствии

                                 17   с данным разделом или лишению свободы на срок до двадцати лет, или и тому и

                                 18   другому», 18 U.S.C. § 1951(a).        В соответствии с данным разделом, термин

                                 19   «вымогательство» означает получение собственности от другого лица с его согласия,

                                 20   полученного путем неправомерного применения фактической или угрожаемой силы,

                                 21   насилия     или   запугивания   или    под    прикрытием   официального       права».

                                 22   18 U.S.C. § 1951(b)(2).   «Коммерческая деятельность» включает в себя «всякую

                                 23   коммерческую деятельность между любой точкой Штата, Территории, Владения или

                                 24   Округа Колумбии и любой точкой за их пределами; всякую коммерческую деятельность

                                 25   между точками внутри одного Штата через любую точку за пределами данного Штата;

                                 26   и всякую прочую коммерческую деятельность, в отношении которой Соединенные

                                 27   Штаты имеют юрисдикцию». 18 U.S.C. § 1951(b)(3).

                                 28
                                                                               17
                                                                                                                Ex. Page No. 136
                                        Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 139 of 245
                                                Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 18 из 38


                                  1        1. Агентство Республики Казахстан по Регулированию и Развитию Финансового

                                  2             Рынка Начинает Преследование First Heartland Bank.

                                  3       62.     Начиная с января 2022 года и на момент подачи настоящего иска,

                                  4   Правительство Казахстана, различные правительственные и квазиправительственные

                                  5   учреждения включительно, распорядилось провести не менее 11 необоснованных и

                                  6   незаконных расследований, запросов или проверок по отношению к First Heartland Bank,

                                  7   косвенной дочерней компании Jysan Holding. Данные незаконные действия начались

                                  8   как завуалированные попытки помочь Банку в соблюдении нормативных требований,

                                  9   но вскоре стало понятно, что это очевидные ― а иногда и явно незаконные ― попытки

                                 10   принудить к незаконным платежам в пользу Правительства Казахстана и частных лиц.

                                 11       63.     В частности, начиная примерно с 11 января 2022 года представители

                                 12   АРРФР     назначили   пять   агентов   для    постоянного   наблюдения    за   Банком.
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13   Вышеуказанное     наблюдение    представляет     собой   необоснованное    вторжение,

                                      выходящее далеко за рамки ранее проводимого мониторинга Банка и стандартного
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15   мониторинга других банков, которые АРРФР обычно проводит.

                                 16       64.     В контексте данного наблюдения представители АРРФР завалили Банк

                                 17   обширными и назойливыми запросами информации по всем аспектам деятельности

                                 18   Банка. Запросы были с неоправданно сжатыми сроками исполнения, что вынудило

                                 19   сотрудников Банка заниматься запросом АРРФР, вместо обычных деловых операций.

                                 20       65.     В дополнение к круглосуточному наблюдению, АРРФР установило

                                 21   ограничительные пороговые показатели для всех транзакций, проводимых сторонами,

                                 22   имеющими отношение к Банку. Ограничения, которые действуют на дату подачи

                                 23   данного иска, настолько драконовские, что для проведения любой транзакции с

                                 24   участием Jusan Group требуются предварительные одобрения от АРРФР и АФМ.

                                 25       66.     АРРФР, в свою очередь, необоснованно отказывает в одобрении мелких и

                                 26   крупных сделок.       Например, в соответствии с установленными пороговыми

                                 27   показателями для транзакций, АРРФР заблокировало банковские карты некоторых

                                 28
                                                                               18
                                                                                                                 Ex. Page No. 137
                                       Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 140 of 245
                                                Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 19 из 38


                                  1   сотрудников Банка, которые использовались для оплаты ежедневных расходов, а также

                                  2   заблокировало перевод в размере 4 миллионов долларов США со счета NGF в Банке на

                                  3   счет NGF в банке, находящемся в США.            Вышеуказанный платеж остается

                                  4   заблокированным, он в конечном итоге необходим для финансирования операционных

                                  5   расходов Назарбаев Университета и Назарбаев Интеллектуальные Школы. NGF с тех

                                  6   пор не может перевести никакие средства со своего счета в Банке. Сюда входят

                                  7   небольшие переводы на оплату собственной операционной деятельности, а также

                                  8   платежи поставщикам, которые предоставляли услуги NGF для достижения целей

                                  9   основной миссии организации. Например, платежи NGF за юридические услуги, веб-

                                 10   дизайн, переводческие услуги, бухгалтерские и налоговые услуги были заблокированы.

                                 11   Примечательно, что NGF не было предоставлено никаких официальных объяснений,

                                 12   почему его переводы были заблокированы.
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13       67.    АРРФР пошло еще дальше и поручило Банку заморозить счета некоторых

                                      сотрудников Банка и их родственников на неопределенный срок и без каких-либо
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15   обоснований.

                                 16       68.    АРРФР не желает документировать свои действия в письменном виде.

                                 17   Когда Агентство Республики Казахстан по регулированию и развитию финансового

                                 18   рынка одобряет транзакцию, оно настаивает на том, чтобы одобрение было сделано в

                                 19   устной форме.   Когда АРРФР отказывает в транзакции, оно не предоставляет ни

                                 20   письменно, ни устно никаких объяснений того, почему транзакция была отклонена.

                                 21       69.    Данные действия привели к снижению экономической деятельности Банка

                                 22   и к потере многих постоянных клиентов.       Потеря Банком клиентов и бизнеса

                                 23   значительно повлияла на Истцов, чье финансирование деятельности и выполнение

                                 24   обязательств перед NGF зависят от выплат им дивидендов Банком.

                                 25       70.    АРРФР заявило, что целью наблюдения было обеспечение соблюдения

                                 26   Банком недавно обновленных правил по борьбе с отмыванием денег. Но ясно, что это

                                 27   было предлогом. На самом деле, такого «содействия» не получал ни один другой банк.

                                 28
                                                                             19
                                                                                                              Ex. Page No. 138
                                        Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 141 of 245
                                                  Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 20 из 38


                                  1   Вместо      этого   АРРФР     инициировало      широкую       кампанию      запугивания,

                                  2   скоординированную с несколькими государственными учреждениями и частными

                                  3   лицами, и направленную на то, чтобы помешать Банку вести обычную коммерческую

                                  4   деятельность и, в свою очередь, заставить Jusan Group передать средства и контроль над

                                  5   активами Правительству Казахстана и причастным с ним.

                                  6        2. Агентство по Финансовому Мониторингу Республики Казахстан Начало

                                  7              Предварительное Расследование в Отношении First Heartland Bank и Изъяло

                                  8              Документы.

                                  9        71.      В феврале 2022 года АФМ возбудило уголовное дело в отношении бывших

                                 10   должностных лиц АТФ Банка якобы в связи с выдачей необслуживаемых кредитов в

                                 11   период с 2013 по 2016 г.

                                 12        72.      Но предмет расследования также оказался ложным предлогом. АФМ в
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13   процессе рассмотрения уголовного дела изъяло у Банка документацию, масштаб

                                      которой выходил далеко за рамки расследования предыдущих кредитов. Например,
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15   АФМ изъяло документы, связанные с приобретением АТФ Банка в 2020 году,

                                 16   информацию о дивидендах Банка после 2020 года и операциях по счетам должностных

                                 17   лиц банка, которые совершенно не связаны с предыдущими кредитами АТФ Банка.

                                 18        3. Принадлежащие        Правительству     Организации     Предпринимают          Меры

                                 19              Неблагоприятного Воздействия Против First Heartland Bank.

                                 20        73.      В период с января по март 2022 года ряд организаций, принадлежащих

                                 21   Правительству, вывели все средства из Банка по директиве от Правительства

                                 22   Казахстана.      Это привело к значительному оттоку капитала из Банка.                  Ряд

                                 23   принадлежащих Правительству организаций включает, но не ограничивается: Фонд

                                 24   развития     предпринимательства   «Даму»;     Казахтелеком    и   Кселл,   крупнейшая

                                 25   телекоммуникационная компания и основной оператор сотовой связи в Казахстане; и

                                 26   Самрук-Казына, суверенный фонд благосостояния Казахстана, владеющий долями в

                                 27

                                 28
                                                                                20
                                                                                                                    Ex. Page No. 139
                                       Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 142 of 245
                                                 Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 21 из 38


                                  1   национальной железнодорожной и почтовой службе, а также в государственных

                                  2   газовых и нефтяных компаниях.

                                  3       74.     Более того, за этот период, все правительственные учреждения, в частности

                                  4   Министерство цифрового развития и Налоговый комитет, прекратили всякое

                                  5   сотрудничество,   имеющее     отношение    к   совместной    разработке    Банком       и

                                  6   Правительством продуктов «govtech».

                                  7       4. Агентство      Республики   Казахстан       по   Противодействию     Коррупции

                                  8             Возбуждает Фиктивное Уголовное Дело и Предпринимает Попытки

                                  9             Вымогательства.

                                 10       75.      В начале июня 2022 года Антикоррупционная служба начала намеренное

                                 11   уголовное расследование в отношении Банка в связи с его коммерческой покупкой

                                 12   Цеснабанка в 2019 году и последующими доходами.
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13       76.     По    имеющейся    информации      и   убеждениям,   толчком    к    этому

                                      расследованию послужило письмо бывшего владельца Цеснабанка, ответчика
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15   Адильбека Джаксыбекова, в котором он неправомерно использовал свои личные связи

                                 16   с руководством Антикоррупционной службы для принуждения к расследованию и с

                                 17   конечной целью вымогательства миллионов долларов у Банка.

                                 18       77.     Желание ответчика Джаксыбекова проводить уголовное расследование

                                 19   обусловлено обвинениями в том, что коммерческая покупка Банком Цеснабанка была

                                 20   какой-то незаконной, несмотря на тот факт, что и он, и Правительство Казахстана

                                 21   участвовали в покупке и/или руководили ею, и что покупка была вызвана близким

                                 22   крахом Цеснабанка который тогда был в его собственности.

                                 23       78.     Антикоррупционная служба, в рамках расследования предприняла крайне

                                 24   незаконные и произвольные меры принуждения, включая чрезмерные допросы

                                 25   сотрудников Банка, необоснованные обыски ключевого персонала и помещений Банка,

                                 26   а также ограничения передвижения для должностных лиц и сотрудников Jusan Group.

                                 27

                                 28
                                                                                21
                                                                                                                 Ex. Page No. 140
                                       Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 143 of 245
                                                Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 22 из 38


                                  1   По имеющейся информации и убеждениям, такие крайние меры принуждения были

                                  2   предприняты Антикоррупционной службой по просьбе г-на Джаксыбекова.

                                  3       79.    Кроме того, Антикоррупционная служба поручила АРРФР заблокировать

                                  4   все транзакции, включая выплату дивидендов Jusan Group. 7 октября 2022 года в

                                  5   АРРФР поступила корреспонденция от Антикоррупционной службы о том, чтобы

                                  6   «принять эффективные и комплексные меры по приостановке всех расходных

                                  7   (дебетовых) операций по выплате дивидендов Банком, FHS JSC, Jysan Technologies,

                                  8   Jysan Holding и [NGF] их акционерам и владельцам, а также любые другие платежные

                                  9   операции в рамках указанной группы компаний» и «приостановить действия по

                                 10   экспроприации акций Банка и FHS» на период рассмотрения уголовного дела. 8 октября

                                 11   2022 г. First Heartland Bank получил корреспонденцию от АРРФР за подписью

                                 12   Ответчика Кизатова, в которой тот подробно изложил инструкции для АРРФР от
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13   Антикоррупционной службы от 7 октября 2022 г.

                                          80.    Г-н Шигео Катсу, представляя Банк, присутствовал на встрече с
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15   Президентом Казахстана Касым-Жомартом Токаевым в июле 2022 года, в попытке

                                 16   положить конец необоснованному расследованию. Г-н Катсу ― Председатель Совета

                                 17   Директоров Банка и FHS. В ходе встречи Президент Токаев заявил, что ему известно о

                                 18   том, что Ответчик Джаксыбеков подал жалобу насчет приобретения Цеснабанка, и

                                 19   предложил г-ну Катсу заключить мировое соглашение с Ответчиком Джаксыбековым.

                                 20       81.    После этой встречи Ответчик Джаксыбеков пытался шантажировать г-на

                                 21   Катсу и Банк, намекая, что если Банк ему заплатит, то Антикоррупционная служба

                                 22   закроет расследование. Ответчик Джаксыбеков рекламировал свои личные связи с

                                 23   должностными лицами Антикоррупционной службы и требовал выплаты 60 миллионов

                                 24   тенге (приблизительно 130 миллионов долларов США) за неуказанный «ущерб».

                                 25       82.    Г-н Катсу отверг все попытки вымогательства у него и у Банка, отметив,

                                 26   что такой платеж без каких-либо доказательств или обоснования нарушит

                                 27

                                 28
                                                                             22
                                                                                                              Ex. Page No. 141
                                       Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 144 of 245
                                                 Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 23 из 38


                                  1   многочисленные законы о борьбе с коррупцией и что Jusan Group должна соблюдать все

                                  2   законы, в том числе законы Казахстана, Великобритании и Соединенных Штатов.

                                  3       5. Правительство          Казахстана     Пытается         Принудительно       Вернуть

                                  4             Государственную Помощь и Взять под Контроль FHS.

                                  5       83.      Растущие регулятивные притеснения со стороны Правительства Казахстана

                                  6   в первом квартале 2022 года вынудили г-на Катсу посетить серию дополнительных

                                  7   встреч с должностными лицами Правительства Казахстана, чтобы добиться

                                  8   прекращения незаконной кампании со стороны Правительства.

                                  9       84.      В ходе этих встреч должностные лица Правительства Казахстана, в том

                                 10   числе представители АРРФР и премьер-министр Казахстана Алихан Смаилов, заявили,

                                 11   что Банку запрещено выплачивать дивиденды до тех пор, пока Банк не возвратит

                                 12   государственную помощь, оказанную Цеснабанку и АТФ Банку.
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13       85.      Упоминаний о таких ограничениях не имелось ни в одном применимом

                                      законе или договоре, и об этом, конечно же, известно Правительству.                 Такие
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15   ограничения никогда не обсуждались ранее, в том числе при выплате дивидендов

                                 16   Банком в декабре 2021 года.

                                 17       86.      Кроме того, Правительство Казахстана разрешило другим финансовым

                                 18   учреждениям     объявлять     дивиденды    без   каких-либо    проблем,   несмотря       на

                                 19   предварительную государственную помощь.          Например, Halyk Bank, Kaspi Bank и

                                 20   Сбербанку Казахстана было разрешено выплачивать дивиденды, несмотря на получение

                                 21   ими значительной государственной поддержки в течение нескольких лет без

                                 22   предварительного полного погашения кредитов.

                                 23       87.      Тем не менее, АРРФР продолжает заявлять, что будет блокировать любые

                                 24   выплаты дивидендов, и угрожает посадить в тюрьму любого сотрудника Jusan Group,

                                 25   который будет проводить выплату дивидендов.

                                 26       88.      Кроме того, г-н Сулейменов встретился с официальными лицами Jusan

                                 27   Group в сентябре 2022 года и потребовал, чтобы право собственности на Jusan Group

                                 28
                                                                                 23
                                                                                                                    Ex. Page No. 142
                                        Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 145 of 245
                                                  Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 24 из 38


                                  1   было отобрано у компаний США и Великобритании и передано Казахстану. Во время

                                  2   одной из таких встреч г-н Сулейменов заявил, что участвует в качестве представителя

                                  3   и по указанию президента Токаева, и пригрозил Jusan Group дополнительными

                                  4   действиями Правительства в связи с отсутствием граждан Казахстана в Советах

                                  5   директоров NGF и Jysan Holding. На этой встрече г-н Сулейменов также потребовал,

                                  6   чтобы контроль над FHS (и соответственно над Банком) был передан неуказанным

                                  7   казахстанским гражданам. Он не предоставил никакого юридического обоснования

                                  8   своих требований, да и не мог.

                                  9        6. Правительство Казахстана Принимает Меры в Отношении Сотрудников

                                 10              Jusan Group.

                                 11        89.      По имеющейся информации и убеждениям, в контексте переговоров между

                                 12   Правительством Казахстана и Jusan Group в первом квартале 2022 года, Правительство
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13   оказало давление на аудиторов Jusan Group, чтобы они придержали аудиторские отчеты

                                      до возврата всех акционных и опционных соглашений от сотрудников Jusan Group.
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15   Правительство также пригрозило возбудить уголовное дело по невозвращенным

                                 16   опционам.

                                 17        90.      Продолжающиеся переговоры и угроза уголовного преследования привели

                                 18   к принудительной сдаче вышеуказанных активов, которыми владели сотрудники Jusan

                                 19   Group.

                                 20        91.      Вынужденный возврат опционов привел к значительным личным потерям

                                 21   персонала Jusan Group в размере десятков миллионов долларов, что усугубило личные

                                 22   убытки, связанные с указаниями Банку заморозить счета определенных сотрудников

                                 23   Банка и их родственников от АРРФР.

                                 24        92.      Например, один член руководства Jusan Group, который на данный момент

                                 25   является постоянным резидентом США, был вынужден вернуть свой опцион на 4,62 %

                                 26   акций JTL, балансовая стоимость которых превышает 73 миллиона долларов США по

                                 27   состоянию на май 2022 года. Правительство также угрожало тому же члену заочным

                                 28
                                                                               24
                                                                                                               Ex. Page No. 143
                                        Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 146 of 245
                                                 Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 25 из 38


                                  1   судом и тюремным заключением, если сотрудник предпримет какие-либо действия,

                                  2   противодействующие правительству Казахстана в усилиях по конфискации имущества

                                  3   Jusan Group и ее сотрудников.

                                  4        93.    Г-н Сулейменов, в частности, интересовался возвратом акций и опционов в

                                  5   ходе последующих переговоров в сентябре 2022 года, подтверждая тем самым, что

                                  6   вымогательство поддерживается Правительством.

                                  7        7. АРРФР Незаконно Вмешивается в Выплату Дивидендов FHS.

                                  8        94.    6 октября 2022 года FHS объявила дивиденды и потребовала, чтобы Банк

                                  9   включил объявление дивидендов во внеочередное общее собрание. Это заявление и

                                 10   запрос юридически обязывали Банк в соответствии с его письменной политикой и

                                 11   руководящими документами выплачивать дивиденды FHS.               Значительная часть

                                 12   дивидендов, причитающихся FHS, является конечной собственностью Jysan Holding и,
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13   в свою очередь, будет причитаться Jysan Holding в соответствии с внутригрупповыми

                                      положениями и соглашениями.
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15        95.    7 октября 2022 года АРРФР заблокировало осуществление FHS и Банком

                                 16   этой и других выплат дивидендов на общую сумму около 387 миллионов долларов

                                 17   США, а также осуществление других платежных операций Банка его прямым и

                                 18   косвенным материнским компаниям.

                                 19        96.    Ответчики Кизатов и Омарбеков, представители АРРФР, звонили

                                 20   представителям Банка в октябре 2022 года по поводу данных заблокированных

                                 21   платежей. Во время разговора с Главным специалистом Банка по комплаенсу г-жой

                                 22   Ардак Мукашевой Ответчик Омарбеков повторил утверждения, сделанные на

                                 23   предыдущих встречах между представителями Банка и Правительства, заявив, что

                                 24   средства    Банка   принадлежат    Правительству    Казахстана,     пригрозив,      что

                                 25   правоохранительные органы готовятся к задержанию и допросу сотрудников Банка и

                                 26   связанных с Банком организаций.

                                 27

                                 28
                                                                              25
                                                                                                                Ex. Page No. 144
                                        Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 147 of 245
                                                  Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 26 из 38


                                  1        97.      Ответчик Омарбеков снова позвонил в Банк 8 октября 2022 года, утверждая,

                                  2   что АРРФР получило письмо от неназванного правоохранительного органа,

                                  3   предписывающее АРРФР заблокировать все выплаты дивидендов от Банка.

                                  4        8. АФМ Незаконно Вмешивается в Выплату Дивидендов FHS.

                                  5        98.      13 октября 2022 г. АФМ направило в Банк письмо, в котором неверно

                                  6   утверждалось, что Банк получил 1,5 трлн тенге от правительства Казахстана на

                                  7   льготных условиях и каким-то образом не выполнил свои обязательства по этому

                                  8   «долгу». В письме АФМ утверждало, что приостанавливает способность Банка

                                  9   выплачивать дивиденды акционерам и требует, чтобы Банк предоставлял уведомления

                                 10   АФМ прежде, чем будет проводить дальнейшие выплаты дивидендов.

                                 11        9. Предложенные Правительством «Оправдания» Непостоянны, Противоречивы

                                 12              и Безосновательны.
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13        99.      На протяжении всей этой кампании Правительство приводило различные

                                      «оправдания» своих действий, ни одно из которых не оправдывает незаконные действия
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15   Правительства против Jusan Group.

                                 16        100.     Когда АРРФР усилило надзор за First Heartland Bank, «оправданием» было

                                 17   обеспечение соблюдения банком недавно обновленных правил по борьбе с отмыванием

                                 18   денег.

                                 19        101.     Когда АФМ возбудило уголовное дело против бывших должностных лиц

                                 20   АТФ Банка, «оправданием» было расследование выдачи проблемных кредитов в период

                                 21   с 2013 по 2016 г.

                                 22        102.     В конце концов, Правительство определилось с единым оправданием:

                                 23   уголовное расследование Антикоррупционной службой и блокирование АРРФР и АФМ

                                 24   выплат дивидендов каким-то образом «обоснованы» коммерческой покупкой

                                 25   Цеснабанка и АТФ Банка First Heartland Bank. Разумеется, это «оправдание» столь же

                                 26   беспочвенно, как и все его предшественники, поскольку ключевые участники кампании

                                 27   по травле Банка были одновременно архитекторами Рамочных соглашений.

                                 28
                                                                                 26
                                                                                                                  Ex. Page No. 145
                                        Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 148 of 245
                                                    Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 27 из 38


                                  1   Действительно, Банк ранее выплачивал дивиденды без возражений со стороны

                                  2   Правительства Казахстана, в том числе совсем недавно, в декабре 2021 года.

                                  3          103.    По имеющейся информации и убеждениям, намерение Ответчиков

                                  4   состояло в том, чтобы воспрепятствовать выводу дивидендных средств за пределы

                                  5   Казахстана — и, следовательно, за пределы контроля Правительства — в пользу Истцов,

                                  6   поскольку Ответчики знают, что дивидендные средства предназначены для блага и

                                  7   причитаются Истцам JTL, Jysan Holding и, в конечном счете, NGF.

                                  8   E. Правительство Принимает Ответные Меры Против Истцов После Провала

                                  9   Переговоров.

                                 10          10. Истцы уведомляют Ответчиков о Намерении Защищать Свои Права,и

                                 11             Стороны Ведут Безуспешные Переговоры.

                                 12          104.    В последней отчаянной попытке разрешить спор без вмешательства суда
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13   Истцы уведомили Ответчиков о своем намерении подать иск в Неваде. Весь ноябрь

                                      стороны, включая адвокатов сторон, проводили серию неофициальных переговоров.
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15   Эти переговоры не увенчались успехом и были частью тактики проволочек, которые

                                 16   Ответчики проводили, чтобы подготовить коррумпированных законодателей и агентств

                                 17   к нападению на Истцов.

                                 18          105.    С тех пор кампания преследования Ответчиков только усилилась, что было

                                 19   явной местью за то, что Истцы сообщили Ответчикам о своем намерении подать данный

                                 20   иск.

                                 21          11. Ответчики     Принимают     Ответные     Меры    Против    Истцов,        Вводя

                                 22             Законодательство, Направленное Против Jusan Group.

                                 23          106.    Через день после переизбрания Президента Токаева, 22 ноября 2022 года,

                                 24   Мажилис, нижняя палата Парламента Казахстана, одобрил законопроект с внесением

                                 25   изменений в Закон «О банках и банковской деятельности в Республике Казахстан».

                                 26   Предлагаемые поправки были направлены на Истцов и должны были, в частности, (1)

                                 27   изменить определения «банковского холдинга» и «крупного участника банка» таким

                                 28
                                                                                 27
                                                                                                                   Ex. Page No. 146
                                       Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 149 of 245
                                                 Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 28 из 38


                                  1   образом, чтобы некоммерческие организации, такие как NGF, не смогли прямо или

                                  2   косвенно владеть банками; (2) ввести ограничения для банков, получивших

                                  3   государственную помощь, таких как First Heartland Bank, чтобы не допустить

                                  4   распределения ими дивидендов, в том числе путем разрешения АРРФР блокировать

                                  5   данные дивиденды; и (3) требовать, чтобы все крупные прямые и косвенные акционеры

                                  6   и контролирующие организации банков подали заявки и получили одобрение от АРРФР

                                  7   в течение 30 дней с даты публикации поправок.

                                  8       107.    Верхняя палата парламента Казахстана, Сенат, впоследствии утвердила

                                  9   поправки, позволяющие АРРФР блокировать дивиденды от банков, получивших

                                 10   государственную помощь, и требующие одобрения АРРФР для крупных прямых и

                                 11   косвенных акционеров и контролирующих организаций банков, в то же время отклонив

                                 12   предложенную поправку, запрещающую некоммерческим организациям владеть
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13   банками, за отсутствием оснований.

                                          108.    Эти   поправки, вступившие в силу 1 января 2023 года, позволят
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15   Правительству заблокировать дивиденды, на которые Истцы имеют право, и даже

                                 16   запретить Истцам владеть долями в Банке. В соответствии с поправками JTL, Jysan

                                 17   Holding и NGF должны будут получить и представить в АРРФР кредитные рейтинги,

                                 18   аудированную финансовую отчетность, а также соответствующие нотариальные

                                 19   заверения и апостили из несколько юрисдикций в течение 30 дней, что просто

                                 20   невозможно. Кроме того, если эти организации останутся основными акционерами

                                 21   Банка без одобрения АРРФР, АРРФР может потребовать, чтобы они уменьшили свою

                                 22   косвенную долю владения до уровня ниже 25 % и приостановили все операции между

                                 23   ними и Банком; установили доверительное управление акциями Банка на срок до трех

                                 24   месяцев; и в конечном итоге обеспечили отчуждение акций Банка, продав их на рынке

                                 25   ценных бумаг. Нельзя представить более явного случая незаконного захвата

                                 26   активов, находящихся под контролем граждан Невады.

                                 27

                                 28
                                                                              28
                                                                                                             Ex. Page No. 147
                                       Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 150 of 245
                                                 Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 29 из 38


                                  1       109.     По крайней мере, один член Мажилиса публично заявил, что эти поправки

                                  2   явно нацелены на акционеров First Heartland Bank и блокируют рассматриваемые здесь

                                  3   дивиденды.

                                  4       110.     Учитывая отсрочку до следующего дня после переизбрания Президента

                                  5   Токаева, Правительство четко обозначило цели и намерения своей кампании ―

                                  6   остановить вывод средств в виде дивидендов за пределы Казахстана, принудить группу

                                  7   Jusan Group к передаче средств и контроля над активами Правительству Казахстана и

                                  8   его аффилированным лицам, а также принять ответные меры против Jusan Group за

                                  9   попытку защиты своих прав в американском суде.

                                 10       12. Ответчики Принимают Ответные Меры Против Истцов, Подав Против Них

                                 11           Иск в Казахстане.

                                 12       111.     2 декабря 2022 года Генеральная прокуратура Казахстана возбудила иск
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13   против многочисленных участников Jusan Group, включая Истцов, и сотрудников Jusan

                                      Group, среди которых г-н Катсу и сотрудник, которому ранее угрожали лишением
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15   свободы.     Генеральный прокурор подчиняется непосредственно Президенту и

                                 16   представляет интересы Правительства Казахстана в суде.

                                 17       112.     Иск был направлен на то, чтобы добиться через суд именно того, что

                                 18   Ответчики пытались добиться через их кампанию преследования — ослабить Jusan

                                 19   Group и ограничить ее доступ к собственному капиталу.

                                 20       113.     В частности, иск был направлен на признание недействительным

                                 21   соглашения между двумя членами Jusan Group — JTL и Pioneer Capital Invest LLP

                                 22   (далее — «Pioneer»). Аннулирование этого соглашения аннулировало бы долю

                                 23   собственности NGF в JTL и, следовательно, лишило бы NGF доступа к дивидендам и

                                 24   распределениям от бизнеса и операций JTL и ее холдингов, включая FHS и Банк. В иске

                                 25   также содержалось требование о возврате активов и денежных средств на миллионы

                                 26   долларов (USD) от JTL компании Pioneer, акции JTL в Банке включительно. Активы и

                                 27   средства, о которых идет речь, были должным образом переведены в JTL по

                                 28
                                                                              29
                                                                                                               Ex. Page No. 148
                                        Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 151 of 245
                                                 Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 30 из 38


                                  1   соглашению, которое Правительство пыталось аннулировать. Пытаясь перевести

                                  2   активы и средства из JTL Истца в казахстанскую компанию Pioneer, правительство

                                  3   вмешивается в активы Jusan Group и пытается перевести их в Казахстан, где

                                  4   правительство сможет осуществлять больший контроль. И последнее, иск требовал,

                                  5   чтобы все названные сотрудники Jusan Group сдали свои доли в Банке.

                                  6       114.    Казахстанский суд быстро отклонил иск Генерального прокурора на

                                  7   основании того, что требования не имеют доказательств. Это решительное отклонение

                                  8   необоснованного иска Генерального прокурора еще раз свидетельствует о вопиющем

                                  9   злоупотреблении Правительством возможностями государственного аппарата для

                                 10   преследования Jusan Group.

                                 11       13. Государственные чиновники Казахстана угрожают «войной» сотрудникам

                                 12           Jusan Group.
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13       115.    20 декабря 2022 года премьер-министр Казахстана Алихан Смаилов

                                      направил сообщение тому же сотруднику Jusan Group, резиденту США, которому ранее
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15   угрожало тюремное заключение, с требованием вернуть Jusan Group в Казахстан и

                                 16   пригрозив «войной», если требования Правительства не будут выполнены.

                                 17       14. Ответчики переделывают свой ранее отклоненный иск и повторно подают его

                                 18           в Казахстане.

                                 19       116.    10 февраля 2023 года Генеральная прокуратура Казахстана подала еще

                                 20   один иск против членов Jusan Group, оспаривая сделку 2020 года между JTL и Pioneer и

                                 21   добиваясь ареста определенного имущества группы Jusan Group. Хотя в этом иске

                                 22   приводятся несколько иные факты и иные основания иска, его цель та же, что и у иска,

                                 23   поданного и быстро отклоненного в декабре 2022 года, — пригрозить Jusan Group

                                 24   передачей контроля над ней Правительству.

                                 25       117.    Однако Правительство идет еще дальше в февральском иске и стремится

                                 26   конфисковать множество активов не только ответчиков по иску, но и Jusan Group в

                                 27

                                 28
                                                                              30
                                                                                                               Ex. Page No. 149
                                          Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 152 of 245
                                                   Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 31 из 38


                                  1   целом. Генпрокуратура добивается ареста долей Jusan Group более чем в десятке

                                  2   юридических лиц.

                                  3         118.    В очередной раз Генеральный прокурор потребовал, чтобы JTL вернула

                                  4   Pioneer миллионы долларов США в виде активов и денежных средств, которые были

                                  5   должным образом переведены в JTL. И снова результатом, если иск будет успешным,

                                  6   будет перемещение законно контролируемых активов Jusan Group в Казахстан, где

                                  7   Правительство сможет осуществлять больший контроль.

                                  8   F. Незаконная             Кампания    Правительства    Совпадает     с     Исторической

                                  9   Коррупционной Практикой

                                 10         119.    Действия Ответчиков согласуются с исторической коррупционной

                                 11   практикой в Казахстане, а также сообщениями о заметном росте коррупции в

                                 12   Казахстане в последние годы.
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13         120.    Например, в 2013 году арбитражная комиссия присудила молдавской

                                      компании возмещение убытков в размере 497 685 101 долларов США (плюс 50 %
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15   расходов на юридические услуги) за нарушение Правительством Казахстана Договора

                                 16   к    Энергетической        хартии ―   международного   соглашения,       устанавливающего

                                 17   трансграничное сотрудничество в энергетической промышленности. В этом деле

                                 18   использовалась тактика, поразительно похожая на ту, что применяется против Истцов.

                                 19   Там суд установил, что Казахстан нарушил право компании на справедливое и равное

                                 20   обращение в соответствии с Договором. В частности, компания утверждала, что

                                 21   Казахстан участвовал в кампании преследования, кульминацией которой стало

                                 22   расторжение контрактов на проведение поисково-разведывательных работ для добычи

                                 23   нефти    и     газа   и    конфискация   корпоративных   активов,    расположенных           в

                                 24   Казахстане. Сообщается, что кампания включала в себя тактику финансовой полиции

                                 25   Казахстана и семи квазигосударственных организаций и включала необоснованное

                                 26   замораживание активов компании, круглосуточное наблюдение и проверки со стороны

                                 27   должностных лиц государственных органов, которые препятствовали ведению

                                 28
                                                                                  31
                                                                                                                      Ex. Page No. 150
                                       Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 153 of 245
                                                 Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 32 из 38


                                  1   сотрудниками обычных деловых операций, необоснованное изъятие документов,

                                  2   незаконный арест и осуждение менеджера в стране, а также отмена ранее одобренных

                                  3   правительством разрешений и отказов.

                                  4       121.    Совсем недавно в СМИ отмечалось, что в 2022 году число случаев

                                  5   коррупции в Казахстане резко возросло, на целых 30 процентов. Индекс восприятия

                                  6   коррупции Transparency International ― наиболее широко используемый глобальный

                                  7   рейтинг коррупции в мире ― присвоил Казахстану худшие показатели по коррупции в

                                  8   государственном секторе в Восточной Европе и Центральной Азии, регионе со вторыми

                                  9   самыми низкими показателями в мире. Постоянная «серьезная проблема» коррупции,

                                 10   которая существует в Казахстане всесторонне описана в недавнем отчете,

                                 11   опубликованном Группой государств против коррупции, ― антикоррупционным

                                 12   органом Совета Европы. Экспертные оценки показывают, что прогресс Казахстана в
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13   антикоррупционных мерах в лучшем случае разрознен.

                                          122.    Cенаторы США в Комитете Сената по международным отношениям в
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15   октябре 2022 года призвали к «международному расследованию санкционированного

                                 16   государством насилия и пересмотру вопроса о предоставлении помощи США в области

                                 17   безопасности после общенациональных протестов в Казахстане» в начале этого года и

                                 18   жестокой реакции Казахстанских сил безопасности по отношению к гражданским

                                 19   протестующим.      В рамках расследования Сенаторы призвали Государственный

                                 20   департамент США пересмотреть свои отношения с Казахстаном, чтобы «уделить

                                 21   приоритетное внимание защите основных свобод и укреплению верховенства права».

                                 22   G. Незаконная Кампания Правительства, а именно Блокирование Выплаты

                                 23   Дивидендов, Наносит Конкретный Ущерб Деятельности Jusan Group.

                                 24       123.    Неудивительно   и,   предположительно    в   соответствии   с     планами

                                 25   Правительства, кампания Правительства, включая, прежде всего, блокирование

                                 26   примерно 387 миллионов долларов США в виде дивидендов, наносит значительный,

                                 27   непосредственный и конкретный ущерб деятельности Истцов.

                                 28
                                                                             32
                                                                                                                  Ex. Page No. 151
                                        Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 154 of 245
                                                  Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 33 из 38


                                  1        124.    Истцы не могут получить дивидендное финансирование от их дочерних

                                  2   компаний, связанных с Банком, ― основного источника финансирования, а также не

                                  3   могут выполнить обязательство по предоставлению дивидендного финансирования их

                                  4   материнским организациям.          В свою очередь, NGF не может переводить или

                                  5   использовать собственные средства на собственных банковских счетах или получать

                                  6   законно выплаченные дивиденды для выполнения своей единственной миссии:

                                  7   финансирования Назарбаев Университета и Nazarbayev Intellectual Schools. В конечном

                                  8   счете, замораживая средства Jusan Group, Правительство лишает Назарбаев

                                  9   Университет и Nazarbayev Intellectual Schools необходимых ресурсов, чем наносит

                                 10   ущерб студентам, исследователям и преподавателям Назарбаев Университета и

                                 11   Nazarbayev Intellectual Schools.

                                 12        125.    Кроме того, в августе 2022 года Истец JTL заявил о своем намерении
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13   выкупить акции JTL на сумму 20 миллионов долларов США у инвестора.                Из-за

                                      заблокированных выплат дивидендов JTL не может осуществить выкуп.
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15             ПЕРВОЕ ОСНОВАНИЕ ДЛЯ УДОВЛЕТВОРЕНИЯ ИСКА
                                           (ЭКСПРОПРИАЦИЯ В НАРУШЕНИЕ МЕЖДУНАРОДНОГО ПРАВА)
                                 16
                                        (против Ответчика Республики Казахстан и Ответчиков правительственных
                                 17                                  учреждений)

                                 18        126.    Истцы приводят и повторно утверждают вышеизложенное, как если бы

                                 19   утверждалось здесь.

                                 20        127.    Как материнские корпорации и акционеры First Heartland Securities и First

                                 21   Heartland Bank, Истцы имеют прямые имущественные интересы в своих правах на

                                 22   получение объявленных дивидендов от дочерних компаний.

                                 23        128.    Своим поведением, заявленным выше, в том числе воспрепятствованием

                                 24   дочерним компаниям Истцов в выплате законно объявленных дивидендов их

                                 25   иностранным акционерам и прямой направленностью своего поведения на достижение

                                 26   такого результата, Ответчик Республика Казахстан и его учреждения экспроприировали

                                 27   и захватили имущество Истцов в нарушение международного права.

                                 28
                                                                                33
                                                                                                                 Ex. Page No. 152
                                        Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 155 of 245
                                                  Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 34 из 38


                                  1        129.    Ответчик Правительство Казахстана и его учреждения также нарушили

                                  2   существующее международное право, экспроприировав и конфисковав аналогичные

                                  3   имущественные права, принадлежащие First Heartland Securities и First Heartland Bank,

                                  4   действуя с дискриминационной целью причинить вред иностранным акционерам

                                  5   вышеуказанных корпораций.

                                  6                 ВТОРОЕ ОСНОВАНИЕ ДЛЯ УДОВЛЕТВОРЕНИЯ ИСКА
                                                    (18 U.S.C. § 1964(c)) (против Индивидуальных Ответчиков)
                                  7
                                           130.    Истцы приводят и повторно утверждают вышеизложенное, как если бы
                                  8
                                      утверждалось здесь.
                                  9
                                           131.    Индивидуальные Ответчики фактически действуют как совместное
                                 10
                                      предприятие, участвующее в торговле между штатами, их деятельность влияет на
                                 11
                                      торговлю между штатами, а также они управляли и участвовали в управлении
                                 12
                                      дополнительными       предприятиями,   среди   них   Правительство     ответчика       и
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13
                                      правительственные учреждения.
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14
                                           132.    Индивидуальные Ответчики согласовали между собой, осуществляли
                                 15
                                      действия и участвовали в деятельности предприятия путем периодического рэкета,
                                 16
                                      осуществляя незаконные преднамеренные вымогательства у Истцов, конечной целью
                                 17
                                      которых было получение личной выгоды.
                                 18
                                           133.    Индивидуальные Ответчики согласовали между собой, осуществляли
                                 19
                                      действия и участвовали в деятельности предприятия путем периодического рэкета,
                                 20
                                      осуществляя незаконные преднамеренные вымогательства у Jusan Group.
                                 21
                                           134.    Индивидуальные Ответчики прямо и косвенно осуществляли действия и
                                 22
                                      участвовали в деятельности предприятия путем периодического рэкета и ведя
                                 23
                                      деятельность, описанную выше, в нарушение 18 U.S.C. § 1962(c).
                                 24
                                           135.    Прямым и непосредственным результатом деятельности Индивидуальных
                                 25
                                      Ответчиков по вымогательству и в нарушение 18 U.S.C. § 1962(c) стало то, что бизнесу
                                 26
                                      и имуществу Истцов был нанесен ущерб.
                                 27

                                 28
                                                                               34
                                                                                                                Ex. Page No. 153
                                        Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 156 of 245
                                                   Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 35 из 38


                                  1               ТРЕТЬЕ ОСНОВАНИЕ ДЛЯ УДОВЛЕТВОРЕНИЯ ИСКА
                                            (Нев. Рев. Стат. § 207.470) (против всех Индивидуальных Ответчиков)
                                  2
                                           136.     Истцы приводят и повторно утверждают вышеизложенное, как если бы
                                  3
                                      утверждалось здесь.
                                  4
                                           137.     Индивидуальные Ответчики совершили как минимум два различных
                                  5
                                      преступления, связанных с рэкетом, в соответствии с определением в Nev. Rev. Stat. §
                                  6
                                      207.360, представляющий собой рэкет в соответствии с Nev. Rev. Stat. § 207.390.
                                  7
                                           138.     Ответчики принимали прямое и косвенное участие в деятельности
                                  8
                                      предприятия, действия которого представляют собой рэкет, в нарушение Нев. Рев. Стат.
                                  9
                                      § 207.400.
                                 10
                                           139.     Бизнесу и имуществу Истцов был причинен вред в связи с нарушениями
                                 11
                                      Ответчиков.
                                 12
                                              ЧЕТВЕРТОЕ ОСНОВАНИЕ ДЛЯ УДОВЛЕТВОРЕНИЯ ИСКА
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13       (НАМЕРЕННОЕ ВМЕШАТЕЛЬСТВО В ДОГОВОРНЫЕ ОТНОШЕНИЯ)
                                                           (против всех Ответчиков)
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14
                                           140.     Истцы приводят и повторно утверждают вышеизложенное, как если бы
                                 15
                                      утверждалось здесь.
                                 16
                                           141.     Между First Heartland Bank и First Heartland Securities, First Heartland
                                 17
                                      Securities и JTL, JTL и Jysan Holding, Jysan Holding и NGF существуют и действуют
                                 18
                                      межфирменные соглашения.         Каждое из межфирменных соглашений дает право
                                 19
                                      материнской компании на выплату дивидендов от ее дочерней компании. Jysan Holding
                                 20
                                      и JTL являются сторонами этих соглашений, или сторонними бенефициарами в случае
                                 21
                                      соглашений, стороной которых Jysan Holding и/или JTL не являются.
                                 22
                                           142.     Каждый из Ответчиков знает о вышеупомянутых соглашениях и совершил
                                 23
                                      преднамеренные действия, направленные на нарушение данных отношений. Действия
                                 24
                                      Ответчиков привели к фактическому нарушению каждого соглашения, результатами
                                 25
                                      данных нарушений стало причинение Jysan Holding и JTL убытков.
                                 26

                                 27

                                 28
                                                                                 35
                                                                                                                  Ex. Page No. 154
                                       Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 157 of 245
                                                 Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 36 из 38


                                  1           ПЯТОЕ ОСНОВАНИЕ ДЛЯ УДОВЛЕТВОРЕНИЯ ИСКА
                                                     (НАМЕРЕННОЕ ВМЕШАТЕЛЬСТВО
                                  2   ДЛЯ ИЗВЛЕЧЕНИЯ ЭКОНОМИЧЕСКОЙ ВЫГОДЫ) (против всех Ответчиков)
                                  3       143.    Истцы приводят и повторно утверждают вышеизложенное, как если бы
                                  4   утверждалось здесь.
                                  5       144.    После получения заблокированных дивидендов от Банка, FHS планировала
                                  6   выплатить все или часть заблокированных дивидендов компании JTL, затем JTL
                                  7   планировала выплатить все заблокированные дивиденды или их часть компании Jysan
                                  8   Holding, которая должна была выплатить все или часть заблокированных дивидендов
                                  9   своей материнской компании NGF, за вычетом разумных операционных расходов.
                                 10   Каждый из Ответчиков знает о конечной цели использования заблокированных
                                 11   дивидендов и совершил преднамеренные действия, направленные на то, чтобы сорвать
                                 12   выплату дивидендов Истцам и выплату дивидендов в пользу NGF. Действия ответчиков
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13   привели к фактическому нарушению процессов осуществления дивидендов и
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14   причинили Jysan Holding и JTL убытки, вытекающие в результате данного нарушения.
                                 15       145.    Поведение Ответчиков было неоправданным и необоснованным. Нет таких
                                 16   соглашений или законов, которые бы предусматривали права вмешательства или
                                 17   воспрепятствования выплате дивидендов в связи с выплатой Государством финансовой
                                 18   помощи Цеснабанку и АТФ Банку. В результате действий Ответчиков Истцы и их
                                 19   аффилированные лица не получили средства, необходимые для выполнения своих
                                 20   основных функций и задач, включая финансирование NGF, Nazarbayev Intellectual
                                 21   Schools и Назарбаев Университета.
                                 22               ШЕСТОЕ ОСНОВАНИЕ ДЛЯ УДОВЛЕТВОРЕНИЯ ИСКА
                                 23                (ГРАЖДАНСКИЙ ЗАГОВОР) (против всех Ответчиков)
                                          146.    Истцы приводят и повторно утверждают вышеизложенное, как если бы
                                 24
                                      утверждалось здесь.
                                 25
                                          147.    Ответчики действовали в сговоре, чтобы достичь их незаконной цели, с
                                 26
                                      намерениями причинить вред Jusan Group, Истцам включительно.
                                 27

                                 28
                                                                             36
                                                                                                             Ex. Page No. 155
                                       Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 158 of 245
                                                  Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 37 из 38


                                  1       148.     Jusan Group, Истцы включительно, понесли убытки в результате действий

                                  2   Ответчиков по достижению целей сговора.

                                  3       149.     Ответчики несут солидарную ответственность за ущерб, понесенный

                                  4   Истцами в результате каждого действия, предпринятого каждым Ответчиком в рамках

                                  5   сговора Ответчиков.

                                  6           СЕДЬМОЕ ОСНОВАНИЕ ДЛЯ УДОВЛЕТВОРЕНИЯ ИСКА
                                          (ГРАЖДАНСКАЯ ПОМОЩЬ И ПОДСТРЕКАТЕЛЬСТВО) (против всех
                                  7
                                                              Ответчиков)
                                  8       150.     Истцы приводят и повторно утверждают вышеизложенное, как если бы
                                  9   утверждалось здесь.
                                 10       151.     Каждый Ответчик существенно помогал и поощрял поведение других
                                 11   Ответчиков в нарушении обязанностей перед Истцами, включая деликтные обязанности
                                 12   и установленные законом обязанности, как указано выше.
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13       152.     Нарушения со стороны Ответчиков нанесли ущерб Jusan Group, Истцам
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14   включительно.
                                 15       153.     Каждый Ответчик несет ответственность в соответствии с теорией
                                 16   гражданского     пособничества   и   подстрекательства   за   ущерб,   причиненный
                                 17   нарушениями, которым они существенно содействовали и поощряли.
                                 18          ХОДАТАЙСТВО О ПРЕДОСТАВЛЕНИИ СУДЕБНОЙ ЗАЩИТЫ
                                 19       154.     Истцы приводят и повторно утверждают вышеизложенное, как если бы
                                 20   утверждалось здесь, и почтительно просят Суд:
                                 21          a)    Заявить, что поведение Ответчиков нанесло незаконный ущерб Истцам, и не
                                 22          подлежит каким-либо законным привилегиям или оправданиям;
                                 23          b)    Присудить Истцам компенсацию и штрафные санкции в размере, который
                                 24          будет определен на слушании, включая тройную сумму возмещения убытков и
                                 25          гонорары адвокатов в соответствии с 18 U.S.C. § 1964(c);
                                 26          c)    Присудить Истцам издержки и расходы, включая гонорары адвокатов; а
                                 27          также
                                 28
                                                                               37
                                                                                                               Ex. Page No. 156
                                      Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 159 of 245
                                                Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 38 из 38


                                  1        d)    Присудить Истцам дополнительное средство правовой защиты, оправданное

                                  2        обстоятельствами.

                                  3
                                      ИСКОВОЕ ЗАЯВЛЕНИЕ О РАССМОТРЕНИИ ДЕЛА СУДОМ ПРИСЯЖНЫХ
                                  4
                                       Истцы требуют рассмотрения дела судом присяжных по всем спорным вопросам.
                                  5

                                  6    ОТ 16 февраля 2023 г.
                                                                              HOLLAND & HART LLP
                                  7
                                                                               /подпись/ J. Stephen Peek
                                  8
                                                                              J. Stephen Peek/ Дж. Стивен Пик
                                                                              Erica C. Medley/ Эрика С. Медли
                                  9
                                                                              9555 Hillwood Drive, 2nd Floor
                                                                              Las Vegas, NV 89134
                                 10

                                 11
                                                                              Tariq Mundiya/ Тарик Мундия
                                                                              (pro hac vice будет предоставлено
                                 12
                                                                              позднее)
                                                                              Jeffrey B. Korn/ Джеффри Б. Корн
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13
                                                                              (pro hac vice будет предоставлено
                                                                              позднее)
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14
                                                                              WILLKIE FARR & GALLAGHER LLP
                                                                              787 Seventh Avenue
                                 15
                                                                              New York, New York 10019
                                 16
                                                                              Michael J. Gottlieb/ Майкл Дж. Готлиб
                                                                              (pro hac vice будет предоставлено
                                 17
                                                                              позднее)
                                                                              WILLKIE FARR & GALLAGHER LLP
                                 18
                                                                              1875 K Street, NW
                                                                              Washington, DC 20006
                                 19
                                                                              Адвокаты Истцов
                                 20
                                                                              Jysan Holding, LLC; и
                                                                              Jusan Technologies Ltd.
                                 21

                                 22

                                 23

                                 24

                                 25

                                 26

                                 27

                                 28
                                                                            38
                                                                                                             Ex. Page No. 157
                                  Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 160 of 245
                                                 Дело 2:23-cv-00247 Документ 1-1 Подано 16.02.23 Стр. 1 из 3
                                                       ТИТУЛЬНЫЙ ЛИСТ ГРАЖДАНСКОГО ДЕЛА
Титульный лист гражданского дела JS 44 и информация, содержащаяся в нем, не заменяет и не дополняет регистрацию и вручение состязательных бумаг или других документов согласно
требованиям закона, за исключением случаев, предусмотренных местными правилами суда. Эта форма, одобренная Конференцией судей Соединенных Штатов в сентябре 1974 года, должна
использоваться секретарем суда с целью возбуждения делопроизводства по гражданским делам. (СМ. ИНСТРУКЦИИ НА СЛЕДУЮЩЕЙ СТРАНИЦЕ ЭТОЙ ФОРМЫ.)
I. (a) ИСТЦЫ                                                                                                                  ОТВЕТЧИКИ
              Jysan Holding, LLC; Jusan Technologies LTD                                                                      Республика Казахстан и др. (см. приложение)
      (b)     Округ проживания первого указанного истца __________                                                            Округ проживания первого указанного ответчика                   Республика Казахстан
                                                (КРОМЕ ДЕЛ ИСТЦА ИЗ США)                                                                             (ТОЛЬКО В ДЕЛАХ ИСТЦА ИЗ США)
                                                                                                                              ПРИМЕЧАНИЕ:     В ДЕЛАХ ОБ ОТЧУЖДЕНИИ ЗЕМЛИ ИСПОЛЬЗУЙТЕ АДРЕС СПОРНОГО
                                                                                                                                     ЗЕМЕЛЬНОГО УЧАСТКА.
                                                                                                                              Адвокаты (если известні)
      (с)    Адвокаты (название фирмы, адрес и номер телефона)

              (см. приложение)
II.         ОСНОВА ЮРИСДИКЦИИ(Поставьте «X» только в одной ячейке)                                           III. ГРАЖДАНСТВО ОСНОВНЫХ СТОРОН                                                 (Поставьте «X» в одной ячейке для
                                                                                                                         (Только для дел с другим                                             истца и в одной ячейке для ответчика)
                                                                                                                         гражданством)
☐1          Истец правительство             ☒3        Федеральный вопрос                                                                                 ИСТ     ОТВ                                              ИСТ         ОТВ
              США                                       (Правительство США не является стороной)                   Гражданин этой страны                 ☐1      ☐1      Зарегистрирован или юридический           ☐4         ☐4
                                                                                                                                                                            адрес в этой стране

☐2          Ответчик правительство          ☐4        Другое гражданство                                           Гражданин другой страны               ☐2      ☐2      Зарегистрирован и юридический адрес       ☐5         ☐5
              США                                       (Укажите гражданство сторон в пункте III)                                                                           в другой стране

                                                                                                                   Гражданин или подданный               ☐3      ☐3      Иностранное государство                   ☐6         ☐6
                                                                                                                     иностранного государства
IV. ХАРАКТЕР ИСКА (Поставьте «X» только в одной ячейке)                                                                                                Нажмите здесь, чтобы: Описание характера кода иска.
              ПО ДОГОВОРУ                                         ПРАВОНАРУШЕНИЕ                                       КОНФИСКАЦИЯ/ШТРАФ                             БАНКРОТСТВО                            ДРУГИЕ ЗАКОНЫ
      110   Страхование                                    ТРАВМА                           ТРАВМА               ☐ 625 Арест имущества в связи с               422   Апелляция, 28 USC 158         375 Закон о неправомерных
☐     120   Морское право                       310   Самолеты                      365 Травма – Ответственность       наркотиками, 21 USC 881
                                                                                                                                                          ☐    423   Отзыв
                                                                                                                                                                                               ☐   376 претензиях
                                            ☐                                   ☐
☐     130   Закон Миллера                       315   Ответственность за                за качество                690 Другое                             ☐          28 USC 157                ☐       Иск «qui tam» (31 USC 3729
      140   Оборотный документ Взыскание    ☐         качество самолета             367 Здравоохранение/фармацев ☐                                                                                 400 (а))
☐     150   переплаты и исполнение              320   Нападки, клевета и                тика Травма                                                            ИМУЩЕСТВЕННЫЕ ПРАВА             ☐   410 Повторное рассмотрение
            судебного решения Закон о                 оскорбления
                                                                                ☐       Ответственность за
☐           Medicare                        ☐   330   Федеральная                   368 качество                                                          ☐    820 Авторские права
                                                                                                                                                                                               ☐   430 Антимонопольный закон
      151                                                                                                                                                      830 Патент                          450 Банки и банковское дело
☐     152   Взыскание просроченных                    ответственность                   Асбест Травма                                                     ☐    835 Патент – Сокращенная        ☐   460 Депортация
            студенческих ссуд (за искл.     ☐   340   работодателей
                                                                                ☐       Ответственность за
                                                                                                                                                                   заявка на новый препарат
☐           ветеранов)                          345   Морское право                     качество                                                          ☐                                    ☐   470 Рэкет и коррупция
      153   Взыскание переплаты                       Ответственность за                                                                                       840 Товарный знак                       Потребительский кредит
☐           ветеранских пособий
                                            ☐   350   качество продукции для     ЛИЧНАЯ СОБСТВЕННОСТЬ                                ТРУД                      880 Закон о защите              ☐   480 (15 USC 1681 или 1692)
                                                                                                                                                                   коммерческой тайны 2016             Закон о защите прав
      160   Иски акционеров                 ☐   355   моря                      ☐ 370 Другое мошенничество
                                                                                                                   ☐ 710     Закон о справедливых         ☐        г.                          ☒   485 потребителей телефонов
                                                      Автомобили                  371 Справедливое                           трудовых стандартах
      190   Другие договоры
                                                360   Ответственность за        ☐ 380 кредитование                     720   Трудовые/управленческие      ☐                                            Кабельное/спутниковое
☐
      195   Договорная ответственность за   ☐         качество автомобилей                                                   отношения                                                         ☐   490 телевидение
      196   продукт Франшиза                                                    ☐     Другой ущерб личному         ☐                                                                               850 Ценные бумаги/товары/ биржа
                                            ☐   362   Другие травмы               385 имуществу                        740   Закон о труде на ж.д.         СОЦИАЛЬНОЕ ОБЕСПЕЧЕНИЕ
                                                                                                                                                                                                       Другие иски на законных
                                                      Травма – врачебная                                               751   транспорте                                                        ☐
☐                                                     ошибка
                                                                                      Ущерб имуществу                                                     ☐ 861 HIA (1395ff)                       890 основаниях
                                            ☐                                   ☐     Ответственность за           ☐         Закон об отпуске и              862 Антракоз (923)                    891 Законы о сельском хозяйстве
☐                                                                                     качество                               больничном                   ☐ 863 DIWC/DIWW (405(g))             ☐   893 Экологические вопросы
                                                                                                                   ☐ 790     Другие трудовые споры
☐                                           ☐                                                                        791                                  ☐ 864 SSID Глава XVI                 ☐   895 Закон о свободе информации
                                                                                                                             Закон о пенсионном              865 RSI (405(g))                          Арбитраж
☐                                                                                                                            обеспечении                  ☐                                        896 Административно-
                                                                                                                   ☐                                                                           ☐   899 процессуальный акт/Пересмотр
        НЕДВИЖИМОСТЬ                        ГРАЖДАНСКИЕ ПРАВА                           ХОДАТАЙСТВА                                                       ☐
                                                                                       ЗАКЛЮЧЕННЫХ                 ☐                                                                           ☐
                                                                                                                                                                                                       или обжалование решения
                                                                                                                                                                                                       агентства
      210   Отчуждение земли                    440 Другие гражданские              Доставка обвиняемого в суд:
☐                                           ☐       права                                                                                                  ФЕДЕРАЛЬНЫЕ НАЛОГОВЫЕ               ☐   950 Конституционность
      220   Конфискация                         441                             ☐   463 Задержание иностранца                                                                                          государственных законов
☐     230   Нарушение аренды и выселение    ☐   442 Голосование                     510 Ходатайства об отмене                                                         ИСКИ                     ☐
☐     240   Земельное правонарушение        ☐   443 Трудоустройство             ☐        приговора                                                        ☐ 870 Налоги  (истец или ответчик
                                                                                    530 Общие                                                                   из США)
      245   Нарушение ответственности за            Жилье/проживание                                                                                                                           ☐
☐     290   качество Вся прочая             ☐   445 Амер. с инвалидностью –     ☐   535 Смертный приговор                      ИММИГРАЦИЯ                   871 IRS – третья сторона
            недвижимость                            Занятость                                                                                             ☐      26 USC 7609                   ☐
☐
                                            ☐   446 Амер. с инвалидностью –     ☐
☐                                                   другое
                                                                                                                                                                                               ☐
                                                448 Обучение                        Другое:
                                                                                                                   ☐ 462     Заявка на натурализацию
                                            ☐                                   ☐   540   Приказ и пр.             ☐ 465     Другие иммиграционные
                                                                                    550   Гражданские права                  иски
                                                                                ☐   555   Содержание в тюрьме
                                            ☐
                                                                                ☐   560   Задержанный по гражд.
                                                                                          делу – Условия
                                                                                ☐         содержания под стражей

V. ВОЗНИКНОВЕНИЕ (Поставьте «X» только в одной ячейке)
☒           Первичное       ☐2       Изъято из суда                 ☐3         Изъято из апелляционного    Восстановленные
                                                                                                            ☐4                 ☐5 Переданные из               ☐ 6 Многоокружные            ☐ 8 Многоокружные
            дело                     штата                                     суда                        или вновь                   другого округа                процессы –                   процессы –
                                                                                                           открытые                    (укажите)                     передача                     прямая подача
                                                  Укажите Гражданский закон США, по которому вы подаете иск (не цитируйте юрисдикционные законы, кроме случаев иного гражданства):
                                                  18 U.S.C. § 1,964(c)
VI.          ОСНОВАНИЕ ИСКА                       Краткое описание основания иска:
                                                  Нарушение Закона об организованной преступности, связанной с рэкетом и коррупцией, и связанные с этим нарушения государственного и международного права, основанные
                                                  на экспроприации активов.
                                                  ☐       ОТМЕТЬТЕ, ЕСЛИ ЭТО ГРУППОВОЙ ИСК                                   ТРЕБОВАНИЕ $                              ОТМЕТЬТЕ «ДА», только если в жалобе требуется:
VII.         ЗАПРОС ПО                                    СОГЛАСНО ПРАВИЛУ 23 F.R.Cv.P.                                                                                ТРЕБОВАНИЕ
             ЖАЛОБЕ.                                                                                                                                                   ПРИСЯЖНЫХ:                ☒ Да             ☐ Нет
VIII. СВЯЗАННЫЕ ДЕЛА,                             (См. инструкции):
      ПРИ НАЛИЧИИ                                                              СУДЬЯ __________ НОМЕР ДЕЛА _______
ДАТА                                                                                 ПОДПИСЬ АДВОКАТА
16.02.2023                                                                           /подпись/ Дж. Стивен Пик
ДЛЯ СЛУЖЕБНОГО ПОЛЬЗОВАНИЯ

      КВИТАНЦИЯ #                    СУММА ________________                          ЗАЯВИТЕЛЬ IFP ________________                    СУДЬЯ________________                      МАГ. СУДЬЯ         _________________________
__________
                                                                                                                                                                                               Ex. Page No. 158
                  Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 161 of 245
                            Дело 2:23-cv-00247 Документ 1-1 Подано 16.02.23 Стр. 2 из 3

                      ИНСТРУКЦИЯ ДЛЯ АДВОКАТОВ, ЗАПОЛНЯЮЩИХ ТИТУЛЬНЫЙ ЛИСТ
                                  ГРАЖДАНСКОГО ДЕЛА, ФОРМА JS 44.
                                     Полномочия по заполнению титульного листа гражданских дел

Титульный лист гражданского дела JS 44 и информация, содержащаяся в нем, не заменяет и не дополняет регистрацию и вручение
состязательных бумаг или других документов согласно требованиям закона, за исключением случаев, предусмотренных местными правилами
суда. Эта форма, одобренная Конференцией судей Соединенных Штатов в сентябре 1974 года, должна использоваться секретарем суда с целью
возбуждения делопроизводства по гражданским делам. Следовательно, титульный лист гражданского дела представляется Секретарю суда для
каждого поданного гражданского иска. Адвокат, подающий иск, должен заполнить форму следующим образом:

I.(a)   Истцы-ответчики. Укажите имена (фамилию, имя, отчество) истца и ответчика. Если истцом или ответчиком является государственное
        учреждение, используйте только полное название или стандартные сокращения. Если истец или ответчик является должностным лицом
        государственного учреждения, укажите сначала это учреждение, а затем должностное лицо, с указанием имени и должности.
  (b)   Округ проживания. Для каждого поданного гражданского дела, за исключением дел истца из США, укажите название округа, в котором
        проживает первый истец из списка на момент подачи дела. В делах истца из США укажите название округа, в котором проживает первый
        ответчик из списка на момент подачи заявления. (ПРИМЕЧАНИЕ. В делах об отчуждении земли округ проживания «ответчика» является
        местом нахождения рассматриваемого земельного участка).
  (c)   Адвокаты. Укажите название фирмы, адрес, номер телефона и доверенное лицо. Если адвокатов несколько, перечислите их в
        приложении, указав в этом разделе «(см. приложение)».

II.     Юрисдикция. Основа юрисдикции изложена в правиле 8(a) Федерального гражданского процессуального кодекса США (F.R.Cv.P.)
        согласно которому следует указывать юрисдикцию в состязательных бумагах. Поставьте отметку «X» в одном из полей. Если имеется
        более одного основания юрисдикции, приоритет отдается в порядке, указанном ниже.
        Истец из США. (1) Юрисдикция на основании разд. 28 Свода законов США (U.S.C.), ст. 1345 и 1348. Сюда включены иски
        государственных органов и чиновников США. Ответчик из США. (2) Если истец предъявляет иск Соединенным Штатам, их чиновникам
        или государственным органам, поставьте отметку «X» в этом поле.
        Федеральный вопрос. (3) Это относится к искам в соответствии с разд. 28 U.S.C., ст. 1331, когда юрисдикция возникает в соответствии с
        Конституцией Соединенных Штатов, поправкой к Конституции, актом Конгресса или международным договором Соединенных Штатов.
        В тех случаях, когда стороной являются США, код истца или ответчика из США имеет приоритет, и необходимо отметить графу 1 или 2.
        Разные гражданства. (4) Это относится к искам по разд. 28 USC ст. 1332, сторонами которых являются граждане разных стран. Если отметка
        стоит в поле 4, следует проверить гражданство разных сторон. (См. Раздел III ниже. ПРИМЕЧАНИЕ. Иски по федеральным вопросам
        имеют приоритет перед делами с разными гражданствами.)

III.    Резиденция (гражданство) основных сторон. Этот раздел JS 44 необходимо заполнить, если выше были указаны разные гражданства.
        Отметьте этот раздел для каждой основной стороны.

IV.     Характер иска. Поставьте отметку «X» в соответствующем поле. Если с делом связано несколько кодов исков, выберите наиболее
        подходящий код иска. Нажмите здесь, чтобы видеть подробное описание иска: Описание характера кода иска.
V.      Возникновение. Поставьте отметку «X» в одном из семи полей.
        Первичное дело. (1) Дела, возбужденные окружными судами США.
        Изъято из суда штата. (2) Разбирательство, возбужденное в государственных судах, может быть передано в окружные суды в
        соответствии с разделом 28 USC, ст. 1441. Изъято из апелляционного суда. (3) Поставьте отметку здесь для дел, переданных в окружной
        суд для дальнейшего рассмотрения. В качестве даты подачи используйте дату возврата на рассмотрение.
        Восстановленные или вновь открытые. (4) Поставьте отметку в этом поле для дел, возобновленных или вновь открытых в окружном суде.
        В качестве даты подачи используйте дату повторного открытия. Переданные из другого округа. (5) Для дел, переданных в соответствии со
        ст. 1404(a) Раздела 28 U.S.C. Не используйте эту отметку для передачи внутри округа или передачи в рамках многоокружных процессов.
        Многоокружные процессы – передача. (6) Поставьте отметку здесь, если дело, относящееся к нескольким округам, передается в округ в
        соответствии с разд. 28 U.S.C.
        ст. 1407.
        Многоокружные процессы – прямая подача. (8) Поставьте отметку здесь, если дело, относящееся к нескольким округам, подается в том
        же округе, что и основное дело по многоокружному процессу. ОБРАТИТЕ ВНИМАНИЕ, ЧТО КОД ВОЗНИНКОВЕНИЯ 7
        ОТСУТСТВУЕТ. Код возникновения 7 использовался для исторических записей и больше не актуален из-за изменений в
        законодательстве.

VI.     Основание иска. Укажите гражданский закон, непосредственно связанный с основанием для иска, и дайте краткое описание основания.
        Не цитируйте юрисдикционные законы, если только речь не идет о гражданстве другой страны. Пример: Гражданский закон
        США: разд. 47 USC 553 Краткое описание: Несанкционированный прием кабельного телевидения.

VII.    Запрос по жалобе. Групповой иск. Поставьте «X» в этом поле, если вы подаете групповой иск в соответствии с
        Правилом 23, F.R.Cv.P. «Требование». В этом поле введите фактическую сумму претензии в долларах или укажите
        другое требование, например, предварительный судебный запрет. Требование присяжных. Отметьте это поле, чтобы
        указать, требуются ли присяжные.

VIII. Связанные дела. Этот раздел JS 44 используется для ссылки на связанные незавершенные дела, если таковые имеются. Если есть
      связанные незавершенные дела, укажите номера дел и соответствующие имена судей для таких дел.

Дата и подпись адвоката. Поставьте дату и подпишите титульный лист гражданского дела.

                                                                                                                 Ex. Page No. 159
                   Дело 2:23-cv-00247 Документ
            Case 2:23-cv-00247-JAD-VCF         1-1 Подано
                                         Document  16 Filed16.02.23
                                                            03/08/23Стр. 3 из162
                                                                      Page    3 of 245



                            Приложение к титульному листу гражданского дела

Раздел I(а) Ответчики:
       Республика Казахстан;
       Агентство Республики Казахстан по регулированию и развитию финансового рынка;
       Агентство Республики Казахстан по противодействию коррупцией;
       Агентство Республики Казахстан по финансовому мониторингу;
       Комитет национальной безопасности Республики Казахстан;
       Агентство Республики Казахстан по регулированию и развитию финансового рынка, председатель,
       Абылкасымова Мадина;
       Агентство Республики Казахстан по регулированию и развитию финансового рынка, заместитель
       председателя, Кизатов Олжас;
       Агентство Республики Казахстан по регулированию и развитию финансового рынка, представитель,
       Омарбеков Арман;
       Джаксыбеков Адильбек.

Раздел I(c) Адвокаты истцов
       Стивен Пик (J. Stephen Peek)
       Эрика С. Медли (Erica C. Medley)
       Holland & Hart LLP
       9555 Hillwood Drive, 2nd Floor
       Las Vegas, NV 89,134 (Лас-Вегас, США)
       (702) 669-4600

      Тарик Мундия (Tariq Mundiya)
      Джеффри Б. Корн (Jeffrey B. Korn)
      Willkie Farr & Gallagher LLP 787 Seventh Avenue
      New York, NY 10019 (Нью-Йорк, США)
      (212) 728-8000

      Майкл Дж. Готтлиб (Michael J. Gottlieb)
      Willkie Farr & Gallagher
      1875 K Street, NW
      Washington, DC 20006 (Вашингтон, США)
      (202) 303-1000




                                                                                 Ex. Page No. 160
                   Дело 2:23-cv-00247-JAD-VCF Документ
                   Case 2:23-cv-00247-JAD-VCF            Подано
                                               Document516       03/08/23 Стр.
                                                           Filed 22/02/23        из of
                                                                          Page13163 18245

      AO 440 (Ред. 06/12) Судебная повестка по гражданскому делу



                                                     ОКРУЖНОЙ СУД США
                                                                   Округа Невада

                                                                         )
            Jysan Holding, LLC; Jusan Technologies LTD
                                                                         )
                                                                         )
                                                                         )
                                Истец(-цы)
                                                                         )
                                                                         )
                                 против                                  )
                                                                                Гражданское дело No. 2:23-cv-00247-JAD-VCF
                     Республика Казахстан и др.                          )
                                                                         )
                                                                         )
                                                                         )
                               Ответчик(-и)                              )

                                       СУДЕБНАЯ ПОВЕСТКА ПО ГРАЖДАНСКОМУ ДЕЛУ

     Кому: (Имя и адрес ответчика)          Олжас Кизатов, заместитель председателя
                                            Агентство Республики Казахстан по регулированию и развитию
                                            финансового рынка
                                            21, Коктем-3
                                            Алматы, 050040
                                            Республика Казахстан

               Против вас выдвинут судебный иск.

             В течение 21 дня после вручения вам этой повестки (не считая дня, когда вы ее получили) — или 60 дней,
     если вы являетесь организацией в Соединенных Штатах, либо должностным лицом или сотрудником
     Соединенных Штатов, указанным в Федеральных правилах гражданского судопроизводства
     П. 12 (a) (2) или (3) — вы должны вручить истцу ответ на прилагаемый иск или ходатайство в соответствии с
     правилом 12 Федеральных правил гражданского судопроизводства. Ответ или ходатайство должны быть
     вручены истцу или его адвокату, чье имя и адрес указаны ниже:
        Стивен Пик (Stephen Peek)                          Тарик Мундия (Tariq Mundiya)        Майкл Дж. Готтлиб (Michael J. Gottlieb)
        Эрика С. Медли (Erica C. Medley)                   Джеффри Б. Корн (Jeffrey B. Korn)   Willkie Farr & Gallagher LLP
        Holland & Hart LLP                                 Willkie Farr & Gallagher LLP        1875 K Street, NW
        9555 Hillwood Dr., 2nd Fl.                         787 Seventh Ave.                    Washington, DC 20006
        Las Vegas, NV 89134                                New York, NY 10019

            Если вы не ответите, против вас будет вынесено решение по умолчанию о возмещении ущерба,
     требуемого в исковом заявлении. Вы также должны подать свой ответ или ходатайство в суд.


 ДЕБРА К. КЕМПИ                                                                                22 февраля 2023 г.
Секретарь                                                                    ДАТА
             [подпись]


(составлено) ЗАМЕСТИТЕЛЬ
СЕКРЕТАРЯ

                                                         [Печать: ОКРУЖНОЙ СУД США ОКРУГА НЕВАДА]


                                                                                                             Ex. Page No. 161
              Дело 2:23-cv-00247-JAD-VCF Документ
              Case 2:23-cv-00247-JAD-VCF            Подано
                                          Document516       03/08/23 Стр.
                                                      Filed 22/02/23        из of
                                                                     Page14164 18245

AO 440 (Ред. 06/12) Судебная повестка по гражданскому делу (стр.2)

Гражданское дело No. 2:23-cv-00247-JAD-VCF

                                         РАСПИСКА О ПОЛУЧЕНИИ
 (Этот документ не нужно подавать в суд, если только этого не требует П.4(L) Фед. Прав. Судопроизводства США)

          Эта повестка (кому - имя и должность) _____________________________________________________________
была получена мною (дата)           ______________________.
          ☐ Я лично вручил(-а) повестку этому лицу в (место)         ______________________________________________
          ________________________________________________ (дата) _______________________ ;или

          ☐ Я оставил(-а) повестку по месту прописки или месту жительства лица у (имя)       ________________________
          _____________________________ , человека соответствующего возраста и вменяемости, проживающего(-ей) там,
          (дата) _________________ и отправил(-а) копию на последний известный адрес лица; или

          ☐ Я вручил(-а) повестку (кому - имя лица) ____________________________________________________ , которому
          по закону назначено вручение процессуальных документов от имени (название организации) _________________
          ___________________________________________________________ (дата)            _______________________ ; или

          ☐ Я не вручил(-а) повестку, потому что _____________________________________________ ; или
          ☐ Другое (уточнить):


          Моя оплата составляет $ ____________ за транспортные расходы и $ ____________ за услуги, что в сумме
          составляет $                                                                                                0.00    .


Я заявляю под страхом наказания за лжесвидетельство, что эта информация соответствует действительности.

Дата: _________________
                                                                            Подпись судебного исполнителя



                                                                             Печатное имя и должность




                                                                             Адрес судебного исполнителя

Дополнительная информация о попытке вручения и т.д.




                                                                                                           Ex. Page No. 162
 Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 165 of 245




     EXHIBIT C
     Complaint, Summons, and Russian
Translations for Defendant Arman Omarbekov




     EXHIBIT C
                                                               Ex. Page No. 163
                                           Case 2:23-cv-00247-JAD-VCF
                                                  Case 2:23-cv-00247 Document
                                                                       Document
                                                                              1 16
                                                                                FiledFiled
                                                                                       02/16/23
                                                                                           03/08/23
                                                                                                 Page
                                                                                                    Page
                                                                                                      1 of 166
                                                                                                           32 of 245



                                  1 J. Stephen Peek
                                    (Nevada Bar No. 1758)
                                  2 Erica C. Medley
                                    (Nevada Bar No. 13959)
                                  3 HOLLAND & HART LLP
                                    9555 Hillwood Drive, 2nd Floor
                                  4 Las Vegas, NV 89134
                                    Tel: 702.669.4600
                                  5 Fax: 702.669.4650
                                    speek@hollandhart.com
                                  6
                                  7 Tariq Mundiya (pro hac vice forthcoming)
                                    Jeffrey B. Korn (pro hac vice forthcoming)
                                  8 WILLKIE FARR & GALLAGHER LLP
                                    787 Seventh Avenue
                                  9 New York, New York 10019
                                    (212) 728-8000
                                 10 tmundiya@willkie.com
                                    jkorn@willkie.com
                                 11
                                    Michael J. Gottlieb (pro hac vice forthcoming)
                                 12 WILLKIE FARR & GALLAGHER LLP
9555 HILLWOOD DRIVE, 2ND FLOOR




                                    1875 K Street, NW
                                 13 Washington, DC 20006
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                    (202) 303-1000
                                 14 mgottlieb@willkie.com
                                 15 Attorneys for Plaintiffs
                                 16 Jysan Holding, LLC; and
                                    Jusan Technologies Ltd.
                                 17
                                                               UNITED STATES DISTRICT COURT
                                 18
                                                                        DISTRICT OF NEVADA
                                 19
                                    JYSAN HOLDING, LLC, a Nevada Limited             Case No.:
                                 20 Liability Company; JUSAN
                                    TECHNOLOGIES LTD, an England and                 COMPLAINT
                                 21 Wales Limited Company;
                                                                                     JURY DEMAND
                                 22                        Plaintiff,
                                      v.
                                 23
                                    REPUBLIC OF KAZAKHSTAN, a foreign
                                 24 sovereign state; THE AGENCY FOR
                                    REGULATION AND DEVELOPMENT
                                 25 OF THE FINANCIAL MARKET OF THE
                                 26 REPUBLIC OF KAZAKHSTAN, a
                                    Kazakhstan Government agency; THE
                                 27 ANTI-CORRUPTION AGENCY OF THE
                                    REPUBLIC OF KAZAKHSTAN, a
                                 28 Kazakhstan Government anti-corruption


                                                                                 1
                                                                                                            Ex. Page No. 164
                                        Case 2:23-cv-00247-JAD-VCF
                                               Case 2:23-cv-00247 Document
                                                                    Document
                                                                           1 16
                                                                             FiledFiled
                                                                                    02/16/23
                                                                                        03/08/23
                                                                                              Page
                                                                                                 Page
                                                                                                   2 of 167
                                                                                                        32 of 245



                                  1 agency ; THE FINANCIAL MONITORING
                                    AGENCY OF THE REPUBLIC OF
                                  2 KAZAKHSTAN, a Kazakhstan Government
                                    agency; THE COMMITTEE FOR
                                  3 NATIONAL SECURITY OF
                                    KAZAKHSTAN, a Kazakhstan Government
                                  4 intelligence agency; MADINA
                                    ABYLKASSYMOVA, an individual;
                                  5 OLZHAS KIZATOV, an individual;
                                    ARMAN OMARBEKOV, an individual;
                                  6 and ADILBEK DZHAKSYBEKOV, an
                                  7 individual,
                                  8                          Defendants.

                                  9                                        INTRODUCTION
                                 10        1.      Since early 2022, the Government of the Republic of Kazakhstan (“Government”
                                 11 or “Government of Kazakhstan”) has perpetrated an illegal campaign against Nevada
                                 12 corporations—Plaintiff Jysan Holding, LLC (“Jysan Holding”) and the New Generation
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13 Foundation, Inc. (“NGF”), and their direct and indirect subsidiaries (together, the “Jusan
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14 Group”)—in an effort to steal more than USD $1.5 billion of Plaintiffs’ assets. This corrupt
                                 15 and lawless campaign demonstrates the brazen thuggery of a nation—a satellite of the former
                                 16 Soviet Union—that has weaponized the Government’s vast powers and senior-most officials
                                 17 to reach far outside Kazakhstan to steal from, intimidate, and otherwise harm persons and
                                 18 entities in the United States. Defendants are engaged in precisely the type of racketeering and
                                 19 expropriation that federal laws are designed to prohibit. Plaintiffs bring this action to remedy
                                 20 the Defendants’ unlawful confiscatory conduct.
                                 21        2.      Although the Government of Kazakhstan has offered numerous, contradictory,
                                 22 and pretextual justifications for its conduct against the Jusan Group, the Government’s true
                                 23 aim is to seize control of the Jusan Group’s Kazakhstan-based assets for its own commercial
                                 24 benefit while delivering massive commercial benefits to the Government’s favored private
                                 25 individuals. The Government has evinced its intent to pursue this goal by any means
                                 26 necessary, including threats, intimidation, criminal and civil investigations and litigations, and
                                 27 blocking USD $387 million in dividends slated for distribution by the Jusan Group’s privately
                                 28 owned bank, First Heartland Jusan Bank (“First Heartland Bank” or the “Bank”) and the


                                                                                     2
                                                                                                                          Ex. Page No. 165
                                       Case 2:23-cv-00247-JAD-VCF
                                              Case 2:23-cv-00247 Document
                                                                   Document
                                                                          1 16
                                                                            FiledFiled
                                                                                   02/16/23
                                                                                       03/08/23
                                                                                             Page
                                                                                                Page
                                                                                                  3 of 168
                                                                                                       32 of 245



                                  1 Bank’s direct parent, First Heartland Securities JSC (“FHS”)—funds destined for Plaintiff
                                  2 Jusan Technologies Ltd. (“JTL”), Plaintiff Jysan Holding, and ultimately, NGF.               The
                                  3 Defendants’ scheme to use the organs of Kazakhstan’s Government to harm Nevada entities
                                  4 has been made abundantly clear. After Plaintiffs informed Defendants of their intention to
                                  5 enforce their rights in the instant action, Defendants took two plainly retaliatory acts—first,
                                  6 in November 2022, Defendants introduced legislation specifically targeting Plaintiffs and,
                                  7 second, on December 2, 2022, Kazakhstan’s Prosecutor General filed a trumped-up lawsuit
                                  8 against Plaintiffs and other members and employees of the Jusan Group in the courts of
                                  9 Kazakhstan. The legislation targeted at the Jusan Group—detailed below—directed the
                                 10 unlawful seizure of the assets under the control of a Nevada entity. Most recently, on
                                 11 February 10, 2023, the Kazakhstani Prosecutor General filed a frivolous lawsuit, predicated
                                 12 on spurious allegations, for the sole purpose of confiscating assets under JTL’s control. Even
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13 worse, Kazakhstan has leveled threats of violence and imprisonment against United States
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14 residents who have material economic interests in the Jusan Group if Kazakhstan’s commercial
                                 15 demands are not met. These acts are in line with the Government of Kazakhstan’s history of
                                 16 rampant corruption, which according to public reporting has worsened since 2022. In sum, the
                                 17 Government of Kazakhstan has resorted to the same unlawful tools—confiscation,
                                 18 expropriation, threats, and intimidation—favored by the world’s most repressive dictators and
                                 19 authoritarian regimes.
                                 20        3.     The conduct by the Government and several individuals is obstructing
                                 21 Plaintiffs—including a Nevada LLC which was formed precisely to avoid the type of illegal
                                 22 asset seizure being perpetrated now—from fulfilling their commitment to ensuring educational
                                 23 freedom and excellence to the NGF grantees by providing U.S.-style higher education and
                                 24 free-market reforms in the Republic of Kazakhstan. Indeed, prior to the illegal conduct
                                 25 described herein, through Plaintiffs’ efforts, NGF and the Jusan Group as a whole have
                                 26 provided millions of dollars in grants to Nazarbayev University—a modern, English-language
                                 27 research university located in Astana (formerly Nur-Sultan), the Republic of Kazakhstan’s
                                 28 capital—as well as Nazarbayev Intellectual Schools and their organizations.


                                                                                   3
                                                                                                                       Ex. Page No. 166
                                        Case 2:23-cv-00247-JAD-VCF
                                               Case 2:23-cv-00247 Document
                                                                    Document
                                                                           1 16
                                                                             FiledFiled
                                                                                    02/16/23
                                                                                        03/08/23
                                                                                              Page
                                                                                                 Page
                                                                                                   4 of 169
                                                                                                        32 of 245



                                  1        4.       Absent judicial relief, Defendants’ unlawful scheme will continue to deprive
                                  2 Plaintiffs of a primary source of funding from their subsidiaries connected to the Bank and
                                  3 will accordingly leave them unable to fulfill their obligation to provide dividend funding to
                                  4 their parent organizations, including NGF. In turn, NGF is unable to transfer its own funds or
                                  5 receive lawfully issued dividends, to serve its sole mission of funding Nazarbayev University
                                  6 and Nazarbayev Intellectual Schools. Ultimately, by freezing the Jusan Group’s funds, the
                                  7 Government is depriving Nazarbayev University and Nazarbayev Intellectual Schools of
                                  8 necessary resources, and thereby harming their students, researchers, and educators by
                                  9 obstructing an education that emphasizes the values of excellence, academic rigor, evidence-
                                 10 based research, scientific temper, intellectual liberty, innovation, and academic freedom.
                                 11                                 JURISDICTION AND VENUE
                                 12        5.       This Court has subject matter jurisdiction over this action pursuant to
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13 28 U.S.C. § 1331 because this action arises under the laws of the United States, specifically
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14 18 U.S.C. § 1964(c).
                                 15        6.       This Court also has subject matter jurisdiction over this action pursuant to
                                 16 28 U.S.C. § 1330(a) because Defendant Republic of Kazakhstan and its agencies and
                                 17 instrumentalities, listed below, are foreign states as defined in 28 U.S.C. § 1603(a) and are not
                                 18 entitled to immunity under 28 U.S.C. §§ 1605–07 or any applicable international agreement.
                                 19 Defendant Republic of Kazakhstan, as well as the Defendant agencies and instrumentalities
                                 20 listed below, are not immune from the jurisdiction of this Court under 28 U.S.C. § 1605(a)(2)
                                 21 because this action is based upon acts outside the territory of the United States in connection
                                 22 with a commercial activity of Defendants elsewhere and those acts have caused a direct effect
                                 23 in the United States.
                                 24        7.       This Court has supplemental jurisdiction over Plaintiffs’ state-law claims under
                                 25 28 U.S.C. § 1367(a) because those claims are so related to the other claims in the action that
                                 26 they form part of the same case or controversy under Article III of the United States
                                 27 Constitution.
                                 28


                                                                                    4
                                                                                                                         Ex. Page No. 167
                                        Case 2:23-cv-00247-JAD-VCF
                                               Case 2:23-cv-00247 Document
                                                                    Document
                                                                           1 16
                                                                             FiledFiled
                                                                                    02/16/23
                                                                                        03/08/23
                                                                                              Page
                                                                                                 Page
                                                                                                   5 of 170
                                                                                                        32 of 245



                                  1        8.      This Court has personal jurisdiction over Defendant Republic of Kazakhstan and
                                  2 its agencies and instrumentalities, listed below, under 28 U.S.C. § 1330(b).
                                  3        9.      This Court has personal jurisdiction over all Defendants under Nev. Rev.
                                  4 Stat. § 14.065.     This Court also has personal jurisdiction over all Defendants under
                                  5 18 U.S.C. § 1965, and Rules 4(k)(1)(C) and 4(k)(2) of the Federal Rules of Civil Procedure.
                                  6        10.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(f)(1) because a
                                  7 substantial part of the events giving rise to the claim occurred in this District. In the alternative,
                                  8 venue is proper in this District under 28 U.S.C. § 1391(b)(3) because Defendants are subject
                                  9 to personal jurisdiction in this District with respect to this action.
                                 10                                               PARTIES
                                 11        11.     Plaintiff Jysan Holding is a limited liability company incorporated under the laws
                                 12 of the State of Nevada.        Jysan Holding’s sole member is NGF, a registered 501(c)(4)
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13 organization based and incorporated in Nevada. Jysan Holding has a 96.96% direct ownership
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14 interest in JTL, which serves as the holding company for Jysan Holding’s indirect subsidiaries
                                 15 and is an indirect majority owner of other companies located in Kazakhstan. Jysan Holding
                                 16 manages businesses and other investments of NGF, for the ultimate benefit of students of the
                                 17 grantee educational institutions in the Republic of Kazakhstan.
                                 18        12.     Plaintiff JTL is a limited company organized under the laws of England and
                                 19 Wales. JTL’s direct parent is Jysan Holding (the Nevada entity identified above). JTL is a
                                 20 direct and indirect majority owner of other companies in Kazakhstan, including FHS, in which
                                 21 JTL holds a direct 99.48% ownership interest.
                                 22        13.     Defendant Republic of Kazakhstan is a foreign sovereign state within the
                                 23 meaning of 28 U.S.C. § 1603(a). Defendant Republic of Kazakhstan maintains an Embassy
                                 24 within the United States at 1401 16th St. NW, Washington, DC 20036.
                                 25        14.     Defendant Agency for Regulation and Development of the Financial Market of
                                 26 the Republic of Kazakhstan (“ARDFM”) is a Government agency tasked with supervising the
                                 27 financial market and financial organizations within Kazakhstan.
                                 28


                                                                                       5
                                                                                                                             Ex. Page No. 168
                                        Case 2:23-cv-00247-JAD-VCF
                                               Case 2:23-cv-00247 Document
                                                                    Document
                                                                           1 16
                                                                             FiledFiled
                                                                                    02/16/23
                                                                                        03/08/23
                                                                                              Page
                                                                                                 Page
                                                                                                   6 of 171
                                                                                                        32 of 245



                                  1        15.     Defendant Anti-Corruption Agency of the Republic of Kazakhstan (“AARK”) is
                                  2 a Government anti-corruption agency.            AARK is responsible for formulating and
                                  3 implementing the anti-corruption policy of the Government of Kazakhstan, coordinating the
                                  4 anti-corruption enforcement actions, and detecting, restraining, revealing, and investigating
                                  5 corruption offenses. AARK reports directly to the President of Kazakhstan.
                                  6        16.     Defendant Financial Monitoring Agency of the Republic of Kazakhstan (“FMA”)
                                  7 is a Government agency responsible for providing guidance in countering money laundering
                                  8 and the financing of terrorism, as well as for the prevention, detection, suppression, disclosure,
                                  9 and investigation of economic and financial offenses referred to it by the legislature of the
                                 10 Republic of Kazakhstan. FMA reports directly to the President of Kazakhstan.
                                 11        17.     Defendant Committee for National Security of Kazakhstan (“KNB”) is a
                                 12 Government intelligence agency (together with ARDFM, AARK, and FMA, the
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13 “Governmental Agency Defendants”).
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14        18.     Defendant Madina Abylkassymova is the Chairperson of ARDFM. She is a
                                 15 resident and citizen of Kazakhstan.
                                 16        19.     Defendant Olzhas Kizatov is the Deputy Chairperson of ARDFM. He is a
                                 17 resident and citizen of Kazakhstan.
                                 18        20.     Defendant Arman Omarbekov is a representative of ARDFM. He is a resident
                                 19 and citizen of Kazakhstan.
                                 20        21.     Defendant Adilbek Dzhaksybekov (together with Defendants Abylkassymova,
                                 21 Kizatov, and Omarbekov, the “Individual Defendants”) is the former owner of Tsesnabank, a
                                 22 bank the Jusan Group purchased in February 2019. He is a resident and citizen of Kazakhstan.
                                 23                                              FACTS
                                 24   A. Members of the Jusan Group Assist the Government of Kazakhstan by Purchasing
                                 25   Failing Kazakhstani Banks.
                                 26        22.     In 2018, Kazakhstan’s banking sector, which had not fully recovered from the
                                 27 2007-2009 financial crisis and subsequent devaluations of the Kazakhstani tenge in 2008 and
                                 28 2015, became acutely vulnerable following a sharp drop in global energy prices that had


                                                                                     6
                                                                                                                          Ex. Page No. 169
                                        Case 2:23-cv-00247-JAD-VCF
                                               Case 2:23-cv-00247 Document
                                                                    Document
                                                                           1 16
                                                                             FiledFiled
                                                                                    02/16/23
                                                                                        03/08/23
                                                                                              Page
                                                                                                 Page
                                                                                                   7 of 172
                                                                                                        32 of 245



                                  1 significantly devalued the tenge once again. In response, the Government of Kazakhstan
                                  2 sought various commercial solutions in an attempt to avoid a collapse of the country’s entire
                                  3 banking system.
                                  4        23.     At the time, Tsesnabank was Central Asia’s second-largest bank in terms of assets
                                  5 and was owned by Defendant Dzhaksybekov. Defendant Dzhaksybekov misused his authority
                                  6 at Tsesnabank to financially advantage himself, his family, and his friends, essentially treating
                                  7 Tsesnabank as a private equity and investment firm for his personal benefit and engaging in
                                  8 other questionable or malicious business conduct.
                                  9        24.     By 2018, Tsesnabank was on the brink of failure, with nearly 90% of its assets
                                 10 non-performing.
                                 11        25.     Despite having received capital injections as part of the Government of
                                 12 Kazakhstan’s banking sector bailout in 2017, Tsesnabank continued to face severe liquidity
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13 issues. In early September 2018, it received a short-term loan of several hundred million
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14 dollars from the National Bank of the Republic of Kazakhstan. In a last-ditch attempt to
                                 15 preserve its business, Tsesnabank sold a significant portion of its agricultural loan portfolio to
                                 16 the state. Nonetheless, by mid-September, S&P had downgraded Tsesnabank’s liquidity rating
                                 17 from “adequate” to “less than adequate.”
                                 18        26.     The Government of Kazakhstan determined that if Tsesnabank were to fail, it
                                 19 would likely take with it the entire banking sector in Kazakhstan. The Government of
                                 20 Kazakhstan was therefore adamant about brokering a commercial solution to keep Tsesnabank
                                 21 afloat. In an attempt to do so, the Government of Kazakhstan initiated a series of attempted
                                 22 bailouts for Tsesnabank between 2018 and 2019.
                                 23        27.     The Government described those measures as “enhanc[ing] the robustness of
                                 24 Tsesnabank by cardinally improving its credit portfolio.”           Contemporaneous reporting
                                 25 recognized that this was another bailout targeted at correcting Tsesnabank’s weak and
                                 26 deteriorating financial situation.
                                 27        28.     Even with this financial support, by January 2019, significant losses in
                                 28 Tsesnabank’s credit portfolio continued to threaten Tsesnabank’s viability.          Tsesnabank


                                                                                     7
                                                                                                                          Ex. Page No. 170
                                       Case 2:23-cv-00247-JAD-VCF
                                              Case 2:23-cv-00247 Document
                                                                   Document
                                                                          1 16
                                                                            FiledFiled
                                                                                   02/16/23
                                                                                       03/08/23
                                                                                             Page
                                                                                                Page
                                                                                                  8 of 173
                                                                                                       32 of 245



                                  1 needed an additional injection of capital to survive. The Government of Kazakhstan searched
                                  2 urgently for another bank to purchase Tsesnabank, so that the purchasing bank could provide
                                  3 Tsesnabank with new capital to prevent collapse, in addition to providing a change of
                                  4 management to strengthen Tsesnabank’s operations.
                                  5        29.    The Government of Kazakhstan identified First Heartland Bank in Kazakhstan,
                                  6 owned by the Jusan Group, as a potential solution. Under the Jusan Group’s stewardship, First
                                  7 Heartland Bank had significantly grown its cash reserves and maintained a sterling reputation
                                  8 for proper stewardship.
                                  9        30.    The Government of Kazakhstan approached the Jusan Group about a potential
                                 10 acquisition of Tsesnabank. The Jusan Group sought to answer the Government’s plea and step
                                 11 in to assist the banking sector. But the Jusan Group was clear that it could not acquire
                                 12 Tsesnabank if it had a negative balance sheet, and due to Tsesnabank’s mismanaged loan
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13 portfolio under Defendant Dzhaksybekov, Tsesnabank’s balance sheet was deeply in the red.
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14        31.    Eager to find a commercial solution, the Government of Kazakhstan led the
                                 15 negotiations of a number of contracts (culminating together in the “Tsesnabank Framework
                                 16 Agreements”), pursuant to which the Government would provide Tsesnabank with additional
                                 17 bailout funds, including through the purchase of distressed assets, and the Jusan Group would
                                 18 then purchase Tsesnabank.
                                 19        32.    In January and February 2019, the Tsesnabank Framework Agreements were
                                 20 executed. The parties to the Tsesnabank Framework Agreements included the Bank’s parent
                                 21 company, First Heartland Securities JSC (“FHS”), Defendant Dzhaksybekov, Tsesnabank, and
                                 22 the Government of the Republic of Kazakhstan represented by the Ministry of Finance of the
                                 23 Republic of Kazakhstan and the National Bank of the Republic of Kazakhstan.                 The
                                 24 Tsesnabank Framework Agreements were also expressly supported and negotiated by the
                                 25 current Prime Minister of Kazakhstan, Alikhan Smailov, and the President of Kazakhstan’s
                                 26 First Deputy Chief of Staff, Timur Suleimenov.
                                 27        33.    The framework agreement executed on January 17, 2019 (“January 17
                                 28 Tsesnabank Framework Agreement”) provided for the injection of Government funds into


                                                                                  8
                                                                                                                      Ex. Page No. 171
                                       Case 2:23-cv-00247-JAD-VCF
                                              Case 2:23-cv-00247 Document
                                                                   Document
                                                                          1 16
                                                                            FiledFiled
                                                                                   02/16/23
                                                                                       03/08/23
                                                                                             Page
                                                                                                Page
                                                                                                  9 of 174
                                                                                                       32 of 245



                                  1 Tsesnabank Bank, which ultimately took the form of bonds with long-term maturities. Then,
                                  2 pursuant to Article 8 of the January 17 Tsesnabank Framework Agreement, FHS purchased
                                  3 Tsesnabank.
                                  4        34.    The Government of Kazakhstan not only fully consented to the deal, but was
                                  5 leading the charge in its execution.
                                  6        35.    Importantly, at no time did the Government of Kazakhstan make paying back the
                                  7 bailout funds before 2023 a condition of its support for the acquisition of Tsesnabank, nor did
                                  8 the Government of Kazakhstan otherwise restrict the Bank’s payment of dividends. In fact,
                                  9 until recently, the Bank has issued dividends without objection from the Government of
                                 10 Kazakhstan, including issuing dividends in December 2021.
                                 11        36.    Not long after brokering the acquisition of Tsesnabank, the Government again
                                 12 approached the Jusan Group about acquiring another failing bank, ATF Bank.
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13        37.    As with Tsesnabank, the Government was the primary negotiator of the deal in
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14 which the Jusan Group acquired ATF Bank (effectuated through the ATF Bank Framework
                                 15 Agreements). And as with Tsesnabank, ATF Bank had significant losses in its credit portfolio,
                                 16 which the Government agreed to bail out in connection with the acquisition.
                                 17        38.    Importantly, and as discussed above, the Government did not condition its bailout
                                 18 of ATF Bank on any obligation to repay the bailout funds before 2023 and it did not otherwise
                                 19 restrict the Bank’s payment of dividends.
                                 20        39.    Thus, with the acquisition of ATF Bank, the Jusan Group answered the
                                 21 Government of Kazakhstan’s plea for a commercial solution to the banking crisis, invested
                                 22 significant capital into the country’s banking sector, and saved it from total failure for the
                                 23 second time in two years. As recently as January 2023, Prime Minister Smailov affirmed that
                                 24 the Jusan Group’s acquisitions of Tsesnabank and ATF Bank were necessary to stabilize the
                                 25 institutions’ financial situations and to ensure the safety of Kazakhstani citizens’ and
                                 26 businesses’ deposits.
                                 27
                                 28


                                                                                   9
                                                                                                                       Ex. Page No. 172
                                        Case 2:23-cv-00247-JAD-VCF
                                              Case 2:23-cv-00247 Document
                                                                   Document
                                                                          1 Filed
                                                                            16 Filed
                                                                                  02/16/23
                                                                                      03/08/23
                                                                                            PagePage
                                                                                                 10 of175
                                                                                                       32 of 245



                                  1    B. Jusan Group Established Nevada Entities to Protect and Grow Its Holdings
                                  2    Amidst the Kazakhstani Banking Crisis.
                                  3        40.     At the same time the Jusan Group was assisting the Government in bailing out
                                  4 failing Kazakhstani banks, the Jusan Group leadership was considering how best to continue
                                  5 to protect and grow its own assets. Up until 2019, the Jusan Group was owned by the
                                  6 Nazarbayev Fund (“NF”)—a Kazakhstani corporation established to fund Nazarbayev
                                  7 University and Nazarbayev Intellectual Schools—as well as supporting organizations of
                                  8 Nazarbayev University and Nazarbayev Intellectual Schools.
                                  9        41.     Established in 2010, Nazarbayev University is Kazakhstan’s flagship academic
                                 10 institution with aspirations to become a global-level research university. Its vision is to “give
                                 11 Kazakhstan and the world the scientists, academics, managers, and entrepreneurs needed to
                                 12 prosper and develop,” and it was founded on principles of autonomy and academic freedom.
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13 Nazarbayev University has made itself an integral part of the academic research ecosystem,
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14 and is associated with more than 5,600 international publications. Nazarbayev University
                                 15 provides Western-style, English-language based education.
                                 16        42.     Founded in 2008, the Nazarbayev Intellectual Schools were envisioned as a
                                 17 modern and innovative educational platform for the development and implementation of
                                 18 modern models of educational programs from preschool through high school. Nazarbayev
                                 19 Intellectual Schools graduates have proven to be successful in gaining admission to top
                                 20 universities, including Nazarbayev University and other top undergraduate programs in
                                 21 Europe and East Asia.
                                 22        43.     After nearly a decade of having Nazarbayev University and Nazarbayev
                                 23 Intellectual Schools successfully supported by the Kazakhstan-based endowment fund, the
                                 24 Jusan Group leadership became concerned that the endowment’s growth was inherently
                                 25 limited and at risk within Kazakhstan.
                                 26        44.     The Jusan Group leadership decided to establish an endowment fund in Nevada,
                                 27 a state known for strong legal protections and corporate governance standards, strong
                                 28


                                                                                    10
                                                                                                                         Ex. Page No. 173
                                        Case 2:23-cv-00247-JAD-VCF
                                              Case 2:23-cv-00247 Document
                                                                   Document
                                                                          1 Filed
                                                                            16 Filed
                                                                                  02/16/23
                                                                                      03/08/23
                                                                                            PagePage
                                                                                                 11 of176
                                                                                                       32 of 245



                                  1 philanthropic traditions, and ample examples of successful university endowments and non-
                                  2 profit organizations.
                                  3        45.     More specifically, the Jusan Group chose to incorporate in Nevada because it is
                                  4 one of the leading jurisdictions in the United States for corporate governance standards. The
                                  5 Jusan Group also considered the fact that many major for-profit and non-profit organizations
                                  6 operate as Nevada corporations.
                                  7        46.     In 2019, NGF was established as a non-stock Nevada non-profit corporation for
                                  8 the sole benefit of Nazarbayev University and Nazarbayev Intellectual Schools. NF then
                                  9 transferred all of its ownership interest in the Jusan Group to NGF. NGF’s sole mission is to
                                 10 secure funding for the activities of Nazarbayev University and Nazarbayev Intellectual Schools
                                 11 and their organizations, and it serves as their endowment. Jysan Holding was established to
                                 12 manage NGF’s assets.
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13        47.     In 2020, JTL, a limited company incorporated under the laws of England and
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14 Wales, was established and later placed under Jysan Holding through a capital contribution.
                                 15 JTL was incorporated for the purpose of creating a common corporate holding structure for
                                 16 the Jusan Group’s financial and technology arms. JTL is a holding company invested in
                                 17 various sectors, including banking, brokerage, insurance, asset management, e-commerce,
                                 18 telecommunications, logistics, and retail. Although JTL is expanding its portfolio through
                                 19 strategic mergers and acquisitions, its indirect ownership in the Bank makes up 90% of its total
                                 20 assets.
                                 21        48.     JTL has a 99.48% ownership interest in FHS, which in turn has an approximately
                                 22 80% ownership interest in First Heartland Bank.
                                 23
                                 24
                                 25
                                 26
                                 27
                                 28


                                                                                   11
                                                                                                                        Ex. Page No. 174
                                        Case 2:23-cv-00247-JAD-VCF
                                              Case 2:23-cv-00247 Document
                                                                   Document
                                                                          1 Filed
                                                                            16 Filed
                                                                                  02/16/23
                                                                                      03/08/23
                                                                                            PagePage
                                                                                                 12 of177
                                                                                                       32 of 245



                                 1         49.     Thus, by its indirect ownership of JTL, NGF receives passive income in the form
                                 2 of dividends and distributions from the business and operations of JTL and its holdings,
                                 3 including FHS and the Bank.
                                 4
                                 5
                                 6
                                 7
                                 8
                                 9
                                 10
                                 11
                                 12
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14
                                 15
                                 16
                                 17
                                           50.     Under intercompany policies and agreements, dividend payments will be
                                 18
                                      distributed from the Bank to FHS, and, in turn, to JTL, Jysan Holding, and NGF, less the funds
                                 19
                                      necessary to support the reasonable operational expenses. Each entity has a legal right to
                                 20
                                      declare and to receive dividends from its direct subsidiary.
                                 21
                                           51.     NGF first began to provide funding to Nazarbayev University and Nazarbayev
                                 22
                                      Intellectual Schools in 2021. As noted, in two years alone, NGF and the Jusan Group have
                                 23
                                      provided millions of dollars to Nazarbayev University, Nazarbayev Intellectual Schools, and
                                 24
                                      supporting organizations. These grants have supported efforts to provide education that
                                 25
                                      emphasizes the values of intellectual liberty, innovation, and academic freedom. NGF expects
                                 26
                                      funding to increase substantially in the coming years, particularly to address a significant
                                 27
                                 28


                                                                                    12
                                                                                                                        Ex. Page No. 175
                                        Case 2:23-cv-00247-JAD-VCF
                                              Case 2:23-cv-00247 Document
                                                                   Document
                                                                          1 Filed
                                                                            16 Filed
                                                                                  02/16/23
                                                                                      03/08/23
                                                                                            PagePage
                                                                                                 13 of178
                                                                                                       32 of 245



                                  1 decrease in financial support from the Government of Kazakhstan in light of severe fiscal
                                  2 challenges to Kazakhstan’s national budget.
                                  3        52.     NGF is funded entirely by profit distributions from Jysan Holding, which receives
                                  4 its revenue solely in the form of dividend payments from the Jusan Group entities through JTL.
                                  5    C. The Jusan Group’s Financial Success Provokes the Government and
                                  6    Dzhaksybekov to Force a Takeover of First Heartland Bank.
                                  7        53.     After its acquisitions of Tsesnabank and ATF Bank—which are now part of First
                                  8 Heartland Bank—First Heartland Bank achieved rapid revenue growth.
                                  9        54.     This success and increased profitability was attributable to a disciplined and
                                 10 strategic approach to handling the impaired loans that still made up a substantial share of the
                                 11 Tsesnabank’s and ATF Bank’s portfolio after their acquisition by First Heartland Bank. As
                                 12 part of this effort, First Heartland Bank implemented a new business strategy geared toward
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13 increasing repayment of poorly performing loans. This marked a sharp departure from the
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14 corrupt banking practices engaged in by Tsesnabank’s former owner.
                                 15        55.     In addition, the Bank implemented transparent corporate governance and
                                 16 decision-making, clear mechanisms for judicial and out-of-court debt collection, systematic
                                 17 elimination of corruption in the process of debt collections, and categorical suppression of loan
                                 18 restructurings between collectors and debtors. By removing borrowers’ incentives to negotiate
                                 19 for informal payment arrangements, the Bank incentivized borrowers to pay off their debt
                                 20 rather than risk losing collateral. These and other measures had a significant positive effect on
                                 21 the Bank’s revenue and bottom line.
                                 22        56.     The Bank has also taken a forward-looking approach to its business model. As
                                 23 one example, in the past few years, the Bank has focused on digital technologies, establishing
                                 24 an e-commerce platform and moving toward an integrated model for financial services. As a
                                 25 result of these efforts and improvements in profitability, asset quality, solvency, and risk
                                 26 management, Moody’s Investors Service upgraded its outlook on the Bank’s ratings from
                                 27 stable to positive on December 14, 2022.
                                 28


                                                                                    13
                                                                                                                         Ex. Page No. 176
                                        Case 2:23-cv-00247-JAD-VCF
                                              Case 2:23-cv-00247 Document
                                                                   Document
                                                                          1 Filed
                                                                            16 Filed
                                                                                  02/16/23
                                                                                      03/08/23
                                                                                            PagePage
                                                                                                 14 of179
                                                                                                       32 of 245



                                  1        57.     Thanks in part to the success of these strategies, the Bank has been able to pay
                                  2 dividends.
                                  3        58.     Today, First Heartland Bank is the third-largest banking conglomerate in
                                  4 Kazakhstan and maintains strong relationships with foreign financial institutions.
                                  5        59.     The Bank’s ability to pay dividends to its shareholders has, in turn, enabled NGF
                                  6 to provide significant funding to Nazarbayev University and Nazarbayev Intellectual Schools.
                                  7 NGF and the Jusan Group funded these entities, and supporting organizations, with millions
                                  8 of dollars in support to provide education emphasizing excellence, academic rigor, evidence-
                                  9 based research, scientific temper, innovation, and academic freedom.
                                 10   D. Defendants Harass and Extort the Jusan Group in an Effort to Steal the Group’s
                                 11   Assets.
                                 12        60.     Beginning in 2022, Defendants, including the government and government-
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13 agency Defendants, began to operate as an enterprise associated-in-fact and to participate in
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14 and operate other enterprises through a pattern of racketeering activity. Defendants’ goal was
                                 15 to wrongfully obtain the assets of the Jusan Group for the benefit of the Individual Defendants.
                                 16 Each of the Individual Defendants are associated by virtue of operating under the color of
                                 17 authority of the Government of Kazakhstan, either directly through employment by the
                                 18 Government, or in the case of Defendant Dzhaksybekov, through close ties to the Government.
                                 19 Defendants’ association-in-fact enterprise was in existence at least since January 2022 and is
                                 20 ongoing in a manner that permits its associates to engage in a pattern of racketeering.
                                 21        61.     This pattern of racketeering includes attempts to extort the Jusan Group
                                 22 constituting a violation of the Hobbs Act, 18 U.S.C. § 1951, which provides in relevant part:
                                 23 “Whoever in any way or degree obstructs, delays, or affects commerce or the movement of
                                 24 any article or commodity in commerce, by robbery or extortion or attempts or conspires so to
                                 25 do . . . shall be fined under this title or imprisoned not more than twenty years, or both,”
                                 26 18 U.S.C. § 1951(a). As used in that section, “[t]he term ‘extortion’ means the obtaining of
                                 27 property from another, with his consent, induced by wrongful use of actual or threatened force,
                                 28 violence, or fear, or under color of official right.” 18 U.S.C. § 1951(b)(2). “Commerce”


                                                                                   14
                                                                                                                         Ex. Page No. 177
                                        Case 2:23-cv-00247-JAD-VCF
                                              Case 2:23-cv-00247 Document
                                                                   Document
                                                                          1 Filed
                                                                            16 Filed
                                                                                  02/16/23
                                                                                      03/08/23
                                                                                            PagePage
                                                                                                 15 of180
                                                                                                       32 of 245



                                  1 includes “all commerce between any point in a State, Territory, Possession, or the District of
                                  2 Columbia and any point outside thereof; all commerce between points within the same State
                                  3 through any place outside such State; and all other commerce over which the United States has
                                  4 jurisdiction.” 18 U.S.C. § 1951(b)(3).
                                  5        1. The Agency for Regulation and Development of the Financial Market of the Republic
                                  6              of Kazakhstan Begins Harassing First Heartland Bank.
                                  7        62.      Beginning in January 2022 and continuing through the date of this filing, the
                                  8 Government of Kazakhstan, including various governmental and quasi-governmental
                                  9 agencies, has ordered at least 11 unjustified and unlawful investigations, requests, or
                                 10 inspections of Jysan Holding’s indirect subsidiary, First Heartland Bank. These unlawful acts
                                 11 began as a purported effort to assist the Bank with compliance, but they quickly revealed
                                 12 themselves to be transparent—and at times breathtakingly illegal—attempts to force unlawful
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13 payments to the Government of Kazakhstan and private individuals.
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14        63.      More specifically, starting on or about January 11, 2022, representatives for the
                                 15 ARDFM assigned five agents to surveil the Bank full-time. This surveillance represents an
                                 16 unwarranted intrusion far beyond ARDFM’s historical monitoring of the Bank and ARDFM’s
                                 17 standard monitoring of other banks.
                                 18        64.      In connection with this surveillance, ARDFM representatives flooded the Bank
                                 19 with broad and harassing requests for information regarding all aspects of the Bank’s activities.
                                 20 These requests were made with unreasonably short deadlines, forcing Bank staff to prioritize
                                 21 ARDFM’s request over regular business operations.
                                 22        65.      In addition to around-the-clock surveillance, ARDFM imposed arbitrary
                                 23 restricted-transaction thresholds on all transactions of parties related to the Bank. These
                                 24 restrictions, which continue to the date of this filing, are so extreme that all transactions
                                 25 involving the Jusan Group must be approved by ARDFM and the FMA before being executed.
                                 26        66.      ARDFM has, in turn, unjustifiably denied approval for small and large
                                 27 transactions. For example, under the auspices of these transaction thresholds, ARDFM has
                                 28 blocked certain Bank staff from using their bank card to pay for daily expenses and has blocked


                                                                                    15
                                                                                                                         Ex. Page No. 178
                                        Case 2:23-cv-00247-JAD-VCF
                                              Case 2:23-cv-00247 Document
                                                                   Document
                                                                          1 Filed
                                                                            16 Filed
                                                                                  02/16/23
                                                                                      03/08/23
                                                                                            PagePage
                                                                                                 16 of181
                                                                                                       32 of 245



                                  1 the transfer of USD $4 million from NGF’s account at the Bank to NGF’s U.S.-based bank
                                  2 account.     This payment remains blocked and is ultimately needed to fund Nazarbayev
                                  3 University’s and Nazarbayev Intellectual Schools’ operating expenses. NGF has since been
                                  4 unable to transfer any funds from its account at the Bank. This includes small transfers to its
                                  5 own accounts for operations, as well as payments to vendors who have provided services to
                                  6 NGF in furtherance of its core mission. For example, NGF’s payments for legal services, web
                                  7 design, translation services, and accounting and tax services have all been blocked.
                                  8 Remarkably, NGF was not provided any formal explanation as to why its transfers have been
                                  9 blocked.
                                 10        67.     ARDFM went even further and instructed the Bank to freeze the accounts of
                                 11 certain Bank personnel and their relatives indefinitely and without justification.
                                 12        68.     ARDFM has been unwilling to leave a record of their actions. When ARDFM
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13 approves a transaction, it insists on doing so orally. When ARDFM denies a transaction, it
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14 does not provide, either in writing or orally, any explanation for why the transaction was
                                 15 denied.
                                 16        69.     These efforts have hindered the economic activities of the Bank and have caused
                                 17 the loss of many established clients. The Bank’s loss of clients and business has had a
                                 18 significant impact on Plaintiffs, which depend on dividend payments from the Bank to fund
                                 19 their operations and their obligations to NGF.
                                 20        70.     ARDFM has stated that the purpose of this surveillance was to ensure the Bank’s
                                 21 compliance with the newly updated anti-money laundering regulations. But it is clear that this
                                 22 was pretextual. In reality, no other bank received such “assistance.” ARDFM was instead
                                 23 initiating a broad campaign of intimidation, coordinated with several Government agencies
                                 24 and individuals and designed to prevent the Bank from engaging in regular business and, in
                                 25 turn, to pressure the Jusan Group into surrendering funds and control of assets to the
                                 26 Government of Kazakhstan and its affiliates.
                                 27
                                 28


                                                                                   16
                                                                                                                         Ex. Page No. 179
                                        Case 2:23-cv-00247-JAD-VCF
                                              Case 2:23-cv-00247 Document
                                                                   Document
                                                                          1 Filed
                                                                            16 Filed
                                                                                  02/16/23
                                                                                      03/08/23
                                                                                            PagePage
                                                                                                 17 of182
                                                                                                       32 of 245



                                  1        2. Financial Monitoring Agency of the Republic of Kazakhstan Launches Pretextual
                                  2              Investigation into First Heartland Bank and Seizes Documents.
                                  3        71.      In February 2022, the FMA launched a criminal investigation against former ATF
                                  4 Bank officials purportedly regarding the issuance of non-performing loans between 2013 and
                                  5 2016.
                                  6        72.      But the focus of the investigation has also proven to be pretextual. During the
                                  7 pendency of the criminal case, FMA seized documents from the Bank well beyond the scope
                                  8 of an investigation into historical loans. As examples, the FMA seized documents related to
                                  9 the purchase of ATF Bank in 2020, the Bank’s dividend information after 2020 and account
                                 10 transactions of Bank officials entirely unrelated to ATF Bank’s historical loans.
                                 11        3. Government-Owned Organizations Take Adverse Actions Against First Heartland
                                 12              Bank.
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13        73.      Between January and March 2022, a number of Government-owned
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14 organizations withdrew all funds from the Bank on the instruction of the Government of
                                 15 Kazakhstan.       This resulted in an outflow of significant capital from the Bank.         These
                                 16 Government-owned organizations include, but are not limited to: Damu, Kazakhstan’s
                                 17 Entrepreneurship       Development     Fund;    Kazakhtelecom     and    Kcell,     the    largest
                                 18 telecommunications company and main cellular communication operator in Kazakhstan; and
                                 19 Samruk-Kazyna, a Kazakhstani sovereign wealth fund with ownership interests in national rail
                                 20 and postal service as well as state-run gas and oil.
                                 21        74.      Moreover, during this time, all Government agencies, in particular the Ministry
                                 22 of Digital Development and the Tax Committee, ceased all cooperation relating to the Bank’s
                                 23 collaborative effort with the Government to develop “govtech” products.
                                 24        4. Anti-Corruption Agency of the Republic of Kazakhstan Launches a Sham Criminal
                                 25              Action and Makes Extortion Attempts.
                                 26        75.       Beginning in June 2022, AARK launched a purported criminal investigation into
                                 27 the Bank regarding its 2019 commercial purchase of Tsesnabank and subsequent earnings.
                                 28


                                                                                   17
                                                                                                                         Ex. Page No. 180
                                       Case 2:23-cv-00247-JAD-VCF
                                             Case 2:23-cv-00247 Document
                                                                  Document
                                                                         1 Filed
                                                                           16 Filed
                                                                                 02/16/23
                                                                                     03/08/23
                                                                                           PagePage
                                                                                                18 of183
                                                                                                      32 of 245



                                  1        76.    On information and belief, the impetus of this investigation was a letter from the
                                  2 former owner of Tsesnabank, Defendant Adilbek Dzhaksybekov, in which he improperly
                                  3 leveraged his personal connections to AARK leadership to force the investigation and with the
                                  4 ultimate goal of extorting millions of dollars from the Bank.
                                  5        77.    Defendant Dzhaksybekov’s push for criminal investigations centers around
                                  6 accusations that the Bank’s commercial purchase of Tsesnabank was somehow illegal,
                                  7 notwithstanding the fact that both he and the Government of Kazakhstan participated in and/or
                                  8 led the purchase, and that the purchase was necessitated by the near collapse of Tsesnabank
                                  9 under his prior ownership.
                                 10        78.    In connection with its investigation, AARK has undertaken extreme illegal and
                                 11 arbitrary enforcement measures, including excessive interrogations of Bank employees,
                                 12 unwarranted searches of key personnel and premises of the Bank, as well as travel restrictions
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13 for Jusan Group officers and employees.          On information and belief, these extreme
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14 enforcement measures were undertaken by AARK at the request of Mr. Dzhaksybekov.
                                 15        79.    In addition, AARK directed ARDFM to block all transactions, including the
                                 16 payment of dividends of the Jusan Group.            On October 7, 2022, ARDFM received
                                 17 correspondence from AARK to “take effective and comprehensive measures to suspend all
                                 18 expense (debit) transactions on payment of dividends by the Bank, FHS JSC, Jysan
                                 19 Technologies, Jysan Holding and [NGF] to their shareholders and owners, as well as any other
                                 20 payment transactions under the specified group of companies” and to “suspend expropriation
                                 21 actions of the shares of the Bank and FHS” during the pendency of the criminal investigation.
                                 22 On October 8, 2022, First Heartland Bank received correspondence from ARDFM signed by
                                 23 Defendant Kizatov, in which he detailed AARK’s October 7, 2022 instruction to ARDFM.
                                 24        80.    On behalf of the Bank, Mr. Shigeo Katsu attended a meeting in July 2022 with
                                 25 the President of Kazakhstan, Kassym-Jomart Tokayev, seeking to end the unfounded
                                 26 investigation. Mr. Katsu is the Chairman of the Board of Directors for both the Bank and FHS.
                                 27 During the meeting, President Tokayev stated he was aware that Defendant Dzhaksybekov had
                                 28


                                                                                   18
                                                                                                                        Ex. Page No. 181
                                        Case 2:23-cv-00247-JAD-VCF
                                              Case 2:23-cv-00247 Document
                                                                   Document
                                                                          1 Filed
                                                                            16 Filed
                                                                                  02/16/23
                                                                                      03/08/23
                                                                                            PagePage
                                                                                                 19 of184
                                                                                                       32 of 245



                                  1 raised complaints about the purchase of Tsesnabank, and suggested that Mr. Katsu should
                                  2 settle with Defendant Dzhaksybekov.
                                  3        81.      Following this meeting, Defendant Dzhaksybekov attempted to extort Mr. Katsu
                                  4 and the Bank, suggesting that AARK would close its investigation if the Bank paid him.
                                  5 Defendant Dzhaksybekov touted his personal connection to AARK officials, and demanded a
                                  6 payment of 60 million tenge (approximately USD $130 million) for unspecified “damages.”
                                  7        82.      Mr. Katsu refused all attempts to extort him and the Bank, noting that such
                                  8 payment without any evidence or justification would violate various anti-corruption laws and
                                  9 that the Jusan Group has to obey all laws, including those of Kazakhstan, the United Kingdom,
                                 10 and the United States.
                                 11        5. Government of Kazakhstan Attempts to Force Repayment of Government Assistance
                                 12              and to Take Control of FHS.
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13        83.      The mounting regulatory harassment from the Government of Kazakhstan in the
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14 first quarter of 2022 forced Mr. Katsu to attend a series of additional meetings with
                                 15 Government of Kazakhstan officials to seek an end to the Government’s illegal campaign.
                                 16        84.      During those meetings, Government of Kazakhstan officials, including
                                 17 representatives of ARDFM and the Prime Minister of Kazakhstan, Alikhan Smailov, claimed
                                 18 that the Bank was forbidden from paying dividends until the Bank repaid the Government
                                 19 assistance provided to Tsesnabank and ATF Bank.
                                 20        85.      No such limitation existed under any applicable law or contract, which of course,
                                 21 the Government knows. Nor had this restriction ever been raised before, including when the
                                 22 Bank issued dividends in December 2021.
                                 23        86.      Further, the Government of Kazakhstan has allowed other financial institutions
                                 24 to declare dividends without any issues, notwithstanding prior government assistance. As
                                 25 examples, Halyk Bank, Kaspi Bank and Sberbank Kazakhstan were allowed to pay dividends
                                 26 despite receiving significant state support over multiple years without first fully repaying the
                                 27 loans.
                                 28


                                                                                    19
                                                                                                                         Ex. Page No. 182
                                        Case 2:23-cv-00247-JAD-VCF
                                              Case 2:23-cv-00247 Document
                                                                   Document
                                                                          1 Filed
                                                                            16 Filed
                                                                                  02/16/23
                                                                                      03/08/23
                                                                                            PagePage
                                                                                                 20 of185
                                                                                                       32 of 245



                                  1        87.    Nonetheless, ARDFM continues to state that it will block any dividend payments
                                  2 and has threatened to imprison any Jusan Group employee who facilitates any dividend
                                  3 payment.
                                  4        88.    In addition, Mr. Suleimenov met with Jusan Group officials in September 2022,
                                  5 to demand that ownership of the Jusan Group be taken from U.S. and U.K. entities and be
                                  6 given to Kazakhstan.       During one such meeting, Mr. Suleimenov stated that he was
                                  7 participating as a representative of, and at the direction of, President Tokayev, and threatened
                                  8 the Jusan Group with additional Government actions over the lack of Kazakhstani citizens on
                                  9 the Boards of NGF and Jysan Holding. In that meeting, Mr. Suleimenov also demanded that
                                 10 control of FHS (and by extension, of the Bank) be given to unspecified Kazakhstani citizens.
                                 11 He did not provide any legal justification for the demand, nor could he.
                                 12          6.   Government of Kazakhstan Takes Action against Jusan Group Employees.
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13        89.    Upon information and belief, in the context of the Government of Kazakhstan’s
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14 negotiations with the Jusan Group in the first quarter 2022, the Government put pressure on
                                 15 the Jusan Group’s auditors to withhold audit reports until the return of all shares and option
                                 16 agreements from Jusan Group employees. The Government also threatened to initiate a
                                 17 criminal case relating to options that were not returned.
                                 18        90.    The ongoing negotiations and the threat of criminal action caused the involuntary
                                 19 surrender of these assets held by the Jusan Group employees.
                                 20        91.    The involuntary return of options caused Jusan Group personnel significant
                                 21 personal losses in the amount of tens of millions of dollars—compounding the personal losses
                                 22 implicated by ARDFM’s instruction to the Bank to freeze accounts of certain Bank personnel
                                 23 and their relatives.
                                 24        92.    For example, one member of the Jusan Group management—now a permanent
                                 25 resident of the United States—was forced to return his option of 4.62% shares of JTL, a book
                                 26 value of over USD $73 million as of May 2022. The Government has also threatened that
                                 27 same member with trial in absentia and imprisonment should that employee take any actions
                                 28


                                                                                   20
                                                                                                                        Ex. Page No. 183
                                        Case 2:23-cv-00247-JAD-VCF
                                              Case 2:23-cv-00247 Document
                                                                   Document
                                                                          1 Filed
                                                                            16 Filed
                                                                                  02/16/23
                                                                                      03/08/23
                                                                                            PagePage
                                                                                                 21 of186
                                                                                                       32 of 245



                                  1 to counter the Government of Kazakhstan in its efforts to seize the property of the Jusan Group
                                  2 and its employees.
                                  3        93.     Mr. Suleimenov in particular inquired as to the return of shares and options during
                                  4 subsequent negotiations in September 2022, corroborating the Government-backed nature of
                                  5 the extortion.
                                  6        7. ARDFM Illegally Interferes with FHS’s Dividend Payments.
                                  7        94.     On October 6, 2022, FHS declared dividends and requested that the Bank add the
                                  8 declaration of dividends to its extraordinary general meeting. That declaration and request
                                  9 legally obligated the Bank, under its written policies and governing documents, to make a
                                 10 dividend distribution to FHS. Significant portions of the dividends owed to FHS are the
                                 11 ultimate property of Jysan Holding, and will, in turn, be owed to Jysan Holding under
                                 12 intercompany policies and agreements.
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13        95.     On October 7, 2022, ARDFM blocked FHS and the Bank from making this and
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14 other dividend payments in the approximate total amount of USD $387 million, as well as
                                 15 from making other payment transactions of the Bank to its direct and indirect parent
                                 16 companies.
                                 17        96.     ARDFM representatives Defendants Kizatov and Omarbekov called Bank
                                 18 representatives in October 2022 regarding these blocked payments. During a call with the
                                 19 Bank’s Chief Compliance Officer, Ms. Ardak Mukasheva, Defendant Omarbekov echoed the
                                 20 assertions made in prior meetings between representatives of the Bank and the Government,
                                 21 claiming that the Bank’s funds belong to the Government of Kazakhstan and threatening that
                                 22 law enforcement was preparing to arrest and interrogate employees of the Bank and employees
                                 23 of its affiliates.
                                 24        97.     Defendant Omarbekov called the Bank again on October 8, 2022, claiming that
                                 25 ARDFM had obtained a letter from an unnamed law enforcement agency directing ARDFM
                                 26 to block all dividend payments from the Bank.
                                 27
                                 28


                                                                                    21
                                                                                                                          Ex. Page No. 184
                                        Case 2:23-cv-00247-JAD-VCF
                                              Case 2:23-cv-00247 Document
                                                                   Document
                                                                          1 Filed
                                                                            16 Filed
                                                                                  02/16/23
                                                                                      03/08/23
                                                                                            PagePage
                                                                                                 22 of187
                                                                                                       32 of 245



                                  1        8. FMA Illegally Interferes with FHS’s Dividend Payments.
                                  2        98.      On October 13, 2022, the FMA sent a letter to the Bank incorrectly asserting that
                                  3 the Bank had received 1.5 trillion tenge from the Government of Kazakhstan on preferential
                                  4 terms and somehow was in default on this “debt.” In the letter, the FMA asserted that it was
                                  5 suspending the Bank’s ability to pay dividends to its shareholders and requiring that the Bank
                                  6 notify FMA before further dividend payments are carried out.
                                  7        9. The Government’s Proffered “Justifications” are Shifting, Contradictory, and
                                  8              Baseless.
                                  9        99.      Throughout the pendency of its campaign, the Government has provided various
                                 10 “justifications” for its actions—none of which justify the Government’s illegal actions against
                                 11 the Jusan Group.
                                 12        100.     When ARDFM increased surveillance of First Heartland Bank, the “justification”
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13 was to ensure the Bank’s compliance with the newly updated anti-money laundering
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14 regulations.
                                 15        101.     When FMA launched a criminal investigation against former ATF Bank officials,
                                 16 the “justification” was to investigate the issuance of non-performing loans between 2013 and
                                 17 2016.
                                 18        102.     In the end, the Government has settled on a single justification: that AARK’s
                                 19 criminal investigation, and ARDFM and FMA’s blocking of dividend payments, are somehow
                                 20 “justified” by First Heartland Bank’s commercial purchase of Tsesnabank and ATF Bank. Of
                                 21 course, this “justification” is just as baseless as all of its predecessors, as the key members of
                                 22 the campaign to harass the Bank were also the architects of the Framework Agreements.
                                 23 Indeed, the Bank has previously issued dividends without objection from the Government of
                                 24 Kazakhstan, including as recently as December 2021.
                                 25        103.     On information and belief, the Defendants’ intent has been to stop the dividend
                                 26 funds from traveling outside of Kazakhstan—and thus outside of the Government’s control—
                                 27 for the benefit of Plaintiffs, because Defendants know the dividend funds are for the benefit
                                 28 of, and owed to, Plaintiffs JTL and Jysan Holding, and ultimately NGF.


                                                                                    22
                                                                                                                          Ex. Page No. 185
                                        Case 2:23-cv-00247-JAD-VCF
                                              Case 2:23-cv-00247 Document
                                                                   Document
                                                                          1 Filed
                                                                            16 Filed
                                                                                  02/16/23
                                                                                      03/08/23
                                                                                            PagePage
                                                                                                 23 of188
                                                                                                       32 of 245



                                  1    E. The Government Retaliates Against the Plaintiffs After Negotiation Fails.
                                  2        10. Plaintiffs Notify Defendants of Their Intention to Enforce Their Rights and the Parties
                                  3            Engage in Unsuccessful Negotiations.
                                  4        104.    In a last-ditch effort to resolve the dispute without court intervention, Plaintiffs
                                  5 notified Defendants of their intention to bring suit in Nevada. Throughout November, the
                                  6 parties, including counsel for the parties, engaged in a series of informal negotiations. Those
                                  7 negotiations were unsuccessful and part of a delay tactic while Defendants lined up corrupt
                                  8 legislators and agencies to ready an assault on Plaintiffs.
                                  9        105.    Since then, Defendants’ campaign of harassment has only intensified in what is
                                 10 plainly retaliation for Plaintiffs’ informing Defendants of their intention to file this lawsuit.
                                 11        11. Defendants Retaliate Against Plaintiffs by Introducing Legislation Targeting the
                                 12            Jusan Group.
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13        106.    On November 22, 2022, one day after President Tokayev’s re-election, the lower
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14 house of Kazakhstan’s Parliament, the Majilis, approved a draft law with amendments to the
                                 15 Law “On Banks and Banking Activities in the Republic of Kazakhstan.” The proposed
                                 16 amendments were directed at Plaintiffs and sought to, inter alia, (1) change the definitions of
                                 17 “bank holding” and “major participant in a bank” such that non-profit organizations, like NGF,
                                 18 could not directly or indirectly own banks; (2) place restrictions on banks that have received
                                 19 Government assistance, like First Heartland Bank, to prevent them from distributing dividends,
                                 20 including by allowing ARDFM to block such dividends; and (3) require all major direct and
                                 21 indirect shareholders and controlling entities of banks to apply for and obtain approval from
                                 22 ARDFM within 30 days of the date of publication of the amendments.
                                 23        107.    The upper house of Kazakhstan’s Parliament, the Senate, subsequently approved
                                 24 the amendments allowing ARDFM to block dividends from banks that have received
                                 25 Government assistance and requiring ARDFM approval for major direct and indirect
                                 26 shareholders and controlling entities of banks, while it rejected the proposed amendment
                                 27 barring non-profit organizations from owning banks, for lack of justification.
                                 28


                                                                                     23
                                                                                                                           Ex. Page No. 186
                                        Case 2:23-cv-00247-JAD-VCF
                                              Case 2:23-cv-00247 Document
                                                                   Document
                                                                          1 Filed
                                                                            16 Filed
                                                                                  02/16/23
                                                                                      03/08/23
                                                                                            PagePage
                                                                                                 24 of189
                                                                                                       32 of 245



                                  1        108.      These amendments, which entered into force on January 1, 2023, will allow the
                                  2 Government to block the dividends to which Plaintiffs are entitled and even to prohibit
                                  3 Plaintiffs’ ownership interests in the Bank. Under the amendments, JTL, Jysan Holding, and
                                  4 NGF would each need to obtain and submit to ARDFM credit ratings, audited financial
                                  5 statements, and relevant notarizations and apostilles from multiple jurisdictions within 30
                                  6 days, which is simply not feasible. Further, if these entities remain major shareholders in the
                                  7 Bank without ARDFM approval, ARDFM may demand that they reduce their indirect
                                  8 ownership share to below 25% and suspend all transactions between them and the Bank;
                                  9 establish trust management of the Bank’s shares for up to three months; and ultimately alienate
                                 10 the Bank’s shares by selling them on a securities market. There could not be a clearer case
                                 11 of unlawful seizure of assets under the control of Nevada citizens.
                                 12        109.      At least one member of the Majilis publicly stated that these amendments are
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13 explicitly designed to target the shareholders of First Heartland Bank and block the dividends
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14 at issue here.
                                 15        110.      After delaying until one day following President Tokayev’s re-election, the
                                 16 Government has now made the objectives and intent of its campaign clear—to stop the
                                 17 dividend funds from traveling outside Kazakhstan, to coerce the Jusan Group into surrendering
                                 18 funds and control of assets to the Government of Kazakhstan and its affiliates, and to retaliate
                                 19 against the Jusan Group for seeking to enforce its rights in an American court.
                                 20        12. Defendants Retaliate Against Plaintiffs by Filing a Suit Against Them in Kazakhstan.
                                 21        111.      On December 2, 2022, Kazakhstan’s Prosecutor General filed suit against
                                 22 numerous members of the Jusan Group, including Plaintiffs, and employees of the Jusan
                                 23 Group, including Mr. Katsu and the employee previously threatened with imprisonment. The
                                 24 Prosecutor General reports directly to the President and represents the interests of the
                                 25 Government of Kazakhstan in court.
                                 26        112.      The suit sought to do through the court exactly what Defendants have attempted
                                 27 to do through their campaign of harassment—to weaken the Jusan Group and limit its access
                                 28 to its own capital.


                                                                                    24
                                                                                                                        Ex. Page No. 187
                                        Case 2:23-cv-00247-JAD-VCF
                                              Case 2:23-cv-00247 Document
                                                                   Document
                                                                          1 Filed
                                                                            16 Filed
                                                                                  02/16/23
                                                                                      03/08/23
                                                                                            PagePage
                                                                                                 25 of190
                                                                                                       32 of 245



                                  1        113.   Specifically, the lawsuit sought to invalidate an agreement between two members
                                  2 of the Jusan Group—JTL and Pioneer Capital Invest LLP (“Pioneer”). The invalidation of
                                  3 this agreement would have eliminated NGF’s ownership interests in JTL and therefore
                                  4 eliminated NGF’s access to dividends and distributions from the business and operations of
                                  5 JTL and its holdings, including FHS and the Bank. The lawsuit also sought the return of
                                  6 millions of dollars (USD) in assets and cash from JTL to Pioneer, including JTL’s shares in
                                  7 the Bank. The assets and funds at issue were properly transferred to JTL via the agreement
                                  8 the Government sought to invalidate. By seeking the movement of assets and funds from
                                  9 Plaintiff JTL to Kazakhstan-based Pioneer, the Government is interfering with Jusan Group’s
                                 10 assets and seeking to move them into Kazakhstan where the Government will be able to exert
                                 11 greater control. Finally, the lawsuit sought that all the named Jusan Group employees
                                 12 surrender their shares in the Bank.
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13        114.   A Kazakhstani court quickly dismissed the Prosecutor General’s suit based on its
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14 determination that the claims lacked evidence. This emphatic dismissal of the Prosecutor
                                 15 General’s baseless suit further demonstrates the Government’s blatant misuse of the state
                                 16 apparatus to target the Jusan Group.
                                 17        13. Kazakhstani Government Officials Threaten “War” Against Jusan Group Employees.
                                 18        115.   On December 20, 2022, Kazakhstani Prime Minister Alikhan Smailov sent a
                                 19 message to the same Jusan Group employee – a United States resident – who was previously
                                 20 threatened with imprisonment, demanding the Jusan Group’s return to Kazakhstan and
                                 21 threatening “war” if the Government’s demands are not met.
                                 22        14. Defendants Repackage Their Previously Dismissed Complaint and Refile Suit in
                                 23            Kazakhstan.
                                 24        116.   On February 10, 2023, the Kazakhstani Prosecutor General filed another suit
                                 25 against members of the Jusan group challenging the 2020 transaction between JTL and Pioneer
                                 26 and seeking to seize certain Jusan Group property. While this suit alleges slightly different
                                 27 facts and claims different causes of action, its aim is the same as the suit filed, and swiftly
                                 28


                                                                                   25
                                                                                                                       Ex. Page No. 188
                                        Case 2:23-cv-00247-JAD-VCF
                                              Case 2:23-cv-00247 Document
                                                                   Document
                                                                          1 Filed
                                                                            16 Filed
                                                                                  02/16/23
                                                                                      03/08/23
                                                                                            PagePage
                                                                                                 26 of191
                                                                                                       32 of 245



                                  1 dismissed, in December 2022—to threaten the Jusan Group into handing over its control to the
                                  2 Government.
                                  3        117.   But the Government goes even a step further in the February suit and seeks to
                                  4 seize myriad assets of not just the defendants to the action, but of the Jusan Group at large.
                                  5 The Prosecutor General seeks to seize Jusan Group shares in over a dozen entities.
                                  6        118.   Once again the Prosecutor General sought to have JTL return to Pioneer millions
                                  7 of dollars (USD) in assets and cash which were properly transferred to JTL. And once again
                                  8 the result, if the suit were successful, would be the movement of the Jusan Group’s lawfully
                                  9 controlled assets into Kazakhstan where the Government will be able to exert greater control.
                                 10   F. The Government’s Illegal Campaign Is Consistent with Historical Corruption.
                                 11        119.   Defendants’ actions are consistent with historical corrupt practices in
                                 12 Kazakhstan, as well as reports of a marked increase in corruption in Kazakhstan in recent
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13 years.
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14        120.   As one example, in 2013, an arbitration panel awarded a Moldovan company
                                 15 USD $497,685,101 in damages (plus 50% of the cost of legal representation) for the
                                 16 Government of Kazakhstan’s breach of the Energy Charter Treaty, an international agreement
                                 17 establishing cross-border cooperation in the energy industry. That matter involved strikingly
                                 18 similar tactics to those employed against the Plaintiffs. There, the tribunal found that
                                 19 Kazakhstan breached the company’s right to fair and equitable treatment under the
                                 20 Treaty. Specifically, the company alleged that Kazakhstan engaged in a campaign of
                                 21 harassment, culminating in the cancellation of its oil and gas exploration contracts and the
                                 22 seizure of its assets located in Kazakhstan. That campaign reportedly included tactics by
                                 23 Kazakhstan’s financial police and seven quasi-state entities and involved the baseless freezing
                                 24 of the company’s assets, around-the-clock surveillance and inspection by government agency
                                 25 officials which prevented employees from conducting regular business affairs, the
                                 26 unwarranted seizure of documents, the unlawful arrest and conviction of an in-country
                                 27 manager, and the reversal of prior government approvals and waivers.
                                 28


                                                                                   26
                                                                                                                       Ex. Page No. 189
                                        Case 2:23-cv-00247-JAD-VCF
                                              Case 2:23-cv-00247 Document
                                                                   Document
                                                                          1 Filed
                                                                            16 Filed
                                                                                  02/16/23
                                                                                      03/08/23
                                                                                            PagePage
                                                                                                 27 of192
                                                                                                       32 of 245



                                  1        121.    More recently, media reports have noted that corruption cases in Kazakhstan have
                                  2 increased dramatically in 2022, including by as much as 30 percent.               Transparency
                                  3 International’s Corruption Perceptions Index, the most widely used global corruption ranking
                                  4 in the world, measures Kazakhstan as a bottom performer in public sector corruption within
                                  5 Eastern Europe and Central Asia, itself the second lowest performing region worldwide. A
                                  6 recent report published by the Group of States Against Corruption, the Council of Europe’s
                                  7 anti-corruption body, has comprehensively identified the ongoing “serious problem” of
                                  8 corruption that exists in Kazakhstan. Expert assessments reveal that Kazakhstan’s progress
                                  9 toward anti-corruption measures is scattered at best.
                                 10        122.    In October 2022, U.S. Senators on the Senate Foreign Relations Committee called
                                 11 for an “international investigation into state-sanctioned violence and review of U.S. security
                                 12 assistance following nationwide protests earlier this year” in Kazakhstan, including Kazakh
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13 security forces’ violent response toward civilian protestors. As part of that investigation, the
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14 Senators have called on the U.S. Department of State to review its relationship with
                                 15 Kazakhstan in order to “prioritize protecting fundamental freedoms and strengthening the rule
                                 16 of law.”
                                 17   G. The Government’s Illegal Campaign, Particularly Blocking Dividend Payments, Is
                                 18   Causing a Concrete Harm to the Jusan Group’s Operations.
                                 19        123.    Unsurprisingly, and presumably as the Government intended, the Government’s
                                 20 campaign, including most notably the blocking of approximately USD $387 million in
                                 21 dividends, is causing significant, immediate, and concrete harm to Plaintiffs’ operations.
                                 22        124.    Plaintiffs are unable to receive dividend funding from their subsidiaries
                                 23 connected to the Bank—a primary source of funding—nor are they able to fulfill their
                                 24 obligation to provide dividend funding to their parent organizations. In turn, NGF is unable to
                                 25 transfer or use its own funds in its own bank accounts or receive lawfully issued dividends, to
                                 26 serve its sole mission: to fund Nazarbayev University and Nazarbayev Intellectual Schools.
                                 27 Ultimately, by freezing the Jusan Group’s funds, the Government is depriving Nazarbayev
                                 28 University and Nazarbayev Intellectual Schools of necessary resources, and thereby harming


                                                                                   27
                                                                                                                        Ex. Page No. 190
                                        Case 2:23-cv-00247-JAD-VCF
                                              Case 2:23-cv-00247 Document
                                                                   Document
                                                                          1 Filed
                                                                            16 Filed
                                                                                  02/16/23
                                                                                      03/08/23
                                                                                            PagePage
                                                                                                 28 of193
                                                                                                       32 of 245



                                  1 Nazarbayev University’s and Nazarbayev Intellectual Schools’ students, researchers, and
                                  2 educators.
                                  3        125.    In addition, in August 2022, Plaintiff JTL represented its intention to buy back
                                  4 USD $20 million in JTL shares from an investor. Because of the blocked dividend payments,
                                  5 JTL is unable to proceed with this buyback.
                                  6
                                                                  FIRST CAUSE OF ACTION
                                  7            (EXPROPRIATION IN VIOLATION OF INTERNATIONAL LAW)
                                  8     (against Defendant Republic of Kazakhstan and Governmental Agency Defendants)

                                  9        126.    Plaintiffs incorporate and re-allege the foregoing as if alleged herein.

                                 10        127.    As parent corporations and shareholders of First Heartland Securities and First

                                 11 Heartland Bank, Plaintiffs have direct property interests in their rights to receive declared
                                 12 dividends from those subsidiaries.
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13        128.    Through their conduct alleged above, including obstructing Plaintiffs’
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14 subsidiaries from paying lawfully declared dividends to their foreign shareholders and directly
                                 15 aiming their conduct at that result, Defendant Republic of Kazakhstan and its agencies have
                                 16 expropriated and taken Plaintiffs’ property in violation of international law.
                                 17        129.    Defendant Government of Kazakhstan and its agencies have also violated

                                 18 customary international law by expropriating and taking similar property interests belonging
                                 19 to First Heartland Securities and First Heartland Bank with the discriminatory purpose to harm
                                 20 their foreign shareholders.
                                 21                                SECOND CAUSE OF ACTION
                                                      (18 U.S.C. § 1964(c)) (against the Individual Defendants)
                                 22
                                 23        130.    Plaintiffs incorporate and re-allege the foregoing as if alleged herein.

                                 24        131.    The Individual Defendants are associated-in-fact as an enterprise engaged in and

                                 25 whose activities affect interstate commerce, and have operated and participated in the conduct
                                 26 of additional enterprises, including the Defendant Government and its agencies.
                                 27
                                 28


                                                                                    28
                                                                                                                              Ex. Page No. 191
                                        Case 2:23-cv-00247-JAD-VCF
                                              Case 2:23-cv-00247 Document
                                                                   Document
                                                                          1 Filed
                                                                            16 Filed
                                                                                  02/16/23
                                                                                      03/08/23
                                                                                            PagePage
                                                                                                 29 of194
                                                                                                       32 of 245



                                  1        132.    The Individual Defendants agreed to and did conduct and participate in the
                                  2 conduct of the enterprise’s affairs through a pattern of racketeering activity and for the
                                  3 unlawful purpose of intentionally extorting Plaintiffs, ultimately for their own personal benefit.
                                  4        133.    The Individual Defendants agreed to and did conduct and participate in the
                                  5 conduct of the enterprise’s affairs through a pattern of racketeering activity and for the
                                  6 unlawful purpose of intentionally extorting the Jusan Group.
                                  7        134.    The Individual Defendants have directly and indirectly conducted and
                                  8 participated in the conduct of the enterprise’s affairs through the pattern of racketeering and
                                  9 activity described above, in violation of 18 U.S.C. § 1962(c).
                                 10        135.    As a direct and proximate result of the Individual Defendants’ racketeering
                                 11 activities and violations of 18 U.S.C. § 1962(c), Plaintiffs have been injured in their business
                                 12 and property.
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13                                 THIRD CAUSE OF ACTION
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                                    (Nev. Rev. Stat. § 207.470) (against all Individual Defendants)
                                 14
                                 15        136.    Plaintiffs incorporate and re-allege the foregoing as if alleged herein.
                                 16        137.    Individual Defendants have committed at least two distinct crimes related to
                                 17 racketeering as defined in Nev. Rev. Stat. § 207.360, constituting racketeering activity
                                 18 pursuant to Nev. Rev. Stat. § 207.390.
                                 19        138.    Defendants have participated directly and indirectly in the conduct of the affairs
                                 20 of an enterprise whose activities constitute racketeering activity, in violation of Nev. Rev. Stat.
                                 21 § 207.400.
                                 22        139.    Plaintiffs have been injured in their business and property by reason of
                                 23 Defendants’ violations.
                                 24                        FOURTH CAUSE OF ACTION
                                 25        (INTENTIONAL INTERFERENCE WITH CONTRACTUAL RELATIONS)
                                                              (against all Defendants)
                                 26
                                 27        140.    Plaintiffs incorporate and re-allege the foregoing as if alleged herein.

                                 28


                                                                                     29
                                                                                                                              Ex. Page No. 192
                                        Case 2:23-cv-00247-JAD-VCF
                                              Case 2:23-cv-00247 Document
                                                                   Document
                                                                          1 Filed
                                                                            16 Filed
                                                                                  02/16/23
                                                                                      03/08/23
                                                                                            PagePage
                                                                                                 30 of195
                                                                                                       32 of 245



                                  1        141.    Valid intercompany agreements exist between First Heartland Bank and First
                                  2 Heartland Securities, First Heartland Securities and JTL, JTL and Jysan Holding, and Jysan
                                  3 Holding and NGF. Each of those intercompany agreements entitles the parent company in the
                                  4 corporate relationship to dividend payments from its subsidiary. Jysan Holding and JTL are
                                  5 parties to those agreements or, with respect to the agreements to which Jysan Holding and/or
                                  6 JTL are not a party, third-party beneficiaries.
                                  7        142.    Defendants each have knowledge of the aforementioned agreements, and have
                                  8 committed intentional acts intended and designed to disrupt each relationship. Defendants’
                                  9 acts have caused actual disruption of each agreement, and caused Jysan Holding and JTL
                                 10 damages resulting from that disruption.
                                 11
                                                           FIFTH CAUSE OF ACTION
                                 12                     (INTENTIONAL INTERFERENCE
9555 HILLWOOD DRIVE, 2ND FLOOR




                                          WITH PROSPECTIVE ECONOMIC ADVANTAGE) (against all Defendants)
                                 13
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14        143.    Plaintiffs incorporate and re-allege the foregoing as if alleged herein.

                                 15        144.    Upon receipt of the blocked dividend from the Bank, FHS planned to dividend

                                 16 all or portions of the blocked dividend to JTL, and JTL then planned to dividend all or portions
                                 17 of the blocked dividend to Jysan Holding, which was to dividend all or portions to its parent,
                                 18 NGF, minus reasonable operational expenses. Defendants each have knowledge of the
                                 19 ultimate purpose of the blocked dividend, and have committed intentional acts intended and
                                 20 designed to disrupt the dividends to Plaintiffs and the dividend to NGF. Defendants’ acts have
                                 21 caused actual disruption to those prospective dividends, and caused Jysan Holding and JTL
                                 22 damages resulting from that disruption.
                                 23        145.    Defendants’ conduct was unwarranted and without justification. No agreement

                                 24 or law provides for a right of interference or dividend obstruction relating to the Government’s
                                 25 bailout payments to Tsesnabank and ATF Bank. As a direct result of Defendants’ conduct,
                                 26 Plaintiffs and their affiliates did not receive funds necessary to perform their basic functions
                                 27 and missions, including their funding of NGF, Nazarbayev Intellectual Schools, and
                                 28 Nazarbayev University.


                                                                                      30
                                                                                                                              Ex. Page No. 193
                                        Case 2:23-cv-00247-JAD-VCF
                                              Case 2:23-cv-00247 Document
                                                                   Document
                                                                          1 Filed
                                                                            16 Filed
                                                                                  02/16/23
                                                                                      03/08/23
                                                                                            PagePage
                                                                                                 31 of196
                                                                                                       32 of 245



                                  1                                SIXTH CAUSE OF ACTION
                                                           (CIVIL CONSPIRACY) (against all Defendants)
                                  2
                                  3        146.    Plaintiffs incorporate and re-allege the foregoing as if alleged herein.
                                  4        147.    Defendants have acted in concert with the intent to accomplish an unlawful
                                  5 objective for the purpose of harming the Jusan Group, including Plaintiffs.
                                  6        148.    As a result of Defendants’ acts in furtherance of that conspiracy, the Jusan Group,
                                  7 including Plaintiffs, has suffered damages.
                                  8        149.    Defendants are jointly and severally liable for the damages that Plaintiffs have
                                  9 suffered as a result of each act taken by each Defendant in furtherance of Defendants’
                                 10 conspiracy.
                                 11                            SEVENTH CAUSE OF ACTION
                                                    (CIVIL AIDING AND ABETTING) (against all Defendants)
                                 12
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13        150.    Plaintiffs incorporate and re-allege the foregoing as if alleged herein.
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14        151.    Each Defendant has substantially assisted and encouraged other Defendants’
                                 15 conduct in breaching duties owed to Plaintiffs, including tort duties and statutory duties as set
                                 16 forth above.
                                 17        152.    Defendants’ breaches have caused harm to the Jusan Group, including Plaintiffs.
                                 18        153.    Defendants are each liable under a civil aiding and abetting theory for damages
                                 19 caused by the breaches that they have substantially assisted and encouraged.
                                 20                                     PRAYER FOR RELIEF
                                 21        154.    Plaintiffs incorporate and re-allege the foregoing as if alleged herein and
                                 22 respectfully request that the Court:
                                 23            a) Declare that Defendants’ conduct has unlawfully injured Plaintiffs, and is not
                                 24            subject to any lawful privilege or justification;
                                 25            b) Award Plaintiffs compensatory and punitive damages in an amount to be
                                 26            determined at trial, including trebled damages and attorneys’ fees pursuant to
                                 27            18 U.S.C. § 1964(c);
                                 28            c) Award Plaintiffs their costs and expenses, including attorneys’ fees; and


                                                                                     31
                                                                                                                              Ex. Page No. 194
                                      Case 2:23-cv-00247-JAD-VCF
                                            Case 2:23-cv-00247 Document
                                                                 Document
                                                                        1 Filed
                                                                          16 Filed
                                                                                02/16/23
                                                                                    03/08/23
                                                                                          PagePage
                                                                                               32 of197
                                                                                                     32 of 245



                                 1          d) Award Plaintiffs such further relief as may be just under the circumstances.
                                 2                                        JURY DEMAND
                                 3      Plaintiffs demand a jury trial on all issues so triable.
                                 4      DATED this 16th day of February 2023
                                 5                                                   HOLLAND & HART LLP
                                 6
                                                                                      /s/ J. Stephen Peek
                                 7                                                   J. Stephen Peek
                                                                                     Erica C. Medley
                                 8                                                   9555 Hillwood Drive, 2nd Floor
                                                                                     Las Vegas, NV 89134
                                 9
                                                                                     Tariq Mundiya
                                 10                                                  (pro hac vice forthcoming)
                                                                                     Jeffrey B. Korn
                                 11                                                  (pro hac vice forthcoming)
                                                                                     WILLKIE FARR & GALLAGHER LLP
                                 12                                                  787 Seventh Avenue
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13                                                  New York, New York 10019
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14                                                  Michael J. Gottlieb
                                                                                     (pro hac vice forthcoming)
                                 15                                                  WILLKIE FARR & GALLAGHER LLP
                                                                                     1875 K Street, NW
                                 16                                                  Washington, DC 20006

                                 17                                                  Attorneys for Plaintiffs
                                                                                     Jysan Holding, LLC; and
                                 18                                                  Jusan Technologies Ltd.
                                 19
                                 20
                                 21
                                 22
                                 23
                                 24
                                 25
                                 26
                                 27
                                 28


                                                                                   32
                                                                                                                      Ex. Page No. 195
JS 44 (Rev. 10/20)        Case 2:23-cv-00247-JAD-VCF
                                Case 2:23-cv-00247 Document
                                                CIVILDocument
                                                      COVER 1-116Filed
                                                               SHEETFiled
                                                                        02/16/23
                                                                          03/08/23Page
                                                                                    Page
                                                                                       1 of
                                                                                         1983 of 245
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                          DEFENDANTS
          Jysan Holding, LLC; Jusan Technologies LTD                                                       Republic of Kazakhstan et al. (see attached)
    (b)   County of Residence of First Listed Plaintiff                                                    County of Residence of First Listed Defendant              Republic of Kazakhstan
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                           NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                      THE TRACT OF LAND INVOLVED.

    (c)   Attorneys (Firm Name, Address, and Telephone Number)                                              Attorneys (If Known)

          (see attached)

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                       III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                        (For Diversity Cases Only)                                    and One Box for Defendant)
    1   U.S. Government                ✖ 3   Federal Question                                                                    PTF        DEF                                         PTF      DEF
          Plaintiff                            (U.S. Government Not a Party)                      Citizen of This State            1          1      Incorporated or Principal Place         4     4
                                                                                                                                                       of Business In This State

    2   U.S. Government                  4   Diversity                                            Citizen of Another State            2          2   Incorporated and Principal Place           5         5
          Defendant                            (Indicate Citizenship of Parties in Item III)                                                           of Business In Another State

                                                                                                  Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                    Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                     Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                                TORTS                            FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
    110 Insurance                       PERSONAL INJURY                  PERSONAL INJURY             625 Drug Related Seizure             422 Appeal 28 USC 158       375 False Claims Act
    120 Marine                          310 Airplane                    365 Personal Injury -            of Property 21 USC 881           423 Withdrawal              376 Qui Tam (31 USC
    130 Miller Act                      315 Airplane Product                Product Liability        690 Other                                28 USC 157                  3729(a))
    140 Negotiable Instrument                Liability                  367 Health Care/                                                                              400 State Reapportionment
    150 Recovery of Overpayment         320 Assault, Libel &                Pharmaceutical                                                PROPERTY RIGHTS             410 Antitrust
        & Enforcement of Judgment            Slander                        Personal Injury                                                820 Copyrights             430 Banks and Banking
    151 Medicare Act                    330 Federal Employers’              Product Liability                                              830 Patent                 450 Commerce
    152 Recovery of Defaulted                Liability                  368 Asbestos Personal                                              835 Patent - Abbreviated   460 Deportation
         Student Loans                  340 Marine                          Injury Product                                                     New Drug Application ✖ 470 Racketeer Influenced and
         (Excludes Veterans)            345 Marine Product                  Liability                                                      840 Trademark                  Corrupt Organizations
    153 Recovery of Overpayment              Liability                 PERSONAL PROPERTY                      LABOR                        880 Defend Trade Secrets   480 Consumer Credit
        of Veteran’s Benefits           350 Motor Vehicle               370 Other Fraud              710 Fair Labor Standards                  Act of 2016                (15 USC 1681 or 1692)
    160 Stockholders’ Suits             355 Motor Vehicle               371 Truth in Lending             Act                                                          485 Telephone Consumer
    190 Other Contract                      Product Liability           380 Other Personal           720 Labor/Management                  SOCIAL SECURITY                Protection Act
    195 Contract Product Liability      360 Other Personal                  Property Damage              Relations                         861 HIA (1395ff)           490 Cable/Sat TV
    196 Franchise                           Injury                      385 Property Damage          740 Railway Labor Act                 862 Black Lung (923)       850 Securities/Commodities/
                                        362 Personal Injury -               Product Liability        751 Family and Medical                863 DIWC/DIWW (405(g))         Exchange
                                            Medical Malpractice                                          Leave Act                         864 SSID Title XVI         890 Other Statutory Actions
        REAL PROPERTY                     CIVIL RIGHTS                 PRISONER PETITIONS            790 Other Labor Litigation            865 RSI (405(g))           891 Agricultural Acts
    210 Land Condemnation               440 Other Civil Rights          Habeas Corpus:               791 Employee Retirement                                          893 Environmental Matters
    220 Foreclosure                     441 Voting                      463 Alien Detainee               Income Security Act              FEDERAL TAX SUITS           895 Freedom of Information
    230 Rent Lease & Ejectment          442 Employment                  510 Motions to Vacate                                              870 Taxes (U.S. Plaintiff      Act
    240 Torts to Land                   443 Housing/                        Sentence                                                            or Defendant)         896 Arbitration
    245 Tort Product Liability              Accommodations              530 General                                                        871 IRS—Third Party        899 Administrative Procedure
    290 All Other Real Property         445 Amer. w/Disabilities -      535 Death Penalty                IMMIGRATION                            26 USC 7609               Act/Review or Appeal of
                                            Employment                  Other:                       462 Naturalization Application                                       Agency Decision
                                        446 Amer. w/Disabilities -      540 Mandamus & Other         465 Other Immigration                                            950 Constitutionality of
                                            Other                       550 Civil Rights                 Actions                                                          State Statutes
                                        448 Education                   555 Prison Condition
                                                                        560 Civil Detainee -
                                                                            Conditions of
                                                                            Confinement
V. ORIGIN (Place an “X” in One Box Only)
✖   1 Original             2 Removed from                     3      Remanded from              4 Reinstated or             5 Transferred from      6 Multidistrict                     8 Multidistrict
      Proceeding             State Court                             Appellate Court              Reopened                    Another District          Litigation -                      Litigation -
                                                                                                                              (specify)                 Transfer                          Direct File
                                         Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                         18 U.S.C. § 1964(c)
VI. CAUSE OF ACTION                      Brief description of cause:
                                         Violation of Racketeer Influenced Corrupt Organizations Act and related violations of state and international law based on expropriation of assets.
VII. REQUESTED IN                             CHECK IF THIS IS A CLASS ACTION                        DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                               UNDER RULE 23, F.R.Cv.P.                                                                           JURY DEMAND:                 ✖   Yes          No
VIII. RELATED CASE(S)
                                             (See instructions):
      IF ANY                                                          JUDGE                                                               DOCKET NUMBER
DATE                                                                    SIGNATURE OF ATTORNEY OF RECORD
02/16/2023                                                              /s/ J. Stephen Peek
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                    APPLYING IFP                                    JUDGE                           MAG. JUDGE


                                                                                                                                                                         Ex. Page No. 196
                       Case 2:23-cv-00247-JAD-VCF
JS 44 Reverse (Rev. 10/20)   Case 2:23-cv-00247 Document
                                                  Document
                                                         1-116Filed
                                                                 Filed
                                                                     02/16/23
                                                                       03/08/23Page
                                                                                 Page
                                                                                    2 of
                                                                                      1993 of 245
                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
         the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statue.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.




                                                                                                                                  Ex. Page No. 197
   Case 2:23-cv-00247-JAD-VCF
         Case 2:23-cv-00247 Document
                              Document
                                     1-116Filed
                                             Filed
                                                 02/16/23
                                                   03/08/23Page
                                                             Page
                                                                3 of
                                                                  2003 of 245




                               Civil Cover Sheet Attachment

Section I(a) Defendants:
       Republic of Kazakhstan;
       The Agency for Regulation and Development of the Financial Market of the Republic of
       Kazakhstan;
       The Anti-Corruption Agency of the Republic of Kazakhstan;
       The Financial Monitoring Agency of the Republic of Kazakhstan;
       The Committee for National Security of the Republic of Kazakhstan;
       The Agency for Regulation and Development of the Financial Market of the Republic of
       Kazakhstan, Chairperson, Abylkassymova, Madina;
       The Agency for Regulation and Development of the Financial Market of the Republic of
       Kazakhstan, Deputy Chairperson, Kizatov, Olzhas;
       The Agency for Regulation and Development of the Financial Market of the Republic of
       Kazakhstan, Representative, Omarbekov, Arman;
       Dzhaksybekov, Adilbek.

Section I(c) Plaintiffs’ Attorneys:
       J. Stephen Peek
       Erica C. Medley
       Holland & Hart LLP
       9555 Hillwood Drive, 2nd Floor
       Las Vegas, NV 89134
       (702) 669-4600

       Tariq Mundiya
       Jeffrey B. Korn
       Willkie Farr & Gallagher LLP
       787 Seventh Avenue
       New York, NY 10019
       (212) 728-8000

       Michael J. Gottlieb
       Willkie Farr & Gallagher
       1875 K Street, NW
       Washington, DC 20006
       (202) 303-1000




                                                                               Ex. Page No. 198
              Case
               Case2:23-cv-00247-JAD-VCF
                     2:23-cv-00247-JAD-VCFDocument
                                           Document165 Filed
                                                       Filed03/08/23
                                                             02/22/23 Page
                                                                      Page201
                                                                           15 of
                                                                               of18
                                                                                  245

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                           District
                                                    __________      of Nevada
                                                               District of __________

     Jysan Holding, LLC; Jusan Technologies LTD                         )
                                                                        )
                                                                        )
                                                                        )
                            Plaintiff(s)                                )
                                                                        )
                                v.                                            Civil Action No. 2:23-cv-00247-JAD-VCF
                                                                        )
               Republic of Kazakhstan et al.                            )
                                                                        )
                                                                        )
                                                                        )
                           Defendant(s)                                 )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Arman Omarbekov
                                           The Agency for Regulation and Development of the Financial Market of the Republic of
                                           Kazakhstan
                                           21, Koktem-3
                                           Almaty, 050040
                                           Republic of Kazakhstan


          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Stephen Peek                      Tariq Mundiya               Michael J. Gottlieb
                                           Erica C. Medley              Jeffrey B. Korn             Willkie Farr & Gallagher LLP
                                           Holland & Hart LLP           Willkie Farr & Gallagher LLP 1875 K Street, NW
                                           9555 Hillwood Dr., 2nd Fl.    787 Seventh Ave.            Washington, DC 20006
                                           Las Vegas, NV 89134          New York, NY 10019


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT
                                                                                          February 22, 2023


Date:
                                                                                           Signature of Clerk or Deputy Clerk




                                                                                                                Ex. Page No. 199
                Case
                 Case2:23-cv-00247-JAD-VCF
                       2:23-cv-00247-JAD-VCFDocument
                                             Document165 Filed
                                                         Filed03/08/23
                                                               02/22/23 Page
                                                                        Page202
                                                                             16 of
                                                                                 of18
                                                                                    245

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:23-cv-00247-JAD-VCF

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                       , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




                                                                                                                 Ex. Page No. 200
                                       Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 203 of 245

                                               Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 1 из 38

                                  1 Дж. Стивен Пик/ J. Stephen Peek
                                    (Лицензия № 1758 Невады)
                                  2 Эрика С. Медли/ Erica C. Medley
                                    (Лицензия № 13959 Невады)
                                  3 HOLLAND & HART LLP
                                    9555 Hillwood Drive, 2nd Floor
                                  4 Las Vegas, NV 89134
                                    Тел: 702.669.4600
                                  5 Факс: 702.669.4650
                                    speek@hollandhart.com
                                  6
                                  7 Тарик Мундия/ Tariq Mundiyа (pro hac vice будет предоставлено позднее)
                                    Джеффри Б. Корн/ Jeffrey B. Korn (pro hac vice будет предоставлено позднее)
                                  8 W ILLKIE FARR & GALLAGHER LLP
                                    787 Seventh Avenue
                                  9 New York, New York 10019
                                    (212) 728-8000
                                 10 tmundiya@willkie.com
                                    jkorn@willkie.com
                                 11
                                    Майкл Дж. Готлиб/ Michael J. Gottlieb (pro hac vice будет предоставлено позднее)
                                 12 WILLKIE FARR & GALLAGHER LLP
9555 HILLWOOD DRIVE, 2ND FLOOR




                                    1875 K Street, NW
                                 13 Washington, DC 20006
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                    (202) 303-1000
                                 14 mgottlieb@willkie.com
                                 15 Адвокаты Истцов
                                 16 Jysan Holding, LLC; и
                                    Jusan Technologies Ltd.,
                                 17
                                                         ФЕДЕРАЛЬНЫЙ ОКРУЖНОЙ СУД США
                                 18
                                                                    ОКРУГ НЕВАДА
                                 19
                                    JYSAN HOLDING, LLC, компания с         Дело №.:
                                 20 ограниченной ответственностью,
                                    зарегистрированная в штате Невада;     ИСКОВОЕ ЗАЯВЛЕНИЕ О
                                 21 JUSAN TECHNOLOGIES LTD,                РАССМОТРЕНИИ ДЕЛА СУДОМ
                                    компания с ограниченной                ПРИСЯЖНЫХ
                                 22 ответственностью, зарегистрированная в
                                    Англии и Уэльсе;
                                 23
                                                         Истец,
                                 24 против
                                 25 Иностранное суверенное государство
                                 26 РЕСПУБЛИКА КАЗАХСТАН;
                                    Правительственное учреждение
                                 27 Казахстана АГЕНТСТВО
                                    РЕСПУБЛИКИ КАЗАХСТАН ПО
                                 28 РЕГУЛИРОВАНИЮ И РАЗВИТИЮ
                                    ФИНАНСОВОГО РЫНКА;



                                                                                                               Ex. Page No. 201
                                        Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 204 of 245
                                                Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 2 из 38


                                  1   Правительственная антикоррупционная
                                      служба Казахстана АГЕНТСТВО
                                  2   РЕСПУБЛИКИ КАЗАХСТАН ПО
                                      ПРОТИВОДЕЙСТВИЮ КОРРУПЦИИ;
                                  3   Правительственное учреждение
                                      Казахстана АГЕНТСТВО
                                  4   РЕСПУБЛИКИ КАЗАХСТАН ПО
                                      ФИНАНСОВОМУ МОНИТОРИНГУ;
                                  5   Правительственное разведывательное
                                      агентство Казахстана КОМИТЕТ
                                  6   НАЦИОНАЛЬНОЙ БЕЗОПАСНОСТИ
                                      РЕСПУБЛИКИ КАЗАХСТАН;
                                  7   физическое лицо МАДИНА
                                      АБЫЛКАСЫМОВА; физическое лицо
                                  8   ОЛЖАС КИЗАТОВ; физическое лицо
                                      АРМАН ОМАРБЕКОВ; и физическое
                                  9   лицо АДИЛЬБЕК ДЖАКСЫБЕКОВ,

                                 10                       Ответчики.

                                 11
                                                                         ВВЕДЕНИЕ
                                 12
                                          1.     С начала 2022 года Правительство Республики Казахстан («Правительство»
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13
                                      или «Правительство Казахстана») проводит незаконную кампанию в отношении
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14
                                      корпораций штата Невада: Истца Jysan Holding, LLC («Jysan Holding, LLC») и New
                                 15
                                      Generation Foundation, Inc. («NGF»), а также их прямых и косвенных дочерних компаний
                                 16
                                      (вместе именуемых «Jusan Group») в целях хищения активов Истца на сумму более
                                 17
                                      1,5 млрд долларов США.        Указанная коррупционная и незаконная кампания
                                 18
                                      демонстрирует наглый бандитизм нации — бывшего государства-сателлита Советского
                                 19
                                      Союза,   —    которая   использовала     широкие   полномочия     правительства       и
                                 20
                                      высокопоставленных чиновников, чтобы, выходя далеко за пределы Казахстана, красть,
                                 21
                                      запугивать и иным образом причинять вред физическим лицам и организациям в
                                 22
                                      Соединенных Штатах. Ответчики занимаются тем самым рэкетом и экспроприацией,
                                 23
                                      которые запрещены федеральными законами. Истцы подают настоящий иск, чтобы
                                 24
                                      устранить незаконное конфискационное поведение Ответчиков.
                                 25
                                          2.     Несмотря     на   то,   что   Правительство    Казахстана    представило
                                 26
                                      многочисленные, противоречивые и предлоговые оправдания их действий против
                                 27

                                 28
                                                                               2
                                                                                                               Ex. Page No. 202
                                        Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 205 of 245
                                                Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 3 из 38


                                  1   группы Jusan Group, истинная цель Правительства состоит в том, чтобы захватить

                                  2   контроль над активами Jusan Group в Казахстане в целях собственной коммерческой

                                  3   выгоды, обеспечивая огромную коммерческую выгоду частным лицам, наделенным

                                  4   Правительством привилегиями. Правительство продемонстрировало свое намерение

                                  5   добиваться данной цели любыми возможными средствами, среди которых: угрозы,

                                  6   запугивание, уголовные и гражданские расследования и судебные процессы, а также

                                  7   блокировка 387 миллионов долларов США дивидендов, предназначенных для

                                  8   распределения частным банком в составе Jusan Group, First Heartland Jusan Bank («First

                                  9   Heartland Bank» или «Банк») и непосредственной материнской компании Банка, AO First

                                 10   Heartland Securities («FHS») — средства, предназначенные для истца Jusan Technologies

                                 11   Ltd. («JTL»), истца Jysan Holding и, в конечном счете, NGF. Схема Ответчиков по

                                 12   использованию органов Правительства Казахстана для нанесения вреда организациям
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13   из Невады стала предельно ясной. После того, как Истцы проинформировали

                                      Ответчиков о намерении защищать свои права в немедленно направленном иске,
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15   Ответчики предприняли два очевидных акта возмездия: во-первых, в ноябре 2022 г.

                                 16   Ответчики внесли изменения в законодательство, специально направленные против

                                 17   Истцов; а во-вторых, 2 декабря 2022 г. Генеральная Прокуратура Казахстана подала в

                                 18   суды Казахстана сфабрикованный иск против Истцов и иных членов и сотрудников

                                 19   Jusan Group. Законодательные меры, направленные против Jusan Group, подробно

                                 20   описанные ниже, предусматривали незаконный захват активов, находящихся под

                                 21   контролем юридического лица из Невады. Совсем недавно, 10 февраля 2023 года,

                                 22   Генеральная прокуратура Казахстана подала недобросовестно составленный иск,

                                 23   основанный на ложных обвинениях, с единственной целью конфискации активов,

                                 24   находящихся под контролем JTL. Более того, Казахстан угрожал насилием и тюремным

                                 25   заключением резидентам США, имеющим материальные экономические интересы в

                                 26   Jusan Group, если коммерческие требования Казахстана не будут выполнены. Эти

                                 27   действия соответствуют ситуации с повсеместной коррупцией в Правительстве

                                 28
                                                                                3
                                                                                                                 Ex. Page No. 203
                                       Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 206 of 245
                                                  Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 4 из 38


                                  1   Казахстана, которая, согласно публичным отчетам, ухудшилась с 2022 года. Таким

                                  2   образом, Правительство Казахстана прибегает к тем же незаконным инструментам —

                                  3   конфискации,     экспроприации,   угрозам       и   запугиванию, —    которым    отдают

                                  4   предпочтение самые репрессивные диктаторы и авторитарные режимы мира.

                                  5       3.       Действия Правительства и некоторых отдельных лиц препятствуют Истцам

                                  6   (включая КОО штата Невада, которая была создана именно для того, чтобы избежать

                                  7   такого незаконного изъятия активов, которое совершается в настоящее время) в

                                  8   исполнении обязательств по предоставлению свободного образования и передового

                                  9   опыта получателям грантов NGF, через предоставление высшего образования в

                                 10   американском стиле и проведения рыночных реформ в Республике Казахстан.

                                 11   Действительно, в период, предшествующий противоправной деятельности, указанной в

                                 12   настоящем документе, NGF и Jusan Group усилиями Истцов в целом предоставили
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13   Назарбаев     Университету   (современному          англоязычному    исследовательскому

                                      университету, расположенному в столице Республики Казахстан Астане (ранее Нур-
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15   Султан)), а также Назарбаев Интеллектуальные Школы и их организациям, гранты на

                                 16   миллионы долларов.

                                 17       4.       В отсутствие судебной защиты незаконная схема Ответчиков будет

                                 18   продолжать лишать Истцов основного источника финансирования от их дочерних

                                 19   компаний, связанных с Банком, и, соответственно, они не смогут выполнять свои

                                 20   обязательства по предоставлению дивидендного финансирования для их головных

                                 21   организаций, среди которых NGF. В свою очередь, NGF не в состоянии переводить

                                 22   собственные средства или получать законно выпущенные дивиденды для выполнения

                                 23   своей единственной миссии ― финансирования Назарбаев Университета и Назарбаев

                                 24   Интеллектуальные Школы. В конечном счете, замораживая средства Jusan Group,

                                 25   Правительство лишает Назарбаев Университет и Назарбаев Интеллектуальные Школы

                                 26   необходимых ресурсов, следовательно, наносит ущерб их студентам, исследователям и

                                 27   преподавателям, препятствуя предоставлению образования, которое ставит акцент на

                                 28
                                                                                  4
                                                                                                                   Ex. Page No. 204
                                        Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 207 of 245
                                                  Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 5 из 38


                                  1   необходимость высоких стандартов обучения, академической строгости, исследований,

                                  2   основанных на фактах, научного характера, интеллектуальной свободы, инноваций и

                                  3   академической свободы.

                                  4                      ЮРИСДИКЦИЯ И МЕСТО РАССМОТРЕНИЯ

                                  5        5.      Данный Суд обладает предметной юрисдикцией относительно данного иска

                                  6   в соответствии с 28 U.S.C. § 1331, поскольку данный иск возникает в соответствии с

                                  7   законодательством Соединенных Штатов, а именно 18 U.S.C. § 1964(c).

                                  8        6.      Данный Суд также обладает предметной юрисдикцией относительно

                                  9   данного иска в соответствии с § 1330(a) 28 U.S.C., поскольку Ответчик Республика

                                 10   Казахстан и ее нижеперечисленные учреждения и органы являются иностранными

                                 11   государствами по определению в § 1603(a) 28 U.S.C, и не имеют права на иммунитет в

                                 12   соответствии с 28 U.S.C. §§ 1605–07 или любым применимым международным
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13   соглашением. Ответчик Республика Казахстан, а также перечисленные ниже агентства

                                      и органы Ответчика не защищены иммунитетом от юрисдикции данного Суда в
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15   соответствии с 28 U.S.C. § 1605(a)(2), поскольку данный иск основан на действиях за

                                 16   пределами     территории    Соединенных        Штатов,   связанных       с     коммерческой

                                 17   деятельностью Ответчиков за пределами США, и данные действия оказали

                                 18   непосредственное воздействие в Соединенных Штатах.

                                 19        7.      Данный Суд обладает дополнительной юрисдикцией в отношении

                                 20   требований    Истцов     относительно   законодательств    штата     в       соответствии      с

                                 21   28 U.S.C. § 1367(a), поскольку эти требования настолько связаны с другими

                                 22   требованиями иска, что они являются частью того же дела или разногласия в

                                 23   соответствии со Статьей III Конституции Соединенных Штатов.

                                 24        8.      Данный Суд обладает персональной юрисдикцией в отношении Ответчика

                                 25   Республики Казахстан и ее учреждений и органов, перечисленных ниже, в соответствии

                                 26   с 28 U.S.C. § 1330(b).

                                 27

                                 28
                                                                                 5
                                                                                                                        Ex. Page No. 205
                                        Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 208 of 245
                                                Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 6 из 38


                                  1       9.     Данный Суд обладает персональной юрисдикцией в отношении всех

                                  2   Ответчиков согласно Nev. Rev. Stat. § 14.065. Данный Суд также обладает персональной

                                  3   юрисдикцией в отношении всех Ответчиков в соответствии с 18 U.S.C. § 1965 и

                                  4   правилами 4(k)(1)(C) и 4(k)(2) Федеральных правил гражданского судопроизводства.

                                  5       10.    Место рассмотрения в данном округе является надлежащим в соответствии

                                  6   с 28 U.S.C. § 1391 (f) (1), поскольку значительная часть событий, послуживших

                                  7   основанием для иска, произошла в данном округе. В качестве альтернативы, место

                                  8   рассмотрения   в   данном    округе    является   надлежащим    в   соответствии      с

                                  9   28 U.S.C. § 1391(b)(3), поскольку Ответчики подлежат персональной юрисдикции в

                                 10   данном округе в отношении данного иска.

                                 11                                         СТОРОНЫ

                                 12       11.    Истец Jysan Holding ― компания с ограниченной ответственностью,
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13   зарегистрированная в соответствии с законодательством штата Невада. Единственным

                                      членом Jysan Holding является NGF ― организация со статусом 501 (c) (4),
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15   базирующаяся и зарегистрированная в Неваде. Jysan Holding имеет 96,96 % прямого

                                 16   участия в JTL, которая выступает в качестве холдинговой компании для непрямых

                                 17   дочерних компаний Jysan Holding и является косвенным мажоритарным владельцем

                                 18   иных компаний, расположенных в Казахстане. Jysan Holding управляет бизнесом и

                                 19   иной инвестиционной деятельностью NGF в интересах студентов учебных заведений-

                                 20   грантополучателей в Республике Казахстан.

                                 21       12.    Истец JTL — компания с ограниченной ответственностью, учрежденная в

                                 22   соответствии с законодательством Англии и Уэльса. Прямой материнской компанией

                                 23   JTL является Jysan Holding (указанная выше организация из Невады). JTL является

                                 24   прямым и косвенным мажоритарным владельцем прочих компаний в Казахстане, среди

                                 25   которых FHS, в которой JTL владеет прямой долей участия в размере 99,48 %.

                                 26

                                 27

                                 28
                                                                                6
                                                                                                               Ex. Page No. 206
                                       Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 209 of 245
                                                Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 7 из 38


                                  1       13.       Ответчик Республика Казахстан ― иностранное суверенное государство в

                                  2   значении 28 U.S.C. § 1603(a). Ответчик Республика Казахстан имеет посольство в

                                  3   Соединенных Штатах по адресу 1401 16th St NW, Washington, DC 20036.

                                  4       14.       Ответчик Агентство Республики Казахстан по регулированию и развитию

                                  5   финансового рынка («АРРФР») ― правительственное учреждение, которому поручено

                                  6   осуществлять надзор за финансовым рынком и финансовыми организациями в

                                  7   Казахстане.

                                  8       15.       Ответчик Агентство Республики Казахстан по противодействию коррупции

                                  9   («Антикоррупционная         служба») —    правительственное      антикоррупционное

                                 10   учреждение.      Антикоррупционная служба отвечает за разработку и реализацию

                                 11   антикоррупционной        политики     Правительства    Казахстана,      координацию

                                 12   правоприменительных мероприятий по борьбе с коррупцией, а также выявление,
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13   пресечение,     раскрытие    и   расследование   коррупционных       правонарушений.

                                      Антикоррупционная служба подчиняется непосредственно Президенту Казахстана.
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15       16.       Ответчик Агентство Республики Казахстан по финансовому мониторингу

                                 16   («АФМ») ― государственный орган, ответственный за предоставление рекомендаций

                                 17   по противодействию отмыванию денег и финансированию терроризма, а также за

                                 18   предотвращение, обнаружение, пресечение, раскрытие и расследование экономических

                                 19   и финансовые правонарушений, направленных им законодательными органами

                                 20   Республики Казахстан. АФМ подчиняется непосредственно Президенту Казахстана.

                                 21       17.       Ответчик Комитет национальной безопасности Республики Казахстан

                                 22   («КНБ») ― правительственное разведывательное учреждение (совместно с АРРФР,

                                 23   Антикоррупционной службой и АФМ «Ответчики правительственных учреждений»).

                                 24       18.       Ответчик Мадина Абылкасымова ― председатель АРРФР. Она проживает

                                 25   в Казахстане, гражданка Казахстана.

                                 26       19.       Ответчик Олжас Кизатов ― заместитель председателя АРРФР.               Он

                                 27   проживает в Казахстане, гражданин Казахстана.

                                 28
                                                                                7
                                                                                                                 Ex. Page No. 207
                                        Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 210 of 245
                                                Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 8 из 38


                                  1       20.      Ответчик Арман Омарбеков ― представитель АРРФР. Он проживает в

                                  2   Казахстане, гражданин Казахстана.

                                  3       21.      Ответчик Адильбек Джаксыбеков (вместе с ответчиками Абылкасымовой,

                                  4   Кизатовым и Омарбековым, «Индивидуальные ответчики») ― бывший владелец

                                  5   Цеснабанка банка, который Jusan Group приобрела в феврале 2019 года. Он проживает

                                  6   в Казахстане, гражданин Казахстана.

                                  7                                         ФАКТЫ

                                  8   A. Члены Jusan Group Помогают Правительству Казахстана, Покупая

                                  9   Обанкротившиеся Казахстанские Банки.

                                 10       22.      В 2018 году банковский сектор Казахстана, не полностью оправившийся от

                                 11   финансового кризиса 2007–2009 годов и последующих девальваций казахстанского

                                 12   тенге в 2008 и 2015 годах, попал в острую уязвимую ситуацию после резкого падения
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13   мировых цен на энергоносители, что снова привело к значительной девальвации тенге.

                                      В ответ правительство Казахстана искало различные коммерческие решения, в
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15   стремлении избежать краха всей банковской системы страны.

                                 16       23.      Цеснабанк в то время был вторым самым большим банком по размеру

                                 17   активов в Центральной Азии и принадлежал ответчику Джаксыбекову.           Ответчик

                                 18   Джаксыбеков злоупотреблял своими полномочиями в Цеснабанке для получения

                                 19   финансовой выгоды в собственных целях, а также для своей семьи и друзей, фактически

                                 20   используя Цеснабанк как частную инвестиционную компанию для достижения своих

                                 21   личных интересов и участия в прочих сомнительных или злонамеренных деловых

                                 22   операциях.

                                 23       24.      К 2018 году Цеснабанк был на грани краха: почти 90 % активов банка были

                                 24   необслуживаемыми.

                                 25       25.      Серьезные проблемы с ликвидностью у Цеснабанка не прекращались,

                                 26   несмотря на получение капитальных вливаний в рамках государственной помощи

                                 27   банковскому сектору Казахстана в 2017 году. В начале сентября 2018 года банк получил

                                 28
                                                                                8
                                                                                                                Ex. Page No. 208
                                          Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 211 of 245
                                                  Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 9 из 38


                                  1   краткосрочный        займ   в   размере   нескольких     сотен    миллионов    долларов       от

                                  2   Национального Банка Республики Казахстан. В последней отчаянной попытке остаться

                                  3   в    бизнесе,     Цеснабанк     продал    государству     значительную    часть    портфеля

                                  4   сельскохозяйственных кредитов. Однако, к середине сентября S&P понизило рейтинг

                                  5   ликвидности Цеснабанка с «адекватного» на «менее чем адекватный».

                                  6         26.       Правительство Казахстана определило, что в случае краха Цеснабанка он,

                                  7   скорее всего, потопит с собой весь банковский сектор Казахстана. Таким образом,

                                  8   правительство Казахстана непреклонно искало какое-нибудь коммерческое решение,

                                  9   которое бы позволило удержать Цеснабанк на плаву. Пытаясь достичь поставленной

                                 10   цели, правительство Казахстана инициировало серию попыток спасения Цеснабанка в

                                 11   период с 2018 по 2019 год.

                                 12         27.       Правительство    охарактеризовало       данные    меры   как    «повышение
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13   устойчивости Цеснабанка за счет кардинального улучшения его кредитного портфеля».

                                      В современных отчетах признавалось, что это была очередная помощь для спасения,
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15   направленная на исправление шаткого и ухудшающегося финансового положения

                                 16   Цеснабанка.

                                 17         28.       Однако даже при такой финансовой поддержке, к январю 2019 года

                                 18   значительные потери в кредитном портфеле Цеснабанка продолжали угрожать

                                 19   жизнеспособности        Цеснабанка.       Чтобы     выжить,      Цеснабанку    нужны     были

                                 20   дополнительные вливания капитала. Правительство Казахстана срочно искало другой

                                 21   банк, который купил бы Цеснабанк и предоставил новый капитал, чтобы предотвратить

                                 22   крах Цеснабанка, а также обеспечить смену руководства для усиления операционной

                                 23   деятельности Цеснабанка.

                                 24         29.       Правительство Казахстана обнаружило, что First Heartland Bank в

                                 25   Казахстане, принадлежащий Jusan Group, ― потенциальное решение. First Heartland

                                 26   Bank значительно нарастил наличные резервы и сохранил безупречную репутацию

                                 27   благодаря надлежащему управлению под руководством Jusan Group.

                                 28
                                                                                    9
                                                                                                                        Ex. Page No. 209
                                       Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 212 of 245
                                                Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 10 из 38


                                  1       30.    Правительство Казахстана обратилось к Jusan Group насчет потенциального

                                  2   приобретения Цеснабанка.      Jusan Group постарались удовлетворить просьбу

                                  3   правительства и принять участие в оказании помощи банковскому сектору. Но для

                                  4   Jusan Group было очевидно, что они не смогут приобрести Цеснабанк, если у

                                  5   Цеснабанка отрицательный баланс, а из-за неэффективного управления кредитным

                                  6   портфелем Цеснабанка под руководством ответчика Джаксыбекова у Цеснабанка был

                                  7   очень отрицательный баланс.

                                  8       31.    В попытке найти коммерческое решение, Правительство Казахстана

                                  9   провело переговоры по ряду контрактов (кульминацией которых стали «Рамочные

                                 10   соглашения по Цеснабанку»), в соответствии с которыми Правительство предоставит

                                 11   Цеснабанку дополнительные средства на выживание, в которые входит покупка

                                 12   проблемных активов, после чего Jusan Group приобретет Цеснабанк.
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13       32.    Рамочные соглашения по Цеснабанку были заключены в январе и феврале

                                      2019 года. Сторонами Рамочных соглашений по Цеснабанку были АО First Heartland
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15   Securities («FHS»), материнская компания Банка, ответчик Джаксыбеков, Цеснабанк и

                                 16   Правительство Республики Казахстан в лице Министерства финансов Республики

                                 17   Казахстан и Национального Банка Республики Казахстан. Рамочные соглашения по

                                 18   Цеснабанку явно поддерживались и были согласованы с нынешним премьер-министром

                                 19   Казахстана Алиханом Смаиловым и первым заместителем руководителя аппарата

                                 20   Президента Казахстана Тимуром Сулейменовым.

                                 21       33.    Рамочное соглашение, подписанное 17 января 2019 года («Рамочное

                                 22   соглашение по Цеснабанку от 17 января»), предусматривало вливание государственных

                                 23   средств в Банк Цеснабанк, которые в конечном итоге приняли форму облигаций с

                                 24   длительным сроком погашения. Затем, FHS приобрела Цеснабанк, в соответствии со

                                 25   статьей 8 «Рамочного соглашения по Цеснабанку от 17 января».

                                 26       34.    Правительство Казахстана не только дало полное согласие на сделку, но и

                                 27   возглавило ее исполнение.

                                 28
                                                                             10
                                                                                                              Ex. Page No. 210
                                       Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 213 of 245
                                                Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 11 из 38


                                  1       35.    Важно отметить, что возвращение суммы спасательного капитала к

                                  2   2023 году не являлось условием Правительства Казахстана для поддержки в вопросе

                                  3   приобретения Цеснабанка, также Правительство Казахстана не ограничивало выплату

                                  4   дивидендов Банком каким-либо иным образом. Фактически до недавнего момента, в

                                  5   декабре 2021 года включительно, Банк выплачивал дивиденды без возражений со

                                  6   стороны Правительства Казахстана.

                                  7       36.    Вскоре после сделки по продаже Цеснабанка, Правительство снова

                                  8   обратилось к Jusan Group, с предложением приобрести еще один обанкротившийся

                                  9   банк, АТФ Банк.

                                 10       37.    Как и в случае с Цеснабанком, Правительство было основной стороной

                                 11   переговоров по сделке, в рамках которой Jusan Group приобрела АТФ Банк

                                 12   (осуществлялось посредством Рамочных соглашений по АТФ Банку). Как и в случае с
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13   Цеснабанком, у АТФ Банка имелись значительные убытки по кредитному портфелю,

                                      который Правительство согласилось спасти, в связи с приобретением.
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15       38.    Важно отметить, что, как указано выше, Правительство не обусловило

                                 16   оказание помощи АТФ Банку какими-либо обязательствами по возврату средств до

                                 17   2023 года и никаким иным образом не ограничивало выплату Банком дивидендов.

                                 18       39.    Таким образом, приобретая АТФ Банк, Jusan Group удовлетворила просьбу

                                 19   Правительства Казахстана о коммерческом решении банковского кризиса, вложила

                                 20   значительный капитал в банковский сектор страны и во второй раз за два года спасла

                                 21   сектор от полного краха. Еще в январе 2023 года премьер-министр Смаилов подтвердил,

                                 22   что приобретение Jusan Group Цеснабанка и АТФ Банка было необходимо, чтобы

                                 23   стабилизировать финансовое положение учреждений и обеспечить безопасность

                                 24   вкладов казахстанских граждан и юридических лиц.

                                 25

                                 26

                                 27

                                 28
                                                                              11
                                                                                                               Ex. Page No. 211
                                        Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 214 of 245
                                                 Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 12 из 38


                                  1    B. Jusan Group Создала Предприятия в Неваде для Защиты и Увеличения

                                  2    Своих Активов на Фоне Банковского Кризиса в Казахстане.

                                  3        40.     В то время, когда Jusan Group помогала Правительству в спасении

                                  4   обанкротившихся казахстанских банков, руководство Jusan Group искало наилучшие

                                  5   варианты, как и далее защищать и приумножать собственные активы. До 2019 года

                                  6   Jusan Group принадлежала фонду Nazarbayev Fund («NF») — казахстанской корпорации,

                                  7   созданной для финансирования Назарбаев Университета и Nazarbayev Intellectual

                                  8   Schools, а также организаций, поддерживающих Назарбаев Университет и Nazarbayev

                                  9   Intellectual Schools.

                                 10        41.     Назарбаев Университет, основанный в 2010 году, является флагманским

                                 11   учебным заведением Казахстана, с амбициями стать исследовательским университетом

                                 12   мирового уровня. Цель университета ― «предоставить Казахстану и миру ученых,
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13   академиков, менеджеров и предпринимателей, необходимых для процветания и

                                      развития», университет был основан на принципах автономии и академической
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15   свободы.      Назарбаев Университет стал неотъемлемой частью академической

                                 16   исследовательской экосистемы с более 5600 международных публикаций. Назарбаев

                                 17   Университет оказывает образовательные услуги западного образца на английском

                                 18   языке.

                                 19        42.     Nazarbayev Intellectual Schools были основаны в 2008 году и созданы как

                                 20   современная и инновационная образовательная платформа для разработки и внедрения

                                 21   современных моделей образовательных программ от дошкольного до старшего

                                 22   школьного возраста. Выпускники Nazarbayev Intellectual Schools успешно поступают в

                                 23   ведущие университеты, среди которых Назарбаев Университет и другие ведущие

                                 24   программы бакалавриата в Европе и Восточной Азии.

                                 25        43.     После почти десяти лет поддержки Назарбаев Университета и Nazarbayev

                                 26   Intellectual Schools от благотворительного фонда в Казахстане, руководство Jusan Group

                                 27

                                 28
                                                                               12
                                                                                                                 Ex. Page No. 212
                                       Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 215 of 245
                                                Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 13 из 38


                                  1   стало все более беспокоиться о том, что рост благотворительного фонда в Казахстане

                                  2   по сути ограничен и находится под угрозой.

                                  3       44.    Руководство Jusan Group приняло решение создать благотворительный

                                  4   фонд в Неваде ― штате, известном строгой правовой защитой и стандартами

                                  5   корпоративного    управления,   сильными     традициями   благотворительности         и

                                  6   многочисленными успешными университетскими благотворительными фондами и

                                  7   некоммерческими организациями.

                                  8       45.    В частности, Jusan Group решила зарегистрировать компанию в Неваде,

                                  9   потому что это одна из ведущих юрисдикций в США по стандартам корпоративного

                                 10   управления. Jusan Group также учла тот факт, что многие крупные коммерческие и

                                 11   некоммерческие организации ведут свою операционную деятельность как корпорации

                                 12   штата Невада.
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13       46.    NGF была создана в 2019 году в Неваде как неакционерная некоммерческая

                                      корпорация, с целью ведения деятельности исключительно в интересах Назарбаев
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15   Университета и Nazarbayev Intellectual Schools. NF затем передала NGF всю свою долю

                                 16   в Jusan Group. Единственной миссией NGF является обеспечение финансирования

                                 17   деятельности Назарбаев Университета и Nazarbayev Intellectual Schools, а также их

                                 18   организаций, это благотворительный фонд для них. Jysan Holding был создан для

                                 19   управления активами NGF.

                                 20       47.    Компания с ограниченной ответственностью JTL была зарегистрирована в

                                 21   2020 году в соответствии с законодательством Англии и Уэльса и позднее передана

                                 22   Jysan Holding за счет взноса капитала. JTL была зарегистрирована с целью создания

                                 23   общей корпоративной холдинговой структуры для финансового и технологического

                                 24   подразделений Jusan Group.      JTL — холдинговая компания, инвестирующая в

                                 25   различные сферы, среди которых банковское дело, брокерские услуги, страхование,

                                 26   управление активами, электронная коммерция, телекоммуникации, логистика и

                                 27   розничная торговля. JTL расширяет свой портфель за счет стратегических слияний и

                                 28
                                                                              13
                                                                                                               Ex. Page No. 213
                                        Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 216 of 245
                                                 Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 14 из 38


                                  1   поглощений, тем не менее, косвенное участие JTL в Банке составляет 90 % его общих

                                  2   активов.

                                  3        48.    JTL владеет 99,48 % долей в FHS, которая, в свою очередь, владеет

                                  4   примерно 80 % долей в First Heartland Bank.

                                  5        49.    Таким образом, NGF получает пассивный доход через косвенное владение

                                  6   JTL, в виде дивидендов и распределений от бизнеса и деятельности JTL и ее холдингов,

                                  7   включая FHS и Банк.

                                  8

                                  9

                                 10

                                 11

                                 12
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15

                                 16

                                 17

                                 18

                                 19

                                 20

                                 21        50.    В соответствии с внутригрупповыми положениями и соглашениями,
                                 22   выплаты дивидендов будут распределяться от Банка к FHS и, в свою очередь, к JTL,
                                 23   Jysan Holding и NGF, за вычетом средств, необходимых для покрытия адекватных
                                 24   операционных расходов.     Каждое предприятие имеет законное право объявлять и
                                 25   получать дивиденды от своей прямой дочерней компании.
                                 26        51.    NGF    впервые    начал    предоставлять   финансирование      Назарбаев
                                 27   Университету и Nazarbayev Intellectual Schools в 2021 году. Как отмечается, только за
                                 28
                                                                               14
                                                                                                                Ex. Page No. 214
                                        Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 217 of 245
                                                 Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 15 из 38


                                  1   два года NGF и Jusan Group предоставили Назарбаев Университету, Nazarbayev

                                  2   Intellectual Schools и поддерживающим их организациям миллионы долларов.

                                  3   Вышеуказанные гранты шли на поддержку усилий по предоставлению образования, в

                                  4   котором особое внимание уделяется ценностям интеллектуальной свободы, инноваций

                                  5   и академической свободы. NGF ожидает, что финансирование значительно увеличится

                                  6   в ближайшие годы, в частности, в рамках решения проблемы существенного

                                  7   сокращения финансовой поддержки со стороны Правительства Казахстана в контексте

                                  8   серьезных финансовых проблем национального бюджета Казахстана.

                                  9       52.      NGF полностью финансируется за счет распределения прибыли от Jysan

                                 10   Holding, которая получает свой доход исключительно в виде выплат дивидендов от

                                 11   компаний Jusan Group через JTL.

                                 12   C. Финансовый        Успех   Jusan    Group     Провоцирует    Правительство        и
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13   Джаксыбекова Принудительно Захватить First Heartland Bank.

                                          53.      После приобретения Цеснабанка и АТФ Банка ― которые теперь являются
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15   частью First Heartland Bank ― First Heartland Bank добился быстрого увеличения

                                 16   выручки.

                                 17       54.      Такой   успех   и    повышение     прибыльности    были    связаны       с

                                 18   дисциплинированным и стратегическим подходом к работе с обесцененными

                                 19   кредитами, которые по-прежнему составляли значительную долю портфеля Цеснабанка

                                 20   и АТФ Банка после того, как их приобрел First Heartland Bank. В рамках вышеуказанных

                                 21   усилий First Heartland Bank реализовал новую бизнес-стратегию, направленную на

                                 22   увеличение выплат по неэффективным кредитам.            Что резко отличалось от

                                 23   коррупционной банковской практики бывшего владельца Цеснабанка.

                                 24       55.      Кроме того, Банк внедрил прозрачное корпоративное управление и

                                 25   принятие решений, четкие механизмы судебного и внесудебного взыскания долгов,

                                 26   системное устранение коррупции в процессе взыскания долгов, категорическое

                                 27   пресечение    реструктуризации    кредитов    между коллекторами   и   должниками.

                                 28
                                                                               15
                                                                                                               Ex. Page No. 215
                                       Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 218 of 245
                                                Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 16 из 38


                                  1   Ликвидировав у заемщиков стимулы к ведению переговоров по неформальным

                                  2   платежным схемам, Банк стимулировал заемщиков погасить свой долг, а не рисковать

                                  3   потерей залога. Эти и другие меры оказали значительное положительное влияние на

                                  4   размер выручки и чистой прибыли Банка.

                                  5       56.    Банк также придерживается бизнес-модели с дальновидным подходом.

                                  6   Например, за последние несколько лет Банк сосредоточился на цифровых технологиях,

                                  7   создав платформу электронной коммерции и двигаясь в сторону интегрированной

                                  8   модели финансовых услуг. В результате этих усилий и улучшения показателей

                                  9   прибыльности, качества активов, платежеспособности и управления рисками

                                 10   14 декабря 2022 года агентство Moody’s Investors Service повысило прогноз по

                                 11   рейтингам Банка со стабильного на позитивный.

                                 12       57.    Отчасти   благодаря   успеху    вышеуказанных       стратегий   Банк     смог
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13   выплачивать дивиденды.

                                          58.    Сегодня First Heartland Bank является третьим по величине банковским
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15   конгломератом в Казахстане и поддерживает прочные отношения с иностранными

                                 16   финансовыми институтами.

                                 17       59.    Способность Банка выплачивать дивиденды акционерам, в свою очередь,

                                 18   позволила NGF предоставлять значительное финансирование Назарбаев Университету

                                 19   и Nazarbayev Intellectual Schools.   NGF и Jusan Group финансировали данные

                                 20   учреждения и поддерживающие их организации, выделяя миллионы долларов на

                                 21   поддержку образования, которое ставит акцент на превосходство, академическую

                                 22   строгость, научно-обоснованные исследования, научный характер, инновации и

                                 23   академическую свободу.

                                 24   D. Ответчики Преследовали и Вымогали Деньги у Jusan Group в Попытке

                                 25   Украсть Активы Группы.

                                 26       60.    Начиная    с   2022   года     Ответчики,   среди    которых     Ответчики

                                 27   правительственных учреждений и Правительства, стали действовать как фактически

                                 28
                                                                                16
                                                                                                                  Ex. Page No. 216
                                        Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 219 of 245
                                                 Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 17 из 38


                                  1   совместное предприятие, а также участвовать в деятельности и управлении иными

                                  2   предприятиями путем рэкета. Цель Ответчиков состояла в том, чтобы неправомерно

                                  3   заполучить активы Jusan Group в интересах Индивидуальных Ответчиков. Каждый из

                                  4   Индивидуальных Ответчиков связан в силу того, что действует в контексте полномочий

                                  5   Правительства Казахстана, либо напрямую через работу на Правительство, либо, в

                                  6   случае Ответчика Джаксыбекова, через тесные связи с Правительством. Сообщная

                                  7   деятельность Ответчиков фактически имела место как минимум с января 2022 года и

                                  8   продолжается таким образом, что сообщникам позволено периодически заниматься

                                  9   рэкетом.

                                 10        61.    Рэкет включает в себя попытки вымогательства у Jusan Group,

                                 11   представляющие собой нарушение Закона Хоббса, 18 U.S.C. § 1951, которым

                                 12   предусматривается в соответствующей части: «Тот, кто любым образом, или в любой
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13   степени, препятствует, задерживает, или влияет на коммерческую деятельность или

                                      передвижение в рамках коммерческой деятельности любого товара или сырья, путем
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15   грабежа или вымогательства, или предпринимает подобные попытки, или вступает в

                                 16   сговор для совершения таких действий. . . подлежит наложению штрафа в соответствии

                                 17   с данным разделом или лишению свободы на срок до двадцати лет, или и тому и

                                 18   другому», 18 U.S.C. § 1951(a).        В соответствии с данным разделом, термин

                                 19   «вымогательство» означает получение собственности от другого лица с его согласия,

                                 20   полученного путем неправомерного применения фактической или угрожаемой силы,

                                 21   насилия     или   запугивания   или    под    прикрытием   официального       права».

                                 22   18 U.S.C. § 1951(b)(2).   «Коммерческая деятельность» включает в себя «всякую

                                 23   коммерческую деятельность между любой точкой Штата, Территории, Владения или

                                 24   Округа Колумбии и любой точкой за их пределами; всякую коммерческую деятельность

                                 25   между точками внутри одного Штата через любую точку за пределами данного Штата;

                                 26   и всякую прочую коммерческую деятельность, в отношении которой Соединенные

                                 27   Штаты имеют юрисдикцию». 18 U.S.C. § 1951(b)(3).

                                 28
                                                                               17
                                                                                                                Ex. Page No. 217
                                        Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 220 of 245
                                                Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 18 из 38


                                  1        1. Агентство Республики Казахстан по Регулированию и Развитию Финансового

                                  2             Рынка Начинает Преследование First Heartland Bank.

                                  3       62.     Начиная с января 2022 года и на момент подачи настоящего иска,

                                  4   Правительство Казахстана, различные правительственные и квазиправительственные

                                  5   учреждения включительно, распорядилось провести не менее 11 необоснованных и

                                  6   незаконных расследований, запросов или проверок по отношению к First Heartland Bank,

                                  7   косвенной дочерней компании Jysan Holding. Данные незаконные действия начались

                                  8   как завуалированные попытки помочь Банку в соблюдении нормативных требований,

                                  9   но вскоре стало понятно, что это очевидные ― а иногда и явно незаконные ― попытки

                                 10   принудить к незаконным платежам в пользу Правительства Казахстана и частных лиц.

                                 11       63.     В частности, начиная примерно с 11 января 2022 года представители

                                 12   АРРФР     назначили   пять   агентов   для    постоянного   наблюдения    за   Банком.
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13   Вышеуказанное     наблюдение    представляет     собой   необоснованное    вторжение,

                                      выходящее далеко за рамки ранее проводимого мониторинга Банка и стандартного
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15   мониторинга других банков, которые АРРФР обычно проводит.

                                 16       64.     В контексте данного наблюдения представители АРРФР завалили Банк

                                 17   обширными и назойливыми запросами информации по всем аспектам деятельности

                                 18   Банка. Запросы были с неоправданно сжатыми сроками исполнения, что вынудило

                                 19   сотрудников Банка заниматься запросом АРРФР, вместо обычных деловых операций.

                                 20       65.     В дополнение к круглосуточному наблюдению, АРРФР установило

                                 21   ограничительные пороговые показатели для всех транзакций, проводимых сторонами,

                                 22   имеющими отношение к Банку. Ограничения, которые действуют на дату подачи

                                 23   данного иска, настолько драконовские, что для проведения любой транзакции с

                                 24   участием Jusan Group требуются предварительные одобрения от АРРФР и АФМ.

                                 25       66.     АРРФР, в свою очередь, необоснованно отказывает в одобрении мелких и

                                 26   крупных сделок.       Например, в соответствии с установленными пороговыми

                                 27   показателями для транзакций, АРРФР заблокировало банковские карты некоторых

                                 28
                                                                               18
                                                                                                                 Ex. Page No. 218
                                       Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 221 of 245
                                                Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 19 из 38


                                  1   сотрудников Банка, которые использовались для оплаты ежедневных расходов, а также

                                  2   заблокировало перевод в размере 4 миллионов долларов США со счета NGF в Банке на

                                  3   счет NGF в банке, находящемся в США.            Вышеуказанный платеж остается

                                  4   заблокированным, он в конечном итоге необходим для финансирования операционных

                                  5   расходов Назарбаев Университета и Назарбаев Интеллектуальные Школы. NGF с тех

                                  6   пор не может перевести никакие средства со своего счета в Банке. Сюда входят

                                  7   небольшие переводы на оплату собственной операционной деятельности, а также

                                  8   платежи поставщикам, которые предоставляли услуги NGF для достижения целей

                                  9   основной миссии организации. Например, платежи NGF за юридические услуги, веб-

                                 10   дизайн, переводческие услуги, бухгалтерские и налоговые услуги были заблокированы.

                                 11   Примечательно, что NGF не было предоставлено никаких официальных объяснений,

                                 12   почему его переводы были заблокированы.
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13       67.    АРРФР пошло еще дальше и поручило Банку заморозить счета некоторых

                                      сотрудников Банка и их родственников на неопределенный срок и без каких-либо
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15   обоснований.

                                 16       68.    АРРФР не желает документировать свои действия в письменном виде.

                                 17   Когда Агентство Республики Казахстан по регулированию и развитию финансового

                                 18   рынка одобряет транзакцию, оно настаивает на том, чтобы одобрение было сделано в

                                 19   устной форме.   Когда АРРФР отказывает в транзакции, оно не предоставляет ни

                                 20   письменно, ни устно никаких объяснений того, почему транзакция была отклонена.

                                 21       69.    Данные действия привели к снижению экономической деятельности Банка

                                 22   и к потере многих постоянных клиентов.       Потеря Банком клиентов и бизнеса

                                 23   значительно повлияла на Истцов, чье финансирование деятельности и выполнение

                                 24   обязательств перед NGF зависят от выплат им дивидендов Банком.

                                 25       70.    АРРФР заявило, что целью наблюдения было обеспечение соблюдения

                                 26   Банком недавно обновленных правил по борьбе с отмыванием денег. Но ясно, что это

                                 27   было предлогом. На самом деле, такого «содействия» не получал ни один другой банк.

                                 28
                                                                             19
                                                                                                              Ex. Page No. 219
                                        Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 222 of 245
                                                  Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 20 из 38


                                  1   Вместо      этого   АРРФР     инициировало      широкую       кампанию      запугивания,

                                  2   скоординированную с несколькими государственными учреждениями и частными

                                  3   лицами, и направленную на то, чтобы помешать Банку вести обычную коммерческую

                                  4   деятельность и, в свою очередь, заставить Jusan Group передать средства и контроль над

                                  5   активами Правительству Казахстана и причастным с ним.

                                  6        2. Агентство по Финансовому Мониторингу Республики Казахстан Начало

                                  7              Предварительное Расследование в Отношении First Heartland Bank и Изъяло

                                  8              Документы.

                                  9        71.      В феврале 2022 года АФМ возбудило уголовное дело в отношении бывших

                                 10   должностных лиц АТФ Банка якобы в связи с выдачей необслуживаемых кредитов в

                                 11   период с 2013 по 2016 г.

                                 12        72.      Но предмет расследования также оказался ложным предлогом. АФМ в
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13   процессе рассмотрения уголовного дела изъяло у Банка документацию, масштаб

                                      которой выходил далеко за рамки расследования предыдущих кредитов. Например,
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15   АФМ изъяло документы, связанные с приобретением АТФ Банка в 2020 году,

                                 16   информацию о дивидендах Банка после 2020 года и операциях по счетам должностных

                                 17   лиц банка, которые совершенно не связаны с предыдущими кредитами АТФ Банка.

                                 18        3. Принадлежащие        Правительству     Организации     Предпринимают          Меры

                                 19              Неблагоприятного Воздействия Против First Heartland Bank.

                                 20        73.      В период с января по март 2022 года ряд организаций, принадлежащих

                                 21   Правительству, вывели все средства из Банка по директиве от Правительства

                                 22   Казахстана.      Это привело к значительному оттоку капитала из Банка.                  Ряд

                                 23   принадлежащих Правительству организаций включает, но не ограничивается: Фонд

                                 24   развития     предпринимательства   «Даму»;     Казахтелеком    и   Кселл,   крупнейшая

                                 25   телекоммуникационная компания и основной оператор сотовой связи в Казахстане; и

                                 26   Самрук-Казына, суверенный фонд благосостояния Казахстана, владеющий долями в

                                 27

                                 28
                                                                                20
                                                                                                                    Ex. Page No. 220
                                       Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 223 of 245
                                                 Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 21 из 38


                                  1   национальной железнодорожной и почтовой службе, а также в государственных

                                  2   газовых и нефтяных компаниях.

                                  3       74.     Более того, за этот период, все правительственные учреждения, в частности

                                  4   Министерство цифрового развития и Налоговый комитет, прекратили всякое

                                  5   сотрудничество,   имеющее     отношение    к   совместной    разработке    Банком       и

                                  6   Правительством продуктов «govtech».

                                  7       4. Агентство      Республики   Казахстан       по   Противодействию     Коррупции

                                  8             Возбуждает Фиктивное Уголовное Дело и Предпринимает Попытки

                                  9             Вымогательства.

                                 10       75.      В начале июня 2022 года Антикоррупционная служба начала намеренное

                                 11   уголовное расследование в отношении Банка в связи с его коммерческой покупкой

                                 12   Цеснабанка в 2019 году и последующими доходами.
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13       76.     По    имеющейся    информации      и   убеждениям,   толчком    к    этому

                                      расследованию послужило письмо бывшего владельца Цеснабанка, ответчика
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15   Адильбека Джаксыбекова, в котором он неправомерно использовал свои личные связи

                                 16   с руководством Антикоррупционной службы для принуждения к расследованию и с

                                 17   конечной целью вымогательства миллионов долларов у Банка.

                                 18       77.     Желание ответчика Джаксыбекова проводить уголовное расследование

                                 19   обусловлено обвинениями в том, что коммерческая покупка Банком Цеснабанка была

                                 20   какой-то незаконной, несмотря на тот факт, что и он, и Правительство Казахстана

                                 21   участвовали в покупке и/или руководили ею, и что покупка была вызвана близким

                                 22   крахом Цеснабанка который тогда был в его собственности.

                                 23       78.     Антикоррупционная служба, в рамках расследования предприняла крайне

                                 24   незаконные и произвольные меры принуждения, включая чрезмерные допросы

                                 25   сотрудников Банка, необоснованные обыски ключевого персонала и помещений Банка,

                                 26   а также ограничения передвижения для должностных лиц и сотрудников Jusan Group.

                                 27

                                 28
                                                                                21
                                                                                                                 Ex. Page No. 221
                                       Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 224 of 245
                                                Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 22 из 38


                                  1   По имеющейся информации и убеждениям, такие крайние меры принуждения были

                                  2   предприняты Антикоррупционной службой по просьбе г-на Джаксыбекова.

                                  3       79.    Кроме того, Антикоррупционная служба поручила АРРФР заблокировать

                                  4   все транзакции, включая выплату дивидендов Jusan Group. 7 октября 2022 года в

                                  5   АРРФР поступила корреспонденция от Антикоррупционной службы о том, чтобы

                                  6   «принять эффективные и комплексные меры по приостановке всех расходных

                                  7   (дебетовых) операций по выплате дивидендов Банком, FHS JSC, Jysan Technologies,

                                  8   Jysan Holding и [NGF] их акционерам и владельцам, а также любые другие платежные

                                  9   операции в рамках указанной группы компаний» и «приостановить действия по

                                 10   экспроприации акций Банка и FHS» на период рассмотрения уголовного дела. 8 октября

                                 11   2022 г. First Heartland Bank получил корреспонденцию от АРРФР за подписью

                                 12   Ответчика Кизатова, в которой тот подробно изложил инструкции для АРРФР от
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13   Антикоррупционной службы от 7 октября 2022 г.

                                          80.    Г-н Шигео Катсу, представляя Банк, присутствовал на встрече с
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15   Президентом Казахстана Касым-Жомартом Токаевым в июле 2022 года, в попытке

                                 16   положить конец необоснованному расследованию. Г-н Катсу ― Председатель Совета

                                 17   Директоров Банка и FHS. В ходе встречи Президент Токаев заявил, что ему известно о

                                 18   том, что Ответчик Джаксыбеков подал жалобу насчет приобретения Цеснабанка, и

                                 19   предложил г-ну Катсу заключить мировое соглашение с Ответчиком Джаксыбековым.

                                 20       81.    После этой встречи Ответчик Джаксыбеков пытался шантажировать г-на

                                 21   Катсу и Банк, намекая, что если Банк ему заплатит, то Антикоррупционная служба

                                 22   закроет расследование. Ответчик Джаксыбеков рекламировал свои личные связи с

                                 23   должностными лицами Антикоррупционной службы и требовал выплаты 60 миллионов

                                 24   тенге (приблизительно 130 миллионов долларов США) за неуказанный «ущерб».

                                 25       82.    Г-н Катсу отверг все попытки вымогательства у него и у Банка, отметив,

                                 26   что такой платеж без каких-либо доказательств или обоснования нарушит

                                 27

                                 28
                                                                             22
                                                                                                              Ex. Page No. 222
                                       Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 225 of 245
                                                 Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 23 из 38


                                  1   многочисленные законы о борьбе с коррупцией и что Jusan Group должна соблюдать все

                                  2   законы, в том числе законы Казахстана, Великобритании и Соединенных Штатов.

                                  3       5. Правительство          Казахстана     Пытается         Принудительно       Вернуть

                                  4             Государственную Помощь и Взять под Контроль FHS.

                                  5       83.      Растущие регулятивные притеснения со стороны Правительства Казахстана

                                  6   в первом квартале 2022 года вынудили г-на Катсу посетить серию дополнительных

                                  7   встреч с должностными лицами Правительства Казахстана, чтобы добиться

                                  8   прекращения незаконной кампании со стороны Правительства.

                                  9       84.      В ходе этих встреч должностные лица Правительства Казахстана, в том

                                 10   числе представители АРРФР и премьер-министр Казахстана Алихан Смаилов, заявили,

                                 11   что Банку запрещено выплачивать дивиденды до тех пор, пока Банк не возвратит

                                 12   государственную помощь, оказанную Цеснабанку и АТФ Банку.
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13       85.      Упоминаний о таких ограничениях не имелось ни в одном применимом

                                      законе или договоре, и об этом, конечно же, известно Правительству.                 Такие
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15   ограничения никогда не обсуждались ранее, в том числе при выплате дивидендов

                                 16   Банком в декабре 2021 года.

                                 17       86.      Кроме того, Правительство Казахстана разрешило другим финансовым

                                 18   учреждениям     объявлять     дивиденды    без   каких-либо    проблем,   несмотря       на

                                 19   предварительную государственную помощь. Например, Halyk Bank, Kaspi Bank и

                                 20   Сбербанку Казахстана было разрешено выплачивать дивиденды, несмотря на получение

                                 21   ими значительной государственной поддержки в течение нескольких лет без

                                 22   предварительного полного погашения кредитов.

                                 23       87.      Тем не менее, АРРФР продолжает заявлять, что будет блокировать любые

                                 24   выплаты дивидендов, и угрожает посадить в тюрьму любого сотрудника Jusan Group,

                                 25   который будет проводить выплату дивидендов.

                                 26       88.      Кроме того, г-н Сулейменов встретился с официальными лицами Jusan

                                 27   Group в сентябре 2022 года и потребовал, чтобы право собственности на Jusan Group

                                 28
                                                                                 23
                                                                                                                    Ex. Page No. 223
                                        Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 226 of 245
                                                  Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 24 из 38


                                  1   было отобрано у компаний США и Великобритании и передано Казахстану. Во время

                                  2   одной из таких встреч г-н Сулейменов заявил, что участвует в качестве представителя

                                  3   и по указанию президента Токаева, и пригрозил Jusan Group дополнительными

                                  4   действиями Правительства в связи с отсутствием граждан Казахстана в Советах

                                  5   директоров NGF и Jysan Holding. На этой встрече г-н Сулейменов также потребовал,

                                  6   чтобы контроль над FHS (и соответственно над Банком) был передан неуказанным

                                  7   казахстанским гражданам. Он не предоставил никакого юридического обоснования

                                  8   своих требований, да и не мог.

                                  9        6. Правительство Казахстана Принимает Меры в Отношении Сотрудников

                                 10              Jusan Group.

                                 11        89.      По имеющейся информации и убеждениям, в контексте переговоров между

                                 12   Правительством Казахстана и Jusan Group в первом квартале 2022 года, Правительство
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13   оказало давление на аудиторов Jusan Group, чтобы они придержали аудиторские отчеты

                                      до возврата всех акционных и опционных соглашений от сотрудников Jusan Group.
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15   Правительство также пригрозило возбудить уголовное дело по невозвращенным

                                 16   опционам.

                                 17        90.      Продолжающиеся переговоры и угроза уголовного преследования привели

                                 18   к принудительной сдаче вышеуказанных активов, которыми владели сотрудники Jusan

                                 19   Group.

                                 20        91.      Вынужденный возврат опционов привел к значительным личным потерям

                                 21   персонала Jusan Group в размере десятков миллионов долларов, что усугубило личные

                                 22   убытки, связанные с указаниями Банку заморозить счета определенных сотрудников

                                 23   Банка и их родственников от АРРФР.

                                 24        92.      Например, один член руководства Jusan Group, который на данный момент

                                 25   является постоянным резидентом США, был вынужден вернуть свой опцион на 4,62 %

                                 26   акций JTL, балансовая стоимость которых превышает 73 миллиона долларов США по

                                 27   состоянию на май 2022 года. Правительство также угрожало тому же члену заочным

                                 28
                                                                               24
                                                                                                               Ex. Page No. 224
                                        Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 227 of 245
                                                 Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 25 из 38


                                  1   судом и тюремным заключением, если сотрудник предпримет какие-либо действия,

                                  2   противодействующие правительству Казахстана в усилиях по конфискации имущества

                                  3   Jusan Group и ее сотрудников.

                                  4        93.    Г-н Сулейменов, в частности, интересовался возвратом акций и опционов в

                                  5   ходе последующих переговоров в сентябре 2022 года, подтверждая тем самым, что

                                  6   вымогательство поддерживается Правительством.

                                  7        7. АРРФР Незаконно Вмешивается в Выплату Дивидендов FHS.

                                  8        94.    6 октября 2022 года FHS объявила дивиденды и потребовала, чтобы Банк

                                  9   включил объявление дивидендов во внеочередное общее собрание. Это заявление и

                                 10   запрос юридически обязывали Банк в соответствии с его письменной политикой и

                                 11   руководящими документами выплачивать дивиденды FHS.               Значительная часть

                                 12   дивидендов, причитающихся FHS, является конечной собственностью Jysan Holding и,
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13   в свою очередь, будет причитаться Jysan Holding в соответствии с внутригрупповыми

                                      положениями и соглашениями.
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15        95.    7 октября 2022 года АРРФР заблокировало осуществление FHS и Банком

                                 16   этой и других выплат дивидендов на общую сумму около 387 миллионов долларов

                                 17   США, а также осуществление других платежных операций Банка его прямым и

                                 18   косвенным материнским компаниям.

                                 19        96.    Ответчики Кизатов и Омарбеков, представители АРРФР, звонили

                                 20   представителям Банка в октябре 2022 года по поводу данных заблокированных

                                 21   платежей. Во время разговора с Главным специалистом Банка по комплаенсу г-жой

                                 22   Ардак Мукашевой Ответчик Омарбеков повторил утверждения, сделанные на

                                 23   предыдущих встречах между представителями Банка и Правительства, заявив, что

                                 24   средства    Банка   принадлежат    Правительству    Казахстана,     пригрозив,      что

                                 25   правоохранительные органы готовятся к задержанию и допросу сотрудников Банка и

                                 26   связанных с Банком организаций.

                                 27

                                 28
                                                                              25
                                                                                                                Ex. Page No. 225
                                        Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 228 of 245
                                                  Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 26 из 38


                                  1        97.      Ответчик Омарбеков снова позвонил в Банк 8 октября 2022 года, утверждая,

                                  2   что АРРФР получило письмо от неназванного правоохранительного органа,

                                  3   предписывающее АРРФР заблокировать все выплаты дивидендов от Банка.

                                  4        8. АФМ Незаконно Вмешивается в Выплату Дивидендов FHS.

                                  5        98.      13 октября 2022 г. АФМ направило в Банк письмо, в котором неверно

                                  6   утверждалось, что Банк получил 1,5 трлн тенге от правительства Казахстана на

                                  7   льготных условиях и каким-то образом не выполнил свои обязательства по этому

                                  8   «долгу». В письме АФМ утверждало, что приостанавливает способность Банка

                                  9   выплачивать дивиденды акционерам и требует, чтобы Банк предоставлял уведомления

                                 10   АФМ прежде, чем будет проводить дальнейшие выплаты дивидендов.

                                 11        9. Предложенные Правительством «Оправдания» Непостоянны, Противоречивы

                                 12              и Безосновательны.
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13        99.      На протяжении всей этой кампании Правительство приводило различные

                                      «оправдания» своих действий, ни одно из которых не оправдывает незаконные действия
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15   Правительства против Jusan Group.

                                 16        100.     Когда АРРФР усилило надзор за First Heartland Bank, «оправданием» было

                                 17   обеспечение соблюдения банком недавно обновленных правил по борьбе с отмыванием

                                 18   денег.

                                 19        101.     Когда АФМ возбудило уголовное дело против бывших должностных лиц

                                 20   АТФ Банка, «оправданием» было расследование выдачи проблемных кредитов в период

                                 21   с 2013 по 2016 г.

                                 22        102.     В конце концов, Правительство определилось с единым оправданием:

                                 23   уголовное расследование Антикоррупционной службой и блокирование АРРФР и АФМ

                                 24   выплат дивидендов каким-то образом «обоснованы» коммерческой покупкой

                                 25   Цеснабанка и АТФ Банка First Heartland Bank. Разумеется, это «оправдание» столь же

                                 26   беспочвенно, как и все его предшественники, поскольку ключевые участники кампании

                                 27   по травле Банка были одновременно архитекторами Рамочных соглашений.

                                 28
                                                                                 26
                                                                                                                  Ex. Page No. 226
                                        Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 229 of 245
                                                    Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 27 из 38


                                  1   Действительно, Банк ранее выплачивал дивиденды без возражений со стороны

                                  2   Правительства Казахстана, в том числе совсем недавно, в декабре 2021 года.

                                  3          103.    По имеющейся информации и убеждениям, намерение Ответчиков

                                  4   состояло в том, чтобы воспрепятствовать выводу дивидендных средств за пределы

                                  5   Казахстана — и, следовательно, за пределы контроля Правительства — в пользу Истцов,

                                  6   поскольку Ответчики знают, что дивидендные средства предназначены для блага и

                                  7   причитаются Истцам JTL, Jysan Holding и, в конечном счете, NGF.

                                  8   E. Правительство Принимает Ответные Меры Против Истцов После Провала

                                  9   Переговоров.

                                 10          10. Истцы уведомляют Ответчиков о Намерении Защищать Свои Права,и

                                 11             Стороны Ведут Безуспешные Переговоры.

                                 12          104.    В последней отчаянной попытке разрешить спор без вмешательства суда
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13   Истцы уведомили Ответчиков о своем намерении подать иск в Неваде. Весь ноябрь

                                      стороны, включая адвокатов сторон, проводили серию неофициальных переговоров.
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15   Эти переговоры не увенчались успехом и были частью тактики проволочек, которые

                                 16   Ответчики проводили, чтобы подготовить коррумпированных законодателей и агентств

                                 17   к нападению на Истцов.

                                 18          105.    С тех пор кампания преследования Ответчиков только усилилась, что было

                                 19   явной местью за то, что Истцы сообщили Ответчикам о своем намерении подать данный

                                 20   иск.

                                 21          11. Ответчики     Принимают     Ответные     Меры    Против    Истцов,        Вводя

                                 22             Законодательство, Направленное Против Jusan Group.

                                 23          106.    Через день после переизбрания Президента Токаева, 22 ноября 2022 года,

                                 24   Мажилис, нижняя палата Парламента Казахстана, одобрил законопроект с внесением

                                 25   изменений в Закон «О банках и банковской деятельности в Республике Казахстан».

                                 26   Предлагаемые поправки были направлены на Истцов и должны были, в частности, (1)

                                 27   изменить определения «банковского холдинга» и «крупного участника банка» таким

                                 28
                                                                                 27
                                                                                                                   Ex. Page No. 227
                                       Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 230 of 245
                                                 Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 28 из 38


                                  1   образом, чтобы некоммерческие организации, такие как NGF, не смогли прямо или

                                  2   косвенно владеть банками; (2) ввести ограничения для банков, получивших

                                  3   государственную помощь, таких как First Heartland Bank, чтобы не допустить

                                  4   распределения ими дивидендов, в том числе путем разрешения АРРФР блокировать

                                  5   данные дивиденды; и (3) требовать, чтобы все крупные прямые и косвенные акционеры

                                  6   и контролирующие организации банков подали заявки и получили одобрение от АРРФР

                                  7   в течение 30 дней с даты публикации поправок.

                                  8       107.    Верхняя палата парламента Казахстана, Сенат, впоследствии утвердила

                                  9   поправки, позволяющие АРРФР блокировать дивиденды от банков, получивших

                                 10   государственную помощь, и требующие одобрения АРРФР для крупных прямых и

                                 11   косвенных акционеров и контролирующих организаций банков, в то же время отклонив

                                 12   предложенную поправку, запрещающую некоммерческим организациям владеть
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13   банками, за отсутствием оснований.

                                          108.    Эти   поправки, вступившие в силу 1 января 2023 года, позволят
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15   Правительству заблокировать дивиденды, на которые Истцы имеют право, и даже

                                 16   запретить Истцам владеть долями в Банке. В соответствии с поправками JTL, Jysan

                                 17   Holding и NGF должны будут получить и представить в АРРФР кредитные рейтинги,

                                 18   аудированную финансовую отчетность, а также соответствующие нотариальные

                                 19   заверения и апостили из несколько юрисдикций в течение 30 дней, что просто

                                 20   невозможно. Кроме того, если эти организации останутся основными акционерами

                                 21   Банка без одобрения АРРФР, АРРФР может потребовать, чтобы они уменьшили свою

                                 22   косвенную долю владения до уровня ниже 25 % и приостановили все операции между

                                 23   ними и Банком; установили доверительное управление акциями Банка на срок до трех

                                 24   месяцев; и в конечном итоге обеспечили отчуждение акций Банка, продав их на рынке

                                 25   ценных бумаг. Нельзя представить более явного случая незаконного захвата

                                 26   активов, находящихся под контролем граждан Невады.

                                 27

                                 28
                                                                              28
                                                                                                             Ex. Page No. 228
                                       Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 231 of 245
                                                 Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 29 из 38


                                  1       109.     По крайней мере, один член Мажилиса публично заявил, что эти поправки

                                  2   явно нацелены на акционеров First Heartland Bank и блокируют рассматриваемые здесь

                                  3   дивиденды.

                                  4       110.     Учитывая отсрочку до следующего дня после переизбрания Президента

                                  5   Токаева, Правительство четко обозначило цели и намерения своей кампании ―

                                  6   остановить вывод средств в виде дивидендов за пределы Казахстана, принудить группу

                                  7   Jusan Group к передаче средств и контроля над активами Правительству Казахстана и

                                  8   его аффилированным лицам, а также принять ответные меры против Jusan Group за

                                  9   попытку защиты своих прав в американском суде.

                                 10       12. Ответчики Принимают Ответные Меры Против Истцов, Подав Против Них

                                 11           Иск в Казахстане.

                                 12       111.     2 декабря 2022 года Генеральная прокуратура Казахстана возбудила иск
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13   против многочисленных участников Jusan Group, включая Истцов, и сотрудников Jusan

                                      Group, среди которых г-н Катсу и сотрудник, которому ранее угрожали лишением
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15   свободы.     Генеральный прокурор подчиняется непосредственно Президенту и

                                 16   представляет интересы Правительства Казахстана в суде.

                                 17       112.     Иск был направлен на то, чтобы добиться через суд именно того, что

                                 18   Ответчики пытались добиться через их кампанию преследования — ослабить Jusan

                                 19   Group и ограничить ее доступ к собственному капиталу.

                                 20       113.     В частности, иск был направлен на признание недействительным

                                 21   соглашения между двумя членами Jusan Group — JTL и Pioneer Capital Invest LLP

                                 22   (далее — «Pioneer»). Аннулирование этого соглашения аннулировало бы долю

                                 23   собственности NGF в JTL и, следовательно, лишило бы NGF доступа к дивидендам и

                                 24   распределениям от бизнеса и операций JTL и ее холдингов, включая FHS и Банк. В иске

                                 25   также содержалось требование о возврате активов и денежных средств на миллионы

                                 26   долларов (USD) от JTL компании Pioneer, акции JTL в Банке включительно. Активы и

                                 27   средства, о которых идет речь, были должным образом переведены в JTL по

                                 28
                                                                              29
                                                                                                               Ex. Page No. 229
                                        Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 232 of 245
                                                 Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 30 из 38


                                  1   соглашению, которое Правительство пыталось аннулировать. Пытаясь перевести

                                  2   активы и средства из JTL Истца в казахстанскую компанию Pioneer, правительство

                                  3   вмешивается в активы Jusan Group и пытается перевести их в Казахстан, где

                                  4   правительство сможет осуществлять больший контроль. И последнее, иск требовал,

                                  5   чтобы все названные сотрудники Jusan Group сдали свои доли в Банке.

                                  6       114.    Казахстанский суд быстро отклонил иск Генерального прокурора на

                                  7   основании того, что требования не имеют доказательств. Это решительное отклонение

                                  8   необоснованного иска Генерального прокурора еще раз свидетельствует о вопиющем

                                  9   злоупотреблении Правительством возможностями государственного аппарата для

                                 10   преследования Jusan Group.

                                 11       13. Государственные чиновники Казахстана угрожают «войной» сотрудникам

                                 12           Jusan Group.
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13       115.    20 декабря 2022 года премьер-министр Казахстана Алихан Смаилов

                                      направил сообщение тому же сотруднику Jusan Group, резиденту США, которому ранее
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15   угрожало тюремное заключение, с требованием вернуть Jusan Group в Казахстан и

                                 16   пригрозив «войной», если требования Правительства не будут выполнены.

                                 17       14. Ответчики переделывают свой ранее отклоненный иск и повторно подают его

                                 18           в Казахстане.

                                 19       116.    10 февраля 2023 года Генеральная прокуратура Казахстана подала еще

                                 20   один иск против членов Jusan Group, оспаривая сделку 2020 года между JTL и Pioneer и

                                 21   добиваясь ареста определенного имущества группы Jusan Group. Хотя в этом иске

                                 22   приводятся несколько иные факты и иные основания иска, его цель та же, что и у иска,

                                 23   поданного и быстро отклоненного в декабре 2022 года, — пригрозить Jusan Group

                                 24   передачей контроля над ней Правительству.

                                 25       117.    Однако Правительство идет еще дальше в февральском иске и стремится

                                 26   конфисковать множество активов не только ответчиков по иску, но и Jusan Group в

                                 27

                                 28
                                                                              30
                                                                                                               Ex. Page No. 230
                                          Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 233 of 245
                                                   Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 31 из 38


                                  1   целом. Генпрокуратура добивается ареста долей Jusan Group более чем в десятке

                                  2   юридических лиц.

                                  3         118.    В очередной раз Генеральный прокурор потребовал, чтобы JTL вернула

                                  4   Pioneer миллионы долларов США в виде активов и денежных средств, которые были

                                  5   должным образом переведены в JTL. И снова результатом, если иск будет успешным,

                                  6   будет перемещение законно контролируемых активов Jusan Group в Казахстан, где

                                  7   Правительство сможет осуществлять больший контроль.

                                  8   F. Незаконная             Кампания    Правительства    Совпадает     с     Исторической

                                  9   Коррупционной Практикой

                                 10         119.    Действия Ответчиков согласуются с исторической коррупционной

                                 11   практикой в Казахстане, а также сообщениями о заметном росте коррупции в

                                 12   Казахстане в последние годы.
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13         120.    Например, в 2013 году арбитражная комиссия присудила молдавской

                                      компании возмещение убытков в размере 497 685 101 долларов США (плюс 50 %
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15   расходов на юридические услуги) за нарушение Правительством Казахстана Договора

                                 16   к    Энергетической        хартии ―   международного   соглашения,       устанавливающего

                                 17   трансграничное сотрудничество в энергетической промышленности. В этом деле

                                 18   использовалась тактика, поразительно похожая на ту, что применяется против Истцов.

                                 19   Там суд установил, что Казахстан нарушил право компании на справедливое и равное

                                 20   обращение в соответствии с Договором. В частности, компания утверждала, что

                                 21   Казахстан участвовал в кампании преследования, кульминацией которой стало

                                 22   расторжение контрактов на проведение поисково-разведывательных работ для добычи

                                 23   нефти    и     газа   и    конфискация   корпоративных   активов,    расположенных           в

                                 24   Казахстане. Сообщается, что кампания включала в себя тактику финансовой полиции

                                 25   Казахстана и семи квазигосударственных организаций и включала необоснованное

                                 26   замораживание активов компании, круглосуточное наблюдение и проверки со стороны

                                 27   должностных лиц государственных органов, которые препятствовали ведению

                                 28
                                                                                  31
                                                                                                                      Ex. Page No. 231
                                       Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 234 of 245
                                                 Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 32 из 38


                                  1   сотрудниками обычных деловых операций, необоснованное изъятие документов,

                                  2   незаконный арест и осуждение менеджера в стране, а также отмена ранее одобренных

                                  3   правительством разрешений и отказов.

                                  4       121.    Совсем недавно в СМИ отмечалось, что в 2022 году число случаев

                                  5   коррупции в Казахстане резко возросло, на целых 30 процентов. Индекс восприятия

                                  6   коррупции Transparency International ― наиболее широко используемый глобальный

                                  7   рейтинг коррупции в мире ― присвоил Казахстану худшие показатели по коррупции в

                                  8   государственном секторе в Восточной Европе и Центральной Азии, регионе со вторыми

                                  9   самыми низкими показателями в мире. Постоянная «серьезная проблема» коррупции,

                                 10   которая существует в Казахстане всесторонне описана в недавнем отчете,

                                 11   опубликованном Группой государств против коррупции, ― антикоррупционным

                                 12   органом Совета Европы. Экспертные оценки показывают, что прогресс Казахстана в
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13   антикоррупционных мерах в лучшем случае разрознен.

                                          122.    Cенаторы США в Комитете Сената по международным отношениям в
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15   октябре 2022 года призвали к «международному расследованию санкционированного

                                 16   государством насилия и пересмотру вопроса о предоставлении помощи США в области

                                 17   безопасности после общенациональных протестов в Казахстане» в начале этого года и

                                 18   жестокой реакции Казахстанских сил безопасности по отношению к гражданским

                                 19   протестующим.      В рамках расследования Сенаторы призвали Государственный

                                 20   департамент США пересмотреть свои отношения с Казахстаном, чтобы «уделить

                                 21   приоритетное внимание защите основных свобод и укреплению верховенства права».

                                 22   G. Незаконная Кампания Правительства, а именно Блокирование Выплаты

                                 23   Дивидендов, Наносит Конкретный Ущерб Деятельности Jusan Group.

                                 24       123.    Неудивительно   и,   предположительно    в   соответствии   с     планами

                                 25   Правительства, кампания Правительства, включая, прежде всего, блокирование

                                 26   примерно 387 миллионов долларов США в виде дивидендов, наносит значительный,

                                 27   непосредственный и конкретный ущерб деятельности Истцов.

                                 28
                                                                             32
                                                                                                                  Ex. Page No. 232
                                        Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 235 of 245
                                                  Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 33 из 38


                                  1        124.    Истцы не могут получить дивидендное финансирование от их дочерних

                                  2   компаний, связанных с Банком, ― основного источника финансирования, а также не

                                  3   могут выполнить обязательство по предоставлению дивидендного финансирования их

                                  4   материнским организациям.          В свою очередь, NGF не может переводить или

                                  5   использовать собственные средства на собственных банковских счетах или получать

                                  6   законно выплаченные дивиденды для выполнения своей единственной миссии:

                                  7   финансирования Назарбаев Университета и Nazarbayev Intellectual Schools. В конечном

                                  8   счете, замораживая средства Jusan Group, Правительство лишает Назарбаев

                                  9   Университет и Nazarbayev Intellectual Schools необходимых ресурсов, чем наносит

                                 10   ущерб студентам, исследователям и преподавателям Назарбаев Университета и

                                 11   Nazarbayev Intellectual Schools.

                                 12        125.    Кроме того, в августе 2022 года Истец JTL заявил о своем намерении
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13   выкупить акции JTL на сумму 20 миллионов долларов США у инвестора.                Из-за

                                      заблокированных выплат дивидендов JTL не может осуществить выкуп.
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14

                                 15             ПЕРВОЕ ОСНОВАНИЕ ДЛЯ УДОВЛЕТВОРЕНИЯ ИСКА
                                           (ЭКСПРОПРИАЦИЯ В НАРУШЕНИЕ МЕЖДУНАРОДНОГО ПРАВА)
                                 16
                                        (против Ответчика Республики Казахстан и Ответчиков правительственных
                                 17                                  учреждений)

                                 18        126.    Истцы приводят и повторно утверждают вышеизложенное, как если бы

                                 19   утверждалось здесь.

                                 20        127.    Как материнские корпорации и акционеры First Heartland Securities и First

                                 21   Heartland Bank, Истцы имеют прямые имущественные интересы в своих правах на

                                 22   получение объявленных дивидендов от дочерних компаний.

                                 23        128.    Своим поведением, заявленным выше, в том числе воспрепятствованием

                                 24   дочерним компаниям Истцов в выплате законно объявленных дивидендов их

                                 25   иностранным акционерам и прямой направленностью своего поведения на достижение

                                 26   такого результата, Ответчик Республика Казахстан и его учреждения экспроприировали

                                 27   и захватили имущество Истцов в нарушение международного права.

                                 28
                                                                                33
                                                                                                                 Ex. Page No. 233
                                        Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 236 of 245
                                                  Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 34 из 38


                                  1        129.    Ответчик Правительство Казахстана и его учреждения также нарушили

                                  2   существующее международное право, экспроприировав и конфисковав аналогичные

                                  3   имущественные права, принадлежащие First Heartland Securities и First Heartland Bank,

                                  4   действуя с дискриминационной целью причинить вред иностранным акционерам

                                  5   вышеуказанных корпораций.

                                  6                 ВТОРОЕ ОСНОВАНИЕ ДЛЯ УДОВЛЕТВОРЕНИЯ ИСКА
                                                    (18 U.S.C. § 1964(c)) (против Индивидуальных Ответчиков)
                                  7
                                           130.    Истцы приводят и повторно утверждают вышеизложенное, как если бы
                                  8
                                      утверждалось здесь.
                                  9
                                           131.    Индивидуальные Ответчики фактически действуют как совместное
                                 10
                                      предприятие, участвующее в торговле между штатами, их деятельность влияет на
                                 11
                                      торговлю между штатами, а также они управляли и участвовали в управлении
                                 12
                                      дополнительными       предприятиями,   среди   них   Правительство     ответчика       и
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13
                                      правительственные учреждения.
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14
                                           132.    Индивидуальные Ответчики согласовали между собой, осуществляли
                                 15
                                      действия и участвовали в деятельности предприятия путем периодического рэкета,
                                 16
                                      осуществляя незаконные преднамеренные вымогательства у Истцов, конечной целью
                                 17
                                      которых было получение личной выгоды.
                                 18
                                           133.    Индивидуальные Ответчики согласовали между собой, осуществляли
                                 19
                                      действия и участвовали в деятельности предприятия путем периодического рэкета,
                                 20
                                      осуществляя незаконные преднамеренные вымогательства у Jusan Group.
                                 21
                                           134.    Индивидуальные Ответчики прямо и косвенно осуществляли действия и
                                 22
                                      участвовали в деятельности предприятия путем периодического рэкета и ведя
                                 23
                                      деятельность, описанную выше, в нарушение 18 U.S.C. § 1962(c).
                                 24
                                           135.    Прямым и непосредственным результатом деятельности Индивидуальных
                                 25
                                      Ответчиков по вымогательству и в нарушение 18 U.S.C. § 1962(c) стало то, что бизнесу
                                 26
                                      и имуществу Истцов был нанесен ущерб.
                                 27

                                 28
                                                                               34
                                                                                                                Ex. Page No. 234
                                        Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 237 of 245
                                                   Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 35 из 38


                                  1               ТРЕТЬЕ ОСНОВАНИЕ ДЛЯ УДОВЛЕТВОРЕНИЯ ИСКА
                                            (Нев. Рев. Стат. § 207.470) (против всех Индивидуальных Ответчиков)
                                  2
                                           136.     Истцы приводят и повторно утверждают вышеизложенное, как если бы
                                  3
                                      утверждалось здесь.
                                  4
                                           137.     Индивидуальные Ответчики совершили как минимум два различных
                                  5
                                      преступления, связанных с рэкетом, в соответствии с определением в Nev. Rev. Stat. §
                                  6
                                      207.360, представляющий собой рэкет в соответствии с Nev. Rev. Stat. § 207.390.
                                  7
                                           138.     Ответчики принимали прямое и косвенное участие в деятельности
                                  8
                                      предприятия, действия которого представляют собой рэкет, в нарушение Нев. Рев. Стат.
                                  9
                                      § 207.400.
                                 10
                                           139.     Бизнесу и имуществу Истцов был причинен вред в связи с нарушениями
                                 11
                                      Ответчиков.
                                 12
                                              ЧЕТВЕРТОЕ ОСНОВАНИЕ ДЛЯ УДОВЛЕТВОРЕНИЯ ИСКА
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13       (НАМЕРЕННОЕ ВМЕШАТЕЛЬСТВО В ДОГОВОРНЫЕ ОТНОШЕНИЯ)
                                                           (против всех Ответчиков)
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14
                                           140.     Истцы приводят и повторно утверждают вышеизложенное, как если бы
                                 15
                                      утверждалось здесь.
                                 16
                                           141.     Между First Heartland Bank и First Heartland Securities, First Heartland
                                 17
                                      Securities и JTL, JTL и Jysan Holding, Jysan Holding и NGF существуют и действуют
                                 18
                                      межфирменные соглашения.         Каждое из межфирменных соглашений дает право
                                 19
                                      материнской компании на выплату дивидендов от ее дочерней компании. Jysan Holding
                                 20
                                      и JTL являются сторонами этих соглашений, или сторонними бенефициарами в случае
                                 21
                                      соглашений, стороной которых Jysan Holding и/или JTL не являются.
                                 22
                                           142.     Каждый из Ответчиков знает о вышеупомянутых соглашениях и совершил
                                 23
                                      преднамеренные действия, направленные на нарушение данных отношений. Действия
                                 24
                                      Ответчиков привели к фактическому нарушению каждого соглашения, результатами
                                 25
                                      данных нарушений стало причинение Jysan Holding и JTL убытков.
                                 26

                                 27

                                 28
                                                                                 35
                                                                                                                  Ex. Page No. 235
                                       Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 238 of 245
                                                 Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 36 из 38


                                  1           ПЯТОЕ ОСНОВАНИЕ ДЛЯ УДОВЛЕТВОРЕНИЯ ИСКА
                                                     (НАМЕРЕННОЕ ВМЕШАТЕЛЬСТВО
                                  2   ДЛЯ ИЗВЛЕЧЕНИЯ ЭКОНОМИЧЕСКОЙ ВЫГОДЫ) (против всех Ответчиков)
                                  3       143.    Истцы приводят и повторно утверждают вышеизложенное, как если бы
                                  4   утверждалось здесь.
                                  5       144.    После получения заблокированных дивидендов от Банка, FHS планировала
                                  6   выплатить все или часть заблокированных дивидендов компании JTL, затем JTL
                                  7   планировала выплатить все заблокированные дивиденды или их часть компании Jysan
                                  8   Holding, которая должна была выплатить все или часть заблокированных дивидендов
                                  9   своей материнской компании NGF, за вычетом разумных операционных расходов.
                                 10   Каждый из Ответчиков знает о конечной цели использования заблокированных
                                 11   дивидендов и совершил преднамеренные действия, направленные на то, чтобы сорвать
                                 12   выплату дивидендов Истцам и выплату дивидендов в пользу NGF. Действия ответчиков
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13   привели к фактическому нарушению процессов осуществления дивидендов и
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14   причинили Jysan Holding и JTL убытки, вытекающие в результате данного нарушения.
                                 15       145.    Поведение Ответчиков было неоправданным и необоснованным. Нет таких
                                 16   соглашений или законов, которые бы предусматривали права вмешательства или
                                 17   воспрепятствования выплате дивидендов в связи с выплатой Государством финансовой
                                 18   помощи Цеснабанку и АТФ Банку. В результате действий Ответчиков Истцы и их
                                 19   аффилированные лица не получили средства, необходимые для выполнения своих
                                 20   основных функций и задач, включая финансирование NGF, Nazarbayev Intellectual
                                 21   Schools и Назарбаев Университета.
                                 22               ШЕСТОЕ ОСНОВАНИЕ ДЛЯ УДОВЛЕТВОРЕНИЯ ИСКА
                                 23                (ГРАЖДАНСКИЙ ЗАГОВОР) (против всех Ответчиков)
                                          146.    Истцы приводят и повторно утверждают вышеизложенное, как если бы
                                 24
                                      утверждалось здесь.
                                 25
                                          147.    Ответчики действовали в сговоре, чтобы достичь их незаконной цели, с
                                 26
                                      намерениями причинить вред Jusan Group, Истцам включительно.
                                 27

                                 28
                                                                             36
                                                                                                             Ex. Page No. 236
                                       Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 239 of 245
                                                  Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 37 из 38


                                  1       148.     Jusan Group, Истцы включительно, понесли убытки в результате действий

                                  2   Ответчиков по достижению целей сговора.

                                  3       149.     Ответчики несут солидарную ответственность за ущерб, понесенный

                                  4   Истцами в результате каждого действия, предпринятого каждым Ответчиком в рамках

                                  5   сговора Ответчиков.

                                  6           СЕДЬМОЕ ОСНОВАНИЕ ДЛЯ УДОВЛЕТВОРЕНИЯ ИСКА
                                          (ГРАЖДАНСКАЯ ПОМОЩЬ И ПОДСТРЕКАТЕЛЬСТВО) (против всех
                                  7
                                                              Ответчиков)
                                  8       150.     Истцы приводят и повторно утверждают вышеизложенное, как если бы
                                  9   утверждалось здесь.
                                 10       151.     Каждый Ответчик существенно помогал и поощрял поведение других
                                 11   Ответчиков в нарушении обязанностей перед Истцами, включая деликтные обязанности
                                 12   и установленные законом обязанности, как указано выше.
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13       152.     Нарушения со стороны Ответчиков нанесли ущерб Jusan Group, Истцам
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14   включительно.
                                 15       153.     Каждый Ответчик несет ответственность в соответствии с теорией
                                 16   гражданского     пособничества   и   подстрекательства   за   ущерб,   причиненный
                                 17   нарушениями, которым они существенно содействовали и поощряли.
                                 18          ХОДАТАЙСТВО О ПРЕДОСТАВЛЕНИИ СУДЕБНОЙ ЗАЩИТЫ
                                 19       154.     Истцы приводят и повторно утверждают вышеизложенное, как если бы
                                 20   утверждалось здесь, и почтительно просят Суд:
                                 21          a)    Заявить, что поведение Ответчиков нанесло незаконный ущерб Истцам, и не
                                 22          подлежит каким-либо законным привилегиям или оправданиям;
                                 23          b)    Присудить Истцам компенсацию и штрафные санкции в размере, который
                                 24          будет определен на слушании, включая тройную сумму возмещения убытков и
                                 25          гонорары адвокатов в соответствии с 18 U.S.C. § 1964(c);
                                 26          c)    Присудить Истцам издержки и расходы, включая гонорары адвокатов; а
                                 27          также
                                 28
                                                                               37
                                                                                                               Ex. Page No. 237
                                      Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 240 of 245
                                                Дело 2:23-cv-00247 Документ 1 Подано 16.02.23 Стр. 38 из 38


                                  1        d)    Присудить Истцам дополнительное средство правовой защиты, оправданное

                                  2        обстоятельствами.

                                  3
                                      ИСКОВОЕ ЗАЯВЛЕНИЕ О РАССМОТРЕНИИ ДЕЛА СУДОМ ПРИСЯЖНЫХ
                                  4
                                       Истцы требуют рассмотрения дела судом присяжных по всем спорным вопросам.
                                  5

                                  6    ОТ 16 февраля 2023 г.
                                                                              HOLLAND & HART LLP
                                  7
                                                                               /подпись/ J. Stephen Peek
                                  8
                                                                              J. Stephen Peek/ Дж. Стивен Пик
                                                                              Erica C. Medley/ Эрика С. Медли
                                  9
                                                                              9555 Hillwood Drive, 2nd Floor
                                                                              Las Vegas, NV 89134
                                 10

                                 11
                                                                              Tariq Mundiya/ Тарик Мундия
                                                                              (pro hac vice будет предоставлено
                                 12
                                                                              позднее)
                                                                              Jeffrey B. Korn/ Джеффри Б. Корн
9555 HILLWOOD DRIVE, 2ND FLOOR




                                 13
                                                                              (pro hac vice будет предоставлено
                                                                              позднее)
      HOLLAND & HART LLP

      LAS VEGAS, NV 89134




                                 14
                                                                              WILLKIE FARR & GALLAGHER LLP
                                                                              787 Seventh Avenue
                                 15
                                                                              New York, New York 10019
                                 16
                                                                              Michael J. Gottlieb/ Майкл Дж. Готлиб
                                                                              (pro hac vice будет предоставлено
                                 17
                                                                              позднее)
                                                                              WILLKIE FARR & GALLAGHER LLP
                                 18
                                                                              1875 K Street, NW
                                                                              Washington, DC 20006
                                 19
                                                                              Адвокаты Истцов
                                 20
                                                                              Jysan Holding, LLC; и
                                                                              Jusan Technologies Ltd.
                                 21

                                 22

                                 23

                                 24

                                 25

                                 26

                                 27

                                 28
                                                                            38
                                                                                                             Ex. Page No. 238
                                  Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 241 of 245
                                                 Дело 2:23-cv-00247 Документ 1-1 Подано 16.02.23 Стр. 1 из 3
                                                       ТИТУЛЬНЫЙ ЛИСТ ГРАЖДАНСКОГО ДЕЛА
Титульный лист гражданского дела JS 44 и информация, содержащаяся в нем, не заменяет и не дополняет регистрацию и вручение состязательных бумаг или других документов согласно
требованиям закона, за исключением случаев, предусмотренных местными правилами суда. Эта форма, одобренная Конференцией судей Соединенных Штатов в сентябре 1974 года, должна
использоваться секретарем суда с целью возбуждения делопроизводства по гражданским делам. (СМ. ИНСТРУКЦИИ НА СЛЕДУЮЩЕЙ СТРАНИЦЕ ЭТОЙ ФОРМЫ.)
I. (a) ИСТЦЫ                                                                                                                  ОТВЕТЧИКИ
              Jysan Holding, LLC; Jusan Technologies LTD                                                                      Республика Казахстан и др. (см. приложение)
      (b)     Округ проживания первого указанного истца __________                                                            Округ проживания первого указанного ответчика                   Республика Казахстан
                                                (КРОМЕ ДЕЛ ИСТЦА ИЗ США)                                                                             (ТОЛЬКО В ДЕЛАХ ИСТЦА ИЗ США)
                                                                                                                              ПРИМЕЧАНИЕ:     В ДЕЛАХ ОБ ОТЧУЖДЕНИИ ЗЕМЛИ ИСПОЛЬЗУЙТЕ АДРЕС СПОРНОГО
                                                                                                                                     ЗЕМЕЛЬНОГО УЧАСТКА.
                                                                                                                              Адвокаты (если известні)
      (с)    Адвокаты (название фирмы, адрес и номер телефона)

              (см. приложение)
II.         ОСНОВА ЮРИСДИКЦИИ(Поставьте «X» только в одной ячейке)                                           III. ГРАЖДАНСТВО ОСНОВНЫХ СТОРОН                                                 (Поставьте «X» в одной ячейке для
                                                                                                                         (Только для дел с другим                                             истца и в одной ячейке для ответчика)
                                                                                                                         гражданством)
☐1          Истец правительство             ☒3        Федеральный вопрос                                                                                 ИСТ     ОТВ                                              ИСТ         ОТВ
              США                                       (Правительство США не является стороной)                   Гражданин этой страны                 ☐1      ☐1      Зарегистрирован или юридический           ☐4         ☐4
                                                                                                                                                                            адрес в этой стране

☐2          Ответчик правительство          ☐4        Другое гражданство                                           Гражданин другой страны               ☐2      ☐2      Зарегистрирован и юридический адрес       ☐5         ☐5
              США                                       (Укажите гражданство сторон в пункте III)                                                                           в другой стране

                                                                                                                   Гражданин или подданный               ☐3      ☐3      Иностранное государство                   ☐6         ☐6
                                                                                                                     иностранного государства
IV. ХАРАКТЕР ИСКА (Поставьте «X» только в одной ячейке)                                                                                                Нажмите здесь, чтобы: Описание характера кода иска.
              ПО ДОГОВОРУ                                         ПРАВОНАРУШЕНИЕ                                       КОНФИСКАЦИЯ/ШТРАФ                             БАНКРОТСТВО                            ДРУГИЕ ЗАКОНЫ
      110   Страхование                                    ТРАВМА                           ТРАВМА               ☐ 625 Арест имущества в связи с               422   Апелляция, 28 USC 158         375 Закон о неправомерных
☐     120   Морское право                       310   Самолеты                      365 Травма – Ответственность       наркотиками, 21 USC 881
                                                                                                                                                          ☐    423   Отзыв
                                                                                                                                                                                               ☐   376 претензиях
                                            ☐                                   ☐
☐     130   Закон Миллера                       315   Ответственность за                за качество                690 Другое                             ☐          28 USC 157                ☐       Иск «qui tam» (31 USC 3729
      140   Оборотный документ Взыскание    ☐         качество самолета             367 Здравоохранение/фармацев ☐                                                                                 400 (а))
☐     150   переплаты и исполнение              320   Нападки, клевета и                тика Травма                                                            ИМУЩЕСТВЕННЫЕ ПРАВА             ☐   410 Повторное рассмотрение
            судебного решения Закон о                 оскорбления
                                                                                ☐       Ответственность за
☐           Medicare                        ☐   330   Федеральная                   368 качество                                                          ☐    820 Авторские права
                                                                                                                                                                                               ☐   430 Антимонопольный закон
      151                                                                                                                                                      830 Патент                          450 Банки и банковское дело
☐     152   Взыскание просроченных                    ответственность                   Асбест Травма                                                     ☐    835 Патент – Сокращенная        ☐   460 Депортация
            студенческих ссуд (за искл.     ☐   340   работодателей
                                                                                ☐       Ответственность за
                                                                                                                                                                   заявка на новый препарат
☐           ветеранов)                          345   Морское право                     качество                                                          ☐                                    ☐   470 Рэкет и коррупция
      153   Взыскание переплаты                       Ответственность за                                                                                       840 Товарный знак                       Потребительский кредит
☐           ветеранских пособий
                                            ☐   350   качество продукции для     ЛИЧНАЯ СОБСТВЕННОСТЬ                                ТРУД                      880 Закон о защите              ☐   480 (15 USC 1681 или 1692)
                                                                                                                                                                   коммерческой тайны 2016             Закон о защите прав
      160   Иски акционеров                 ☐   355   моря                      ☐ 370 Другое мошенничество
                                                                                                                   ☐ 710     Закон о справедливых         ☐        г.                          ☒   485 потребителей телефонов
                                                      Автомобили                  371 Справедливое                           трудовых стандартах
      190   Другие договоры
                                                360   Ответственность за        ☐ 380 кредитование                     720   Трудовые/управленческие      ☐                                            Кабельное/спутниковое
☐
      195   Договорная ответственность за   ☐         качество автомобилей                                                   отношения                                                         ☐   490 телевидение
      196   продукт Франшиза                                                    ☐     Другой ущерб личному         ☐                                                                               850 Ценные бумаги/товары/ биржа
                                            ☐   362   Другие травмы               385 имуществу                        740   Закон о труде на ж.д.         СОЦИАЛЬНОЕ ОБЕСПЕЧЕНИЕ
                                                                                                                                                                                                       Другие иски на законных
                                                      Травма – врачебная                                               751   транспорте                                                        ☐
☐                                                     ошибка
                                                                                      Ущерб имуществу                                                     ☐ 861 HIA (1395ff)                       890 основаниях
                                            ☐                                   ☐     Ответственность за           ☐         Закон об отпуске и              862 Антракоз (923)                    891 Законы о сельском хозяйстве
☐                                                                                     качество                               больничном                   ☐ 863 DIWC/DIWW (405(g))             ☐   893 Экологические вопросы
                                                                                                                   ☐ 790     Другие трудовые споры
☐                                           ☐                                                                        791                                  ☐ 864 SSID Глава XVI                 ☐   895 Закон о свободе информации
                                                                                                                             Закон о пенсионном              865 RSI (405(g))                          Арбитраж
☐                                                                                                                            обеспечении                  ☐                                        896 Административно-
                                                                                                                   ☐                                                                           ☐   899 процессуальный акт/Пересмотр
        НЕДВИЖИМОСТЬ                        ГРАЖДАНСКИЕ ПРАВА                           ХОДАТАЙСТВА                                                       ☐
                                                                                       ЗАКЛЮЧЕННЫХ                 ☐                                                                           ☐
                                                                                                                                                                                                       или обжалование решения
                                                                                                                                                                                                       агентства
      210   Отчуждение земли                    440 Другие гражданские              Доставка обвиняемого в суд:
☐                                           ☐       права                                                                                                  ФЕДЕРАЛЬНЫЕ НАЛОГОВЫЕ               ☐   950 Конституционность
      220   Конфискация                         441                             ☐   463 Задержание иностранца                                                                                          государственных законов
☐     230   Нарушение аренды и выселение    ☐   442 Голосование                     510 Ходатайства об отмене                                                         ИСКИ                     ☐
☐     240   Земельное правонарушение        ☐   443 Трудоустройство             ☐        приговора                                                        ☐ 870 Налоги  (истец или ответчик
                                                                                    530 Общие                                                                   из США)
      245   Нарушение ответственности за            Жилье/проживание                                                                                                                           ☐
☐     290   качество Вся прочая             ☐   445 Амер. с инвалидностью –     ☐   535 Смертный приговор                      ИММИГРАЦИЯ                   871 IRS – третья сторона
            недвижимость                            Занятость                                                                                             ☐      26 USC 7609                   ☐
☐
                                            ☐   446 Амер. с инвалидностью –     ☐
☐                                                   другое
                                                                                                                                                                                               ☐
                                                448 Обучение                        Другое:
                                                                                                                   ☐ 462     Заявка на натурализацию
                                            ☐                                   ☐   540   Приказ и пр.             ☐ 465     Другие иммиграционные
                                                                                    550   Гражданские права                  иски
                                                                                ☐   555   Содержание в тюрьме
                                            ☐
                                                                                ☐   560   Задержанный по гражд.
                                                                                          делу – Условия
                                                                                ☐         содержания под стражей

V. ВОЗНИКНОВЕНИЕ (Поставьте «X» только в одной ячейке)
☒           Первичное       ☐2       Изъято из суда                 ☐3         Изъято из апелляционного    Восстановленные
                                                                                                            ☐4                 ☐5 Переданные из               ☐ 6 Многоокружные            ☐ 8 Многоокружные
            дело                     штата                                     суда                        или вновь                   другого округа                процессы –                   процессы –
                                                                                                           открытые                    (укажите)                     передача                     прямая подача
                                                  Укажите Гражданский закон США, по которому вы подаете иск (не цитируйте юрисдикционные законы, кроме случаев иного гражданства):
                                                  18 U.S.C. § 1,964(c)
VI.          ОСНОВАНИЕ ИСКА                       Краткое описание основания иска:
                                                  Нарушение Закона об организованной преступности, связанной с рэкетом и коррупцией, и связанные с этим нарушения государственного и международного права, основанные
                                                  на экспроприации активов.
                                                  ☐       ОТМЕТЬТЕ, ЕСЛИ ЭТО ГРУППОВОЙ ИСК                                   ТРЕБОВАНИЕ $                              ОТМЕТЬТЕ «ДА», только если в жалобе требуется:
VII.         ЗАПРОС ПО                                    СОГЛАСНО ПРАВИЛУ 23 F.R.Cv.P.                                                                                ТРЕБОВАНИЕ
             ЖАЛОБЕ.                                                                                                                                                   ПРИСЯЖНЫХ:                ☒ Да             ☐ Нет
VIII. СВЯЗАННЫЕ ДЕЛА,                             (См. инструкции):
      ПРИ НАЛИЧИИ                                                              СУДЬЯ __________ НОМЕР ДЕЛА _______
ДАТА                                                                                 ПОДПИСЬ АДВОКАТА
16.02.2023                                                                           /подпись/ Дж. Стивен Пик
ДЛЯ СЛУЖЕБНОГО ПОЛЬЗОВАНИЯ

      КВИТАНЦИЯ #                    СУММА ________________                          ЗАЯВИТЕЛЬ IFP ________________                    СУДЬЯ________________                      МАГ. СУДЬЯ         _________________________
__________
                                                                                                                                                                                               Ex. Page No. 239
                  Case 2:23-cv-00247-JAD-VCF Document 16 Filed 03/08/23 Page 242 of 245
                            Дело 2:23-cv-00247 Документ 1-1 Подано 16.02.23 Стр. 2 из 3

                      ИНСТРУКЦИЯ ДЛЯ АДВОКАТОВ, ЗАПОЛНЯЮЩИХ ТИТУЛЬНЫЙ ЛИСТ
                                  ГРАЖДАНСКОГО ДЕЛА, ФОРМА JS 44.
                                     Полномочия по заполнению титульного листа гражданских дел

Титульный лист гражданского дела JS 44 и информация, содержащаяся в нем, не заменяет и не дополняет регистрацию и вручение
состязательных бумаг или других документов согласно требованиям закона, за исключением случаев, предусмотренных местными правилами
суда. Эта форма, одобренная Конференцией судей Соединенных Штатов в сентябре 1974 года, должна использоваться секретарем суда с целью
возбуждения делопроизводства по гражданским делам. Следовательно, титульный лист гражданского дела представляется Секретарю суда для
каждого поданного гражданского иска. Адвокат, подающий иск, должен заполнить форму следующим образом:

I.(a)   Истцы-ответчики. Укажите имена (фамилию, имя, отчество) истца и ответчика. Если истцом или ответчиком является государственное
        учреждение, используйте только полное название или стандартные сокращения. Если истец или ответчик является должностным лицом
        государственного учреждения, укажите сначала это учреждение, а затем должностное лицо, с указанием имени и должности.
  (b)   Округ проживания. Для каждого поданного гражданского дела, за исключением дел истца из США, укажите название округа, в котором
        проживает первый истец из списка на момент подачи дела. В делах истца из США укажите название округа, в котором проживает первый
        ответчик из списка на момент подачи заявления. (ПРИМЕЧАНИЕ. В делах об отчуждении земли округ проживания «ответчика» является
        местом нахождения рассматриваемого земельного участка).
  (c)   Адвокаты. Укажите название фирмы, адрес, номер телефона и доверенное лицо. Если адвокатов несколько, перечислите их в
        приложении, указав в этом разделе «(см. приложение)».

II.     Юрисдикция. Основа юрисдикции изложена в правиле 8(a) Федерального гражданского процессуального кодекса США (F.R.Cv.P.)
        согласно которому следует указывать юрисдикцию в состязательных бумагах. Поставьте отметку «X» в одном из полей. Если имеется
        более одного основания юрисдикции, приоритет отдается в порядке, указанном ниже.
        Истец из США. (1) Юрисдикция на основании разд. 28 Свода законов США (U.S.C.), ст. 1345 и 1348. Сюда включены иски
        государственных органов и чиновников США. Ответчик из США. (2) Если истец предъявляет иск Соединенным Штатам, их чиновникам
        или государственным органам, поставьте отметку «X» в этом поле.
        Федеральный вопрос. (3) Это относится к искам в соответствии с разд. 28 U.S.C., ст. 1331, когда юрисдикция возникает в соответствии с
        Конституцией Соединенных Штатов, поправкой к Конституции, актом Конгресса или международным договором Соединенных Штатов.
        В тех случаях, когда стороной являются США, код истца или ответчика из США имеет приоритет, и необходимо отметить графу 1 или 2.
        Разные гражданства. (4) Это относится к искам по разд. 28 USC ст. 1332, сторонами которых являются граждане разных стран. Если отметка
        стоит в поле 4, следует проверить гражданство разных сторон. (См. Раздел III ниже. ПРИМЕЧАНИЕ. Иски по федеральным вопросам
        имеют приоритет перед делами с разными гражданствами.)

III.    Резиденция (гражданство) основных сторон. Этот раздел JS 44 необходимо заполнить, если выше были указаны разные гражданства.
        Отметьте этот раздел для каждой основной стороны.

IV.     Характер иска. Поставьте отметку «X» в соответствующем поле. Если с делом связано несколько кодов исков, выберите наиболее
        подходящий код иска. Нажмите здесь, чтобы видеть подробное описание иска: Описание характера кода иска.
V.      Возникновение. Поставьте отметку «X» в одном из семи полей.
        Первичное дело. (1) Дела, возбужденные окружными судами США.
        Изъято из суда штата. (2) Разбирательство, возбужденное в государственных судах, может быть передано в окружные суды в
        соответствии с разделом 28 USC, ст. 1441. Изъято из апелляционного суда. (3) Поставьте отметку здесь для дел, переданных в окружной
        суд для дальнейшего рассмотрения. В качестве даты подачи используйте дату возврата на рассмотрение.
        Восстановленные или вновь открытые. (4) Поставьте отметку в этом поле для дел, возобновленных или вновь открытых в окружном суде.
        В качестве даты подачи используйте дату повторного открытия. Переданные из другого округа. (5) Для дел, переданных в соответствии со
        ст. 1404(a) Раздела 28 U.S.C. Не используйте эту отметку для передачи внутри округа или передачи в рамках многоокружных процессов.
        Многоокружные процессы – передача. (6) Поставьте отметку здесь, если дело, относящееся к нескольким округам, передается в округ в
        соответствии с разд. 28 U.S.C.
        ст. 1407.
        Многоокружные процессы – прямая подача. (8) Поставьте отметку здесь, если дело, относящееся к нескольким округам, подается в том
        же округе, что и основное дело по многоокружному процессу. ОБРАТИТЕ ВНИМАНИЕ, ЧТО КОД ВОЗНИНКОВЕНИЯ 7
        ОТСУТСТВУЕТ. Код возникновения 7 использовался для исторических записей и больше не актуален из-за изменений в
        законодательстве.

VI.     Основание иска. Укажите гражданский закон, непосредственно связанный с основанием для иска, и дайте краткое описание основания.
        Не цитируйте юрисдикционные законы, если только речь не идет о гражданстве другой страны. Пример: Гражданский закон
        США: разд. 47 USC 553 Краткое описание: Несанкционированный прием кабельного телевидения.

VII.    Запрос по жалобе. Групповой иск. Поставьте «X» в этом поле, если вы подаете групповой иск в соответствии с
        Правилом 23, F.R.Cv.P. «Требование». В этом поле введите фактическую сумму претензии в долларах или укажите
        другое требование, например, предварительный судебный запрет. Требование присяжных. Отметьте это поле, чтобы
        указать, требуются ли присяжные.

VIII. Связанные дела. Этот раздел JS 44 используется для ссылки на связанные незавершенные дела, если таковые имеются. Если есть
      связанные незавершенные дела, укажите номера дел и соответствующие имена судей для таких дел.

Дата и подпись адвоката. Поставьте дату и подпишите титульный лист гражданского дела.

                                                                                                                 Ex. Page No. 240
                   Дело 2:23-cv-00247 Документ
            Case 2:23-cv-00247-JAD-VCF         1-1 Подано
                                         Document  16 Filed16.02.23
                                                            03/08/23Стр. 3 из243
                                                                      Page    3 of 245



                            Приложение к титульному листу гражданского дела

Раздел I(а) Ответчики:
       Республика Казахстан;
       Агентство Республики Казахстан по регулированию и развитию финансового рынка;
       Агентство Республики Казахстан по противодействию коррупцией;
       Агентство Республики Казахстан по финансовому мониторингу;
       Комитет национальной безопасности Республики Казахстан;
       Агентство Республики Казахстан по регулированию и развитию финансового рынка, председатель,
       Абылкасымова Мадина;
       Агентство Республики Казахстан по регулированию и развитию финансового рынка, заместитель
       председателя, Кизатов Олжас;
       Агентство Республики Казахстан по регулированию и развитию финансового рынка, представитель,
       Омарбеков Арман;
       Джаксыбеков Адильбек.

Раздел I(c) Адвокаты истцов
       Стивен Пик (J. Stephen Peek)
       Эрика С. Медли (Erica C. Medley)
       Holland & Hart LLP
       9555 Hillwood Drive, 2nd Floor
       Las Vegas, NV 89,134 (Лас-Вегас, США)
       (702) 669-4600

      Тарик Мундия (Tariq Mundiya)
      Джеффри Б. Корн (Jeffrey B. Korn)
      Willkie Farr & Gallagher LLP 787 Seventh Avenue
      New York, NY 10019 (Нью-Йорк, США)
      (212) 728-8000

      Майкл Дж. Готтлиб (Michael J. Gottlieb)
      Willkie Farr & Gallagher
      1875 K Street, NW
      Washington, DC 20006 (Вашингтон, США)
      (202) 303-1000




                                                                                 Ex. Page No. 241
                   Дело 2:23-cv-00247-JAD-VCF Документ
                   Case 2:23-cv-00247-JAD-VCF            Подано
                                               Document516       03/08/23 Стр.
                                                           Filed 22/02/23        из of
                                                                          Page15244 18245

      AO 440 (Ред. 06/12) Судебная повестка по гражданскому делу



                                                     ОКРУЖНОЙ СУД США
                                                                   Округа Невада


            Jysan Holding, LLC; Jusan Technologies LTD                   )
                                                                         )
                                                                         )
                                                                         )
                                Истец(-цы)
                                                                         )
                                                                         )
                                 против                                  )
                                                                                Гражданское дело No. 2:23-cv-00247-JAD-VCF
                     Республика Казахстан и др.                          )
                                                                         )
                                                                         )
                                                                         )
                               Ответчик(-и)                              )

                                       СУДЕБНАЯ ПОВЕСТКА ПО ГРАЖДАНСКОМУ ДЕЛУ

     Кому: (Имя и адрес ответчика)          Арман Омарбеков
                                            Агентство Республики Казахстан по регулированию и развитию
                                            финансового рынка
                                            21, Коктем-3
                                            Алматы, 050040
                                            Республика Казахстан

               Против вас выдвинут судебный иск.

             В течение 21 дня после вручения вам этой повестки (не считая дня, когда вы ее получили) — или 60 дней,
     если вы являетесь организацией в Соединенных Штатах, либо должностным лицом или сотрудником
     Соединенных Штатов, указанным в Федеральных правилах гражданского судопроизводства
     П. 12 (a) (2) или (3) — вы должны вручить истцу ответ на прилагаемый иск или ходатайство в соответствии с
     правилом 12 Федеральных правил гражданского судопроизводства. Ответ или ходатайство должны быть
     вручены истцу или его адвокату, чье имя и адрес указаны ниже:

        Стивен Пик (Stephen Peek)                        Тарик Мундия (Tariq Mundiya)         Майкл Дж. Готтлиб (Michael J. Gottlieb)
        Эрика С. Медли (Erica C. Medley)                 Джеффри Б. Корн (Jeffrey B. Korn)    Willkie Farr & Gallagher LLP
        Holland & Hart LLP                               Willkie Farr & Gallagher LLP         1875 K Street, NW
        9555 Hillwood Dr., 2nd Fl.                       787 Seventh Ave.                     Washington, DC 20006
        Las Vegas, NV 89134                              New York, NY 10019

            Если вы не ответите, против вас будет вынесено решение по умолчанию о возмещении ущерба,
     требуемого в исковом заявлении. Вы также должны подать свой ответ или ходатайство в суд.


 ДЕБРА К. КЕМПИ                                                                               22 февраля 2023 г.
Секретарь                                                                    ДАТА
             [подпись]


(составлено) ЗАМЕСТИТЕЛЬ
СЕКРЕТАРЯ

                                                 [Печать: ОКРУЖНОЙ СУД США ОКРУГА НЕВАДА]

                                                                                                             Ex. Page No. 242
              Дело 2:23-cv-00247-JAD-VCF Документ
              Case 2:23-cv-00247-JAD-VCF            Подано
                                          Document516       03/08/23 Стр.
                                                      Filed 22/02/23        из of
                                                                     Page16245 18245

AO 440 (Ред. 06/12) Судебная повестка по гражданскому делу (стр.2)

Гражданское дело No. 2:23-cv-00247-JAD-VCF


                                         РАСПИСКА О ПОЛУЧЕНИИ
 (Этот документ не нужно подавать в суд, если только этого не требует П.4(L) Фед. Прав. Судопроизводства США)

          Эта повестка (кому - имя и должность) _____________________________________________________________
была получена мною (дата)           ______________________.
          ☐ Я лично вручил(-а) повестку этому лицу в (место)         ______________________________________________
          ________________________________________________ (дата) _______________________ ;или

          ☐ Я оставил(-а) повестку по месту прописки или месту жительства лица у (имя)       ________________________
          _____________________________ , человека соответствующего возраста и вменяемости, проживающего(-ей) там,
          (дата) _________________ и отправил(-а) копию на последний известный адрес лица; или

          ☐ Я вручил(-а) повестку (кому - имя лица) ____________________________________________________ , которому
          по закону назначено вручение процессуальных документов от имени (название организации) _________________
          ___________________________________________________________ (дата)            _______________________ ; или

          ☐ Я не вручил(-а) повестку, потому что _____________________________________________ ; или
          ☐ Другое (уточнить):


          Моя оплата составляет $ ____________ за транспортные расходы и $ ____________ за услуги, что в сумме
          составляет $                                                                                                0.00    .


Я заявляю под страхом наказания за лжесвидетельство, что эта информация соответствует действительности.

Дата: _________________
                                                                            Подпись судебного исполнителя



                                                                             Печатное имя и должность




                                                                             Адрес судебного исполнителя

Дополнительная информация о попытке вручения и т.д.




                                                                                                           Ex. Page No. 243
